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Case 3:18-cv-01234 Document 184-20 Filed 03/17/22 Page 1 of 352 PageID #: 8643
                                  KING
                                     vs.
                           PARKER, et al.




                     WARDEN TONY MAYS
                             July 27, 2021




Case 3:18-cv-01234 Document 184-20 Filed 03/17/22 Page 2 of 352 PageID #: 8644
·1

·2· · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · ·FOR THE MIDDLE DISTRICT OF TENNESSEE
·3· · · · · · · · · · NASHVILLE DIVISION

·4· ·___________________________________________________

·5· ·TERRY LYNN KING,

·6· · · · · · · · · Plaintiff,

·7· ·vs.· · · · · · · · · · · · ·Case No. 3:18-cv-01234

·8· ·TONY PARKER, et al.,

·9· · · · · · · · · Defendants.
· · ·____________________________________________________
10

11

12

13· · · · · · · · · Video Deposition of:

14· · · · · · · · · WARDEN TONY MAYS

15· · · · · · · · · Taken on behalf of the Plaintiff

16· · · · · · · · · July 27, 2021

17· · · · · · · · · Commencing at 9:09 a.m.

18

19

20

21
· ·   ·____________________________________________________
22
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                    Document 184-20 Filed Services  * (615)595-0073
                                          03/17/22 Page 3 of 352 PageID #: 8645
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·1· · · · · · · A· P· P· E· A· R· A· N· C· E                  S

·2· ·For the Plaintiff:

·3·   ·   ·   ·   ·   ·   ·ALEX KURSMAN
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· ·   ·   ·   ·   ·   ·   ·Tennessee Attorney General's Office
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· ·   ·   ·   ·   ·   ·   ·Nashville, Tennessee 37202
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· ·   ·   ·   ·   ·   ·   ·MIRANDA H. JONES
18·   ·   ·   ·   ·   ·   ·ROBERT W. MITCHELL
· ·   ·   ·   ·   ·   ·   ·MALLORY K SCHILLER
19·   ·   ·   ·   ·   ·   ·DEAN ATYIA
· ·   ·   ·   ·   ·   ·   ·Assistant Attorneys General
20·   ·   ·   ·   ·   ·   ·Tennessee Attorney General's Office
· ·   ·   ·   ·   ·   ·   ·P.O. Box 20207
21·   ·   ·   ·   ·   ·   ·Nashville, Tennessee 37202
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· ·   ·   ·   ·   ·   ·   ·Robert.Mitchell@ag.tn.gov
23·   ·   ·   ·   ·   ·   ·Mallory.Schiller@ag.tn.gov

24· ·Also present:

25· · · · · · ·Augusta Smith, Videographer



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 Case 3:18-cv-01234          Reporting
                    Document 184-20 Filed Services  * (615)595-0073
                                          03/17/22 Page                       2
                                                        4 of 352 PageID #: 8646
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·1

·2· · · · · · · · · · · ·I· N· D· E              X

·3· · · · · · · · · · · · · · · · · · · · · · · · · Page

·4· ·Examination
· · ·By Mr. Kursman· · · · · · · · · · · · · · · · · · 8
·5

·6

·7

·8· · · · · · · · · E· X· H· I· B· I· T               S

·9· · · · · · · · · · · · · · · · · · · · · · · · · Page

10· ·Exhibit No. 1· · · · · · · · · · · · · · · · · · 41
· · · · · Previously marked: Lethal Injection
11· · · · Execution Manual Execution Procedures

12· ·Exhibit No. 2· · · · · · · · · · · · · · · · · ·170
· · · · · Previously marked: Midazolam storage and
13· · · · preparation instructions

14· ·Exhibit No. 4· · · · · · · · · · · · · · · · · ·170
· · · · · Previously marked: Potassium Chloride
15· · · · preparation instructions

16·   ·Exhibit No. 5· · · · · · · · · · · · · · · · · ·268
· ·   · · · Previously marked: Pharmacy logs for
17·   · · · Midazolam and Potassium Chloride, dated
· ·   · · · August 13, 2020
18
· ·   ·Exhibit No. 6· · · · · · · · · · · · · · · · · ·306
19·   · · · Previously marked: September 7, 2017
· ·   · · · email in re Update Def Int. Discl. 001975
20
· ·   ·Exhibit No. 7· · · · · · · · · · · · · · · · · ·309
21·   · · · Previously marked: September 7, 2017
· ·   · · · email chain re Update Def. Int. Discl.
22·   · · · 001973

23· ·Exhibit No. 41· · · · · · · · · · · · · · · · · 251
· · · · · Previously marked: Handwritten inventory
24· · · · list Def. Int. Discl. 000448

25



            Elite-Brentwood
 Case 3:18-cv-01234          Reporting
                    Document 184-20 Filed Services  * (615)595-0073
                                          03/17/22 Page                       3
                                                        5 of 352 PageID #: 8647
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·1· · · · · · · · · E· X· H· I· B· I· T               S

·2· · · · · · · · · · · · (Continued)

·3· · · · · · · · · · · · · · · · · · · · · · · · · Page

·4· ·Exhibit No. 42· · · · · · · · · · · · · · · · · 256
· · · · · Previously marked: Handwritten inventory
·5· · · · list Def Int. Discl. 000834-000840

·6·   ·Exhibit No. 43· · · · · · · · · · · · · · · · · 261
· ·   · · · Previously marked: Handwritten inventory
·7·   · · · list Mays' Supp. Int and Prod. Responses
· ·   · · · 000226
·8
· ·   ·Exhibit No. 49· · · · · · · · · · · · · · · · · 147
·9·   · · · Previously marked: Defendant Tony Mays'
· ·   · · · Supplemental Response to Plaintiff's
10·   · · · First Set of Interrogatories

11·   ·Exhibit No. 50· · · · · · · · · · · · · · · · · 105
· ·   · · · Previously marked: Supplement to
12·   · · · information in responses to
· ·   · · · Interrogatory 8
13
· ·   ·Exhibit No. 53· · · · · · · · · · · · · · · · · 144
14·   · · · Previously marked: TDOC In-Service
· ·   · · · Training Course Roster
15
· ·   ·Exhibit No. 58· · · · · · · · · · · · · · · · · 280
16·   · · · Previously marked: Lethal Injection
· ·   · · · Chemical Administration Record, Billy
17·   · · · Irick, August 9, 2018

18·   ·Exhibit No. 59· · · · · · · · · · · · · · · · · 276
· ·   · · · Previously marked: "Tennessee death row
19·   · · · inmate Billy Ray Irick apologizes before
· ·   · · · being executed" article
20
· ·   ·Exhibit No. 60· · · · · · · · · · · · · · · · · 274
21·   · · · Previously marked: Declaration of David
· ·   · · · A. Lubarsky, M.D.
22
· ·   ·Exhibit No. 62· · · · · · · · · · · · · · · · · 266
23·   · · · Previously marked: Chemical Preparation
· ·   · · · Time Sheet May 16, 2019 Def. Int. Discl.
24·   · · · 000831-000832

25



            Elite-Brentwood
 Case 3:18-cv-01234          Reporting
                    Document 184-20 Filed Services  * (615)595-0073
                                          03/17/22 Page                       4
                                                        6 of 352 PageID #: 8648
                      www.EliteReportingServices.com
·1· · · · · · · · · E· X· H· I· B· I· T               S

·2· · · · · · · · · · · · (Continued)

·3· · · · · · · · · · · · · · · · · · · · · · · · · Page

·4·   ·Exhibit No. 63· · · · · · · · · · · · · · · · · 263
· ·   · · · Previously marked: Day of Execution -
·5·   · · · Lethal Injection Execution Recorder
· ·   · · · Checklist re Donnie Johnson May 16, 2019
·6
· ·   ·Exhibit No. 65· · · · · · · · · · · · · · · · · 282
·7·   · · · Previously marked: Chemical Preparation
· ·   · · · Time Sheet April 14, 2021 Defendants' 2nd
·8·   · · · Supplemental Response 0118-0119

·9·   ·Exhibit No. 66· · · · · · · · · · · · · · · · · 283
· ·   · · · Day of Execution Lethal Injection
10·   · · · Execution Recorder Checklist (continued)
· ·   · · · re John Doe May 16, 2018
11
· ·   ·Exhibit No. 68· · · · · · · · · · · · · · · · · 284
12·   · · · Day of Execution Lethal Injection
· ·   · · · Execution Recorder Checklist re Wild
13·   · · · Bill, February 22, 2017

14

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 Case 3:18-cv-01234          Reporting
                    Document 184-20 Filed Services  * (615)595-0073
                                          03/17/22 Page                       5
                                                        7 of 352 PageID #: 8649
                      www.EliteReportingServices.com
·1
· · · · · · · S· T· I· P· U· L· A· T· I· O· N                  S
·2

·3

·4

·5· · · · · · ·The Video Deposition of WARDEN TONY MAYS

·6· ·was taken by counsel for the Plaintiff, at Bass,

·7· ·Berry & Sims, 150 Third Avenue South, Suite 2800,

·8· ·Nashville, Tennessee, on July 27, 2021, for all

·9· ·purposes under the Federal Rules of Civil

10· ·Procedure.

11· · · · · · ·All formalities as to caption, notice,

12· ·statement of appearance, et cetera, are waived.

13· ·All objections, except as to the form of the

14· ·question, are reserved to the hearing, and that

15· ·said deposition may be read and used in evidence in

16· ·said cause of action in any trial thereon or any

17· ·proceeding herein.

18· · · · · · · ·It is agreed that Terri Beckham, RMR,

19· ·CRR, Notary Public and Licensed Court Reporter for

20· ·the State of Tennessee, may swear the witness, and

21· ·that the reading and signing of the completed

22· ·deposition by the witness are reserved.

23· · · · · · · · · · · · · ·* * *

24

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 Case 3:18-cv-01234          Reporting
                    Document 184-20 Filed Services  * (615)595-0073
                                          03/17/22 Page                       6
                                                        8 of 352 PageID #: 8650
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·1· · · · · · · · · · · · · ·* * *

·2· · · · · · · ·THE VIDEOGRAPHER:· We are now on the

·3· ·record.· Today is Tuesday, the 27th of July, 2021,

·4· ·and the time indicated on the video screen is

·5· ·9:09 a.m.· This is the video deposition of Warden

·6· ·Tony Mays in the matter of Terry King versus Tony

·7· ·Parker, et al., Case No. 18-cv-1234, filed in the

·8· ·Middle District of Tennessee.· This deposition is

·9· ·being held today at the office of Bass, Berry & Sims

10· ·at 150 3rd Avenue South, Nashville, Tennessee.· My

11· ·name is Augusta Smith, the videographer, and the

12· ·court reporter is Terri Beckham, both in association

13· ·with Elite-Brentwood Reporting Services.

14· · · · · · · ·Would counsel please introduce

15· ·yourselves and state whom you represent.

16· · · · · · · ·MR. KURSMAN:· Good morning.· My name is

17· ·Alex Kursman.· I represent Terry King.

18· · · · · · · ·MR. SUTHERLAND:· My name's Scott

19· ·Sutherland, and I represent the defendants, Tony

20· ·Parker and Tony Mays.

21· · · · · · · · · · · · ·*· ·*· ·*

22· · · · · · · · · · ·WARDEN TONY MAYS,

23· ·was called as a witness, and after having been duly

24· ·sworn, testified as follows:

25· ·///



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 Case 3:18-cv-01234          Reporting
                    Document 184-20 Filed Services  * (615)595-0073
                                          03/17/22 Page                       7
                                                        9 of 352 PageID #: 8651
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·1· · · · · · · · · · · · EXAMINATION

·2· ·QUESTIONS BY MR. KURSMAN:

·3· ·Q.· · ·Good morning, Mr. Mays.

·4· ·A.· · ·Morning.

·5· · · · · · · ·MR. KURSMAN:· Before we begin, I just

·6· ·want to note for the record that we have introduced

·7· ·Exhibits 1 through 65 in previous depositions.· We

·8· ·are just going to keep going sequentially.

·9· ·BY MR. KURSMAN:

10· ·Q.· · ·So in front of you right now you have a

11· ·binder with those exhibits and a few additional

12· ·exhibits as well.

13· ·A.· · ·Okay.

14· ·Q.· · ·Like I said a minute ago, my name is Alex

15· ·Kursman.· I'm an attorney with the federal defender

16· ·in Philadelphia.

17· · · · · I represent the plaintiff in this case,

18· ·Terry King, in King v. Parker, et al., pending in

19· ·the Middle District of Tennessee.

20· · · · · Do you understand that you're here today to

21· ·answer questions related to the King case?

22· ·A.· · ·Yes.

23· ·Q.· · ·And what is your understanding of what the

24· ·case is about?

25· ·A.· · ·My understanding of what this case is about,



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 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073           8
                                                       10 of 352 PageID #: 8652
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·1· ·I've been told different methods, alternative

·2· ·methods, to possibly execution.

·3· ·Q.· · ·Okay.· And have you -- have you read anything

·4· ·about this case in particular before this

·5· ·deposition?

·6· ·A.· · ·Other than my previous depositions?

·7· ·Q.· · ·Yes.

·8· ·A.· · ·No.

·9· ·Q.· · ·What about your previous deposition?

10· ·A.· · ·I just read previous depositions and

11· ·protocols.

12· ·Q.· · ·Okay.· So let's cover a few ground rules,

13· ·then.· And I think you just mentioned this, but how

14· ·many times have you taken depositions before?

15· ·A.· · ·In relation to this?

16· ·Q.· · ·In total.

17· ·A.· · ·Probably three or four.

18· ·Q.· · ·And what were all those cases about?

19· ·A.· · ·Every one of them was tied to probably lethal

20· ·injection.

21· ·Q.· · ·Oh, each deposition that you -- you've taken

22· ·in the past was tied to lethal injection?

23· ·A.· · ·Are you referring to my lifetime?

24· ·Q.· · ·Yeah, your lifetime.· I apologize.

25· ·A.· · ·Exactly.



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 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073           9
                                                       11 of 352 PageID #: 8653
                       www.EliteReportingServices.com                         YVer1f
·1· ·Q.· · ·Each of them was in relation to lethal

·2· ·injection, that's what you're saying, in your

·3· ·lifetime?

·4· ·A.· · ·Correct.

·5· ·Q.· · ·Okay.· And do you -- do you remember when

·6· ·those depositions were?

·7· ·A.· · ·Exact dates?· Not exact dates.· Probably in

·8· ·the last five years maybe.

·9· ·Q.· · ·Okay.· So you think you've taken about three

10· ·other depositions --

11· ·A.· · ·Probably, yes.

12· ·Q.· · ·-- in the last five years --

13· ·A.· · ·Yes.

14· ·Q.· · ·-- on lethal injection cases?

15· ·A.· · ·(Nods)

16· ·Q.· · ·Okay.· And do you understand that you're

17· ·under oath?

18· ·A.· · ·I do.

19· ·Q.· · ·Okay.· And you understand that means you need

20· ·to tell the truth to the best of your ability?

21· ·A.· · ·To the best of my ability.

22· ·Q.· · ·Is there any reason that you can't testify

23· ·truthfully or accurately today?

24· ·A.· · ·No reason.

25· ·Q.· · ·Okay.· For example, are you filing ill?



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 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          10
                                                       12 of 352 PageID #: 8654
                       www.EliteReportingServices.com                         YVer1f
·1· ·A.· · ·No.

·2· ·Q.· · ·Are you taking any medication?

·3· ·A.· · ·Yes.

·4· ·Q.· · ·Okay.· And what medication are you taking?

·5· ·A.· · ·Cholesterol, blood pressure.

·6· ·Q.· · ·Okay.· Is there any medication that you're

·7· ·taking that would affect your ability to recall

·8· ·facts or give accurate testimony today?

·9· ·A.· · ·No.

10· ·Q.· · ·Okay.· And are you represented by counsel

11· ·today?

12· ·A.· · ·I am.

13· ·Q.· · ·And who is that?

14· ·A.· · ·It would be Mr. Rob and company.

15· ·Q.· · ·Okay.· And as I'm sure you're aware, the

16· ·court reporter is making a record based on what you

17· ·say, so you'll have to answer verbally instead of

18· ·nodding your head.

19· · · · · Do you understand that?

20· ·A.· · ·I do.

21· ·Q.· · ·Okay.· And if you could, could you wait for

22· ·me to finish my questions before you answer?· And I

23· ·promise I'll do the same for you.· I'll finish --

24· ·let you finish your answers before I ask the next

25· ·question.



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 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          11
                                                       13 of 352 PageID #: 8655
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·1· · · · · Do you understand that?

·2· ·A.· · ·I do.

·3· ·Q.· · ·Okay.· And if you don't understand a

·4· ·question, just let me know and I'll try to rephrase

·5· ·it so you can understand it.· Sometimes I ask some

·6· ·long-winded or confusing questions, so just let me

·7· ·know and I'll try to make the question a bit

·8· ·clearer, okay?

·9· ·A.· · ·Just let me know if I'm answering too quick.

10· ·Q.· · ·Okay.· I appreciate that.· And if you need a

11· ·break at any time, just let me know and we can take

12· ·a break whenever you need, okay?

13· ·A.· · ·Okay.

14· ·Q.· · ·And your lawyer may object from time to time,

15· ·but you'll still need to answer my questions unless

16· ·that objection is based on some sort of secrecy

17· ·statute or a privilege.

18· · · · · Do you understand that?

19· ·A.· · ·I do.

20· ·Q.· · ·Okay.· Do you have any questions?

21· ·A.· · ·None.

22· ·Q.· · ·Okay.· And I think we just discussed it a

23· ·second ago, but what did you do to prepare for this

24· ·deposition?

25· ·A.· · ·I read my previous depositions and I visit



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 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          12
                                                       14 of 352 PageID #: 8656
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·1· ·the protocol currently as I always do, often.

·2· ·Q.· · ·And did you meet with your attorneys before

·3· ·the deposition?

·4· ·A.· · ·I did.

·5· ·Q.· · ·Okay.· And who?

·6· ·A.· · ·Mr. Sutherland.· I'm terrible with names.

·7· ·The other gentleman, third from the right.

·8· ·Q.· · ·And how many times did you meet with them?

·9· ·A.· · ·Twice.

10· ·Q.· · ·And how long were the meetings?

11· ·A.· · ·First meeting, approximately two hours or

12· ·two-and-a-half.· Second meeting, approximately two

13· ·hours.

14· ·Q.· · ·And when were the meetings?

15· ·A.· · ·On yesterday.

16· ·Q.· · ·Both meetings were yesterday?

17· ·A.· · ·Yes.

18· ·Q.· · ·Okay.· So you met with them once for an

19· ·hour-and-a-half, then you took a break and met with

20· ·them again for two hours?

21· ·A.· · ·I met with them for about two hours yesterday

22· ·morning.

23· ·Q.· · ·Uh-huh.

24· ·A.· · ·I met with them about two hours last night.

25· ·Q.· · ·And was anyone else present aside from you



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 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          13
                                                       15 of 352 PageID #: 8657
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·1· ·and the two attorneys that you just mentioned?

·2· ·A.· · ·No.

·3· ·Q.· · ·Okay.· And did you review any documents

·4· ·during those meetings?

·5· ·A.· · ·Protocol and my deposition prior.

·6· ·Q.· · ·Was that it?· Just those two documents?

·7· ·A.· · ·That was it.

·8· ·Q.· · ·Okay.· Did any of those documents refresh

·9· ·your recollection as to any specific issues?

10· ·A.· · ·Nothing specific, just reading over the

11· ·previous deposition.

12· ·Q.· · ·Like, for example, were there any dates that

13· ·you couldn't remember or specific topics you

14· ·couldn't remember?

15· ·A.· · ·Of course, I probably struggled through some

16· ·of it.· It has been a few years since I was depo'd

17· ·last in reference to that.

18· ·Q.· · ·Okay.· And why did you review your previous

19· ·deposition?

20· ·A.· · ·Basically refresh my memory.

21· ·Q.· · ·Okay.· And did it do that?

22· ·A.· · ·Yes.

23· ·Q.· · ·Okay.· What did it refresh your memory on?

24· ·A.· · ·Particulars?

25· ·Q.· · ·Yeah, particulars.



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 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          14
                                                       16 of 352 PageID #: 8658
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·1· ·A.· · ·I really can't say.· I can't remember.

·2· ·Q.· · ·Well, was there anything that you recalled,

·3· ·after reading your deposition, that you didn't

·4· ·remember before reading it?

·5· ·A.· · ·Not really.

·6· ·Q.· · ·Did you think there was going to be anything

·7· ·that you would have recalled after reading it?

·8· ·A.· · ·It's just, like, a safe feature that I did

·9· ·just to refresh my memory in case it wasn't.

10· ·Q.· · ·Okay.· Was it -- was it because you wanted to

11· ·testify today consistently with the deposition back

12· ·then?

13· ·A.· · ·Well, I always want to be able to tell the

14· ·truth.

15· ·Q.· · ·Sure.· But was the reason you reviewed that

16· ·deposition that was taken a few years ago, like you

17· ·said, was the reason that you reviewed that

18· ·deposition was so that you could testify

19· ·consistently today with your answers in that

20· ·deposition?

21· ·A.· · ·Correct.

22· ·Q.· · ·Okay.· Did you meet with anyone other than

23· ·your attorneys to prepare for this deposition?

24· ·A.· · ·No.

25· ·Q.· · ·Okay.· Did you review the transcripts of any



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          15
                                                       17 of 352 PageID #: 8659
                       www.EliteReportingServices.com                         YVer1f
·1· ·other depositions taken in this case?· So I don't

·2· ·mean your prior deposition, I mean any people who

·3· ·were previously deposed in this case.

·4· ·A.· · ·No.

·5· ·Q.· · ·Okay.· Did you consult -- did anyone consult

·6· ·with you to prepare for another deposition in this

·7· ·case?

·8· ·A.· · ·Anyone other than my attorneys?

·9· ·Q.· · ·Yes.· So what I mean by that is, for

10· ·instance, did the commissioner talk to you about his

11· ·preparation for his deposition --

12· ·A.· · ·No.

13· ·Q.· · ·-- or the drug procurer or the executioner?

14· ·A.· · ·No.

15· ·Q.· · ·Okay.· And aside from the protocol and your

16· ·prior deposition, did you review any papers that

17· ·were filed in this case?· And what I mean by that

18· ·is, like, the complaint or any answers submitted by

19· ·defendants' counsel.

20· ·A.· · ·No.

21· ·Q.· · ·Okay.· Did you discuss this deposition with

22· ·anyone other than your counsel?

23· ·A.· · ·No.

24· ·Q.· · ·Do you have a spouse?

25· ·A.· · ·I do.



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          16
                                                       18 of 352 PageID #: 8660
                       www.EliteReportingServices.com                         YVer1f
·1· ·Q.· · ·Did you discuss the deposition with your

·2· ·spouse?

·3· ·A.· · ·No.

·4· ·Q.· · ·Okay.· Did you do anything else to prepare

·5· ·for the deposition?

·6· ·A.· · ·No.

·7· ·Q.· · ·Okay.· And how much time in total do you

·8· ·estimate you spent preparing for the deposition?

·9· ·A.· · ·To include my attorneys, spending time with

10· ·my attorneys and reading deposition, protocol,

11· ·probably seven hours total.

12· ·Q.· · ·Okay.· So a minute ago you testified that you

13· ·spent three-and-a-half hours meeting with your

14· ·attorneys.· What did you spend the other

15· ·three-and-a-half hours doing to prepare for this

16· ·deposition?

17· ·A.· · ·I thought I stated earlier I spent a couple

18· ·of hours yesterday morning with them and a couple of

19· ·hours last night and the rest of the time would have

20· ·been me reviewing my deposition, along with the

21· ·protocol.

22· ·Q.· · ·Okay.· So you reviewed your deposition on

23· ·your own?

24· ·A.· · ·On my own.

25· ·Q.· · ·Okay.· Did you review the protocol on your



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          17
                                                       19 of 352 PageID #: 8661
                       www.EliteReportingServices.com                         YVer1f
·1· ·own as well?

·2· ·A.· · ·I did.

·3· ·Q.· · ·Okay.· And did you talk with your attorneys

·4· ·about both the protocol and your prior deposition,

·5· ·without going into the substance of those

·6· ·conversations?

·7· · · · · · · ·MR. SUTHERLAND:· Object to the form.

·8· ·BY MR. KURSMAN:

·9· ·Q.· · ·You can still answer.

10· ·A.· · ·I did.

11· ·Q.· · ·Okay.· Now, let's switch gears a little bit

12· ·and talk about your background.· What is your

13· ·highest level of education?

14· ·A.· · ·Master's degree.

15· ·Q.· · ·Okay.· And where did you get that degree?

16· ·A.· · ·Tennessee State University here in Nashville.

17· ·Q.· · ·Do you remember what year that was?

18· ·A.· · ·'18, '19.

19· ·Q.· · ·Okay.· And what type of training did you get

20· ·as part of that degree?

21· ·A.· · ·I got a master's in public administration.

22· ·Q.· · ·And were you the warden at the time that

23· ·you --

24· ·A.· · ·I was the warden at the time.

25· ·Q.· · ·Okay.· And what type of information did you



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          18
                                                       20 of 352 PageID #: 8662
                       www.EliteReportingServices.com                         YVer1f
·1· ·learn in that master's degree?

·2· ·A.· · ·Various things.· How to deal with public,

·3· ·public administration, public society, corrections,

·4· ·just to name a few.

·5· ·Q.· · ·And do you have any other postgraduate

·6· ·degrees aside from your master's degree that you

·7· ·just mentioned?

·8· ·A.· · ·I have a bachelor's.

·9· ·Q.· · ·And where is the bachelor's from?

10· ·A.· · ·Bethel University.

11· ·Q.· · ·Okay.· What was your bachelor's degree in?

12· ·A.· · ·It was also in public administration.

13· ·Q.· · ·And what year was that?

14· ·A.· · ·That was in 2016.

15· ·Q.· · ·So you got your bachelor's degree in 2016?

16· ·A.· · ·Uh-huh.

17· ·Q.· · ·And your master's degree in 2019?

18· ·A.· · ·Correct.

19· ·Q.· · ·And what year did you become the warden?

20· ·A.· · ·I became the warden in '17.

21· ·Q.· · ·Okay.· And what year did you graduate high

22· ·school?

23· ·A.· · ·1982.

24· ·Q.· · ·1982.· And where did you graduate high

25· ·school?



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          19
                                                       21 of 352 PageID #: 8663
                       www.EliteReportingServices.com                         YVer1f
·1· ·A.· · ·Lake County High School.

·2· ·Q.· · ·Okay.· Did you get any special training at

·3· ·your high school?

·4· ·A.· · ·Define "special."

·5· ·Q.· · ·Like, was it a STEM school or a scientific

·6· ·school, or was it just your normal high school?

·7· ·A.· · ·Just your normal high school.

·8· ·Q.· · ·Okay.· And have you -- did you complete any

·9· ·other trainings between the year you graduated high

10· ·school, that almost 30-year period, I guess, that

11· ·you graduated high school and then when you got your

12· ·college degree?

13· ·A.· · ·Other than training that coincide with my

14· ·job?

15· ·Q.· · ·Yeah.· And what kind of training did you get

16· ·that coincided with your job?

17· ·A.· · ·We have a correctional academy, Tennessee

18· ·Corrections Academy, that is designed for

19· ·correctional staff.· We learn policies, procedures,

20· ·safety measures, security measures, several things.

21· ·Q.· · ·And who teaches at that correctional academy?

22· ·A.· · ·Those are instructors at the academy.

23· ·Q.· · ·Who?· I'm sorry?

24· ·A.· · ·Instructors at the academy.

25· ·Q.· · ·Right.· Where are the instructors from?



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          20
                                                       22 of 352 PageID #: 8664
                       www.EliteReportingServices.com                         YVer1f
·1· ·A.· · ·I don't know where they're from.· They just

·2· ·work at the Tennessee Corrections Academy.

·3· ·Q.· · ·Are they -- are they employed by TDOC?

·4· ·A.· · ·They are.

·5· ·Q.· · ·Are they corrections officers within TDOC?

·6· ·A.· · ·They are not correction officers, they're

·7· ·corrections instructors.

·8· ·Q.· · ·And is that their full-time job, corrections

·9· ·instructors?

10· ·A.· · ·That is their full-time job.

11· ·Q.· · ·Okay.· And do you become a corrections

12· ·instructor from first being a corrections officer?

13· ·Is that how it works?

14· ·A.· · ·I wouldn't know that.· I've never applied.

15· ·Q.· · ·Okay.· But you as the -- as the warden, you

16· ·don't oversee that at all now?

17· ·A.· · ·Oh, no.

18· ·Q.· · ·Okay.· Do you hold any certifications or

19· ·certificates?

20· ·A.· · ·Some in the past that have expired.

21· ·Q.· · ·Uh-huh.· And what would those be?

22· ·A.· · ·Lethal weapons, chemical agents, things of

23· ·that sort.

24· ·Q.· · ·And when you say "lethal weapons," what does

25· ·that mean?



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          21
                                                       23 of 352 PageID #: 8665
                       www.EliteReportingServices.com                         YVer1f
·1· ·A.· · ·How to handle a firearm, Mace, fogger, pepper

·2· ·fogger, things of that nature.

·3· ·Q.· · ·So are you trained in handling a firearm?

·4· ·A.· · ·I am.

·5· ·Q.· · ·Okay.· And can you describe that training for

·6· ·me?

·7· ·A.· · ·Classroom, safety, how to handle a weapon,

·8· ·break down a weapon for cleaning purposes, storing,

·9· ·things of that nature.

10· ·Q.· · ·And do you own a firearm?

11· ·A.· · ·I do.

12· ·Q.· · ·Do you carry it as part of your job?

13· ·A.· · ·I don't.

14· ·Q.· · ·Okay.· Do you have any medical training?

15· ·A.· · ·Other than basic first aid?

16· ·Q.· · ·You don't other than basic first aid?· Is

17· ·that what you're saying?

18· ·A.· · ·Correct.

19· ·Q.· · ·Okay.· And what is the basic first aid

20· ·training?

21· ·A.· · ·CPR, properly wrap a wound, clean a wound.

22· ·Q.· · ·Do you have any military training?

23· ·A.· · ·Do not.

24· ·Q.· · ·Do you participate in any volunteer programs?

25· ·A.· · ·Do not.



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          22
                                                       24 of 352 PageID #: 8666
                       www.EliteReportingServices.com                         YVer1f
·1· ·Q.· · ·Okay.· And are you currently employed?

·2· ·A.· · ·I am.

·3· ·Q.· · ·Where?

·4· ·A.· · ·Tennessee Department of Corrections.

·5· ·Q.· · ·How long have you been with the Tennessee

·6· ·Department of Corrections?

·7· ·A.· · ·This Saturday I think is the first, maybe

·8· ·Sunday, will be 38 years.

·9· ·Q.· · ·38 years.· Wow, congratulations.

10· ·A.· · ·Thank you.

11· ·Q.· · ·What is -- what is your current job title?

12· ·A.· · ·Correctional Warden 4.

13· ·Q.· · ·Correctional Warden -- what was that?· I'm --

14· ·A.· · ·4.

15· ·Q.· · ·4?· And what does that 4 mean?

16· ·A.· · ·Once upon a time they was broken in division

17· ·Warden 1, 2, 3, and 4, but I'm a Warden 4.

18· ·Q.· · ·Okay.· And how does that differentiate from

19· ·Corrections Warden 1, 2, or 3?

20· ·A.· · ·The type of facility that you manage.

21· ·Q.· · ·And is --

22· ·A.· · ·The level of the facility.

23· ·Q.· · ·And would 4 be the highest security level?

24· ·A.· · ·Correct.

25· ·Q.· · ·Okay.· And what is your role in that job



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          23
                                                       25 of 352 PageID #: 8667
                       www.EliteReportingServices.com                         YVer1f
·1· ·title?

·2· ·A.· · ·My role as the warden, I don't want to be

·3· ·sarcastic, but just manage the day-to-day

·4· ·operations.· Everything that has to do with that

·5· ·facility, I'm responsible for.

·6· ·Q.· · ·So with the facility obviously running 24

·7· ·hours a day, seven days a week --

·8· ·A.· · ·Correct.

·9· ·Q.· · ·-- how much are you working?

10· ·A.· · ·Out of a 24-hour day, I'm really never off

11· ·the clock, but physically at the facility, anywhere

12· ·from nine to ten hours a day.

13· ·Q.· · ·And you're managing, you're overseeing

14· ·everything that goes on at the facility essentially?

15· ·A.· · ·Correct.

16· ·Q.· · ·Okay.· Is it a stressful job?

17· ·A.· · ·Can be.

18· ·Q.· · ·Do you have a lot of -- a lot of

19· ·responsibilities as the warden?

20· ·A.· · ·That is true.

21· ·Q.· · ·Yeah.· Okay.· Does anyone report to you?

22· ·A.· · ·They do.

23· ·Q.· · ·How many people would you guess report to

24· ·you?

25· ·A.· · ·Under my direct supervision, probably eight.



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          24
                                                       26 of 352 PageID #: 8668
                       www.EliteReportingServices.com                         YVer1f
·1· ·But, of course, everyone in the entire facility is

·2· ·under the stamp of the warden.· But my direct is

·3· ·approximately eight.

·4· ·Q.· · ·And what are the names of the eight people

·5· ·that report to you?

·6· · · · · · · ·MR. SUTHERLAND:· I'm going to object.

·7· · · · · · · ·I'll withdraw the objection to that

·8· ·specific question.

·9· · · · · · · ·THE WITNESS:· Names or positions?

10· ·BY MR. KURSMAN:

11· ·Q.· · ·Both.

12· ·A.· · ·Okay.· I will have one by the name of Ernest

13· ·Lewis.· He is my associate warden of security.                I

14· ·will have one by the name of Michael Keys.· He's my

15· ·associate warden of treatment.· The fiscal director,

16· ·Jacob Heron (phonetic).· HR manager, Tracy -- I have

17· ·a tough time pronouncing her last name.· Brewington.

18· ·Training coordinator, facility training coordinator,

19· ·Dina Duncan.· Fire and safety of the facility, Amy.

20· ·I can't remember her last name.· Amy.

21· · · · · Let's see.· What else, what else, what else?

22· ·(Pause)· That would be it.

23· ·Q.· · ·Okay.

24· ·A.· · ·That's the extent.

25· ·Q.· · ·And do you report to anyone as the warden?



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          25
                                                       27 of 352 PageID #: 8669
                       www.EliteReportingServices.com                         YVer1f
·1· ·A.· · ·I do.

·2· ·Q.· · ·And who do you report to?

·3· ·A.· · ·We have a regional administrator.· His name

·4· ·is Kevin Myers.

·5· ·Q.· · ·And that's who you report to?

·6· ·A.· · ·That's my immediate supervisor.

·7· ·Q.· · ·Do you also report to the commissioner?

·8· ·A.· · ·Well, everyone reports to the commissioner,

·9· ·but Kevin Myers is my immediate supervisor.

10· ·Q.· · ·Okay.· And what is -- what is Mr. Myers'

11· ·title, again?

12· ·A.· · ·He is the regional administrator.

13· ·Q.· · ·Okay.· And what does that mean?

14· ·A.· · ·Within this region, being the middle region,

15· ·he is responsible for assisting the wardens of those

16· ·facilities.

17· ·Q.· · ·Okay.· And what was your role before you were

18· ·the warden?

19· ·A.· · ·I was interim deputy warden.· Later they

20· ·changed those titles to associate warden of

21· ·security.

22· ·Q.· · ·Okay.· And what were you before you were the

23· ·interim deputy warden?

24· ·A.· · ·I was a correctional unit manager.

25· ·Q.· · ·Okay.· And how about before you were a



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          26
                                                       28 of 352 PageID #: 8670
                       www.EliteReportingServices.com                         YVer1f
·1· ·correctional unit manager?

·2· ·A.· · ·I was a shift captain.

·3· ·Q.· · ·And before you were a shift captain?

·4· ·A.· · ·I was a shift lieutenant.

·5· ·Q.· · ·Okay.· And before you were a shift

·6· ·lieutenant?

·7· ·A.· · ·I was a shift sergeant.

·8· ·Q.· · ·And before you were a shift sergeant?

·9· ·A.· · ·I was a corporal, shift corporal.

10· ·Q.· · ·And before you were a shift corporal?

11· ·A.· · ·I was a correctional officer.

12· ·Q.· · ·Okay.· And how about before you were a

13· ·correctional officer?

14· ·A.· · ·I hired into the department as a correctional

15· ·officer.

16· ·Q.· · ·Okay.· And when you became -- what prompted

17· ·you to apply to become the associate warden?

18· ·A.· · ·Career advancement.

19· ·Q.· · ·Okay.· And how about the warden?

20· ·A.· · ·Career advancement.

21· ·Q.· · ·Did you apply for both of those positions?

22· ·A.· · ·I did.

23· ·Q.· · ·Was it competitive?

24· ·A.· · ·Very much.

25· ·Q.· · ·Okay.· Do you -- do you know how many people



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          27
                                                       29 of 352 PageID #: 8671
                       www.EliteReportingServices.com                         YVer1f
·1· ·applied?

·2· ·A.· · ·Do not.

·3· ·Q.· · ·Okay.· Does it pay more than your prior

·4· ·position?

·5· ·A.· · ·Yes.

·6· ·Q.· · ·Yeah.· Every time you stepped up, did it pay

·7· ·more than the position prior?

·8· ·A.· · ·Not every time.

·9· ·Q.· · ·Okay.· Were you involved with executions

10· ·prior to being the warden?

11· ·A.· · ·(Pause)· Depends on what -- how you want to

12· ·define "involved."· Was I part of the execution

13· ·team?

14· ·Q.· · ·Yes.

15· ·A.· · ·Yes, I was.

16· ·Q.· · ·You were?· Were you part of the execution

17· ·team prior to being the associate warden?

18· ·A.· · ·No.

19· ·Q.· · ·Okay.· So only as the associate warden were

20· ·you part of the execution team?

21· ·A.· · ·The interim deputy warden and the associate

22· ·warden.

23· ·Q.· · ·Okay.· And what was your role as part of the

24· ·execution team as the associate warden?

25· ·A.· · ·To assist the warden.



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          28
                                                       30 of 352 PageID #: 8672
                       www.EliteReportingServices.com                         YVer1f
·1· ·Q.· · ·Okay.· But were you on the IV team?

·2· ·A.· · ·No.

·3· ·Q.· · ·Were you an EMT?

·4· ·A.· · ·No.

·5· ·Q.· · ·Were you the executioner?

·6· ·A.· · ·No.

·7· ·Q.· · ·So your role -- your first role in an

·8· ·execution was as the associate warden?

·9· ·A.· · ·As the interim deputy warden.

10· ·Q.· · ·Which is -- and it's now called the associate

11· ·warden?

12· ·A.· · ·It's now called the associate warden.

13· ·Q.· · ·Okay.· And your role then was to assist the

14· ·warden?

15· ·A.· · ·Correct.

16· ·Q.· · ·Okay.· And can you describe for me what you

17· ·did to assist the warden in executions when you were

18· ·the interim deputy warden?

19· ·A.· · ·To help prepare for executions.

20· ·Q.· · ·And what did you do to help prepare for

21· ·executions?

22· ·A.· · ·From assembling the team, from assisting him

23· ·in training purposes, and to be able to carry out

24· ·his duties should I need to.

25· ·Q.· · ·Okay.· And what did you do to prepare



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          29
                                                       31 of 352 PageID #: 8673
                       www.EliteReportingServices.com                         YVer1f
·1· ·yourself to carry out his duties should you need to?

·2· ·A.· · ·Studied the protocol, constantly rehearse.

·3· ·Q.· · ·And you -- I think you said you helped him

·4· ·assemble the team.· How did you help him assemble

·5· ·the execution team?

·6· ·A.· · ·What I mean by "assemble," making sure that

·7· ·everyone has practiced regularly as we're supposed

·8· ·to, everyone is at practice when they're supposed to

·9· ·be, doing everything that the protocol prescribed us

10· ·to do.

11· ·Q.· · ·And do people apply to be part of the

12· ·execution team?

13· · · · · · · ·MR. SUTHERLAND:· Could you repeat that,

14· ·Alex?

15· · · · · · · ·MR. KURSMAN:· Yeah.

16· ·BY MR. KURSMAN:

17· ·Q.· · ·Do people apply to be part of the execution

18· ·team?

19· ·A.· · ·They request to become part of the team.

20· ·Q.· · ·They do.· That's how -- do you ever ask

21· ·somebody to be part of the execution team who hasn't

22· ·requested to be part of the team?

23· ·A.· · ·No.

24· ·Q.· · ·It's always a request?

25· ·A.· · ·Yes.



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          30
                                                       32 of 352 PageID #: 8674
                       www.EliteReportingServices.com                         YVer1f
·1· ·Q.· · ·So how does -- how does that work?· Do you --

·2· ·does the warden and the associate warden send out a

·3· ·notice to everybody saying "request to be part of

·4· ·the execution"?· Or do you just get a note from

·5· ·somebody saying, "I want to be part of the execution

·6· ·team"?

·7· ·A.· · ·I can't speak for the associate warden.· He

·8· ·has to speak for himself.· But I do not send out any

·9· ·request or ask anyone to become part of the team.

10· ·Q.· · ·Okay.· So people just -- how do they request

11· ·to be part of the team?

12· ·A.· · ·The request is brought to me by mostly the

13· ·associate warden of security.

14· ·Q.· · ·Okay.· And when you were the deputy warden,

15· ·which is now the associate warden, how did people

16· ·request then to be part of the execution team?

17· ·A.· · ·At the time, best I could recall, when I was

18· ·deputy warden, there weren't any requests because

19· ·there were no positions to be filled.

20· ·Q.· · ·Okay.· But now that you're the warden, there

21· ·have been requests because there have been positions

22· ·to be filled; is that what you're saying?

23· ·A.· · ·Correct.

24· ·Q.· · ·Okay.· And has anybody requested to be part

25· ·of the execution team that you or the associate



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          31
                                                       33 of 352 PageID #: 8675
                       www.EliteReportingServices.com                         YVer1f
·1· ·warden denied that request?

·2· ·A.· · ·Yes.

·3· ·Q.· · ·Okay.· Why would you deny that request?

·4· ·A.· · ·Once I interviewed the individual myself, and

·5· ·within my expertise of what I see and hear, I feel

·6· ·like that they wouldn't be a fit and they're denied.

·7· ·Q.· · ·Okay.· And why -- why wouldn't they be a fit

·8· ·to be part of the execution team?

·9· ·A.· · ·Have you ever seen people that want to be a

10· ·part of something because they feel like that --

11· ·some have tried to use it for career advancement.

12· ·Some of them take it lightly and it's something that

13· ·I don't take lightly.· Some not mature-minded enough

14· ·based on what I see and observe, things of that

15· ·sort.

16· ·Q.· · ·And how many -- how many people requested to

17· ·be part of the execution team?

18· ·A.· · ·Over a period of time, I wouldn't know that

19· ·number.

20· ·Q.· · ·Over the last -- since you were the warden.

21· ·A.· · ·That have requested?

22· ·Q.· · ·To be part of the execution team.

23· ·A.· · ·I don't know an exact number, but if I had to

24· ·say a number -- I wouldn't know the exact number.

25· ·Q.· · ·Is it about 50?· Is it about 10?



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          32
                                                       34 of 352 PageID #: 8676
                       www.EliteReportingServices.com                         YVer1f
·1· ·A.· · ·No, not 50.· I would say around 10 maybe.

·2· ·Q.· · ·Okay.

·3· ·A.· · ·10, 11, 12.

·4· ·Q.· · ·And what openings did you have on the

·5· ·execution team?· What positions were you trying to

·6· ·fill?

·7· ·A.· · ·We don't fill certain positions.· When you

·8· ·become part of the team, you learn every role in

·9· ·that team.· You may be this today and you may have

10· ·to do this tomorrow.· We cross-train and require

11· ·everybody to know what everybody do.

12· ·Q.· · ·Okay.· So just so I'm clear, so the -- an IV

13· ·team member could be an EMT member?

14· ·A.· · ·No --

15· ·Q.· · ·Okay.

16· ·A.· · ·-- no.· I apologize.· That's a different

17· ·individual.

18· ·Q.· · ·Okay.

19· ·A.· · ·I was basically requiring -- specifying what

20· ·we call our security team.

21· ·Q.· · ·Okay.

22· ·A.· · ·That's -- no, IV, that's a whole different

23· ·team.· That's a whole different thing.

24· ·Q.· · ·Okay.· So maybe I'm confused and I'm not

25· ·asking good enough questions.· The IV team and the



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          33
                                                       35 of 352 PageID #: 8677
                       www.EliteReportingServices.com                         YVer1f
·1· ·EMTs, that whole team, the actual execution team

·2· ·with the executioner, have any of those roles been

·3· ·filled while you were warden?

·4· ·A.· · ·Executioner, no.· IV team, one.

·5· ·Q.· · ·And why was the role of an IV team member

·6· ·filled while you were the warden?

·7· ·A.· · ·Approximately I'd say three months ago we had

·8· ·a death, one of our EMTs, which is the IV team, and

·9· ·his position had to be filled.

10· ·Q.· · ·So the EMTs in the protocol are also the IV

11· ·team members?· Is that what you're saying?

12· ·A.· · ·Correct.

13· ·Q.· · ·Okay.· How do you decide who's going to be --

14· ·who's going to fill that role as EMT/IV team member?

15· ·A.· · ·The one position that was filled, we took a

16· ·recommendation from the current IV team members,

17· ·individuals were brought in, interviewed by myself

18· ·with my supervisor present, credentials looked at,

19· ·make sure everything was in order.

20· ·Q.· · ·And what credentials did you look at?

21· ·A.· · ·License, background check, recommendations

22· ·from the person that recommended them.· And then

23· ·it's cleared with our legal team.

24· ·Q.· · ·And what was the last part?· I apologize.

25· ·A.· · ·Cleared with our legal team.



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          34
                                                       36 of 352 PageID #: 8678
                       www.EliteReportingServices.com                         YVer1f
·1· ·Q.· · ·What license do you look at?

·2· ·A.· · ·Medical.

·3· ·Q.· · ·Okay.· What type of medical license are we

·4· ·talking about?

·5· ·A.· · ·Well, if they're an EMT or nurse, they would

·6· ·have to have a license in order to fulfill their job

·7· ·duties.· And their license have to be in good

·8· ·standing.

·9· ·Q.· · ·And are --

10· ·A.· · ·Medical license.

11· ·Q.· · ·I apologize.· And these are all prison guards

12· ·as well?

13· ·A.· · ·No.

14· ·Q.· · ·Okay.· But they all work at TDOC?

15· ·A.· · ·No.

16· ·Q.· · ·Oh, they don't?

17· ·A.· · ·No.

18· ·Q.· · ·So the IV team members don't have to work at

19· ·TDOC as their permanent job?

20· ·A.· · ·Correct.

21· ·Q.· · ·Okay.· Just so I'm clear, some of -- is

22· ·everybody on the IV team, are they not employees of

23· ·TDOC outside of their role in the execution?

24· ·A.· · ·Correct.

25· ·Q.· · ·Okay.· So you bring these people from outside



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          35
                                                       37 of 352 PageID #: 8679
                       www.EliteReportingServices.com                         YVer1f
·1· ·of TDOC to work on the execution?

·2· ·A.· · ·Correct.

·3· ·Q.· · ·Okay.· Is that -- does that include the

·4· ·executioner?

·5· ·A.· · ·No.

·6· ·Q.· · ·Okay.· But it includes the IV team?

·7· ·A.· · ·Correct.

·8· ·Q.· · ·And the EMTs, who you said are the IV team,

·9· ·right?

10· ·A.· · ·Correct.

11· ·Q.· · ·Okay.· Does it include the recorder?

12· ·A.· · ·No.

13· ·Q.· · ·Okay.· Does it include the drug procurer?

14· ·A.· · ·No.

15· ·Q.· · ·Okay.· The person who procures the drugs also

16· ·works at TDOC?

17· ·A.· · ·Correct.

18· ·Q.· · ·Okay.· And are they paid to be part of the

19· ·execution team?

20· ·A.· · ·"They"?

21· ·Q.· · ·They, I apologize.· Is -- are the members of

22· ·the IV team paid to be part of each execution?

23· ·A.· · ·They're paid to perform a duty, yes.

24· ·Q.· · ·Right.· And how much are they paid?

25· ·A.· · ·That I don't know off the top of my head.



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          36
                                                       38 of 352 PageID #: 8680
                       www.EliteReportingServices.com                         YVer1f
·1· ·Q.· · ·Okay.· But do you have to -- as the warden of

·2· ·Riverbend, do you have to approve whatever they're

·3· ·paid?

·4· ·A.· · ·No.

·5· ·Q.· · ·Okay.· Who does that?

·6· · · · · · · ·MR. SUTHERLAND:· I'm going to object

·7· ·under the protective order and instruct the warden

·8· ·not to answer who pays the people that participate

·9· ·in an execution.

10· ·BY MR. KURSMAN:

11· ·Q.· · ·Okay.· Are they paid for coming to TDOC for

12· ·trainings?

13· ·A.· · ·They are.

14· ·Q.· · ·Are they -- are they paid for reading the

15· ·protocol on their own?

16· ·A.· · ·You have to define reading it on their own.

17· ·Q.· · ·Sure.· So what I mean is there's the actual

18· ·executions.· There's scheduled trainings with the

19· ·executioners.

20· · · · · Do the IV team or the executioner read and

21· ·learn the protocol when they're not in these

22· ·trainings?

23· ·A.· · ·No.

24· ·Q.· · ·Okay.· So the only time that they're trained

25· ·on the protocol is when they're at these scheduled



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          37
                                                       39 of 352 PageID #: 8681
                       www.EliteReportingServices.com                         YVer1f
·1· ·trainings?

·2· ·A.· · ·Correct.

·3· ·Q.· · ·Okay.· Do they bring the protocols home with

·4· ·them, do you know?

·5· ·A.· · ·No.

·6· ·Q.· · ·Okay.· So they leave the protocol, which I'll

·7· ·show you in a minute, but they leave the protocol at

·8· ·TDOC?

·9· ·A.· · ·At the facility.

10· ·Q.· · ·At the facility.

11· ·A.· · ·Correct.

12· ·Q.· · ·Okay.· So the group of people who come in who

13· ·aren't employees of TDOC, and these are the members

14· ·of the execution team that we're talking about now,

15· ·they come to these trainings and they're given the

16· ·protocol at the trainings?· Is that how it works?

17· ·A.· · ·When you say "members of the execution team,"

18· ·now you're including everyone.

19· ·Q.· · ·Yeah, I apologize.· When I'm talking right

20· ·now and saying "members of the execution team," all

21· ·I'm talking about is the IV team and the EMTs, who

22· ·are one and the same.· They come and they're just

23· ·given the protocol at that time?

24· ·A.· · ·Correct.

25· ·Q.· · ·Okay.· Is the physician there as well who --



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          38
                                                       40 of 352 PageID #: 8682
                       www.EliteReportingServices.com                         YVer1f
·1· ·who works on the -- with the executioners?

·2· ·A.· · ·Not every time.

·3· ·Q.· · ·Okay.· Do you know how much they're paid

·4· ·hourly?

·5· ·A.· · ·I do not.

·6· ·Q.· · ·Okay.· And are you the person who's

·7· ·responsible for training the EMTs/the IV team

·8· ·members for an execution?

·9· ·A.· · ·Define "training."

10· ·Q.· · ·Leading these scheduled trainings.

11· ·A.· · ·I do lead the trainings.

12· ·Q.· · ·Do you make sure that they understand what is

13· ·said in the protocol?

14· ·A.· · ·Yes.

15· ·Q.· · ·Okay.· Is there a reason that you don't give

16· ·them the protocol to bring home with them?

17· ·A.· · ·I don't give anyone the protocol to take home

18· ·with them.

19· ·Q.· · ·And what is the reason for that?

20· ·A.· · ·I keep it as confidential as possible.

21· ·Q.· · ·Okay.· Why?

22· ·A.· · ·I just don't want it in anyone's hands

23· ·outside the facility.

24· ·Q.· · ·Okay.· Is the -- are you aware that the

25· ·protocol has been filed in federal district court --



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          39
                                                       41 of 352 PageID #: 8683
                       www.EliteReportingServices.com                         YVer1f
·1· ·A.· · ·I am.

·2· ·Q.· · ·-- so it's a public document?

·3· ·A.· · ·I am.

·4· ·Q.· · ·So is there a reason that you wouldn't want

·5· ·the people who are conducting the executions to know

·6· ·exactly what it says?

·7· ·A.· · ·It's not that I don't want them to know what

·8· ·it says, I just don't let them leave the facility

·9· ·with it.

10· ·Q.· · ·And do you think they have a thorough

11· ·understanding of the protocol, everybody on --

12· · · · · · · ·MR. SUTHERLAND:· Object to the form.

13· ·BY MR. KURSMAN:

14· ·Q.· · ·-- the execution team?

15· · · · · · · ·MR. SUTHERLAND:· You can answer.

16· · · · · · · ·THE WITNESS:· I don't know what they're

17· ·thinking -- they have to think for themselves -- but

18· ·I would hope that they do.

19· ·BY MR. KURSMAN:

20· ·Q.· · ·Okay.· Do you give them a test on the

21· ·protocol?

22· ·A.· · ·I do not.

23· ·Q.· · ·Does anybody test them on the protocol?

24· ·A.· · ·That I would not know.

25· ·Q.· · ·Okay.· You wouldn't know whether anybody



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          40
                                                       42 of 352 PageID #: 8684
                       www.EliteReportingServices.com                         YVer1f
·1· ·tests the execution team on the protocol?

·2· ·A.· · ·I wouldn't -- I would not know that, but...

·3· · · · · · · ·(WHEREUPON, the above-mentioned

·4· ·document was presented, previously marked as

·5· ·Exhibit Number 1.)

·6· ·BY MR. KURSMAN:

·7· ·Q.· · ·Okay.· Let's turn to Exhibit 1, which is in

·8· ·front of you in that packet.

·9· · · · · And have you seen Exhibit 1 before?

10· ·A.· · ·I'm sorry?

11· ·Q.· · ·Have you seen Exhibit 1 before?

12· ·A.· · ·I have.

13· ·Q.· · ·Okay.· And is this the current TDOC

14· ·procedures for planning and carrying out the

15· ·execution of prisoners?

16· ·A.· · ·It is.

17· ·Q.· · ·Okay.· And if I refer to it as "the

18· ·protocol," will you understand what I'm talking

19· ·about?

20· ·A.· · ·I will.

21· ·Q.· · ·Okay.· How are you aware of the protocol?

22· ·A.· · ·I'm aware of the protocol -- when I first

23· ·became part of the execution team, I had to review

24· ·it as well.

25· ·Q.· · ·And is that when you were what is now



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          41
                                                       43 of 352 PageID #: 8685
                       www.EliteReportingServices.com                         YVer1f
·1· ·referred to as associate warden?

·2· ·A.· · ·Correct.

·3· ·Q.· · ·Okay.· And when you were in that position

·4· ·that I'll call associate warden, did you attend all

·5· ·of the trainings?

·6· ·A.· · ·I did.

·7· ·Q.· · ·Okay.· And did the warden at that time attend

·8· ·all of the trainings?

·9· ·A.· · ·Best of my recollection, yes.

10· ·Q.· · ·Okay.· And now that you're the warden, do you

11· ·attend all the trainings?

12· ·A.· · ·Best of my recollection, I've attended all

13· ·except for two.

14· ·Q.· · ·Which two did you not attend?

15· ·A.· · ·I had COVID.

16· ·Q.· · ·Okay.

17· ·A.· · ·And my sister passed.

18· ·Q.· · ·I'm sorry to hear that.

19· · · · · When you weren't able to attend those

20· ·trainings, did the associate warden take over in

21· ·your duties?

22· ·A.· · ·Yes, he did.

23· ·Q.· · ·Okay.· So could we turn to -- let me ask you

24· ·this:· How long has this current protocol been in

25· ·place, if you know?



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          42
                                                       44 of 352 PageID #: 8686
                       www.EliteReportingServices.com                         YVer1f
·1· ·A.· · ·This current one has a revision date, lower

·2· ·left, July 5th, 2018.

·3· ·Q.· · ·And were you the warden at that time?

·4· ·A.· · ·I was.

·5· ·Q.· · ·So you were the warden for a protocol before

·6· ·this and also for the new protocol?

·7· ·A.· · ·Correct.

·8· ·Q.· · ·Okay.· Did you help create this protocol?

·9· ·A.· · ·Did not.

10· ·Q.· · ·Okay.· You didn't write any of the sections

11· ·in this protocol?

12· ·A.· · ·None.

13· ·Q.· · ·Okay.· Did anybody come to you and say,

14· ·"Warden Mays, does this make sense?"

15· ·A.· · ·No.

16· ·Q.· · ·Okay.· So you didn't give your stamp of

17· ·approval on any section of the protocol?

18· ·A.· · ·No.

19· ·Q.· · ·Okay.· Do you know if the instructions in the

20· ·protocol are mandatory?

21· ·A.· · ·I will say it is our protocol and that's what

22· ·we go by.

23· ·Q.· · ·Okay.· So does that -- is that a "yes," that

24· ·they are mandatory?

25· ·A.· · ·That is a "yes."



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          43
                                                       45 of 352 PageID #: 8687
                       www.EliteReportingServices.com                         YVer1f
·1· ·Q.· · ·Okay.· So if you wanted to deviate from the

·2· ·protocol, what would you do?

·3· ·A.· · ·I don't deviate.

·4· ·Q.· · ·Okay.· Can anybody decide to deviate from the

·5· ·protocol?

·6· ·A.· · ·That I would not know.

·7· ·Q.· · ·Could the commissioner deviate from the

·8· ·protocol?

·9· ·A.· · ·That I would not know.

10· ·Q.· · ·Okay.

11· · · · · · · ·MR. SUTHERLAND:· Object to the form.

12· ·BY MR. KURSMAN:

13· ·Q.· · ·Can the executioner deviate from the

14· ·protocol?

15· · · · · · · ·MR. SUTHERLAND:· Object to the form.

16· ·BY MR. KURSMAN:

17· ·Q.· · ·You can answer.

18· ·A.· · ·No.

19· ·Q.· · ·Okay.· Can the IV team deviate from the

20· ·protocol?

21· · · · · · · ·MR. SUTHERLAND:· Object to the form.

22· · · · · · · ·THE WITNESS:· No.

23· ·BY MR. KURSMAN:

24· ·Q.· · ·Can the drug procurer deviate from the

25· ·protocol?



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          44
                                                       46 of 352 PageID #: 8688
                       www.EliteReportingServices.com                         YVer1f
·1· · · · · · · ·MR. SUTHERLAND:· Object to the form.

·2· · · · · · · ·THE WITNESS:· That I would not know.

·3· ·BY MR. KURSMAN:

·4· ·Q.· · ·Okay.· And what would you do as the warden if

·5· ·someone deviated from the protocol?

·6· ·A.· · ·When I have jurisdiction at the site doing

·7· ·training purposes, doing an actual procedure, I'm

·8· ·there.· And if I observe a deviation during

·9· ·practices, I will probably make mention afterwards.

10· ·During actual situations, and thank God we haven't

11· ·had to do that, I would call it right then.

12· ·Q.· · ·And what if there's a deviation during an

13· ·actual execution?· What would you do?

14· ·A.· · ·I don't know, I've never had to do it.

15· ·Q.· · ·Okay.· So while you've been warden, have you

16· ·ever noticed a deviation from the protocol?

17· ·A.· · ·In what --

18· · · · · · · ·MR. SUTHERLAND:· Object to the form.

19· ·BY MR. KURSMAN:

20· ·Q.· · ·You can answer.

21· ·A.· · ·In what form?

22· ·Q.· · ·Have you ever noticed the executioner deviate

23· ·from the protocol?

24· ·A.· · ·I haven't.

25· ·Q.· · ·Have you ever noticed the IV team deviate



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          45
                                                       47 of 352 PageID #: 8689
                       www.EliteReportingServices.com                         YVer1f
·1· ·from the protocol?

·2· ·A.· · ·No.

·3· ·Q.· · ·Have you ever noticed the drug procurer

·4· ·deviate from the protocol?

·5· ·A.· · ·That I would not know.

·6· ·Q.· · ·Okay.· So you have never noticed the drug

·7· ·procurer deviating from the protocol?

·8· ·A.· · ·That I would not know whether a deviation was

·9· ·there or not.

10· ·Q.· · ·My question is only have you noticed it, not

11· ·whether the drug procurer has.

12· ·A.· · ·No.

13· ·Q.· · ·Have you noticed?

14· ·A.· · ·No.

15· ·Q.· · ·Okay.· And if somebody decided that a

16· ·deviation needed to happen in the protocol to go

17· ·forward with an execution or to store things or to

18· ·make sure that something went smoothly with the

19· ·execution procedure, who would they go to to say,

20· ·"We need to deviate from this protocol?"

21· · · · · · · ·MR. SUTHERLAND:· I'm going to object to

22· ·the form and object to the identification, I mean,

23· ·within the question.

24· ·BY MR. KURSMAN:

25· ·Q.· · ·And I apologize.· Without revealing any



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          46
                                                       48 of 352 PageID #: 8690
                       www.EliteReportingServices.com                         YVer1f
·1· ·identities, who would they go to to ask to deviate

·2· ·from the protocol?

·3· · · · · · · ·MR. SUTHERLAND:· Objection, form.

·4· · · · · · · ·You can answer.

·5· · · · · · · ·THE WITNESS:· It would be above me.

·6· ·BY MR. KURSMAN:

·7· ·Q.· · ·Okay.

·8· ·A.· · ·That I would not know.

·9· ·Q.· · ·And if that person above you gave someone the

10· ·approval to deviate from the protocol, do you think

11· ·they would notify you that they were going to

12· ·allow --

13· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

14· ·BY MR. KURSMAN:

15· ·Q.· · ·-- a deviation from the protocol?

16· ·A.· · ·Yes.

17· ·Q.· · ·Okay.· Do you know what was relied on to

18· ·create the protocol?

19· ·A.· · ·No.

20· ·Q.· · ·Do you know who created the protocol?

21· · · · · · · ·MR. SUTHERLAND:· I'm going to object to

22· ·the identities of people other than the named

23· ·defendants.

24· ·BY MR. KURSMAN:

25· ·Q.· · ·And you can answer without revealing any



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          47
                                                       49 of 352 PageID #: 8691
                       www.EliteReportingServices.com                         YVer1f
·1· ·identities.· And it was just a yes or no question --

·2· ·A.· · ·No.

·3· ·Q.· · ·-- what -- okay.

·4· · · · · And I think you said this before, but were

·5· ·you asked to consult about the creation of the

·6· ·protocol?· Meaning did they ask you your opinion --

·7· ·the people that created this protocol, did they ask

·8· ·you your opinion about any section in the protocol?

·9· ·A.· · ·No.

10· ·Q.· · ·Do you think, as the warden, you should have

11· ·been asked --

12· · · · · · · ·MR. SUTHERLAND:· Object to the form.

13· ·BY MR. KURSMAN:

14· ·Q.· · ·-- about things within the protocol?

15· ·A.· · ·It is my duty to carry it out, not to say how

16· ·it is to be carried out.· And that would be a no.

17· ·Q.· · ·Okay.· So in front of you you have Exhibit 1.

18· ·Do you want to take a minute to look through it

19· ·today?

20· ·A.· · ·I'm good.

21· ·Q.· · ·Okay.· And when was the last time you

22· ·reviewed this document?

23· ·A.· · ·12, 14 hours ago.

24· ·Q.· · ·Okay.· And did you read the full protocol

25· ·front to back?



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          48
                                                       50 of 352 PageID #: 8692
                       www.EliteReportingServices.com                         YVer1f
·1· ·A.· · ·No.

·2· ·Q.· · ·Okay.· What did you read 12 to 14 hours ago

·3· ·when you were looking at the protocol?

·4· ·A.· · ·Just certain sections of it, none to be in

·5· ·particular, just glanced through it.

·6· ·Q.· · ·Okay.· Which sections do you remember looking

·7· ·at?

·8· ·A.· · ·It would begin with page 1, and, like I said,

·9· ·I can't recall.· I just thumbed through it.

10· ·Wherever I landed, I just read it.

11· ·Q.· · ·Okay.· And do you know why you did that?

12· ·A.· · ·It's always good to refresh.

13· ·Q.· · ·Have you ever read the entire protocol in its

14· ·entirety?

15· ·A.· · ·I have.

16· ·Q.· · ·When was -- when was the last time you did

17· ·that?

18· ·A.· · ·I can't recall exact date.· It was probably

19· ·sometime this year.

20· ·Q.· · ·Okay.· And when reading the protocol, did you

21· ·ever have any questions about what things meant?

22· ·A.· · ·It's pretty clear.

23· ·Q.· · ·So is that a "no"?

24· ·A.· · ·That's a "no."

25· ·Q.· · ·Okay.



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          49
                                                       51 of 352 PageID #: 8693
                       www.EliteReportingServices.com                         YVer1f
·1· ·A.· · ·Sorry.

·2· ·Q.· · ·And did you ever take any notes on the

·3· ·protocol and ask questions to any of the

·4· ·executioners about what things may mean in the

·5· ·protocol?

·6· ·A.· · ·Take notes and ask the executioner?

·7· ·Q.· · ·Yeah, meaning -- and I apologize.· It's a

·8· ·poorly worded question.· Meaning did you ever look

·9· ·at the protocol and say, "I don't understand what

10· ·this term means.· Let me ask the execution team what

11· ·they think it means"?

12· ·A.· · ·We may ask questions even though we

13· ·understand.· We do confer with each other.

14· ·Q.· · ·Okay.· So describe to me how you would confer

15· ·with each other even though you do understand.

16· ·A.· · ·Sometimes me as a person, myself, only

17· ·speaking about myself, I may know something but just

18· ·ask someone just to see if I can get a clearer

19· ·understanding, even though I already understand what

20· ·it says.

21· ·Q.· · ·And you've done that in regards to this

22· ·protocol?

23· ·A.· · ·Not -- yes, parts of it, not all of it.

24· ·Q.· · ·Do you remember which parts of that you've

25· ·done to this protocol?



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          50
                                                       52 of 352 PageID #: 8694
                       www.EliteReportingServices.com                         YVer1f
·1· ·A.· · ·I do not.· That's a "no."

·2· ·Q.· · ·Has there ever been a time where your

·3· ·understanding of the protocol was different from

·4· ·someone else's understanding of the protocol?

·5· ·A.· · ·May have been.· That's a "yes."

·6· ·Q.· · ·Okay.· Do you remember when?

·7· ·A.· · ·I do not.

·8· ·Q.· · ·Do you remember what provisions in the

·9· ·protocol where your understanding was different than

10· ·someone else's?

11· ·A.· · ·Not -- that's a "no."

12· ·Q.· · ·Okay.· And what would you do if your

13· ·understanding of the protocol was different from

14· ·somebody else's understanding of the protocol?· How

15· ·would you resolve those differences?

16· ·A.· · ·Discussing an understanding.

17· ·Q.· · ·Okay.· Would you bring it to the people who

18· ·created the protocol?

19· ·A.· · ·Yes.

20· ·Q.· · ·Have you done that?

21· ·A.· · ·No.

22· ·Q.· · ·Okay.· Have you asked the people who created

23· ·the protocol to define any terms in the protocol?

24· ·A.· · ·No.

25· ·Q.· · ·Okay.· Has any members of the execution



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          51
                                                       53 of 352 PageID #: 8695
                       www.EliteReportingServices.com                         YVer1f
·1· ·team -- and when I say the execution team, I mean

·2· ·the entire execution team now.· Has any members of

·3· ·the execution team ever went to the creators of the

·4· ·protocol to ask them to define terms in the

·5· ·protocol?

·6· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·7· · · · · · · ·THE WITNESS:· I can't speak about

·8· ·members of the execution team, what they would do

·9· ·outside of my knowledge, so I guess that would be a

10· ·"no."

11· ·BY MR. KURSMAN:

12· ·Q.· · ·If any members of the execution team had

13· ·questions about the protocol, would they go to you?

14· ·A.· · ·They --

15· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

16· · · · · · · ·You can answer.

17· · · · · · · ·THE WITNESS:· They should.

18· ·BY MR. KURSMAN:

19· ·Q.· · ·Okay.· And then would it be your

20· ·responsibility to go to people higher up than you?

21· ·A.· · ·Yes.

22· ·Q.· · ·Okay.· I'm just trying to get a clear

23· ·understanding of how the prison operations work.

24· ·Does it work that people under you who report to you

25· ·aren't supposed to go over your head to get answers?



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          52
                                                       54 of 352 PageID #: 8696
                       www.EliteReportingServices.com                         YVer1f
·1· ·A.· · ·Yes.

·2· ·Q.· · ·Okay.· Okay.· Do you know who authorized the

·3· ·State to conduct executions under this protocol?

·4· · · · · · · ·MR. SUTHERLAND:· Yeah, I'm going to

·5· ·object to the identity or any person that's not a

·6· ·named party under the protective order.

·7· · · · · · · ·THE WITNESS:· Define your question,

·8· ·please.

·9· ·BY MR. KURSMAN:

10· ·Q.· · ·Sure.· And I'm sorry.· Meaning do you know if

11· ·this was authorized by the governor?· If this was

12· ·authorized by TDOC's general counsel?· Just in

13· ·general terms, when you got this protocol, without

14· ·identifying any names, do you know where this

15· ·protocol came from?

16· ·A.· · ·I do not, no.

17· ·Q.· · ·Okay.· And do you know if the State is

18· ·allowed to conduct executions using any other

19· ·methods?

20· ·A.· · ·Yes.

21· ·Q.· · ·Okay.· And what are those methods?

22· ·A.· · ·Other than lethal injection would be

23· ·electrocution.

24· ·Q.· · ·Okay.· How about other than the current

25· ·lethal injection method, the three drugs prescribed



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          53
                                                       55 of 352 PageID #: 8697
                       www.EliteReportingServices.com                         YVer1f
·1· ·by this protocol?

·2· ·A.· · ·Not that I know of.

·3· ·Q.· · ·Okay.· And have you received any other

·4· ·trainings for executions aside from what is in this

·5· ·protocol?

·6· ·A.· · ·Training, no.

·7· ·Q.· · ·Do you do trainings for electrocutions?

·8· ·A.· · ·Yes.

·9· ·Q.· · ·Okay.· And is the same team that conducts the

10· ·trainings for the lethal injection protocol, is that

11· ·the same team that is involved in the electrocution

12· ·protocol?

13· ·A.· · ·Yes.

14· ·Q.· · ·Okay.· Is it all the same people?

15· ·A.· · ·Yes.

16· ·Q.· · ·Okay.· Are the members of the IV team also

17· ·involved in the electrocution protocol?

18· ·A.· · ·No.

19· ·Q.· · ·Okay.· So who is part of the electrocution

20· ·protocol, without disclosing any names?· All I'm

21· ·looking for is titles.

22· ·A.· · ·Everyone, to exclude the IV team.

23· ·Q.· · ·Okay.· And do you -- does the execution team

24· ·ever practice for a one-drug protocol?

25· ·A.· · ·No.



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          54
                                                       56 of 352 PageID #: 8698
                       www.EliteReportingServices.com                         YVer1f
·1· ·Q.· · ·Okay.· Have you ever attended any one-drug

·2· ·protocol trainings?

·3· ·A.· · ·No.

·4· ·Q.· · ·Okay.· So as your time as associate warden

·5· ·and warden, you've only attended execution protocols

·6· ·for the three-drug current execution protocol --

·7· ·execution trainings?· I'm sorry.· Let me -- let me

·8· ·ask that question again.

·9· · · · · As your time at TDOC as both the associate

10· ·warden and the warden, has every training that

11· ·you've attended only been for the current

12· ·three-drug execution protocol?

13· ·A.· · ·To include electrocution?

14· ·Q.· · ·Oh, I apologize.· And electrocution as well?

15· ·A.· · ·Correct.

16· ·Q.· · ·Okay.· So let's go to page 6 in the protocol.

17· ·Let me know when you get there.

18· · · · · And do you -- do you see at the very bottom,

19· ·the last two sentences say, "This manual explains

20· ·the procedures for lethal injection.· It will be

21· ·reviewed annually or as needed by a designated

22· ·panel."

23· · · · · Do you see that?

24· ·A.· · ·I do.

25· ·Q.· · ·Are you on that panel?



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          55
                                                       57 of 352 PageID #: 8699
                       www.EliteReportingServices.com                         YVer1f
·1· ·A.· · ·No.

·2· ·Q.· · ·Okay.· Without disclosing any names, do you

·3· ·know who's on that panel?

·4· ·A.· · ·No.

·5· ·Q.· · ·Okay.· Do you know if the protocol has been

·6· ·reviewed by anyone since 2018?

·7· ·A.· · ·For revision purposes?· Or just reviewed?

·8· ·Q.· · ·For revision purposes.

·9· ·A.· · ·No.

10· ·Q.· · ·Okay.· How about do you know if the protocol

11· ·has been reviewed by this panel that we're

12· ·discussing right now?· Do you know if the protocol

13· ·has been reviewed by this panel since 2018?

14· ·A.· · ·For revision or just reviewed?

15· ·Q.· · ·Just reviewed.

16· ·A.· · ·I wouldn't know that.

17· ·Q.· · ·Okay.· Let's go to page 1 of the -- turn back

18· ·to page 1 of Exhibit 1.· And let me know when you

19· ·get there.

20· ·A.· · ·Page 1 of...

21· ·Q.· · ·Exhibit 1, so just a few pages back.

22· ·A.· · ·Okay.

23· ·Q.· · ·Do you see at the very bottom it says -- the

24· ·last paragraph says, "It will be used as a guideline

25· ·for the Warden to assure that operational functions



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          56
                                                       58 of 352 PageID #: 8700
                       www.EliteReportingServices.com                         YVer1f
·1· ·are properly planned with the staff who have

·2· ·designated responsibilities in performing a

·3· ·judicially ordered execution by lethal injection."

·4· · · · · What does that paragraph mean to you?

·5· ·A.· · ·That this manual, this protocol, is used as a

·6· ·guideline for us to carry out an execution

·7· ·effectively.

·8· ·Q.· · ·And what does the term "guideline" mean to

·9· ·you?

10· ·A.· · ·"Guideline" to me means they give you

11· ·something to go by.

12· ·Q.· · ·And you would have to follow that guideline?

13· ·Is that -- is that what it means?

14· ·A.· · ·Correct.

15· ·Q.· · ·Okay.· And do you see that it says, "For the

16· ·warden to assure that operational functions are

17· ·properly planned with the staff"?

18· ·A.· · ·I do see that.

19· ·Q.· · ·How do you ensure that operational functions

20· ·are properly planned?

21· ·A.· · ·Very carefully, practices, rehearsals.

22· ·Q.· · ·And are you the one who's overseeing the

23· ·execution team in all of the practices aside from

24· ·the two that we just mentioned?

25· ·A.· · ·I am.



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          57
                                                       59 of 352 PageID #: 8701
                       www.EliteReportingServices.com                         YVer1f
·1· ·Q.· · ·Okay.· And are you the one who is overseeing

·2· ·the entire execution team during an actual

·3· ·execution?

·4· ·A.· · ·I am.

·5· ·Q.· · ·Okay.· And are -- so you're the one to ensure

·6· ·that the operational functions are followed in this

·7· ·protocol?

·8· ·A.· · ·Correct.

·9· ·Q.· · ·Okay.· Does anyone else oversee the execution

10· ·team aside from you?

11· ·A.· · ·Define "oversee."

12· ·Q.· · ·Does anybody else monitor the execution team

13· ·to make sure they're doing what the protocol

14· ·instructs them to do?

15· · · · · · · ·MR. SUTHERLAND:· He can answer if

16· ·there's a title, but without identifying anyone, if

17· ·there is a person.

18· · · · · · · ·THE WITNESS:· You talking about actual

19· ·rehearsal?

20· ·BY MR. KURSMAN:

21· ·Q.· · ·I'm talking about both the rehearsal and an

22· ·execution.· And I apologize for not being clear.

23· ·Any time I'm asking for a name, I don't mean the

24· ·actual name, I just want the title --

25· ·A.· · ·I understand.



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          58
                                                       60 of 352 PageID #: 8702
                       www.EliteReportingServices.com                         YVer1f
·1· ·Q.· · ·-- in the execution protocol.

·2· · · · · · · ·MR. SUTHERLAND:· Could you repeat the

·3· ·question, Alex?

·4· · · · · · · ·MR. KURSMAN:· Sure.

·5· ·BY MR. KURSMAN:

·6· ·Q.· · ·Does anyone else oversee the execution team

·7· ·either during a rehearsal or during an execution,

·8· ·aside from you?

·9· ·A.· · ·That would be a "yes."

10· ·Q.· · ·Okay.· And by their title, who would that be?

11· ·A.· · ·That would be, by the title, commissioner.

12· ·Q.· · ·Okay.· So is the commissioner also in the

13· ·execution trainings?

14· ·A.· · ·Yes.

15· ·Q.· · ·Okay.· Has he attended every training as

16· ·well?

17· ·A.· · ·No.

18· ·Q.· · ·Okay.· How many trainings would you say he

19· ·attends?

20· ·A.· · ·That I wouldn't know.

21· ·Q.· · ·Okay.· But you are at those trainings too,

22· ·right?

23· ·A.· · ·Other than the two I missed.

24· ·Q.· · ·Right.· Do you think he's at at least half of

25· ·the trainings?



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          59
                                                       61 of 352 PageID #: 8703
                       www.EliteReportingServices.com                         YVer1f
·1· ·A.· · ·That I wouldn't know.

·2· ·Q.· · ·Okay.· Is he at the executions?

·3· ·A.· · ·Yes.

·4· ·Q.· · ·Okay.· And does he monitor you as well to

·5· ·make sure you're doing your job?

·6· ·A.· · ·Yes.

·7· ·Q.· · ·Okay.· So you monitor the entire execution

·8· ·team that's below you.· He then monitors the entire

·9· ·execution team as well but also includes you in that

10· ·monitoring --

11· ·A.· · ·Correct.

12· ·Q.· · ·-- is that right?

13· ·A.· · ·Yes.

14· ·Q.· · ·Okay.· Now, let's go to the top paragraph

15· ·of -- still on page 1.· And in the third line down

16· ·it says -- talking about the protocol it says, "It

17· ·contains a detailed listing of some of the duties

18· ·and responsibilities of certain key departmental

19· ·personnel."

20· · · · · Do you see that?

21· ·A.· · ·I do.

22· ·Q.· · ·Okay.· Are there any instructions that aren't

23· ·included in the protocol for the execution team?

24· ·A.· · ·Not that I'm aware of, no.

25· ·Q.· · ·Okay.· Do you see it says, "Some of the



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          60
                                                       62 of 352 PageID #: 8704
                       www.EliteReportingServices.com                         YVer1f
·1· ·duties"?

·2· ·A.· · ·I do.

·3· ·Q.· · ·Okay.· Why doesn't it contain a detailed

·4· ·listing of all of their duties?

·5· ·A.· · ·That I wouldn't know.

·6· ·Q.· · ·Okay.· Are there any duties that any member

·7· ·of the execution team carries out that you know of

·8· ·that's not spelled out in the protocol?

·9· ·A.· · ·No.

10· ·Q.· · ·Okay.· And I think you said before that you

11· ·aren't aware of any other instructions for members

12· ·of the protocol to carry out an execution aside from

13· ·what's contained in the protocol, correct?

14· ·A.· · ·Correct.

15· ·Q.· · ·Okay.· So let's go to page 8 of Exhibit 1.

16· · · · · And do you see it says at the top

17· ·"Definitions"?

18· ·A.· · ·Correct.

19· ·Q.· · ·Okay.· And then do you see it lists all the

20· ·members of the execution team?· The sixth term.

21· ·A.· · ·Six down?

22· ·Q.· · ·Yeah.

23· ·A.· · ·Yes.

24· ·Q.· · ·Okay.· Without identifying any of these

25· ·people, do you know who all these people are?



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          61
                                                       63 of 352 PageID #: 8705
                       www.EliteReportingServices.com                         YVer1f
·1· ·A.· · ·Yes.

·2· ·Q.· · ·Okay.· And is each role always filled by the

·3· ·same individual?

·4· ·A.· · ·No.

·5· ·Q.· · ·Okay.· And I think you described this before,

·6· ·but can you tell me exactly how that works that

·7· ·individuals perform different roles at different

·8· ·practices or different executions?

·9· ·A.· · ·Escort officers, the last one in the

10· ·paragraph, escort officers may be different the next

11· ·practice than it was the practice before that were

12· ·possibly cross-trained.· Extraction team may vary,

13· ·cross-train.· And other than myself, allow the

14· ·associate warden of security to train in what I do,

15· ·that's basically it.

16· ·Q.· · ·And when you say the extraction team or the

17· ·escort officers may change, do you just mean they

18· ·may -- the same people, like an escort officer may

19· ·become an extraction officer?· Or do you mean that

20· ·people outside of the execution team may come in?

21· ·A.· · ·No, the first.

22· ·Q.· · ·Okay.· Okay.· Do you know if every execution

23· ·team member, without identifying who they are, has

24· ·previous execution experience?

25· ·A.· · ·That I wouldn't know.



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          62
                                                       64 of 352 PageID #: 8706
                       www.EliteReportingServices.com                         YVer1f
·1· ·Q.· · ·Okay.· How about the most recent IV team

·2· ·member that was recently hired?· Does that person

·3· ·have previous execution experience?

·4· ·A.· · ·That I wouldn't know.

·5· ·Q.· · ·Did you hire that person?

·6· ·A.· · ·I did.

·7· ·Q.· · ·Okay.· And you said you checked that person's

·8· ·background?

·9· ·A.· · ·I did.

10· ·Q.· · ·And you interviewed that person?

11· ·A.· · ·I did.

12· ·Q.· · ·You didn't ask them whether they had prior

13· ·execution experience?

14· ·A.· · ·I did.

15· ·Q.· · ·And did they tell you whether they did?

16· ·A.· · ·They did not.

17· ·Q.· · ·Okay.· They -- you asked them whether they

18· ·had prior execution experience?

19· ·A.· · ·Correct.

20· ·Q.· · ·And what was their answer?

21· ·A.· · ·They did not.

22· ·Q.· · ·Oh, they do not.· Okay.

23· · · · · So this member of the execution team, at

24· ·least one member, one IV team member, has no prior

25· ·execution experience?



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          63
                                                       65 of 352 PageID #: 8707
                       www.EliteReportingServices.com                         YVer1f
·1· ·A.· · ·According to her verbal testimony.

·2· ·Q.· · ·Okay.· Does any other member of the execution

·3· ·team not have prior execution experience?

·4· ·A.· · ·We have new members since the last execution

·5· ·that wasn't involved in one.

·6· ·Q.· · ·Okay.· How many new members do you have?

·7· ·A.· · ·Probably about three to four members.

·8· ·Q.· · ·And these are members of the extraction team

·9· ·or of the escort team?

10· ·A.· · ·Correct.

11· ·Q.· · ·Okay.· And why do you have new members?

12· ·A.· · ·Members have moved on.

13· ·Q.· · ·Okay.· Meaning they no longer work at TDOC?

14· ·A.· · ·They no longer work at TDOC or no longer want

15· ·to be a part of the team.

16· ·Q.· · ·Okay.· And do you offer mental health

17· ·counseling to these members of the execution team?

18· ·A.· · ·Yes.

19· ·Q.· · ·Okay.· And do they take that counseling?

20· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

21· · · · · · · ·THE WITNESS:· To the best of my

22· ·recollection, my memory, I am not aware of any that

23· ·have accepted any counseling session.

24· ·BY MR. KURSMAN:

25· ·Q.· · ·Okay.· And have you accepted any counseling



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          64
                                                       66 of 352 PageID #: 8708
                       www.EliteReportingServices.com                         YVer1f
·1· ·sessions for your role in executions?

·2· ·A.· · ·No.

·3· ·Q.· · ·Okay.· Why do you think no one from the

·4· ·execution team has accepted any mental health

·5· ·counseling for their role in the executions?

·6· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·7· · · · · · · ·You can answer.

·8· · · · · · · ·THE WITNESS:· I would say within the

·9· ·facility that we offer no one have because I

10· ·probably would know, unless they wanted to keep it

11· ·confidential within themselves.· Outside the

12· ·facility, I would not know.· But I don't know of

13· ·anyone that have asked or received any mental health

14· ·counseling.

15· ·BY MR. KURSMAN:

16· ·Q.· · ·Okay.· My question, though, is why?· Why do

17· ·you think everybody has declined?

18· · · · · · · ·MR. SUTHERLAND:· Same objection.

19· · · · · · · ·THE WITNESS:· That I wouldn't know.

20· ·BY MR. KURSMAN:

21· ·Q.· · ·Okay.· Let's turn to page 10 of the protocol.

22· · · · · And do you see this is a blueprint of what

23· ·appears to be rooms of the execution chamber and

24· ·then rooms surrounding the execution chamber?

25· ·A.· · ·Yes.



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          65
                                                       67 of 352 PageID #: 8709
                       www.EliteReportingServices.com                         YVer1f
·1· ·Q.· · ·Is that how you would describe this

·2· ·blueprint?

·3· ·A.· · ·Yes.

·4· ·Q.· · ·Okay.· And have you seen this blueprint

·5· ·before today?

·6· ·A.· · ·Yes.

·7· ·Q.· · ·Okay.· When was -- when was the last time you

·8· ·reviewed this?

·9· ·A.· · ·The last time that I reviewed this layout?

10· ·Q.· · ·The blueprint, yep.

11· ·A.· · ·I've glanced at it, but just studied it?

12· ·Probably yesterday.

13· ·Q.· · ·Okay.· And can you explain to me who is where

14· ·during an execution?· Meaning without identifying

15· ·any names, just the role of each person during an

16· ·execution, where they are in each of these rooms.

17· ·A.· · ·Excuse me.· And when you say "during the

18· ·execution," there's different points.

19· ·Q.· · ·Right.· So could you go through that entire

20· ·thing?

21· ·A.· · ·The preparation?

22· ·Q.· · ·All of it.· So we could start with

23· ·preparation, then bringing the inmate in, then

24· ·preparing the inmate for the IVs, then injecting the

25· ·drugs, just one by one if you could let me know



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          66
                                                       68 of 352 PageID #: 8710
                       www.EliteReportingServices.com                         YVer1f
·1· ·where everybody is and where everybody goes.

·2· ·A.· · ·Okay.· I will start with myself and associate

·3· ·warden of security, prior to -- and this will take a

·4· ·while.

·5· ·Q.· · ·Sure, take your time.

·6· ·A.· · ·Prior to -- I'll try to make it short --

·7· ·myself, the associate warden of security, one of

·8· ·the -- what we call the gurney persons, one of the

·9· ·escort persons will be in the gurney room -- that's

10· ·where you see the bed -- at the 7:00 hour.· We'll

11· ·start from there.

12· · · · · You see the execution chamber sallyport?

13· ·Okay, if you leave the gurney room, go through the

14· ·left door, that's an execution chamber sallyport.

15· ·Once you enter that, there's a door to the right.

16· ·And you enter a room that is not labeled.· That's

17· ·where the rest of the extraction team are located

18· ·at the 7:00 hour.

19· · · · · Where you see the lethal injection

20· ·executioner's room, that will be right to the

21· ·gurney room, the door that swings inward.· That's

22· ·where the IV team and the assistant commissioner is

23· ·located, the doctor is located.

24· · · · · Inside that lethal injection execution room,

25· ·if you go right and the door that swings inward



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          67
                                                       69 of 352 PageID #: 8711
                       www.EliteReportingServices.com                         YVer1f
·1· ·where that arrow actually spells out the lethal

·2· ·injection execution room.· That's where the

·3· ·executioner is located.

·4· · · · · The condemned -- which you probably know

·5· ·that, if you go into the death watch area to your

·6· ·extreme left, the death watch area, that broad

·7· ·area, Cell 1 is where the condemned will be

·8· ·located.

·9· · · · · Death watch area, the wide area, the room to

10· ·the left, which is the control room, if you can see

11· ·that, the door swings inward.· That's where the

12· ·recorder is located.

13· · · · · That's where the -- what we call our IT

14· ·team, but they defined them as ITS, they're located

15· ·in that room where the cameras, monitors, controls

16· ·are located in that room.

17· · · · · The death watch team is also in the death

18· ·watch area, be two correctional officers, one

19· ·lieutenant.

20· · · · · The facility maintenance supervisor, during

21· ·a lethal injection, will be located inside that

22· ·room as well, that room being the death watch

23· ·control room.· During an electrocution procedure,

24· ·that individual will actually be inside the

25· ·execution chamber.



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          68
                                                       70 of 352 PageID #: 8712
                       www.EliteReportingServices.com                         YVer1f
·1· · · · · I think that gets everybody.

·2· ·Q.· · ·Okay.· And once the execution begins to

·3· ·proceed, then where does everybody go?

·4· ·A.· · ·Proceed as in...?

·5· ·Q.· · ·Meaning you have the -- at this point, as I

·6· ·understand it, the inmate is still in Cell 1?

·7· ·A.· · ·Okay.

·8· ·Q.· · ·Okay.· What about once the inmate is taken

·9· ·from Cell 1?· Well, let's start with this.· Where

10· ·does the inmate go after he's in Cell 1?

11· ·A.· · ·7:00 hour, myself, the AW, and the gurney man

12· ·would leave the execution chamber, proceed through

13· ·execution chamber sallyport, proceed into death

14· ·watch area with the extraction team following

15· ·behind.· We proceed into that chamber.· I proceed to

16· ·Cell 1.· The condemned is removed from Cell 1,

17· ·placed on the gurney in that area, rolled from that

18· ·area back into the execution chamber.

19· ·Q.· · ·Okay.· So let me stop you there.· When you

20· ·say he's placed on the gurney in that area, does

21· ·that mean he's placed on the gurney in the death

22· ·watch area?

23· ·A.· · ·That is correct.

24· ·Q.· · ·Okay.· And who rolls him back into the

25· ·execution chamber?



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          69
                                                       71 of 352 PageID #: 8713
                       www.EliteReportingServices.com                         YVer1f
·1· ·A.· · ·The same individual that pushes the gurney in

·2· ·from the execution chamber.

·3· ·Q.· · ·And is he strapped down in the death watch

·4· ·area or is he strapped down in the execution

·5· ·chamber?

·6· ·A.· · ·He is strapped down in the death watch area.

·7· ·Q.· · ·Okay.· And is he strapped down any further

·8· ·once he gets to the execution chamber or is -- are

·9· ·the straps fully tightened in the death watch area?

10· ·A.· · ·They are -- they are tightened in the death

11· ·watch area.· He's strapped with restraints, leg

12· ·restraints, cuffs still on him at the time.· Once he

13· ·leaves that area and get to the execution chamber,

14· ·the leg irons and restraints are removed and the

15· ·straps are checked again to make sure that he is

16· ·secured.

17· ·Q.· · ·Okay.· And once he gets to the execution

18· ·chamber, who is in the execution chamber with him?

19· ·A.· · ·Once he gets to the execution chamber,

20· ·myself, the associate warden of security, the

21· ·extraction team would be in that area at that time.

22· ·Q.· · ·Okay.· And once you're all in that area, what

23· ·happens next?

24· ·A.· · ·Of course, all the individuals that I did not

25· ·make mention of, his attorney, they can come in, and



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          70
                                                       72 of 352 PageID #: 8714
                       www.EliteReportingServices.com                         YVer1f
·1· ·things of that sort.

·2· ·Q.· · ·They can come into the execution chamber?

·3· ·A.· · ·At that period.

·4· ·Q.· · ·Okay.· While the inmate is strapped to the

·5· ·gurney, the inmate's attorneys can come into the

·6· ·execution chamber at that period?

·7· ·A.· · ·Attorney.

·8· ·Q.· · ·Attorney?

·9· ·A.· · ·Uh-huh.

10· ·Q.· · ·Okay.· Okay.· And then what is the next step

11· ·in the execution procedure?

12· ·A.· · ·The next step, once the restraints are

13· ·removed, restraints being leg irons and handcuffs,

14· ·of course, the curtains and blinds are pulled, the

15· ·IV team would be brought into the room.

16· ·Q.· · ·And who is now in the room now that the IV

17· ·team is in there?

18· ·A.· · ·It's the IV -- myself, the associate warden

19· ·of security, IV team, one person from the extraction

20· ·team.

21· ·Q.· · ·And what does the IV team do while they're in

22· ·the execution chamber?

23· ·A.· · ·They come in to make preparation to insert

24· ·the IV.

25· ·Q.· · ·Okay.· And do you oversee the IV team at this



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          71
                                                       73 of 352 PageID #: 8715
                       www.EliteReportingServices.com                         YVer1f
·1· ·point?

·2· ·A.· · ·I don't oversee.· I'm there, but I'm

·3· ·watching.

·4· ·Q.· · ·Okay.· And what are you watching for?

·5· ·A.· · ·For anything.

·6· ·Q.· · ·Okay.· What does "anything" mean?

·7· ·A.· · ·I watch -- I watch a lot the emotions of the

·8· ·people in the room, the emotions of the condemned,

·9· ·the -- I watch everything, how they go about

10· ·applying the IV.· I just watch.

11· ·Q.· · ·Okay.· And would you know if they were

12· ·establishing an IV site that deviated from the

13· ·protocol?

14· ·A.· · ·I would not know.

15· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

16· ·BY MR. KURSMAN:

17· ·Q.· · ·Okay.

18· · · · · · · ·MR. SUTHERLAND:· You can answer.

19· ·BY MR. KURSMAN:

20· ·Q.· · ·Now, once they establish that IV site, where

21· ·does the IV team go?

22· ·A.· · ·Once they establish that IV site, they leave

23· ·and go back to the lethal -- go back into the room

24· ·where they left.

25· ·Q.· · ·Okay.· And -- but they're -- at their point



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          72
                                                       74 of 352 PageID #: 8716
                       www.EliteReportingServices.com                         YVer1f
·1· ·they're in the lethal injection executioner's room?

·2· ·A.· · ·Not in the room, they're in that area.

·3· ·Q.· · ·Okay.· Right.· Okay.· And who is now in the

·4· ·execution chamber?

·5· ·A.· · ·Once the IV is inserted, the only person in

·6· ·there is myself and the associate warden of

·7· ·security.

·8· ·Q.· · ·Okay.· And at this point are the blinds

·9· ·raised or are they still drawn?

10· ·A.· · ·They're still -- they're still drawn.

11· ·Q.· · ·Okay.· And then once the IV is established,

12· ·what is the next thing that is pushed into the IV?

13· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

14· · · · · · · ·THE WITNESS:· Other things have taken

15· ·place before -- you're talking about pushing,

16· ·inserting chemicals?

17· ·BY MR. KURSMAN:

18· ·Q.· · ·Sure, yes.

19· ·A.· · ·Okay.· Well, once everyone leaves the room

20· ·besides myself and the associate warden of security,

21· ·we ensure that audio is good, we ensure that

22· ·individuals that have left that room that has a

23· ·right to view are in place, that communication is

24· ·fed to my associate warden of security.· Once that

25· ·is in place, then he and I at the time raise the



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          73
                                                       75 of 352 PageID #: 8717
                       www.EliteReportingServices.com                         YVer1f
·1· ·blinds and open the curtains.

·2· ·Q.· · ·Okay.· So let me stop you there.· So where's

·3· ·the physician at this point?

·4· ·A.· · ·The physician is still in the room with the

·5· ·IV team.

·6· ·Q.· · ·Oh, the physician is not in the garage yet?

·7· ·A.· · ·Well, the garage is the outside area and the

·8· ·protocol says the physician will be in the garage,

·9· ·but the garage area -- you see that door goes out?

10· ·He may or may not be in the garage or he may be in

11· ·the room, either one.

12· ·Q.· · ·Okay.· So the -- so there's an inmate on the

13· ·gurney.· The IV lines are established.· The

14· ·executioner, is he -- he's in the room with the

15· ·little arrow at this point?

16· ·A.· · ·The lethal injection executioner's room.

17· ·Q.· · ·Right.· And the IV team is in this room that

18· ·doesn't actually have a name for it, with all these

19· ·doors going in; is that right?

20· ·A.· · ·Correct.

21· ·Q.· · ·Okay.· And the physician is either in the

22· ·garage or he's in this room that doesn't have a

23· ·name?

24· ·A.· · ·Yes.

25· ·Q.· · ·Okay.· Can you see into the execution chamber



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          74
                                                       76 of 352 PageID #: 8718
                       www.EliteReportingServices.com                         YVer1f
·1· ·from this room that doesn't have a name?

·2· ·A.· · ·No.

·3· ·Q.· · ·Okay.· Can you see into the execution chamber

·4· ·from the garage?

·5· ·A.· · ·No.

·6· ·Q.· · ·Okay.· Can you see into the execution chamber

·7· ·from the lethal injection executioner's room?

·8· ·A.· · ·Yes.

·9· ·Q.· · ·Okay.· Are there video monitors in this room

10· ·that doesn't have a name?

11· ·A.· · ·Repeat.

12· ·Q.· · ·Are there TVs in this room that doesn't have

13· ·a name, or are the --

14· ·A.· · ·No.

15· ·Q.· · ·Okay.· So what is the IV team doing in this

16· ·room that doesn't have a name --

17· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

18· ·BY MR. KURSMAN:

19· ·Q.· · ·-- at this point?

20· ·A.· · ·They're just sitting.

21· ·Q.· · ·Okay.· And what is the physician doing in the

22· ·garage or either in this room that doesn't have a

23· ·name?

24· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

25· · · · · · · ·You can answer.



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          75
                                                       77 of 352 PageID #: 8719
                       www.EliteReportingServices.com                         YVer1f
·1· · · · · · · ·THE WITNESS:· Either sitting or

·2· ·standing, one of the two.

·3· ·BY MR. KURSMAN:

·4· ·Q.· · ·Okay.· And what is the executioner doing at

·5· ·this point?

·6· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·7· · · · · · · ·You can answer.

·8· · · · · · · ·THE WITNESS:· The executioner is

·9· ·monitoring.

10· ·BY MR. KURSMAN:

11· ·Q.· · ·Monitoring what?

12· ·A.· · ·He monitors -- at different points, depending

13· ·on what -- he's monitoring the condemned, he's

14· ·monitoring the IV lines, he's watching me, and the

15· ·whole nine yards.

16· ·Q.· · ·Okay.· And can you see the executioner?

17· ·A.· · ·I cannot.

18· ·Q.· · ·So it is just a -- do you only see, like, a

19· ·mirror on his window?

20· ·A.· · ·Yes.

21· ·Q.· · ·Okay.· So he can see out but you can't see

22· ·in?

23· ·A.· · ·Yes.

24· ·Q.· · ·Okay.· Can you see out to any room at this

25· ·point when you're in the execution chamber?



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          76
                                                       78 of 352 PageID #: 8720
                       www.EliteReportingServices.com                         YVer1f
·1· ·A.· · ·Once the blinds and curtains are raised and

·2· ·pulled, I can see into -- to other rooms.

·3· ·Q.· · ·Okay.· So what is the -- now that it's only

·4· ·you and the associate warden in the execution

·5· ·chamber with the inmate on the gurney, what is the

·6· ·next step in the execution process?

·7· ·A.· · ·Once the curtains is pulled and the blinds

·8· ·are raised, from that same room, I call the

·9· ·commissioner to make sure that there hadn't been any

10· ·reprieves.· Once the commissioner give me

11· ·directions, then I approach the gurney, ask the

12· ·condemned for last words.· Once the condemned give

13· ·his last words, then the next process proceeds.

14· ·Q.· · ·And describe that next process.

15· ·A.· · ·Once the condemned has given his last words,

16· ·then I signal the executioner to proceed with

17· ·chemicals.

18· ·Q.· · ·Okay.· And which chemicals do you signal him

19· ·to proceed with?

20· ·A.· · ·The ones that listed in the protocol, the

21· ·three.

22· ·Q.· · ·Okay.

23· ·A.· · ·Begin with the midazolam.

24· ·Q.· · ·Okay.· So you signal for the executioner to

25· ·proceed with the midazolam.· And what happens next?



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          77
                                                       79 of 352 PageID #: 8721
                       www.EliteReportingServices.com                         YVer1f
·1· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·2· · · · · · · ·THE WITNESS:· He proceeds.

·3· ·BY MR. KURSMAN:

·4· ·Q.· · ·Okay.· And when you say "he proceeds," what

·5· ·does that mean?

·6· ·A.· · ·That means he begin to insert midazolam into

·7· ·the lines.

·8· ·Q.· · ·Okay.· How do you know when he's done

·9· ·inserting the midazolam into the lines?

10· ·A.· · ·Once he have completed inserting midazolam

11· ·into the lines, he gives me a signal, it's a little

12· ·ball that he has, it's a window that you would be

13· ·able to see that comes from the lethal injection

14· ·executioner's room.· He opens that window, and he

15· ·places the ball on the outside to let me know that

16· ·he has completed with the insertion of the

17· ·midazolam.

18· ·Q.· · ·Okay.· And once he sticks out that ball in

19· ·the execution chamber at this point, is it just you,

20· ·the associate warden, and the inmate in the

21· ·execution room?

22· ·A.· · ·Yes.

23· ·Q.· · ·Okay.· And once you see that ball, what do

24· ·you do?

25· ·A.· · ·There's a waiting period.· I wait.



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          78
                                                       80 of 352 PageID #: 8722
                       www.EliteReportingServices.com                         YVer1f
·1· ·Q.· · ·Okay.· How long do you wait?

·2· ·A.· · ·Two minutes.

·3· ·Q.· · ·Okay.· And after two minutes, what do you do?

·4· ·A.· · ·Excuse me.· I perform what the manual or the

·5· ·protocol refers to as a conscious check once two

·6· ·minutes pass.

·7· ·Q.· · ·I'm sorry, conscious check what?

·8· ·A.· · ·Once two minutes pass.

·9· ·Q.· · ·Okay.· And is anyone else, aside from you,

10· ·performing that consciousness check?

11· ·A.· · ·Just myself.

12· ·Q.· · ·Okay.· Is anyone overseeing that

13· ·consciousness check?

14· ·A.· · ·Of course, my associate warden of security,

15· ·he can see it because he's standing next to me.

16· ·Q.· · ·Okay.

17· ·A.· · ·Of course, from the lethal injection room,

18· ·the executioner can see it because he can look

19· ·through the glass.

20· ·Q.· · ·Okay.

21· ·A.· · ·And he can actually see it on his monitor in

22· ·there as well.

23· ·Q.· · ·Okay.

24· ·A.· · ·And the commissioner can observe.

25· ·Q.· · ·And where's the commissioner at this point?



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          79
                                                       81 of 352 PageID #: 8723
                       www.EliteReportingServices.com                         YVer1f
·1· ·A.· · ·He's not in this building.

·2· ·Q.· · ·Okay.· How can he observe it?

·3· ·A.· · ·By monitor.

·4· ·Q.· · ·And at this point -- do you leave the room at

·5· ·any point?

·6· ·A.· · ·Never.

·7· ·Q.· · ·Okay.· So once you do this consciousness

·8· ·check, then what happens?

·9· ·A.· · ·Once the consciousness check is done and I

10· ·make the determination that he's unconscious, then I

11· ·give signal to proceed with the next LICs.

12· ·Q.· · ·And do you have training on determining what

13· ·you're calling unconscious?

14· ·A.· · ·I have been trained, if you want to call it

15· ·trained, I have been addressed, shown how to perform

16· ·it.

17· ·Q.· · ·Okay.· And without giving me any names, what

18· ·was the role of the person who showed you how to

19· ·perform a consciousness check?

20· ·A.· · ·It was a doctor.

21· ·Q.· · ·Okay.· And did this doctor tell you what to

22· ·look for to determine whether the inmate was

23· ·conscious or unconscious?

24· ·A.· · ·Yes.

25· ·Q.· · ·Okay.· Did you go -- did you discuss with the



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          80
                                                       82 of 352 PageID #: 8724
                       www.EliteReportingServices.com                         YVer1f
·1· ·doctor different levels of sedation?

·2· ·A.· · ·Yes.

·3· ·Q.· · ·Okay.· Did you discuss with the doctor the

·4· ·difference between being unresponsive or insensate?

·5· ·A.· · ·Yes.

·6· ·Q.· · ·Okay.· And do you know what the term

·7· ·"unresponsive" means?

·8· ·A.· · ·Not alert.

·9· ·Q.· · ·Okay.· And do you know what the term

10· ·"sensate" means?

11· ·A.· · ·It would be not fully alert.

12· ·Q.· · ·Okay.· If I told you that "sensate" means the

13· ·ability to feel pain, did you and the doctor

14· ·describe -- discuss that a person can be

15· ·unresponsive to a touch but can still feel pain?

16· ·A.· · ·Yes.

17· ·Q.· · ·Okay.· And what did the doctor describe to

18· ·you about that?

19· · · · · · · ·MR. SUTHERLAND:· Object to the form.

20· · · · · · · ·THE WITNESS:· There is normal reactions

21· ·that the human body can have nerve-wise, flinching,

22· ·jerking, even when no one is touching them.· When

23· ·you can do certain things to an individual and if I

24· ·observe what I think that may be still alertness,

25· ·then that would lead me to believe that they're not



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          81
                                                       83 of 352 PageID #: 8725
                       www.EliteReportingServices.com                         YVer1f
·1· ·fully unconscious.

·2· ·BY MR. KURSMAN:

·3· ·Q.· · ·Okay.· So how do you decide that the inmate

·4· ·is fully unconscious?

·5· ·A.· · ·Certain things I do, by calling their name at

·6· ·a tone that I think it would alert a person.

·7· ·Q.· · ·Okay.· And could you do that right now?

·8· · · · · · · ·MR. SUTHERLAND:· Object to the form.

·9· · · · · · · ·THE WITNESS:· My name is Tony.· If I was

10· ·trying to alert, I would yell at a high voice

11· ·high-pitched voice, my name.

12· ·BY MR. KURSMAN:

13· ·Q.· · ·Okay.· Could you do that, though, right now

14· ·for us?

15· ·A.· · ·Yes.· Tony!

16· ·Q.· · ·Okay.

17· ·A.· · ·And I would do it twice.

18· ·Q.· · ·Okay.· And what else do you do aside from

19· ·yelling the inmate's name twice?

20· ·A.· · ·I'd touch his eyelids with the back of my

21· ·hand to see if maybe I can get a reaction.

22· ·Q.· · ·And could you demonstrate on your own face

23· ·how exactly you'd touch his eyelids?

24· ·A.· · ·Back of my hand, eye closed, of course, and

25· ·brush the back of his or her eyelids to see if



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          82
                                                       84 of 352 PageID #: 8726
                       www.EliteReportingServices.com                         YVer1f
·1· ·there's any reaction there.

·2· ·Q.· · ·Okay.· Is that all you do?

·3· ·A.· · ·I do another step called a trapezius -- if I

·4· ·pronounce that word -- trapezius squeeze.· And

·5· ·that's a muscle inside the neck area of the

·6· ·shoulder.· I would squeeze, and that nerve would

·7· ·cause some form of reaction if a person was alert.

·8· ·And once I squeeze, and if I don't observe or see

·9· ·anything, then I feel that they're unconscious.

10· ·Q.· · ·Okay.· And do you -- at that point do you ask

11· ·any members of the IV team their thoughts on whether

12· ·the inmate is unconscious?

13· ·A.· · ·No.

14· ·Q.· · ·Okay.· Do you ask the physician his thoughts

15· ·on whether the inmate is unconscious at that point?

16· ·A.· · ·No.

17· ·Q.· · ·Okay.· Do you ask the executioner his

18· ·thoughts?

19· ·A.· · ·No.

20· ·Q.· · ·Do you ask the associate warden?

21· ·A.· · ·No.

22· ·Q.· · ·Okay.· And have you ever been involved in any

23· ·surgeries in a hospital setting, in an observing

24· ·fashion?· Have you ever observed anesthesia

25· ·performed in a hospital setting?



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          83
                                                       85 of 352 PageID #: 8727
                       www.EliteReportingServices.com                         YVer1f
·1· ·A.· · ·Yes.

·2· ·Q.· · ·You have?· Okay.· When?

·3· ·A.· · ·When I was a correctional officer, I used to

·4· ·work in transportation.· That's transporting of

·5· ·offenders.· Offenders, at some time or another, have

·6· ·to have outpatient surgery or inpatient surgery, and

·7· ·there is times that I have actually had to go into

·8· ·an operating room because the offender has to have

·9· ·security there, even though they're unconscious.

10· ·And I've observed them being put under.

11· ·Q.· · ·And have you ever talked to an

12· ·anesthesiologist about what to look for in

13· ·determining whether an inmate is unconscious as

14· ·defined in the protocol?

15· ·A.· · ·No.

16· ·Q.· · ·Okay.· Have you ever talked to an

17· ·anesthesiologist about the difference between

18· ·someone being unresponsive versus not sensate to

19· ·pain, meaning not being able to feel pain?

20· ·A.· · ·No.

21· ·Q.· · ·Okay.· And at this time are you able to hear

22· ·what goes on in the execution room while you're in

23· ·the execution chamber?

24· ·A.· · ·At this time?· Repeat, please.

25· ·Q.· · ·While you're in the execution chamber --



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          84
                                                       86 of 352 PageID #: 8728
                       www.EliteReportingServices.com                         YVer1f
·1· ·A.· · ·Okay.

·2· ·Q.· · ·-- are you able to hear what goes on in the

·3· ·lethal injection executioner's room?

·4· ·A.· · ·No.

·5· ·Q.· · ·Okay.· Now -- and once you determine that the

·6· ·inmate is unconscious as defined in the protocol,

·7· ·what do you do then?

·8· ·A.· · ·I signal for the executioner to proceed.

·9· ·Q.· · ·Okay.· And how do you do that?

10· ·A.· · ·Once I've determined he's unconscious, I

11· ·approach the gurney to do the consciousness check.

12· ·If I see that he's not conscious, I'll just step

13· ·away from the gurney, and they -- and stand at a

14· ·normal position, just stand.

15· ·Q.· · ·And what if he is conscious?

16· ·A.· · ·Then I will step away from the gurney and I

17· ·will give a signal that he is unconscious.

18· ·Q.· · ·Okay.· And what happens if you declare the

19· ·inmate unconscious as defined in the protocol and

20· ·then he looks to regain some sort of movement?· What

21· ·do you do then?

22· ·A.· · ·Once I do --

23· · · · · · · ·MR. SUTHERLAND:· Object to the form.

24· · · · · · · ·THE WITNESS:· Once I do the conscious

25· ·check and I determine that the condemned is still



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          85
                                                       87 of 352 PageID #: 8729
                       www.EliteReportingServices.com                         YVer1f
·1· ·conscious, I step back, give the signal to proceed

·2· ·with the second set of -- the first round -- first

·3· ·round of midazolam.

·4· ·BY MR. KURSMAN:

·5· ·Q.· · ·So -- but my question is if you do this

·6· ·consciousness check --

·7· ·A.· · ·Uh-huh.

·8· ·Q.· · ·-- and you determine that the inmate is

·9· ·unconscious --

10· ·A.· · ·Yes.

11· ·Q.· · ·-- and you step back --

12· ·A.· · ·Yes.

13· ·Q.· · ·-- signaling to the executioner to proceed,

14· ·and then the inmate moves, what do you do then?

15· ·A.· · ·Being that I've never had to do that because

16· ·that's never happened --

17· ·Q.· · ·Uh-huh.

18· ·A.· · ·-- after I have determined that there was

19· ·unconsciousness --

20· ·Q.· · ·Yes.

21· ·A.· · ·-- and I stepped back to proceed and then I

22· ·noticed him move as though he may be conscious?

23· ·Q.· · ·Uh-huh.

24· ·A.· · ·Being that I have never did that before, I

25· ·probably would approach the condemned again.· It's



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          86
                                                       88 of 352 PageID #: 8730
                       www.EliteReportingServices.com                         YVer1f
·1· ·not written, but me -- and my mind will tell me I

·2· ·want to be 190 percent sure and accurate that what I

·3· ·saw is what I saw.· Nothing is preventing me from

·4· ·approaching the condemned again.

·5· ·Q.· · ·Okay.· And if you approach the condemned

·6· ·again, does that signal to the executioner to

·7· ·stop --

·8· ·A.· · ·He's watching.

·9· ·Q.· · ·-- the second drug?

10· · · · · · · ·MR. SUTHERLAND:· Object to the form.

11· ·BY MR. KURSMAN:

12· ·Q.· · ·Okay.

13· ·A.· · ·He's watching me.· And it's not like you're

14· ·doing things in a rapid motion.· There's enough

15· ·time, I should say, in between me stepping away and

16· ·me stepping back up before he proceeds, even after I

17· ·step back.

18· ·Q.· · ·Tell me how quickly -- after you step back to

19· ·signal for the execution to proceed, how quickly

20· ·does he administer the second drug?

21· · · · · · · ·MR. SUTHERLAND:· Object to the form.

22· · · · · · · ·THE WITNESS:· That I would not know.

23· ·BY MR. KURSMAN:

24· ·Q.· · ·Okay.· So once you determine that the inmate

25· ·is unconscious and you take a step back, you don't



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          87
                                                       89 of 352 PageID #: 8731
                       www.EliteReportingServices.com                         YVer1f
·1· ·know how long the executioner waits to push the

·2· ·second drug?

·3· ·A.· · ·I do not know.

·4· ·Q.· · ·Okay.· And do you know how long he waits

·5· ·between pushing the second drug to push the third

·6· ·drug?

·7· ·A.· · ·I do not know.

·8· ·Q.· · ·Okay.

·9· ·A.· · ·He would have to answer that.

10· ·Q.· · ·Okay.· And during this time, is it only you

11· ·and the associate warden and the inmate in the

12· ·execution chamber?

13· ·A.· · ·Yes.

14· ·Q.· · ·Okay.· And after the second and third drugs

15· ·are pushed, then what happens?

16· ·A.· · ·Once I step back from the unconsciousness

17· ·check, the executioner takes the ball back in before

18· ·he begins with the second and third.· Once he has

19· ·finished administering the second and third, he

20· ·places that same ball outside the window to let me

21· ·know that the second and third have been

22· ·administered.

23· ·Q.· · ·And after the third is administered, what

24· ·happens?

25· ·A.· · ·There's a waiting period.



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          88
                                                       90 of 352 PageID #: 8732
                       www.EliteReportingServices.com                         YVer1f
·1· ·Q.· · ·Okay.· And how long is that waiting period?

·2· ·A.· · ·Five minutes approximately.

·3· ·Q.· · ·Okay.· And what happens after five minutes?

·4· ·A.· · ·Myself, the associate warden of security

·5· ·close blinds and pull curtains.

·6· ·Q.· · ·And what happens after you close the blind

·7· ·and pull the curtains?

·8· ·A.· · ·The associate warden of security will ensure

·9· ·that the audio system is off so no one will hear

10· ·outside of the room, by radio.· I give him the

11· ·signal to retrieve the doctor and the doctor enters

12· ·the chamber.

13· ·Q.· · ·Okay.· So at this point is it just you, the

14· ·associate warden, the physician, and the inmate now

15· ·in the execution room?

16· ·A.· · ·Correct.

17· ·Q.· · ·Okay.· And what does the physician do at this

18· ·point?

19· ·A.· · ·He examines the condemned.

20· ·Q.· · ·Okay.· And does he declare the inmate dead if

21· ·the inmate is dead?

22· ·A.· · ·Correct.

23· ·Q.· · ·Okay.· And do you do anything for that

24· ·determination?

25· ·A.· · ·No.



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          89
                                                       91 of 352 PageID #: 8733
                       www.EliteReportingServices.com                         YVer1f
·1· · · · · · · ·MR. KURSMAN:· Okay.· I think, if it's

·2· ·okay with you, if we could take a break for about

·3· ·10 minutes?

·4· · · · · · · ·THE VIDEOGRAPHER:· One moment, please.

·5· ·Going off the record at 10:49 a.m.

·6· · · · · · · ·(Recess observed from 10:52 a.m. to

·7· ·11:09 a.m.)

·8· · · · · · · ·THE VIDEOGRAPHER:· Back on the record at

·9· ·11:07 a.m.

10· ·BY MR. KURSMAN:

11· ·Q.· · ·Warden Mays, we just went on a break.· Was

12· ·there anything during the break that you thought of

13· ·that made you want to correct any earlier answer?

14· ·A.· · ·No.

15· ·Q.· · ·Okay.· Let's go back to Exhibit 1.· And could

16· ·we go to page 13?

17· · · · · Do you see it says at the top "Warden," and

18· ·then it says "Primary Role, to ensure that the

19· ·procedures prescribed by law and outlined in this

20· ·manual are performed either by personal performance

21· ·or by delegation"?

22· ·A.· · ·Yes.

23· ·Q.· · ·Okay.· What does "prescribed by law" mean to

24· ·you in this paragraph?

25· ·A.· · ·Prescribed by law, anything having to do



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          90
                                                       92 of 352 PageID #: 8734
                       www.EliteReportingServices.com                         YVer1f
·1· ·within the law, anything that is outlined within

·2· ·this, in this manual, as to -- that I ensure that

·3· ·those procedures are carried out.

·4· ·Q.· · ·Have you reviewed the laws in Tennessee as

·5· ·they relate to executions?

·6· ·A.· · ·No.

·7· ·Q.· · ·Okay.· And have you reviewed Supreme Court

·8· ·case law interpreting constitutional or

·9· ·unconstitutional executions?

10· ·A.· · ·No.

11· ·Q.· · ·Okay.· What do you think this paragraph, the

12· ·entire paragraph, what do you -- what do you think

13· ·it means?

14· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

15· · · · · · · ·THE WITNESS:· This entire paragraph to

16· ·me, it seems like it's telling me that I am to

17· ·ensure exactly what it said, that the outlines in

18· ·this manual, that they are either performed either

19· ·by my personal performance or by delegation.

20· ·BY MR. KURSMAN:

21· ·Q.· · ·Now, let's go to heading 6, do you see that,

22· ·under your duties, No. 6?

23· ·A.· · ·Yes.

24· ·Q.· · ·It says "To coordinate the appointment of

25· ·execution team staff members"?



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          91
                                                       93 of 352 PageID #: 8735
                       www.EliteReportingServices.com                         YVer1f
·1· ·A.· · ·Yes.

·2· ·Q.· · ·Now, we talked about this a bit before, but

·3· ·do you select the team members?

·4· ·A.· · ·Some, but not all.

·5· ·Q.· · ·Okay.· Which ones don't you select?

·6· ·A.· · ·I select them all.· Some are selected -- was

·7· ·there before me.· Basically that's it.

·8· ·Q.· · ·How many were there before you?

·9· ·A.· · ·The executioner, the doctor, two EMTs/IV

10· ·team, and basically that's it.

11· ·Q.· · ·So how many IV team members did you select?

12· ·A.· · ·One.

13· ·Q.· · ·So there's only three total IV team members?

14· ·A.· · ·Yes.

15· ·Q.· · ·Okay.· So let's go to page 31.· Do you see

16· ·this says, "Execution Team Member Selection

17· ·Criteria?"

18· ·A.· · ·Yes.

19· ·Q.· · ·Okay.· And it says at the bottom, "The

20· ·following positions on the Execution Team are

21· ·specialized and have specific requirements."· Then

22· ·it has three EMTs, three correctional staff,

23· ·et cetera.

24· · · · · And if we go back to the top paragraph, it

25· ·says, "The Warden selects the remaining team and



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          92
                                                       94 of 352 PageID #: 8736
                       www.EliteReportingServices.com                         YVer1f
·1· ·considers at minimum the following general criteria

·2· ·for other members."

·3· · · · · And do you see the eight things it lists,

·4· ·length of service, ability to maintain

·5· ·confidentiality, maturity, et cetera?

·6· ·A.· · ·Yes.

·7· ·Q.· · ·Okay.· Did -- with the members that were

·8· ·already on the team before you were warden, did you

·9· ·reevaluate any of this to decide that they were to

10· ·stay on the team?

11· ·A.· · ·No.

12· ·Q.· · ·Okay.· For the IV team member that you did

13· ·select, one of the -- one of the criteria is length

14· ·of service.· What does that mean as it relates to

15· ·that IV team member?

16· · · · · · · ·MR. SUTHERLAND:· Object to the form.

17· · · · · · · ·THE WITNESS:· I would say length of

18· ·service in regards to that IV team member, it was

19· ·probably how long she's performed those duties.

20· ·BY MR. KURSMAN:

21· ·Q.· · ·Okay.· So length of service in your mind

22· ·isn't length of service at TDOC?

23· ·A.· · ·It could be --

24· ·Q.· · ·Okay.

25· ·A.· · ·-- if you work for TDOC.



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          93
                                                       95 of 352 PageID #: 8737
                       www.EliteReportingServices.com                         YVer1f
·1· ·Q.· · ·But if you don't work for TDOC, what would

·2· ·length of service mean to you?

·3· ·A.· · ·To me --

·4· · · · · · · ·MR. SUTHERLAND:· Object to the form.

·5· · · · · · · ·You can answer.

·6· · · · · · · ·THE WITNESS:· To me length of service

·7· ·would be anyone who had worked with the department

·8· ·and how long that she had been doing what she is

·9· ·doing in her field.

10· ·BY MR. KURSMAN:

11· ·Q.· · ·When you selected her, did you talk to her

12· ·supervisors wherever she works?

13· ·A.· · ·No.

14· ·Q.· · ·Okay.· Did you get any references outside of

15· ·TDOC that recommended her for the lethal injection

16· ·team?

17· ·A.· · ·Yes.

18· ·Q.· · ·Okay.· And did you talk to those people who

19· ·recommended her?

20· ·A.· · ·Yes.

21· ·Q.· · ·Okay.· And were those people who recommended

22· ·her people who were already on the execution team?

23· ·A.· · ·Yes.

24· ·Q.· · ·Okay.· Was there anybody outside of the

25· ·execution team that recommended her?



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          94
                                                       96 of 352 PageID #: 8738
                       www.EliteReportingServices.com                         YVer1f
·1· ·A.· · ·No.

·2· ·Q.· · ·Okay.· And how did that come to be?· How did

·3· ·someone from the execution team know to recommend

·4· ·this person?

·5· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·6· · · · · · · ·THE WITNESS:· I inquired.

·7· ·BY MR. KURSMAN:

·8· ·Q.· · ·And what do you mean by that?

·9· ·A.· · ·We had a position that needed to be filled.

10· ·I inquired with other team members that are already

11· ·on the team --

12· ·Q.· · ·So did --

13· ·A.· · ·-- what recommendations.

14· ·Q.· · ·I apologize.· So just so I'm clear, what you

15· ·mean is you asked members of the IV team, "Do you

16· ·know anyone else in your profession who wants to

17· ·work on the IV team?"

18· ·A.· · ·That would be interested.

19· ·Q.· · ·Okay.· And how many people applied for this

20· ·position?

21· ·A.· · ·It wasn't applied for.

22· ·Q.· · ·Okay.· How many people were you notified were

23· ·interested in this position?

24· ·A.· · ·The one was presented to me --

25· ·Q.· · ·Uh-huh.



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          95
                                                       97 of 352 PageID #: 8739
                       www.EliteReportingServices.com                         YVer1f
·1· ·A.· · ·-- and then the interest was expressed from

·2· ·my behalf and that's how it came to be.

·3· ·Q.· · ·Okay.· So was there anybody, aside from that

·4· ·one person, who you interviewed for that position?

·5· ·A.· · ·No.

·6· ·Q.· · ·What would disqualify someone from serving on

·7· ·a team?

·8· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·9· · · · · · · ·THE WITNESS:· Anything outside of these

10· ·eight, anything based on my personal perception of

11· ·what I see of that individual could disqualify them.

12· ·BY MR. KURSMAN:

13· ·Q.· · ·And what qualifications do you have to make

14· ·that determination?

15· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

16· · · · · · · ·You can answer.

17· · · · · · · ·THE WITNESS:· When I look at length of

18· ·service, that speaks for itself.· Ability to

19· ·maintain confidentiality, take them as their word,

20· ·and to include the background check.· It's not hard

21· ·to tell if a person is mature.· If you watch them,

22· ·if you talk to them, you can almost tell whether

23· ·they are or not or whether they're responsible.

24· ·Willing to participate is self-explanatory.

25· ·Satisfactory work performance, recommendations that



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          96
                                                       98 of 352 PageID #: 8740
                       www.EliteReportingServices.com                         YVer1f
·1· ·I was given from the person that recommended the

·2· ·individual.

·3· · · · · · · ·Professionalism, outstanding based on

·4· ·what was presented to me, this person in the

·5· ·community based on what was given to me from the

·6· ·person that referred them.· The recommendation was

·7· ·brought to me.· And, of course, the file was

·8· ·reviewed, background.

·9· ·BY MR. KURSMAN:

10· ·Q.· · ·Let me ask you this:· Do you -- do you have

11· ·any medical experience?

12· ·A.· · ·No.

13· ·Q.· · ·Okay.· So how would you be able to evaluate

14· ·an IV team member's qualifications?

15· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

16· · · · · · · ·THE WITNESS:· I wouldn't.· I would take

17· ·the recommendation upon the person that recommended

18· ·them that has that ability to do that.

19· ·BY MR. KURSMAN:

20· ·Q.· · ·Did you ask the IV team member who applied --

21· ·did you ask this person if they had experience

22· ·setting IV lines?

23· ·A.· · ·Yes.

24· ·Q.· · ·Did you ask them if they had experience with

25· ·midazolam?



            Elite-Brentwood
 Case 3:18-cv-01234           Reporting
                    Document 184-20       ServicesPage
                                    Filed 03/17/22 * (615)595-0073          97
                                                       99 of 352 PageID #: 8741
                       www.EliteReportingServices.com                         YVer1f
·1· ·A.· · ·No.

·2· ·Q.· · ·Did you ask them if they had experience with

·3· ·vecuronium bromide?

·4· ·A.· · ·No.

·5· ·Q.· · ·Did you ask them if they had experience with

·6· ·potassium chloride?

·7· ·A.· · ·No.

·8· ·Q.· · ·Okay.· Did you ask them if they had

·9· ·experience in a prison setting?

10· ·A.· · ·Yes.

11· ·Q.· · ·Okay.· Did you ask them if they had

12· ·experience in prior executions?

13· ·A.· · ·Yes.

14· ·Q.· · ·Okay.· And what did they tell you about the

15· ·prison setting question?· Did they have prior

16· ·experience in a prison setting?

17· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

18· · · · · · · ·THE WITNESS:· They didn't.

19· ·BY MR. KURSMAN:

20· ·Q.· · ·They did not have prior experience in a

21· ·prison setting?

22· ·A.· · ·Huh-uh.

23· ·Q.· · ·Okay.· And when they come in and tell you --

24· ·when this person came in and told you that they

25· ·wanted to be on the team, what did you tell them



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073          98
                                                       100 of 352 PageID #: 8742
                      www.EliteReportingServices.com                          YVer1f
·1· ·would be the amount of time they would need to spend

·2· ·preparing for an execution?

·3· ·A.· · ·Well, they came in -- they came in based on

·4· ·the fact that I requested for them to come in after

·5· ·the recommendation.· The time spent, of course, I

·6· ·explained to them our training methods, how often we

·7· ·trained, and that this person would be required to

·8· ·review the protocol, as everyone else do.

·9· ·Q.· · ·And how quickly would that person be able to

10· ·participate in an execution after you put them on an

11· ·execution team?

12· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

13· · · · · · · ·THE WITNESS:· Once everything had been

14· ·cleared background-wise, reviewing of the manual,

15· ·rehearsal along with us, there is no period.

16· ·BY MR. KURSMAN:

17· ·Q.· · ·Okay.· And let me go back for a second to a

18· ·question I asked you earlier about the diagram that

19· ·we discussed.

20· · · · · When you and the associate warden are in the

21· ·execution chamber with the inmate, if you see signs

22· ·of swelling at an IV site, what would you do?

23· ·A.· · ·That would be for them to monitor the IV

24· ·sites.· I don't monitor the IV sites.

25· ·Q.· · ·Okay.· And how are they monitoring the IV



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073          99
                                                       101 of 352 PageID #: 8743
                      www.EliteReportingServices.com                          YVer1f
·1· ·sites once they're out of the room?

·2· ·A.· · ·There is a monitor that shows the IV sites.

·3· ·They're monitoring from internal.

·4· ·Q.· · ·Oh, so there is a monitor in there, in the

·5· ·non-identified room, where they can see the IV

·6· ·sites?· Is that what you're saying?

·7· ·A.· · ·No.

·8· ·Q.· · ·Okay.

·9· ·A.· · ·There is a monitor in the IV room.

10· ·Q.· · ·So let's quickly go back -- go back to

11· ·page -- go back to page 10.· Can you tell me where

12· ·the IV room is?

13· ·A.· · ·Take the right door from the gurney room --

14· ·Q.· · ·Uh-huh.

15· ·A.· · ·-- into the lethal injection, executioner's

16· ·room where the arrow's pointing into that room?

17· ·Q.· · ·Uh-huh.

18· ·A.· · ·That's where the monitor is.

19· ·Q.· · ·In the lethal injection or executioner's

20· ·room?

21· ·A.· · ·Correct.

22· ·Q.· · ·Okay.· But isn't only the executioner in that

23· ·room?

24· ·A.· · ·Yes.

25· ·Q.· · ·And that's where the monitor is?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       102 of 352 PageID #: 100
                                                                            8744
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·Yes.

·2· ·Q.· · ·Okay.· So the executioner is monitoring the

·3· ·IV sites?

·4· ·A.· · ·He's monitoring along with others that is in

·5· ·the room with him.

·6· ·Q.· · ·Okay.· So who else is in the executioner's

·7· ·room with the executioner during the execution?

·8· · · · · · · ·MR. SUTHERLAND:· Object to disclosure of

·9· ·any identities.· Just answer with regard to the

10· ·title.

11· · · · · · · ·THE WITNESS:· There is more than one

12· ·executioner.· We have an executioner, along with

13· ·other executioners, that assist him with monitoring,

14· ·documenting, and things of that sort.

15· ·BY MR. KURSMAN:

16· ·Q.· · ·Okay.· Who -- so I do not see a role for

17· ·other executioners in the protocol.· What would

18· ·their title be, these other executioners?

19· ·A.· · ·Assistants.

20· ·Q.· · ·Assistant executioners?

21· ·A.· · ·Yes.

22· ·Q.· · ·Okay.· And are they also correction officers?

23· ·A.· · ·No.

24· ·Q.· · ·Okay.· What are the assistant executioners?

25· ·What are their qualifications?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       103 of 352 PageID #: 101
                                                                            8745
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·One of them is --

·2· · · · · · · ·MR. SUTHERLAND:· Object to any

·3· ·specifics.· We're not going to talk about specifics

·4· ·that could lead to the identification of the

·5· ·individual.

·6· ·BY MR. KURSMAN:

·7· ·Q.· · ·But you can still answer, without the

·8· ·specifics.

·9· ·A.· · ·They have other roles in the department.

10· ·Q.· · ·Okay.· Okay.· Are they -- do they have

11· ·medical backgrounds?

12· ·A.· · ·That I wouldn't know.

13· ·Q.· · ·Okay.· Is it -- is it the recorder who's in

14· ·there with the -- is that who you're describing as

15· ·the assistant executioner?

16· ·A.· · ·No.

17· ·Q.· · ·Okay.· Is it the observer?

18· ·A.· · ·Observer?

19· ·Q.· · ·Yeah.· I'm not actually even sure what the

20· ·observer is.· So you're saying it's just different

21· ·people in the department who are with the -- with

22· ·the executioner?

23· ·A.· · ·Yes.

24· ·Q.· · ·And they're the ones who are monitoring the

25· ·IV sites?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       104 of 352 PageID #: 102
                                                                            8746
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·Yes.

·2· ·Q.· · ·Is the executioner also monitoring the IV

·3· ·sites?

·4· ·A.· · ·That I wouldn't know.

·5· ·Q.· · ·Okay.· And you are unaware whether the

·6· ·assistant executioners, as you call them, have any

·7· ·medical training or experience?

·8· ·A.· · ·Not aware.

·9· ·Q.· · ·Okay.· And do you know whether they have any

10· ·experience with setting IVs?

11· ·A.· · ·That I wouldn't know.

12· ·Q.· · ·Okay.· And you've never heard the term

13· ·"observer" before?

14· ·A.· · ·I've heard the term "observer" before, but in

15· ·reference to this?

16· ·Q.· · ·Yeah.· That was a bad question.· I apologize.

17· · · · · Have you ever heard the term "observer" in

18· ·reference to the execution protocol, someone's role

19· ·as the observer?

20· ·A.· · ·Not that I could recall.

21· ·Q.· · ·Okay.· And would you know what to look for in

22· ·terms of swelling at an injection site?

23· ·A.· · ·No.

24· ·Q.· · ·Okay.· So let's go back -- let's go back

25· ·again to page 31.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       105 of 352 PageID #: 103
                                                                            8747
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · And has anybody who's been involved as one

·2· ·of these execution team members declined to

·3· ·participate again after an execution?

·4· ·A.· · ·No.

·5· ·Q.· · ·Okay.· And when you selected the one member

·6· ·of the execution team, did you consult with anyone

·7· ·else while selecting that member?

·8· ·A.· · ·I consulted with the individual that

·9· ·recommended the individual.

10· ·Q.· · ·Okay.· And that individual was just another

11· ·member of the IV team?

12· ·A.· · ·Correct.

13· ·Q.· · ·Okay.· And have you ever removed anyone from

14· ·the execution team?

15· ·A.· · ·Yes.

16· ·Q.· · ·Okay.· Can you tell me who, just their role,

17· ·not any identifying information?

18· ·A.· · ·An escort member.

19· ·Q.· · ·Okay.· And can you tell me why?

20· ·A.· · ·Based on conduct.

21· ·Q.· · ·And what was that conduct that made you

22· ·remove them?

23· ·A.· · ·Not cohesive to departmental standards.

24· ·Q.· · ·Was it during an execution?

25· ·A.· · ·No.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       106 of 352 PageID #: 104
                                                                            8748
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·Was it during an execution training?

·2· ·A.· · ·No.

·3· ·Q.· · ·Okay.· What did they do that you describe

·4· ·as --

·5· · · · · · · ·MR. SUTHERLAND:· I'm going to object to

·6· ·the extent that any specific information

·7· ·regarding -- to the disclosure of any information

·8· ·that, with inquiry, could result in the disclosure

·9· ·of that person's identity.

10· · · · · · · ·Does that make sense, Alex?

11· · · · · · · ·MR. KURSMAN:· That makes sense to me.

12· · · · · · · ·MR. SUTHERLAND:· Okay.

13· · · · · · · ·MR. KURSMAN:· And I'm okay with it.

14· · · · · · · ·(WHEREUPON, the above-mentioned

15· ·document was presented, previously marked as

16· ·Exhibit Number 50.)

17· · · · · · · ·MR. KURSMAN:· Let's go to Exhibit 50.

18· ·50, five zero.· Sorry.

19· · · · · · · ·MR. SUTHERLAND:· Exhibit 50?

20· · · · · · · ·MR. KURSMAN:· Exhibit 50.

21· · · · · · · ·MR. SUTHERLAND:· Gotcha.

22· ·BY MR. KURSMAN:

23· ·Q.· · ·And do you recognize this document?

24· ·A.· · ·Yes.

25· ·Q.· · ·Okay.· And what is this document?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       107 of 352 PageID #: 105
                                                                            8749
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·It appears to be where it looked like

·2· ·training -- maybe training dates of individuals that

·3· ·is part of the team.

·4· ·Q.· · ·Okay.· And I think you told me a minute ago

·5· ·that there were three IV team members; is that

·6· ·right?

·7· ·A.· · ·Yes.

·8· ·Q.· · ·Okay.· Why does this have six IV team

·9· ·members?

10· ·A.· · ·(Reviewing)

11· · · · · · · ·MR. SUTHERLAND:· I'm sorry.· What are

12· ·you referring to?

13· · · · · · · ·MR. KURSMAN:· So if you look at IV team,

14· ·you see on Exhibit 50?· I think you're on 51.

15· · · · · · · ·MR. SUTHERLAND:· You're right.· My

16· ·apologies.

17· · · · · · · ·THE WITNESS:· Well, the EMTs and the IVs

18· ·is basically the same.· We have three EMTs, which is

19· ·three IV teams.· One of those is the individual that

20· ·is -- that is -- okay.· IV 2 is a part of the

21· ·executioner team.· That would dismiss 1.· And 1 is

22· ·deceased, which that dismiss 2.· Which would give

23· ·us, what, four left?· That's a good question.

24· ·BY MR. KURSMAN:

25· ·Q.· · ·So you don't know the answer why it lists --



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       108 of 352 PageID #: 106
                                                                            8750
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·I do not.

·2· ·Q.· · ·Okay.· So just so I'm clear, there's -- you

·3· ·see at the top it's three EMT members, EMT 1, EMT 2,

·4· ·and EMT 3.· You're saying all three of these members

·5· ·are also members of the IV team, right?

·6· ·A.· · ·Correct.

·7· ·Q.· · ·Okay.· One of those members serves as the

·8· ·executioner, right?

·9· ·A.· · ·Correct.

10· ·Q.· · ·Okay.

11· ·A.· · ·Appears to -- that's what it's -- that's what

12· ·it's listed as.

13· ·Q.· · ·But the executioner -- and correct me if I'm

14· ·wrong -- the executioner is not an EMT, right?

15· ·A.· · ·No.

16· ·Q.· · ·Okay.· So we have the executioner and then we

17· ·should have three other IV team members who are

18· ·EMTs, right?

19· ·A.· · ·Correct.

20· ·Q.· · ·Okay.· So we have one, two, three, four,

21· ·five.· You're saying there's one here because

22· ·somebody is deceased now, right?

23· ·A.· · ·Correct.

24· ·Q.· · ·And you don't know why -- who the other

25· ·person is?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       109 of 352 PageID #: 107
                                                                            8751
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·Correct.

·2· ·Q.· · ·Okay.· Do you know if that person was fired

·3· ·from the execution team?

·4· ·A.· · ·No.

·5· ·Q.· · ·Okay.· And you don't know of anyone else,

·6· ·while you were warden, that served as an IV team

·7· ·member aside from the person who's deceased, the

·8· ·three current IV team members, and the executioner?

·9· ·A.· · ·Not to my knowledge.

10· ·Q.· · ·Okay.· Do you know why, at the top when it

11· ·says EMT 1, EMT 2, and EMT 3, it says, "Information

12· ·regarding specific dates of attendance for EMT will

13· ·be provided as soon as possible."

14· · · · · My understanding, from what you're saying,

15· ·is those EMTs are just also the IV team members.

16· ·A.· · ·Correct, yes.

17· ·Q.· · ·So do you know why that -- the information

18· ·about their practice sessions couldn't have been

19· ·provided at the same date that the information about

20· ·the practice sessions for the IV team member was

21· ·provided?

22· ·A.· · ·I do not.

23· ·Q.· · ·Okay.· Did the IV team member who passed

24· ·away, did that member participate in Donnie

25· ·Johnson's execution?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       110 of 352 PageID #: 108
                                                                            8752
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·I can't say.

·2· ·Q.· · ·Okay.· And the reason I ask is because we

·3· ·have IV 6 and IV 5 training on 8/5/2019.· And I

·4· ·believe Donnie Johnson's execution was 8/9/2019.

·5· ·But you don't know?

·6· ·A.· · ·I don't know.

·7· ·Q.· · ·Okay.· And do you know if -- if either IV

·8· ·Member 5 or IV Member 6 is the person that we're

·9· ·discussing that you selected to serve on the

10· ·execution team?

11· ·A.· · ·I don't know that either.

12· ·Q.· · ·Okay.· And are the people identified here as

13· ·EMT 1, EMT 2, and EMT 3, are they part of the

14· ·current execution team?

15· ·A.· · ·That I wouldn't know either.

16· ·Q.· · ·And why wouldn't you know that?

17· ·A.· · ·If I would have formulated this document, I

18· ·would be able to tell you, but I didn't formulate

19· ·that document.

20· ·Q.· · ·Okay.· Let's go back to page 13 of Exhibit 1.

21· · · · · Do you see No. 7, it says, "Select a person

22· ·to serve as Executioner"?

23· ·A.· · ·Yes.

24· ·Q.· · ·Did you do this?

25· ·A.· · ·No.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       111 of 352 PageID #: 109
                                                                            8753
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·Why didn't you do this?

·2· ·A.· · ·There was an executioner already in place

·3· ·when I assumed my duties.

·4· ·Q.· · ·And did you talk to that executioner before

·5· ·the first execution that occurred while you were the

·6· ·warden?

·7· ·A.· · ·Yes.

·8· ·Q.· · ·Okay.· And did you already have a history

·9· ·with that executioner before you became warden?

10· ·A.· · ·Yes.

11· ·Q.· · ·Okay.· And then do you see, under No. 9, it

12· ·says, "To arrange for the presence of a physician to

13· ·carry out functions as set forth on page 19."

14· · · · · Do you see that?

15· ·A.· · ·I do.

16· ·Q.· · ·Is it the same physician every execution?

17· ·A.· · ·Yes.

18· ·Q.· · ·How did you arrange for the presence of that

19· ·physician?

20· ·A.· · ·That is conducted through another individual,

21· ·the commissioner's designee.

22· ·Q.· · ·Did you delegate that to someone else?

23· ·A.· · ·No.

24· ·Q.· · ·Okay.· Who delegated that role to someone

25· ·else?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       112 of 352 PageID #: 110
                                                                            8754
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·That would probably be the commissioner.

·2· ·Q.· · ·Okay.· Did anybody ask you to arrange for the

·3· ·presence of a physician?

·4· ·A.· · ·We worked together in the decision-making,

·5· ·but he made the decision.

·6· ·Q.· · ·Okay.· And when you say "we," you mean you

·7· ·and the --

·8· ·A.· · ·Commissioner.

·9· ·Q.· · ·-- commissioner?· Okay.

10· · · · · And prior to selecting the physician, do you

11· ·know if -- or did you discuss their experience with

12· ·performing venous cutdown procedures?

13· ·A.· · ·No.

14· ·Q.· · ·Do you know what venous cutdown procedures

15· ·are?

16· ·A.· · ·It's implementing an IV in other areas other

17· ·than within the arm.

18· ·Q.· · ·And do you know how a venous cutdown

19· ·procedure is done?

20· ·A.· · ·Not really.

21· ·Q.· · ·Okay.

22· · · · · Let's turn to page 19 of Exhibit 1.· And do

23· ·you see it says the physician and then it says,

24· ·"Physician's Primary Role"?

25· ·A.· · ·Uh-huh, yes.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       113 of 352 PageID #: 111
                                                                            8755
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·And then do you see No. 5, it says, "To

·2· ·pronounce death if no vital signs are detected"?

·3· ·A.· · ·Yes.

·4· ·Q.· · ·Why doesn't the physician also check for

·5· ·consciousness?

·6· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·7· · · · · · · ·THE WITNESS:· That I couldn't answer.

·8· ·BY MR. KURSMAN:

·9· ·Q.· · ·Do you think they're more qualified than you

10· ·to check for consciousness?

11· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

12· · · · · · · ·THE WITNESS:· Most definitely.

13· ·BY MR. KURSMAN:

14· ·Q.· · ·And then do you see No. 1, it says, "Duties:

15· ·To be present at the time of execution in the

16· ·capital punishment garage"?

17· ·A.· · ·I do.

18· ·Q.· · ·Do you know why the physician isn't in the

19· ·execution chamber?

20· ·A.· · ·I don't.

21· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

22· ·BY MR. KURSMAN:

23· ·Q.· · ·Okay.· Do you know why the physician isn't in

24· ·the -- the lethal injection executioner's room?

25· · · · · · · ·MR. SUTHERLAND:· Objection to the form.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       114 of 352 PageID #: 112
                                                                            8756
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · · · ·THE WITNESS:· I do not.

·2· ·BY MR. KURSMAN:

·3· ·Q.· · ·Do you think it would help you with your

·4· ·duties if the physician was in the chamber?

·5· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·6· · · · · · · ·THE WITNESS:· I do not.

·7· ·BY MR. KURSMAN:

·8· ·Q.· · ·Okay.· Why?

·9· · · · · · · ·MR. SUTHERLAND:· Same objection.

10· · · · · · · ·THE WITNESS:· Why do I feel like he

11· ·would not assist me in my duties by being there?

12· ·BY MR. KURSMAN:

13· ·Q.· · ·Yeah.

14· ·A.· · ·Based on my prior experiences, I don't see

15· ·where there had been a need for the physician to be

16· ·there.

17· ·Q.· · ·Okay.· And then you see No. 2, it says, "As

18· ·an ultimate and last option, the physician may

19· ·perform a venous cut-down procedure should the IV

20· ·team be unable to find a vein adequate to insert the

21· ·catheter"?

22· ·A.· · ·I see it, yes.

23· ·Q.· · ·WHAT does "ultimate and last option" mean?

24· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

25· · · · · · · ·THE WITNESS:· IV team unable to perform



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       115 of 352 PageID #: 113
                                                                            8757
                      www.EliteReportingServices.com                          YVer1f
·1· ·in other areas, that's where the physician would

·2· ·come in and perform that procedure is what that

·3· ·means.

·4· ·BY MR. KURSMAN:

·5· ·Q.· · ·And who makes that decision?

·6· ·A.· · ·The EMTs, the IV team.

·7· ·Q.· · ·Do they consult with you?

·8· ·A.· · ·If they're unable to find a vein?

·9· ·Q.· · ·Yes.

10· ·A.· · ·Yes.

11· ·Q.· · ·Okay.· And do you have a procedure for that?

12· ·A.· · ·No procedure.· They would just let me know.

13· ·Q.· · ·Now, I'm sorry --

14· ·A.· · ·They're all there in the room together.

15· ·Q.· · ·I meant a procedure for what it means for

16· ·them to not find a vein, meaning how long do they

17· ·have to look before they say, "We can't find a

18· ·vein"?

19· ·A.· · ·I'd say no time limit.

20· ·Q.· · ·Okay.· It's just up to the IV team?

21· ·A.· · ·Yes.

22· ·Q.· · ·Okay.· And then do you see, if you go to

23· ·No. 3, it says, "To examine the body for vital signs

24· ·five minutes after the LIC has been injected."

25· · · · · Do you see that?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       116 of 352 PageID #: 114
                                                                            8758
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·Yes.

·2· ·Q.· · ·Okay.· Why wait for five minutes?

·3· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·4· · · · · · · ·THE WITNESS:· Protocol prescribes five

·5· ·minutes.

·6· ·BY MR. KURSMAN:

·7· ·Q.· · ·But why does the protocol prescribe five

·8· ·minutes?

·9· · · · · · · ·MR. SUTHERLAND:· Same objection.

10· · · · · · · ·THE WITNESS:· I didn't write the

11· ·protocol, I just follow it.

12· ·BY MR. KURSMAN:

13· ·Q.· · ·Okay.· Now, if you are in the execution

14· ·chamber and you need help with the consciousness

15· ·check, who would you call?

16· ·A.· · ·It's not written who I will call.

17· ·Q.· · ·Well, what would you do?

18· ·A.· · ·If I felt as though I needed assistance in

19· ·determining a conscious check, which I haven't yet,

20· ·it could be either the EMT or the doctor.

21· ·Q.· · ·Okay.· And you said which you haven't yet.

22· ·How can you be sure that you're right when you

23· ·determine an inmate's consciousness?

24· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

25· · · · · · · ·THE WITNESS:· Nothing is sure, you just



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       117 of 352 PageID #: 115
                                                                            8759
                      www.EliteReportingServices.com                          YVer1f
·1· ·know and go with it.

·2· ·BY MR. KURSMAN:

·3· ·Q.· · ·And what does that mean?

·4· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·5· · · · · · · ·THE WITNESS:· That means that -- if I'm

·6· ·sure whether an individual was conscious or

·7· ·unconscious or not?

·8· ·BY MR. KURSMAN:

·9· ·Q.· · ·Yes.

10· ·A.· · ·The times I checked, they weren't -- they

11· ·weren't conscious.

12· ·Q.· · ·Right, but my question is just how can you be

13· ·sure?

14· · · · · · · ·MR. SUTHERLAND:· Same objection.

15· · · · · · · ·THE WITNESS:· What I'm saying, where we

16· ·discussed earlier to give me indication that they

17· ·may be unconscious or conscious, then I deem them to

18· ·be unconscious.

19· ·BY MR. KURSMAN:

20· ·Q.· · ·And that makes you sure of your decision?· Is

21· ·that what you're saying?

22· ·A.· · ·Yes.

23· ·Q.· · ·Okay.· And are you aware that in the medical

24· ·field they don't use the term "unconscious"?

25· · · · · · · ·MR. SUTHERLAND:· Objection to the form.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       118 of 352 PageID #: 116
                                                                            8760
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · · · ·THE WITNESS:· No.

·2· ·BY MR. KURSMAN:

·3· ·Q.· · ·Okay.· Instead -- are you aware that instead

·4· ·what they use are different planes of anesthesia?

·5· · · · · · · ·MR. SUTHERLAND:· Same objection.

·6· · · · · · · ·THE WITNESS:· No.

·7· ·BY MR. KURSMAN:

·8· ·Q.· · ·Okay.· And are you aware of the difference

·9· ·between sedation versus anesthesia?

10· ·A.· · ·Full term, no.

11· ·Q.· · ·Okay.· And how would you be able to tell

12· ·whether the prisoner was sedated as opposed to being

13· ·under surgical anesthesia?

14· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

15· · · · · · · ·THE WITNESS:· I couldn't.

16· ·BY MR. KURSMAN:

17· ·Q.· · ·Okay.· So if we go to No. 4 for physician's

18· ·duties, back on page 19, do you see it says, "To

19· ·notify the Warden if the inmate is not legally

20· ·dead"?

21· ·A.· · ·Yes.

22· ·Q.· · ·What would you do then?

23· ·A.· · ·The physician will leave the chamber.· We

24· ·will open the blinds and the curtain again, follow

25· ·the procedure as before.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       119 of 352 PageID #: 117
                                                                            8761
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·So let me just get this straight.· If the

·2· ·inmate is injected with all three drugs and you wait

·3· ·five minutes and the physician comes in and says,

·4· ·"The inmate is not dead" --

·5· ·A.· · ·Uh-huh.

·6· ·Q.· · ·-- then you just repeat the entire protocol

·7· ·again?

·8· ·A.· · ·We insert the first rounds of the midazolam.

·9· ·Q.· · ·Uh-huh.· And then do you do another

10· ·consciousness check again?

11· ·A.· · ·Yes.

12· ·Q.· · ·Okay.· But at this point you're aware that

13· ·the inmate is paralyzed, right?

14· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

15· · · · · · · ·THE WITNESS:· Okay.· Yes.

16· ·BY MR. KURSMAN:

17· ·Q.· · ·So how would you able to do a consciousness

18· ·check if the inmate was already paralyzed from the

19· ·second drug?

20· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

21· · · · · · · ·THE WITNESS:· Just perform the test.

22· ·BY MR. KURSMAN:

23· ·Q.· · ·Okay.· Let's go back to page 13 of Exhibit 1,

24· ·which is the warden's duties.· And do you see

25· ·No. 11, it says, "To keep the Commissioner and



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       120 of 352 PageID #: 118
                                                                            8762
                      www.EliteReportingServices.com                          YVer1f
·1· ·Assistant Commissioner of Prisons informed of the

·2· ·progress towards and implementation of the

·3· ·execution."

·4· ·A.· · ·Yes.

·5· ·Q.· · ·What does that mean?

·6· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·7· · · · · · · ·THE WITNESS:· If I feel that something

·8· ·was, so to speak, out in left field that's outside

·9· ·the norm, that's when I will keep them informed.

10· ·BY MR. KURSMAN:

11· ·Q.· · ·And what would be outside of the norm?

12· · · · · · · ·MR. SUTHERLAND:· Same objection.

13· · · · · · · ·THE WITNESS:· Anything that is not

14· ·being -- going according to protocol.

15· ·BY MR. KURSMAN:

16· ·Q.· · ·So if there is a deviation from the protocol,

17· ·you will inform the commissioner and assistant

18· ·commissioner of the prisons?

19· ·A.· · ·Once he have exhausted everything that the

20· ·procedure calls for, then yes, at that time.

21· ·Q.· · ·Okay.· What if there is a deviation from the

22· ·protocol before you exhaust everything else that the

23· ·protocol calls for, meaning let's say you're going

24· ·along with the protocol and then one of the

25· ·executioners deviates from the protocol.· At that



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       121 of 352 PageID #: 119
                                                                            8763
                      www.EliteReportingServices.com                          YVer1f
·1· ·point do you notify the commissioner and the

·2· ·assistant commissioner?

·3· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·4· · · · · · · ·THE WITNESS:· If -- and they never

·5· ·have -- one of the EMTs deviate from the protocol, I

·6· ·observe something out of the norm, yes, I will stop

·7· ·it at that time and, yes, I will inform the

·8· ·commissioner as to what is taking place.

·9· ·BY MR. KURSMAN:

10· ·Q.· · ·Okay.· And how do you notify the

11· ·commissioner?

12· ·A.· · ·By phone.

13· ·Q.· · ·Okay.· And the commissioner is where at this

14· ·point?

15· ·A.· · ·In a different building.

16· ·Q.· · ·Okay.· And why do you notify the

17· ·commissioner?

18· ·A.· · ·Protocol instructs me to notify the

19· ·commissioner.

20· ·Q.· · ·Okay.· And if there's a deviation, who makes

21· ·the decisions to proceed with the execution?

22· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

23· · · · · · · ·THE WITNESS:· That would be the

24· ·commissioner.

25· ·///



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       122 of 352 PageID #: 120
                                                                            8764
                      www.EliteReportingServices.com                          YVer1f
·1· ·BY MR. KURSMAN:

·2· ·Q.· · ·So that's not you, that's the commissioner?

·3· ·A.· · ·Correct.

·4· ·Q.· · ·Okay.· Let's go to 13 of your duties.· It

·5· ·says, "To order the Executioner, either verbally or

·6· ·by gesture, to proceed with the execution."

·7· · · · · So we talked about this a bit, but does

·8· ·the -- does the assistant -- the associate warden

·9· ·help you with this determination as well?

10· ·A.· · ·No.

11· ·Q.· · ·Okay.· So you and he don't talk during this

12· ·determination?

13· ·A.· · ·No.

14· ·Q.· · ·Okay.· Does he approach the inmate as well?

15· ·A.· · ·He's standing there, but --

16· ·Q.· · ·He --

17· ·A.· · ·-- he don't approach him like I do.

18· ·Q.· · ·Yeah, that's my question.· So the two of you

19· ·are standing somewhere in the execution room --

20· ·A.· · ·Correct.

21· ·Q.· · ·-- correct?

22· · · · · And then you approach the inmate?

23· ·A.· · ·Correct.

24· ·Q.· · ·But the associate warden does not come with

25· ·you to approach the inmate?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       123 of 352 PageID #: 121
                                                                            8765
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·Correct.

·2· ·Q.· · ·Okay.· So let's go to page 14, which is

·3· ·titled "Associate Warden of Security."· And it says

·4· ·the primary role is to "Assist the Warden in

·5· ·performing execution procedures and substitute for

·6· ·the Warden if he is unable to perform his duties."

·7· · · · · How does he assist you during an execution?

·8· ·A.· · ·In multiple ways.· Are you speaking about

·9· ·from beginning to end or just during the actual

10· ·execution itself?

11· ·Q.· · ·From beginning to end.

12· ·A.· · ·He also is there helping coordinate members

13· ·of the team.· He's doing basically the same thing

14· ·that I'm doing, observing to make sure everything is

15· ·in order from beginning to end.

16· ·Q.· · ·And how about during the execution?

17· ·A.· · ·During the execution, basically he assists

18· ·with the opening and closing of the curtains and

19· ·blinds, he assists me when I give him the order to

20· ·retrieve the physician or the IV team.· He assists

21· ·me during the actual execution by making sure that

22· ·audio and everything is in order.· Basically he

23· ·takes directions from me once I give them to him.

24· ·That's how he assists me.

25· ·Q.· · ·And it says he would substitute for you if



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       124 of 352 PageID #: 122
                                                                            8766
                      www.EliteReportingServices.com                          YVer1f
·1· ·you were unable to perform your duties?

·2· ·A.· · ·True, yes.

·3· ·Q.· · ·When would you be unable to perform your

·4· ·duties?

·5· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·6· · · · · · · ·THE WITNESS:· If I was unable to perform

·7· ·my duties, if for some reason I had to be out for an

·8· ·emergency situation, God forbid what, if I became

·9· ·ill in some way that I would not be able to maintain

10· ·control of myself, something of that nature.

11· ·BY MR. KURSMAN:

12· ·Q.· · ·Does the associate warden have training on

13· ·assessing consciousness?

14· ·A.· · ·Yes, he does.

15· ·Q.· · ·He does?· And did he receive the same

16· ·training with you?

17· ·A.· · ·Yes, he did.

18· ·Q.· · ·And was that from a medical professional?

19· ·A.· · ·He received --

20· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

21· · · · · · · ·THE WITNESS:· He received it from me.

22· ·Now, he has to speak for himself if he received any

23· ·other from me.

24· ·BY MR. KURSMAN:

25· ·Q.· · ·Okay.· So you trained the associate warden on



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       125 of 352 PageID #: 123
                                                                            8767
                      www.EliteReportingServices.com                          YVer1f
·1· ·how to assess consciousness?

·2· ·A.· · ·By him monitoring and watching.

·3· ·Q.· · ·Okay.· And you said earlier that you received

·4· ·training from someone?

·5· ·A.· · ·I did.

·6· ·Q.· · ·And was that the warden while you were the

·7· ·associate warden?

·8· ·A.· · ·No.

·9· ·Q.· · ·Okay.· Who was that, without identifying any

10· ·names?

11· ·A.· · ·I stated earlier it was a physician.

12· ·Q.· · ·Okay.· Is it the physician involved in this

13· ·execution?

14· ·A.· · ·No.

15· ·Q.· · ·Okay.· And how many times did that physician

16· ·train you on assessing consciousness?

17· ·A.· · ·Multiple, not a number.

18· ·Q.· · ·You mean over 10?

19· ·A.· · ·Probably less than 10.

20· ·Q.· · ·Probably less than 10.· Is the physician at

21· ·the trainings that you conduct at TDOC, the

22· ·execution trainings?

23· ·A.· · ·Not every one.

24· ·Q.· · ·But that physician is at some of those

25· ·trainings, you're saying?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       126 of 352 PageID #: 124
                                                                            8768
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·Yes.

·2· ·Q.· · ·Okay.· And this is a physician that's

·3· ·different from the physician in the execution

·4· ·protocol?

·5· ·A.· · ·Yes.

·6· ·Q.· · ·Okay.· And that physician shows you how to

·7· ·perform a consciousness check?

·8· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·9· · · · · · · ·THE WITNESS:· He showed me how to

10· ·perform, yes.

11· ·BY MR. KURSMAN:

12· ·Q.· · ·And he does that at the training sessions?

13· ·A.· · ·Outside of the training sessions.

14· ·Q.· · ·Do you do that with a live body?

15· ·A.· · ·Yes.

16· ·Q.· · ·Okay.· Does the physician have experience

17· ·doing his own consciousness checks?

18· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

19· · · · · · · ·THE WITNESS:· That I would not know.

20· ·BY MR. KURSMAN:

21· ·Q.· · ·Okay.· Did you ask the physician whether they

22· ·had experience performing consciousness checks?

23· ·A.· · ·I did not.

24· ·Q.· · ·Okay.· So let's go to page 15 on Exhibit 1,

25· ·titled "Lethal Injection Recorder."



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       127 of 352 PageID #: 125
                                                                            8769
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · Do you see it says the primary role is to

·2· ·"Assist the Warden in carrying out his duties"?

·3· ·A.· · ·I do.

·4· ·Q.· · ·Okay.· How does he assist you in carrying out

·5· ·your duties?

·6· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·7· · · · · · · ·THE WITNESS:· As the protocol spells

·8· ·out, one, two, and three, what his duties are.

·9· ·BY MR. KURSMAN:

10· ·Q.· · ·So does he do anything else aside from

11· ·Duties 1, 2, and 3?

12· ·A.· · ·No.

13· ·Q.· · ·Okay.· Let's go to page 20 of the protocol.

14· ·Do you see at the top it says, "IV Team"?

15· ·A.· · ·Yes.

16· ·Q.· · ·And do you see it says, "Primary Role, To

17· ·establish properly functioning IV lines for

18· ·administration of the lethal injection chemicals"?

19· ·A.· · ·Yes.

20· ·Q.· · ·How do you ensure that the IV team has done

21· ·this?

22· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

23· · · · · · · ·THE WITNESS:· I explained earlier I

24· ·don't make that determination.· The people that

25· ·monitor the IV lines make that determination.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       128 of 352 PageID #: 126
                                                                            8770
                      www.EliteReportingServices.com                          YVer1f
·1· ·BY MR. KURSMAN:

·2· ·Q.· · ·And that would be the executioner and the

·3· ·executioner's assistant?

·4· ·A.· · ·Yes.

·5· ·Q.· · ·Okay.· And then if we go to 4, it says, "To

·6· ·make sure vascular access is properly established."

·7· · · · · Who ensures this is done?· Is that also the

·8· ·executioner and the executioner's assistants?

·9· ·A.· · ·Yes.

10· ·Q.· · ·Okay.· And then if we go to 5, it says, "To

11· ·make sure the IV lines are flowing properly."

12· · · · · Is this also the executioner and the

13· ·executioner's assistants --

14· ·A.· · ·Yes.

15· ·Q.· · ·-- that make sure that this is done?

16· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

17· · · · · · · ·THE WITNESS:· Yes.

18· ·BY MR. KURSMAN:

19· ·Q.· · ·Okay.· So let's go now to page 26.

20· · · · · And do you see it says at the top,

21· ·"Assistant Commissioner of Prisons"?

22· ·A.· · ·Yes.

23· ·Q.· · ·And under No. 2 it says, "To maintain

24· ·telephone and/or radio contact with the Warden and

25· ·other personnel."



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       129 of 352 PageID #: 127
                                                                            8771
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·Yes.

·2· ·Q.· · ·Okay.· Why is this done?

·3· ·A.· · ·In case any communication needs to be made or

·4· ·something needed to be, I guess, conveyed up or

·5· ·reported up.

·6· ·Q.· · ·And during any execution where you've been

·7· ·warden, has communication needed to be made?

·8· ·A.· · ·No.

·9· ·Q.· · ·Okay.· Is there a telephone contact while

10· ·you're determining consciousness?

11· ·A.· · ·No.

12· ·Q.· · ·And what would you be discussing with the

13· ·associate warden of executions --

14· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

15· ·BY MR. KURSMAN:

16· ·Q.· · ·-- if telephone contact were to be made?

17· ·A.· · ·If anything looks out of the ordinary, as I

18· ·would with the commissioner.

19· ·Q.· · ·Okay.· Do you feel like you have a lot of

20· ·roles during the execution?

21· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

22· · · · · · · ·THE WITNESS:· There's several roles,

23· ·yes.

24· ·BY MR. KURSMAN:

25· ·Q.· · ·Do you think anyone on the execution team has



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       130 of 352 PageID #: 128
                                                                            8772
                      www.EliteReportingServices.com                          YVer1f
·1· ·more roles than you have?

·2· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·3· · · · · · · ·THE WITNESS:· No.

·4· ·BY MR. KURSMAN:

·5· ·Q.· · ·Is there a reason that some of your roles

·6· ·aren't delegated to other people?

·7· · · · · · · ·MR. SUTHERLAND:· Same objection.

·8· ·BY MR. KURSMAN:

·9· ·Q.· · ·The only reason I ask is it seems like a

10· ·lot -- you know, you sort of play the role of

11· ·everything during an execution.

12· ·A.· · ·Several roles that I'm responsible for are

13· ·delegated.· When I -- when an individual escort an

14· ·inmate from the -- into the chamber, that's my

15· ·responsibility and duty, but others are doing the

16· ·role.· When they restrain him to the gurney, it's my

17· ·responsibility and duty, but they're performing the

18· ·role.

19· · · · · My assistant, when he's retrieving the

20· ·doctor, assisting me in opening blinds and

21· ·curtains, that's part of my duties, but he helped

22· ·me perform those roles.· They're all delegated to

23· ·those individuals to make sure they carry it out.

24· ·Q.· · ·Are there any roles that you think are so

25· ·important that you don't delegate?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       131 of 352 PageID #: 129
                                                                            8773
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·There's not a role that I perform that no one

·2· ·there is not able to perform.

·3· ·Q.· · ·So would you be comfortable delegating

·4· ·checking consciousness to the associate warden?

·5· ·A.· · ·Yes.

·6· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·7· ·BY MR. KURSMAN:

·8· ·Q.· · ·Okay.· And do you think you are any more

·9· ·qualified to check consciousness than the associate

10· ·warden?

11· · · · · · · ·MR. SUTHERLAND:· Same objection.

12· · · · · · · ·THE WITNESS:· I would say no.

13· ·BY MR. KURSMAN:

14· ·Q.· · ·Okay.· So let's turn to page 32.

15· · · · · You see at the top it says, "Training of

16· ·Execution Team Members"?

17· ·A.· · ·Yes.

18· ·Q.· · ·And then it says under "Training," No. 1,

19· ·"All Execution Team members must read the Lethal

20· ·Injection Execution Manual when they become members

21· ·of the Execution Team"?

22· ·A.· · ·Yes.

23· ·Q.· · ·Is the lethal injection manual the same thing

24· ·that we've been describing as the protocol?

25· ·A.· · ·Yes.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       132 of 352 PageID #: 130
                                                                            8774
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·Is there any other manuals that they must

·2· ·read that aren't the protocol?

·3· ·A.· · ·For lethal injection?

·4· ·Q.· · ·Yes.

·5· ·A.· · ·No.

·6· ·Q.· · ·Okay.· What about for anything else?

·7· ·A.· · ·Separate manual for electrocution, of course.

·8· ·Q.· · ·Okay.· And do the team members receive any

·9· ·other reading or training materials as it relates to

10· ·the lethal injection protocol?

11· ·A.· · ·No.

12· ·Q.· · ·Okay.· So aside from getting the protocol,

13· ·they're not given any other training materials?

14· ·A.· · ·Materials?· No.

15· ·Q.· · ·Okay.· Is there something else that they are

16· ·given?

17· ·A.· · ·Other than reading the manual --

18· ·Q.· · ·Yes.

19· ·A.· · ·-- and doing the monthly training?

20· ·Q.· · ·Yes.

21· ·A.· · ·That's it.

22· ·Q.· · ·Okay.· And you don't know who created the

23· ·protocol, right?

24· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

25· · · · · · · ·THE WITNESS:· No.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       133 of 352 PageID #: 131
                                                                            8775
                      www.EliteReportingServices.com                          YVer1f
·1· ·BY MR. KURSMAN:

·2· ·Q.· · ·Okay.· And then do you see right after that

·3· ·it says, "Additionally, the Warden or designee holds

·4· ·a class during which the manual is reviewed and

·5· ·clearly understood by all participants"?

·6· · · · · Can you describe this class for me?

·7· ·A.· · ·We assemble with the manual.· We read either

·8· ·together or alone.· And we sign a training roster.

·9· ·Q.· · ·So you get to the class, you all read the

10· ·manual, and then you sign a training roster?

11· ·A.· · ·Uh-huh.

12· ·Q.· · ·Do you do anything else at the class?

13· ·A.· · ·No.

14· ·Q.· · ·Okay.· Do you practice executions at the

15· ·class?

16· ·A.· · ·At a class?

17· ·Q.· · ·At the class.

18· ·A.· · ·No.· Outside our monthly training, no.

19· ·Q.· · ·Okay.· How often is this class held?

20· ·A.· · ·Annually.

21· ·Q.· · ·Okay.· At these classes do the execution team

22· ·ask questions?

23· ·A.· · ·If they have one.

24· ·Q.· · ·Have they had one?

25· ·A.· · ·Not really, no.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       134 of 352 PageID #: 132
                                                                            8776
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·Okay.· Are there discussions about issues

·2· ·that have arisen during either the rehearsals or

·3· ·actual executions?

·4· ·A.· · ·We really haven't had any.

·5· ·Q.· · ·Okay.· And how do you know that all of the

·6· ·participants are understanding the manual?

·7· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·8· · · · · · · ·THE WITNESS:· That I don't know.

·9· ·BY MR. KURSMAN:

10· ·Q.· · ·Do you give them any type of test?

11· ·A.· · ·No.

12· ·Q.· · ·And what qualifies you to teach the class?

13· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

14· · · · · · · ·THE WITNESS:· Based on my experience,

15· ·based on reading and understanding, based on the

16· ·protocol, spelling out that it is me.· That's

17· ·basically it, what qualifies me.

18· ·BY MR. KURSMAN:

19· ·Q.· · ·And how long is the class?

20· ·A.· · ·There's no time limit.

21· ·Q.· · ·Okay.· Well, how long has it been?

22· ·A.· · ·We have -- it takes a while to read that.

23· ·Two to three hours, sometimes maybe less, maybe

24· ·longer.

25· ·Q.· · ·And you said the participants then sign a



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       135 of 352 PageID #: 133
                                                                            8777
                      www.EliteReportingServices.com                          YVer1f
·1· ·sheet?

·2· ·A.· · ·Training roster.

·3· ·Q.· · ·Okay.· And where is that kept?

·4· ·A.· · ·That's kept in a safe in my office.

·5· · · · · · · ·MR. KURSMAN:· Okay.· Mr. Sutherland, we

·6· ·would -- we would request those, that roster.

·7· · · · · · · ·MR. SUTHERLAND:· Noted.

·8· ·BY MR. KURSMAN:

·9· ·Q.· · ·Does it happen at the same time every year,

10· ·the class?

11· ·A.· · ·No.

12· ·Q.· · ·Okay.· And who schedules it?

13· ·A.· · ·My associate warden, based on my

14· ·instructions.

15· ·Q.· · ·And now let's go to part 2, it says, "The

16· ·Execution Team simulates Day 3 (Execution Day) of

17· ·the Death Watch Procedure and steps outlined in

18· ·Section 4 for at least one hour each month.

19· ·Additional training is held within two weeks before

20· ·a scheduled execution.· A training record is

21· ·maintained to document all staff members who

22· ·participate in the training."

23· · · · · Do you see that?

24· ·A.· · ·I do, yes.

25· ·Q.· · ·Does this mean that the entire simulation of



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       136 of 352 PageID #: 134
                                                                            8778
                      www.EliteReportingServices.com                          YVer1f
·1· ·Day 3, from start to finish, takes only one hour?

·2· ·A.· · ·No.· What that means, we simulate Day 3, but

·3· ·it has to be at least an hour.

·4· ·Q.· · ·Okay.· And how long has it been when you've

·5· ·done it?

·6· ·A.· · ·Each month it varies.· It may be an

·7· ·hour-and-a-half, it may be two hours, depending on

·8· ·how many times we go through the scenario.· It may

·9· ·be two-and-a-half hours.

10· ·Q.· · ·And do you follow the protocol to a tee when

11· ·you're doing those simulations?

12· ·A.· · ·Yes.

13· ·Q.· · ·Okay.· So you start at the 5 p.m. mark or

14· ·whatever it is?

15· ·A.· · ·We start at the 7 p.m. mark.

16· ·Q.· · ·Oh, you start at the 7 p.m. mark.

17· ·A.· · ·Uh-huh.

18· ·Q.· · ·Okay.· And what is the additional training

19· ·that takes place within the two weeks of a scheduled

20· ·execution?

21· ·A.· · ·The additional training is just basically, if

22· ·we've got an execution that is two weeks out, we

23· ·enhance our rehearsals.· Normally it's once a month.

24· ·Two weeks away from the execution we may practice

25· ·twice a week, three times a week.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       137 of 352 PageID #: 135
                                                                            8779
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·And when you say "enhance the rehearsals," do

·2· ·you just mean you practice more?

·3· ·A.· · ·Practice more.

·4· ·Q.· · ·And who determines how much more practice the

·5· ·execution team needs?

·6· ·A.· · ·That's me.

·7· ·Q.· · ·Okay.· And what -- and what goes into your

·8· ·decision-making?

·9· ·A.· · ·Really, if I feel like we need more, then we

10· ·do more.

11· ·Q.· · ·And who oversees those trainings?

12· ·A.· · ·I do.

13· ·Q.· · ·Okay.· Is there anyone more qualified than

14· ·you --

15· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

16· ·BY MR. KURSMAN:

17· ·Q.· · ·-- to oversee the trainings?

18· ·A.· · ·Yes.

19· ·Q.· · ·Who?

20· ·A.· · ·I would say the -- my supervisor,

21· ·commissioner.

22· ·Q.· · ·Okay.· And is there anyone more qualified

23· ·than you to do those classes that we just discussed?

24· ·A.· · ·That I couldn't answer.· It would probably be

25· ·the same person.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       138 of 352 PageID #: 136
                                                                            8780
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·And why do you think the commissioner is more

·2· ·qualified than you --

·3· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·4· ·BY MR. KURSMAN:

·5· ·Q.· · ·-- to lead these trainings and classes?

·6· ·A.· · ·That I wouldn't know.· I would just assume,

·7· ·his title and his position, that he probably would

·8· ·be.

·9· ·Q.· · ·Do you think he's more qualified than you to

10· ·determine an inmate's consciousness?

11· · · · · · · ·MR. SUTHERLAND:· Same objection.

12· · · · · · · ·THE WITNESS:· That I couldn't answer.

13· ·BY MR. KURSMAN:

14· ·Q.· · ·Okay.· And during these practice sessions,

15· ·how do you practice for determining an inmate's

16· ·consciousness?

17· ·A.· · ·According to the manual specifications.

18· ·Q.· · ·And do you practice with a live body?

19· ·A.· · ·I do.

20· ·Q.· · ·Does the live person ever pretend to be

21· ·conscious?

22· ·A.· · ·Never have.

23· ·Q.· · ·Never has pretended to be conscious?

24· ·A.· · ·Uh-huh.

25· ·Q.· · ·Okay.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       139 of 352 PageID #: 137
                                                                            8781
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·No.

·2· ·Q.· · ·And have you ever been tested on whether you

·3· ·can adequately determine whether an inmate is under

·4· ·a certain level of anesthetic depth?

·5· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·6· · · · · · · ·THE WITNESS:· That I would not know.

·7· ·BY MR. KURSMAN:

·8· ·Q.· · ·Okay.· Meaning -- and what I mean by that is

·9· ·have you ever -- have you ever tested your skills on

10· ·somebody who was maybe injected with just a little

11· ·bit of midazolam?

12· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

13· · · · · · · ·THE WITNESS:· No.

14· ·BY MR. KURSMAN:

15· ·Q.· · ·Okay.· And have you ever tested your skills

16· ·on an inmate who was either drunk or under the

17· ·influence of some illegal drugs?

18· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

19· · · · · · · ·THE WITNESS:· No.

20· ·BY MR. KURSMAN:

21· ·Q.· · ·Okay.· And then if we go back to page 32, do

22· ·you see it says, under No. 2, the second paragraph,

23· ·"The simulation includes all steps of the execution

24· ·process with the following exceptions:· Volunteers

25· ·play the roles of the condemned inmate and



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       140 of 352 PageID #: 138
                                                                            8782
                      www.EliteReportingServices.com                          YVer1f
·1· ·physician.· Saline solution is substituted for the

·2· ·lethal chemicals.· And a body is not placed in the

·3· ·bag."

·4· · · · · Without identifying any names, who are the

·5· ·volunteers?

·6· ·A.· · ·Various members of the execution team.

·7· ·Q.· · ·Okay.· Now, how can you be a member of the

·8· ·execution team and also a volunteer?

·9· ·A.· · ·Everyone that is on the execution team does

10· ·not have necessarily to fulfill the role at every

11· ·practice.· So we use that individual as a volunteer.

12· ·Q.· · ·Okay.· So just so I understand what you're

13· ·saying, do you mean like a member of the restraint

14· ·team?

15· ·A.· · ·It could be a member of the restraint team.

16· ·It could be a member of the escort team.· It could

17· ·be any member.

18· ·Q.· · ·Could it be a member of the IV team?

19· ·A.· · ·No.

20· ·Q.· · ·Okay.· Is IV insertion simulated?

21· ·A.· · ·No.

22· ·Q.· · ·Okay.· And is the physician ever involved in

23· ·the training?

24· ·A.· · ·It's been a while, but yes.

25· ·Q.· · ·I'm sorry, what was that?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       141 of 352 PageID #: 139
                                                                            8783
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·I said it's been a while, but yes.

·2· ·Q.· · ·Okay.· And are botches addressed during the

·3· ·training?

·4· ·A.· · ·Botches?

·5· ·Q.· · ·Yeah, like mistakes?

·6· ·A.· · ·If there is any recognized.

·7· ·Q.· · ·How about emergency scenarios?

·8· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·9· · · · · · · ·THE WITNESS:· I have did a couple in the

10· ·past.

11· ·BY MR. KURSMAN:

12· ·Q.· · ·Okay.· And what have you done?

13· ·A.· · ·Simulating individuals being removed from

14· ·their cell and being removed maybe unwillingly.

15· ·Simulating an individual maybe losing consciousness

16· ·en route to the chamber.· Simulating between the --

17· ·both kits, whether an individual was actually

18· ·conscious or consciousness, things of that sort.

19· ·Q.· · ·Say that last one again.

20· ·A.· · ·After the consciousness check --

21· ·Q.· · ·Uh-huh.

22· ·A.· · ·-- I may simulate as though the individual is

23· ·still conscious --

24· ·Q.· · ·Okay.· And what --

25· ·A.· · ·-- to --



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       142 of 352 PageID #: 140
                                                                            8784
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·What happens then?

·2· ·A.· · ·According to the protocol, signals is given

·3· ·to the executioner and then he proceeds with the

·4· ·second part of the protocol in regards to the kits

·5· ·that are being used.

·6· ·Q.· · ·And you mean injecting the prisoner with more

·7· ·midazolam?

·8· ·A.· · ·Yes.

·9· ·Q.· · ·Okay.· What happens if after the second

10· ·injection of midazolam, meaning after you signal to

11· ·the executioner, the inmate is still conscious and

12· ·then the executioner injects the inmate with a

13· ·second batch of midazolam?· What happens if the

14· ·inmate is still conscious then?

15· · · · · · · ·MR. SUTHERLAND:· Can I interject?· Are

16· ·you talking about the practice or are you talking

17· ·about real --

18· · · · · · · ·MR. KURSMAN:· I'm talking about real.

19· · · · · · · ·MR. SUTHERLAND:· Okay.

20· · · · · · · ·MR. KURSMAN:· Real.· Thanks.· Sorry.

21· · · · · · · ·THE WITNESS:· Never had that to happen.

22· ·BY MR. KURSMAN:

23· ·Q.· · ·But what -- what would happen if that did

24· ·happen?

25· ·A.· · ·What would happen if that did happen during



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       143 of 352 PageID #: 141
                                                                            8785
                      www.EliteReportingServices.com                          YVer1f
·1· ·an actual, live execution?

·2· ·Q.· · ·Right.· What would you do?

·3· ·A.· · ·And we've exhausted both batches?

·4· ·Q.· · ·Of midazolam.

·5· ·A.· · ·Curtains will be pulled, blinds will be

·6· ·closed.· I will consult with the doctor and advise

·7· ·the commissioner.

·8· ·Q.· · ·And who makes the decision whether to

·9· ·proceed?

10· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

11· · · · · · · ·THE WITNESS:· Commissioner.

12· ·BY MR. KURSMAN:

13· ·Q.· · ·Okay.· During the practices, is push rate

14· ·practiced?

15· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

16· · · · · · · ·THE WITNESS:· I'm not there in the room,

17· ·but I'm sure it is.

18· ·BY MR. KURSMAN:

19· ·Q.· · ·Okay.· And do you know how fast the IV push

20· ·rate is practiced?

21· ·A.· · ·I don't.

22· ·Q.· · ·Okay.· Do you know how fast they push the

23· ·drugs during the simulation?

24· ·A.· · ·I don't.

25· ·Q.· · ·Okay.· Does anybody oversee the executioner



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       144 of 352 PageID #: 142
                                                                            8786
                      www.EliteReportingServices.com                          YVer1f
·1· ·to ensure the push rate is correct?

·2· ·A.· · ·That I wouldn't know.· I know they've been

·3· ·trained to do it.

·4· ·Q.· · ·And who have they been trained by?

·5· ·A.· · ·Medical professionals.

·6· ·Q.· · ·Okay.· And without -- without giving any

·7· ·identifying information, what type of medical

·8· ·professionals do you mean?

·9· ·A.· · ·I would say probably doctors and others.

10· ·Q.· · ·So it's your understanding the executioner

11· ·has been trained by a doctor for his correct push

12· ·rate?

13· ·A.· · ·I will say probably.· I didn't say that they

14· ·were.

15· ·Q.· · ·Okay.

16· ·A.· · ·Probably doctors and EMTs and IV members and

17· ·other people as well.

18· ·Q.· · ·Okay.· But you're not sure, you're saying?

19· ·A.· · ·Correct.

20· ·Q.· · ·Okay.· And then do you see it says, under

21· ·No. 3 on -- we're still on page 32, "All training

22· ·that occurs is documented.· The documentation

23· ·includes the times and dates of the training, the

24· ·participants, and the training content"?

25· ·A.· · ·I do see that.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       145 of 352 PageID #: 143
                                                                            8787
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·Who's responsible for this documentation?

·2· ·A.· · ·I am.

·3· ·Q.· · ·And where is the documentation kept?

·4· ·A.· · ·In a binder in my safe in my office.

·5· · · · · · · ·(WHEREUPON, the above-mentioned

·6· ·document was presented, previously marked as

·7· ·Exhibit Number 53.)

·8· ·BY MR. KURSMAN:

·9· ·Q.· · ·Okay.

10· · · · · Can we go to Exhibit 53?

11· · · · · Is this an example of that training

12· ·documentation?

13· ·A.· · ·Yes, it is.

14· ·Q.· · ·And did you lead this?

15· ·A.· · ·I'm sorry?

16· ·Q.· · ·Did you lead this training session?

17· ·A.· · ·I don't know about this one in particular

18· ·because the instructor's name has been redacted.

19· ·Q.· · ·Okay.

20· · · · · Let's go to page -- back to page 32.· Do you

21· ·see it says -- at the bottom, it says,

22· ·"Executioner"?· And then it says, "The Executioner

23· ·receives initial and periodic instruction from a

24· ·qualified medical professional"?

25· ·A.· · ·I'm sorry, you said 32?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       146 of 352 PageID #: 144
                                                                            8788
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·Yeah, I apologize.· Exhibit 1 on page 32.

·2· ·Oh, not Exhibit 32, Exhibit 1 --

·3· ·A.· · ·Oh, I'm sorry.

·4· ·Q.· · ·-- page 32.· Sorry about that.

·5· ·A.· · ·Sorry.· Exhibit 1, 32.· Okay.

·6· ·Q.· · ·Do you see at the bottom it says,

·7· ·"Executioner"?

·8· ·A.· · ·Yes.

·9· ·Q.· · ·And it says, "The Executioner receives

10· ·initial and periodic instruction from a qualified

11· ·medical professional"?

12· ·A.· · ·I see that, yes.

13· ·Q.· · ·What does this section mean?

14· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

15· · · · · · · ·THE WITNESS:· It means periodically he

16· ·will receive instructions from a qualified medical

17· ·professional.

18· ·BY MR. KURSMAN:

19· ·Q.· · ·Who is the qualified medical professional,

20· ·without identifying any names?

21· ·A.· · ·That I wouldn't know.

22· ·Q.· · ·Okay.· Are you -- are you present at these

23· ·trainings?

24· ·A.· · ·No.

25· ·Q.· · ·Okay.· Do you know what "initial training"



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       147 of 352 PageID #: 145
                                                                            8789
                      www.EliteReportingServices.com                          YVer1f
·1· ·means?

·2· ·A.· · ·"Initial" usually means beginning.

·3· ·Q.· · ·Okay.· Do you know what "periodic" means as

·4· ·it's used in this paragraph?

·5· ·A.· · ·Every so often.

·6· ·Q.· · ·Do you know how often the executioner

·7· ·receives training?

·8· ·A.· · ·I do not.· I just know he receives it.

·9· ·Q.· · ·And the qualified medical professional, is it

10· ·always the same individual?

11· ·A.· · ·That I wouldn't know.

12· ·Q.· · ·Okay.· Is the executioner the only person who

13· ·receives this additional training?

14· ·A.· · ·I would say the executioner and his

15· ·assistants.

16· ·Q.· · ·Okay.· Do you receive any additional

17· ·training?

18· ·A.· · ·No.

19· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

20· ·BY MR. KURSMAN:

21· ·Q.· · ·Okay.· Do you know when the last time the

22· ·executioner received this additional training?

23· ·A.· · ·Do not, no.

24· ·Q.· · ·Okay.· Do you know the next time they'll

25· ·receive this training?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       148 of 352 PageID #: 146
                                                                            8790
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·No.

·2· · · · · · · ·(WHEREUPON, the above-mentioned

·3· ·document was presented, previously marked as

·4· ·Exhibit Number 49.)

·5· ·BY MR. KURSMAN:

·6· ·Q.· · ·Okay.· Let's go to Exhibit 49.

·7· · · · · If you could go to that third page of

·8· ·Exhibit 49.

·9· · · · · Well, I apologize.· Let's go to the first

10· ·page first so you can see what Exhibit 49 is.· Do

11· ·you see it says at the top, "Defendant Tony Mays'

12· ·Supplemental Response to Plaintiff's First Set of

13· ·Interrogatories"?

14· ·A.· · ·I do.

15· ·Q.· · ·Okay.· So let's go to page 3.· And do you see

16· ·it says, under E, "IV 2-Executioner has previously

17· ·received IV training by EMTs and participates in

18· ·monthly training/practice sessions during which

19· ·saline is injected through the IV into the median

20· ·cubital vein of participant"?

21· ·A.· · ·I see that, yes.

22· ·Q.· · ·Is this the instruction that's referenced on

23· ·page 32?

24· ·A.· · ·I think I said that earlier, did I not?

25· ·Q.· · ·I'm not sure.· I must have misheard you.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       149 of 352 PageID #: 147
                                                                            8791
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·Well, yes, I think that's what I said.

·2· ·Q.· · ·Okay.· And do you know what a median cubital

·3· ·vein is?

·4· ·A.· · ·No.

·5· ·Q.· · ·Okay.· And do you know what a antecubital

·6· ·fossa area is?

·7· ·A.· · ·No.

·8· · · · · · · ·MR. KURSMAN:· Okay.

·9· · · · · · · ·I think -- how long have we been going

10· ·during this?· I think it may be a good time for a

11· ·break right now, if that's fine with all of you.

12· ·Okay.

13· · · · · · · ·THE VIDEOGRAPHER:· One moment, please.

14· · · · · · · ·MR. KURSMAN:· Sure.

15· · · · · · · ·THE VIDEOGRAPHER:· Going off the record

16· ·at 12:18 p.m.

17· · · · · · · ·(Lunch recess from 12:21 p.m. to

18· ·1:05 p.m.)

19· · · · · · · ·THE VIDEOGRAPHER:· Back on the record at

20· ·1:02 p.m.

21· ·BY MR. KURSMAN:

22· ·Q.· · ·Good afternoon, Warden Parker [sic].· Is

23· ·there anything during the break that you thought of

24· ·that you want to correct in terms of your answers

25· ·that you gave this morning?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       150 of 352 PageID #: 148
                                                                            8792
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·No.

·2· ·Q.· · ·Okay.· Now, while we were on break, I

·3· ·actually read an article saying that you sent a

·4· ·message to your staff announcing your retirement; is

·5· ·that right?

·6· ·A.· · ·No, sir.

·7· · · · · · · ·MR. KURSMAN:· Oh, I apologize.· It's the

·8· ·commissioner.· I'm sorry.· Okay.· I read -- I read

·9· ·that wrong.· Okay.· I apologize for that, everybody.

10· · · · · · · ·THE WITNESS:· No, sir.

11· ·BY MR. KURSMAN:

12· ·Q.· · ·Okay.· Okay.· Okay.

13· · · · · Let's turn to page 34 of -- or 34 -- yeah,

14· ·page 34 of Exhibit 1.

15· · · · · And I apologize again for that.

16· ·A.· · ·That's okay.

17· ·Q.· · ·And do you see on page 34 that it describes

18· ·the three chemicals used in the lethal injection

19· ·procedure?

20· ·A.· · ·Yes.

21· ·Q.· · ·And it has midazolam, vecuronium bromide, and

22· ·potassium chloride?

23· ·A.· · ·Yes.

24· ·Q.· · ·Okay.· What is your understanding of the

25· ·purpose of each drug in the execution protocol?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       151 of 352 PageID #: 149
                                                                            8793
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·2· · · · · · · ·THE WITNESS:· Early on we'll explain the

·3· ·three drugs and I guess the purposes of it.

·4· ·Midazolam, I may be wrong, but I think it's designed

·5· ·to put you to sleep, make you go to sleep; is that

·6· ·correct?

·7· ·BY MR. KURSMAN:

·8· ·Q.· · ·I -- I unfortunately can't answer questions.

·9· ·A.· · ·Okay.

10· ·Q.· · ·I just --

11· ·A.· · ·That's fine.

12· · · · · I think the midazolam makes you sleepy or go

13· ·to sleep.· The vecuronium bromide, I guess,

14· ·basically paralyzes the body.· And the potassium

15· ·chloride is designed to affect the heart.· I think

16· ·I'm right.

17· ·Q.· · ·And do you know what type of drug midazolam

18· ·is?

19· ·A.· · ·I do not.

20· ·Q.· · ·Okay.· Were you aware that it's a

21· ·benzodiazepine?

22· ·A.· · ·No.

23· ·Q.· · ·Okay.· So are you aware that it's the same

24· ·classification as, like, a drug such as Xanax?

25· ·A.· · ·No.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       152 of 352 PageID #: 150
                                                                            8794
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·Okay.· And do you know whether midazolam is

·2· ·typically used as an anesthetic in hospital

·3· ·settings?

·4· ·A.· · ·I don't.

·5· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·6· ·BY MR. KURSMAN:

·7· ·Q.· · ·Okay.

·8· ·A.· · ·No.

·9· ·Q.· · ·Are you aware that midazolam has a ceiling

10· ·effect?

11· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

12· · · · · · · ·THE WITNESS:· No.

13· ·BY MR. KURSMAN:

14· ·Q.· · ·Do you know what a ceiling effect is?

15· ·A.· · ·No.

16· ·Q.· · ·Okay.· Are you aware that midazolam may have

17· ·a paradoxical effect?

18· ·A.· · ·No.

19· ·Q.· · ·And do you know what a paradoxical effect is?

20· ·A.· · ·No.

21· ·Q.· · ·Okay.· Are you aware that midazolam is highly

22· ·acidic?

23· ·A.· · ·No.

24· ·Q.· · ·And I think you said a second ago that

25· ·vecuronium bromide was a paralytic?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       153 of 352 PageID #: 151
                                                                            8795
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·I think so.

·2· ·Q.· · ·Do you know why Tennessee is using vecuronium

·3· ·bromide as the second drug in the --

·4· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·5· ·BY MR. KURSMAN:

·6· ·Q.· · ·-- execution protocol?

·7· ·A.· · ·No.

·8· ·Q.· · ·Okay.· Could Tennessee conduct an execution

·9· ·using only the first and third drugs?

10· · · · · · · ·MR. SUTHERLAND:· Same objection.

11· · · · · · · ·THE WITNESS:· I couldn't answer that

12· ·because I've only used the three.· I've never used

13· ·the two, so I don't know if they could or not.

14· ·BY MR. KURSMAN:

15· ·Q.· · ·Okay.· And do you know what a paralytic

16· ·means?

17· ·A.· · ·Paralytic sounds as though it will paralyze

18· ·you.

19· ·Q.· · ·So could you tell me how you would be able to

20· ·assess an inmate's consciousness as defined in the

21· ·protocol after they were injected with vecuronium

22· ·bromide?

23· · · · · · · ·MR. SUTHERLAND:· Objection, form.

24· · · · · · · ·THE WITNESS:· If my memory serves me

25· ·correctly, I think the consciousness check is made



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       154 of 352 PageID #: 152
                                                                            8796
                      www.EliteReportingServices.com                          YVer1f
·1· ·before the drug is injected.

·2· ·BY MR. KURSMAN:

·3· ·Q.· · ·And that's right.· But if -- we talked

·4· ·earlier that if the inmate wasn't declared dead

·5· ·after all three, that you would reassess

·6· ·consciousness after they got the second dose of

·7· ·midazolam.

·8· · · · · So my question is just how would you be able

·9· ·to describe -- how would you be able to assess an

10· ·inmate's consciousness if they were already

11· ·injected with vecuronium bromide?

12· ·A.· · ·That I would not know.

13· ·Q.· · ·Okay.· And do you know what type of drug

14· ·potassium chloride is?

15· ·A.· · ·I do not.

16· ·Q.· · ·And do you know what will happen to the

17· ·inmate if the inmate is administered the second and

18· ·third drugs and they are not insensate to pain?

19· ·A.· · ·I would not -- do not know.

20· ·Q.· · ·Okay.· Do you know how the amount of each

21· ·dose was determined?

22· ·A.· · ·I don't.

23· ·Q.· · ·Do you know who made that determination?

24· ·A.· · ·No.

25· ·Q.· · ·Do you know if any of the drugs are diluted



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       155 of 352 PageID #: 153
                                                                            8797
                      www.EliteReportingServices.com                          YVer1f
·1· ·before they're administered?

·2· ·A.· · ·I'm thinking -- I'm not for sure.· I'm

·3· ·thinking maybe the midazolam maybe.

·4· ·Q.· · ·Okay.· And are any of the drugs

·5· ·reconstituted?

·6· ·A.· · ·Reconstituted?

·7· · · · · · · ·MR. SUTHERLAND:· Objection, form.

·8· ·BY MR. KURSMAN:

·9· ·Q.· · ·Yeah, reconstituted.

10· ·A.· · ·I would -- you mean if it's made over?

11· ·Q.· · ·Yes.

12· ·A.· · ·I'm thinking the potassium chloride and the

13· ·midazolam may be.

14· ·Q.· · ·Okay.· Do you know if bacteriostatic water

15· ·and saline are the same things?

16· ·A.· · ·I would say two different types of water.

17· ·Q.· · ·Okay.· Does the bacteriostatic water, does it

18· ·come in a bag or a vial?

19· ·A.· · ·A vial.

20· ·Q.· · ·And does the saline come in a bag or a vial?

21· ·A.· · ·A bag.

22· ·Q.· · ·Do you know if you can use them

23· ·interchangeably?

24· ·A.· · ·I don't know that.

25· ·Q.· · ·And do you discard the bags or the vials



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       156 of 352 PageID #: 154
                                                                            8798
                      www.EliteReportingServices.com                          YVer1f
·1· ·after each rehearsal?

·2· ·A.· · ·Yes.

·3· ·Q.· · ·And do you discard them after each execution?

·4· ·A.· · ·Yes.

·5· ·Q.· · ·Okay.· And when the executioner is diluting

·6· ·the drugs, do you know how they assess the proper pH

·7· ·level?

·8· ·A.· · ·I don't.

·9· ·Q.· · ·Okay.· Now, let's go to page 34.· And do you

10· ·see, at that full paragraph, it says, "Chemicals

11· ·used in lethal injection executions will either be

12· ·FDA-approved commercially manufactured drugs; or,

13· ·shall be compounded preparations prepared in

14· ·compliance with pharmaceutical standards consistent

15· ·with the United States Pharmacopeia guidelines and

16· ·accreditation Departments, and in accordance with

17· ·applicable licensing regulations"?

18· ·A.· · ·I see that, yes.

19· ·Q.· · ·Do you know what the difference between a

20· ·compounded and manufactured drug is?

21· ·A.· · ·Compounded sounds as though it will be mixed

22· ·with something else or something additive.

23· ·Manufactured sounds as though it will come in its

24· ·natural state.

25· ·Q.· · ·Do you know if any of the drugs used for



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       157 of 352 PageID #: 155
                                                                            8799
                      www.EliteReportingServices.com                          YVer1f
·1· ·executions in Tennessee are compounded?

·2· ·A.· · ·Yes.

·3· ·Q.· · ·Which ones?

·4· ·A.· · ·Midazolam and potassium chloride.

·5· ·Q.· · ·And do you all at TDOC do the compounding?

·6· ·A.· · ·Yes.

·7· ·Q.· · ·Okay.· And who does that?

·8· · · · · · · ·MR. SUTHERLAND:· I'm going to object to

·9· ·the extent that you're asking for a question that

10· ·might lead to the identity of an individual.

11· ·BY MR. KURSMAN:

12· ·Q.· · ·Just by title only.

13· ·A.· · ·I would say the executioner.

14· ·Q.· · ·Okay.· And do you ever use expired drugs?

15· ·A.· · ·No.

16· ·Q.· · ·Okay.· Who would decide whether to use

17· ·expired drugs?

18· ·A.· · ·The --

19· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

20· · · · · · · ·THE WITNESS:· Wouldn't be me.

21· ·BY MR. KURSMAN:

22· ·Q.· · ·Okay.· Well, would -- do you have the power,

23· ·as warden, to say, "We will never use expired drugs

24· ·in an execution"?

25· · · · · · · ·MR. SUTHERLAND:· Objection to the form.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       158 of 352 PageID #: 156
                                                                            8800
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · · · ·THE WITNESS:· I would hope so.

·2· ·BY MR. KURSMAN:

·3· ·Q.· · ·Okay.· What does "consistent with USP

·4· ·guidelines and accreditation departments," as used

·5· ·in this paragraph, mean to you?

·6· · · · · · · ·MR. SUTHERLAND:· Objection, form.

·7· · · · · · · ·THE WITNESS:· It's whatever they would

·8· ·describe and prescribe for it to be.

·9· ·BY MR. KURSMAN:

10· ·Q.· · ·And what about, "in accordance with

11· ·applicable licensing regulations"?

12· · · · · · · ·MR. SUTHERLAND:· Same objection.

13· · · · · · · ·THE WITNESS:· Basically the same.

14· ·BY MR. KURSMAN:

15· ·Q.· · ·Okay.· And how do you ensure that that will

16· ·happen?

17· ·A.· · ·I don't.

18· ·Q.· · ·Who does?

19· · · · · · · ·MR. SUTHERLAND:· I'm going to object to

20· ·the -- to the extent that it's going to lead to the

21· ·identification of an individual.

22· · · · · · · ·Don't identify any specific person.

23· · · · · · · ·THE WITNESS:· That I wouldn't know.

24· ·BY MR. KURSMAN:

25· ·Q.· · ·Is it the drug procurer?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       159 of 352 PageID #: 157
                                                                            8801
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · · · ·MR. SUTHERLAND:· Let me just interrupt

·2· ·just a second, Alex.· Just so -- and we've been

·3· ·doing this for the last couple depositions, but we

·4· ·agree that an objection to form preserves all

·5· ·objections so we're not doing speaking objections?

·6· · · · · · · ·MR. KURSMAN:· Yeah, I agree to that on

·7· ·the record.

·8· · · · · · · ·MR. SUTHERLAND:· Okay.

·9· · · · · · · ·MR. KURSMAN:· Yes.

10· · · · · · · ·MR. SUTHERLAND:· I just -- I wanted to

11· ·make sure because I keep saying the same thing, and

12· ·I think in the first deposition you and Rob had a

13· ·discussion.· You asked him not to do speaking

14· ·objections, and so we've just done objections to

15· ·form.

16· · · · · · · ·MR. KURSMAN:· And we agree to that --

17· · · · · · · ·MR. SUTHERLAND:· Okay.

18· · · · · · · ·MR. KURSMAN:· -- yes.

19· · · · · · · ·MR. SUTHERLAND:· Yeah.

20· · · · · · · ·MR. KURSMAN:· That preserves all

21· ·objections.· The only objection I would say to make

22· ·is the secrecy objection.

23· · · · · · · ·MR. SUTHERLAND:· Yes, sir, yep.

24· ·BY MR. KURSMAN:

25· ·Q.· · ·Is it the drug procurer?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       160 of 352 PageID #: 158
                                                                            8802
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·That I wouldn't know.

·2· ·Q.· · ·Okay.· Do you know what is done to ensure

·3· ·that compounded chemicals are prepared in compliance

·4· ·with USP guidelines?

·5· ·A.· · ·That I wouldn't know.

·6· ·Q.· · ·Do you know who in TDOC ensures that?

·7· · · · · · · ·MR. SUTHERLAND:· Objection to the extent

·8· ·that it could lead to the identification of an

·9· ·individual.

10· · · · · · · ·Don't say a person's name.

11· · · · · · · ·THE WITNESS:· Not that I know of.                I

12· ·would -- if I had to venture a guess, and I don't

13· ·like to guess, so I would say I don't know.

14· ·BY MR. KURSMAN:

15· ·Q.· · ·Okay.

16· ·A.· · ·I would say -- I would like to say if I was

17· ·procuring something that I would be the one that

18· ·would know how that needed to be used.

19· ·Q.· · ·Sure.· Okay.· And so I assume you don't know

20· ·what is done to ensure that these compounded

21· ·chemicals are prepared in compliance with applicable

22· ·licensing regulations either; is that right?

23· ·A.· · ·That's right.

24· ·Q.· · ·Okay.· Let's go to page 35.· Do you see at

25· ·the top it says, "Compounded Preparations:



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       161 of 352 PageID #: 159
                                                                            8803
                      www.EliteReportingServices.com                          YVer1f
·1· ·Procurement, Storage, and Accountability"?

·2· ·A.· · ·Uh-huh.

·3· ·Q.· · ·And then if you go down to 1 it says,

·4· ·"Storage of LIC"?

·5· ·A.· · ·Uh-huh.

·6· ·Q.· · ·It says --

·7· ·A.· · ·Yes.

·8· ·Q.· · ·-- "When the LIC is received, a member of the

·9· ·Execution Team and the Warden take the LIC to the

10· ·armory area of Building 7 at RMSI"?

11· ·A.· · ·I see that, yes.

12· ·Q.· · ·Do you do this?

13· ·A.· · ·Yes.

14· ·Q.· · ·Okay.· At this time do you check the

15· ·temperature of the drugs?

16· ·A.· · ·When it is received?

17· ·Q.· · ·Yes.

18· ·A.· · ·The way it comes, it come compacted in -- not

19· ·ice, but dry ice.

20· ·Q.· · ·Okay.

21· ·A.· · ·So it is frozen.

22· ·Q.· · ·The compounded chemicals?

23· ·A.· · ·The -- yes.

24· ·Q.· · ·Okay.· And how can you ensure that it's

25· ·completely frozen?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       162 of 352 PageID #: 160
                                                                            8804
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·2· · · · · · · ·THE WITNESS:· I would say by looking at

·3· ·it.· It's not liquefied, it's frozen.

·4· ·BY MR. KURSMAN:

·5· ·Q.· · ·Okay.· So what do you do when you receive the

·6· ·package of drugs?

·7· ·A.· · ·When it is come -- when it comes, it is

·8· ·carried to the armory to be put away, and it is put

·9· ·away by the -- I guess the procurer.

10· ·Q.· · ·And do you -- do you receive it through mail?

11· ·A.· · ·That I wouldn't know.

12· ·Q.· · ·Okay.· Do you know how long it travels in

13· ·interstate --

14· ·A.· · ·That I wouldn't know.· I don't receive it.

15· ·Q.· · ·Oh, you don't receive it?

16· ·A.· · ·No.

17· ·Q.· · ·Okay.· Do you take the chemicals to the

18· ·armory building?

19· ·A.· · ·In conjunction with the commissioner's

20· ·designee.

21· ·Q.· · ·And the commissioner's designee is the drug

22· ·procurer?

23· ·A.· · ·I couldn't answer that.· I wouldn't know.

24· ·Q.· · ·I'm just trying to find out who is taking the

25· ·drugs into the armory with you.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       163 of 352 PageID #: 161
                                                                            8805
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·It would be me, the commissioner's designee,

·2· ·and a member of the execution team.

·3· ·Q.· · ·Okay.· So maybe I should ask this.· Without

·4· ·identifying any names, just yes or no, do you know

·5· ·the identity of the drug procurer?

·6· ·A.· · ·No.

·7· ·Q.· · ·Okay.

·8· · · · · And then if you see, in -- still in

·9· ·Section 1, "The LIC is placed in an unmovable heavy

10· ·gauge steel container with security grade locks."

11· · · · · Do you see that?

12· ·A.· · ·Yes.

13· ·Q.· · ·Okay.· Is that where the compounded lethal

14· ·injection chemicals are kept?

15· ·A.· · ·Yes.

16· ·Q.· · ·Okay.· So it's your understanding that

17· ·they're kept in a heavy gauge steel container?

18· ·A.· · ·Yes.

19· ·Q.· · ·Do you monitor the temperatures of that heavy

20· ·gauge steel container?

21· ·A.· · ·The heavy gauge steel container is not --

22· ·doesn't have to be monitored temperature-wise.

23· ·Q.· · ·Okay.· And can you explain why?

24· ·A.· · ·Because it doesn't require for it to be at a

25· ·certain temp.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       164 of 352 PageID #: 162
                                                                            8806
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·Okay.· So it's your understanding that the

·2· ·frozen compounded chemicals are brought into the

·3· ·office and then placed in a heavy gauge steel

·4· ·container?

·5· ·A.· · ·The ones that are frozen does not go into

·6· ·the -- the manufactured goes into the freezer.· The

·7· ·compounded one that's not frozen, that goes into the

·8· ·dry container.

·9· ·Q.· · ·Okay.· Let's talk about the frozen ones.

10· ·A.· · ·Okay.

11· ·Q.· · ·Okay.· Where do the frozen ones go?

12· ·A.· · ·It goes into a freezer.

13· ·Q.· · ·Okay.· Who decided to store it in the

14· ·freezer?

15· ·A.· · ·According to the protocol.

16· ·Q.· · ·Well, can you show me in the protocol where

17· ·it says that compounded preparations should be

18· ·stored in a freezer?

19· ·A.· · ·Not compounded ones.

20· ·Q.· · ·Okay.· Well, if I were to tell you that

21· ·compounded preparations, they're the ones that come

22· ·frozen, would that refresh your recollection as to

23· ·which ones are coming frozen?

24· ·A.· · ·I'm trying to ensure which ones are frozen

25· ·and which one is compounded.· The commercially ones



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       165 of 352 PageID #: 163
                                                                            8807
                      www.EliteReportingServices.com                          YVer1f
·1· ·are -- let me get this right.· Compounded ones is

·2· ·the -- is the ones that is recommended by the

·3· ·pharmacy as how to be handled.· So, therefore,

·4· ·that's the instructions that we follow.

·5· ·Q.· · ·So you follow the pharmacy instructions?

·6· ·A.· · ·Correct.

·7· ·Q.· · ·For the compounded preparations?

·8· ·A.· · ·Correct.

·9· ·Q.· · ·And the pharmacy instructions tell you to put

10· ·them in the freezer?

11· ·A.· · ·According to the procurer -- not the

12· ·procurer, according to the commissioner's designee,

13· ·that is what the prescription would describe.

14· ·Q.· · ·Okay.· Now, who made the decision that you

15· ·could deviate from the protocol and keep them in the

16· ·freezer rather than in the -- in the heavy gauge

17· ·container?

18· ·A.· · ·(Pause)· If I may refer to paragraph --

19· ·page 34, at the bottom, "Chemicals used in lethal

20· ·injection execution will either be FDA-approved

21· ·commercially manufactured or shall be compounded

22· ·preparation in compliance with the pharmaceutical

23· ·standards consistent with United States" -- what you

24· ·just read, which is which -- the midazolam and the

25· ·potassium chloride is the compounded ones, so they



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       166 of 352 PageID #: 164
                                                                            8808
                      www.EliteReportingServices.com                          YVer1f
·1· ·are kept in the dry area.· The vecuronium bromide,

·2· ·if I'm correct, would be kept in a -- in the

·3· ·freezer.

·4· ·Q.· · ·Okay.· So I think your understanding is not

·5· ·actually right.· I think the midazolam and the --

·6· ·and the --

·7· ·A.· · ·Potassium chloride.

·8· ·Q.· · ·-- potassium chloride are kept in the

·9· ·freezer.

10· ·A.· · ·Okay.

11· ·Q.· · ·My question is, under No. 1 for compounded

12· ·preparations --

13· ·A.· · ·Uh-huh.

14· ·Q.· · ·-- it says, "The LIC is placed in an

15· ·unmovable heavy gauge steel container with security

16· ·grade locks."

17· ·A.· · ·Uh-huh.

18· ·Q.· · ·Okay.· Why -- why are the compounded

19· ·preparations, the midazolam and the potassium

20· ·chloride, why are they not kept where the protocol

21· ·says for them to be kept?

22· ·A.· · ·They are kept where the protocol said they're

23· ·supposed to be kept.

24· ·Q.· · ·And where is that?

25· ·A.· · ·If it's -- if according to what the



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       167 of 352 PageID #: 165
                                                                            8809
                      www.EliteReportingServices.com                          YVer1f
·1· ·pharmacist recommend, midazolam and potassium

·2· ·chloride goes into the freezer, that's where they're

·3· ·kept.· If -- the vecuronium bromide is kept in a dry

·4· ·storage area.

·5· ·Q.· · ·Okay.· So page 35 talks about compounded

·6· ·preparations.· And we can go to future exhibits so I

·7· ·can show you what compounded preparations you have.

·8· ·And the compounded preparations that TDOC gets are

·9· ·midazolam and potassium chloride.

10· · · · · Now, for compounded preparations the

11· ·protocol says -- and we talked about how the

12· ·protocol is mandatory.· The protocol says the LIC

13· ·is placed in an unmoveable heavy gauge steel

14· ·container.

15· · · · · · · ·MR. SUTHERLAND:· Your Honor --

16· ·Your Honor.· Alex, excuse me.· Can you refer to him

17· ·specifically where you are just so he can follow

18· ·with you?

19· · · · · · · ·MR. KURSMAN:· Sure.

20· ·BY MR. KURSMAN:

21· ·Q.· · ·So I'm on paragraph 1 under "Storage LIC."

22· ·A.· · ·Okay.

23· ·Q.· · ·Do you see at the very bottom it says, "The

24· ·LIC is placed in an unmovable heavy gauge steel

25· ·container"?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       168 of 352 PageID #: 166
                                                                            8810
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·I do.

·2· ·Q.· · ·And do you see at the top it's talking about

·3· ·compounded preparations?

·4· ·A.· · ·I do.

·5· ·Q.· · ·So my question is why are the compounded

·6· ·preparations not secured in an unmovable heavy gauge

·7· ·steel container as the protocol directs?

·8· ·A.· · ·If they are compounded and they go into the

·9· ·heavy gauge steel, that's where they go.

10· ·Q.· · ·Okay.· Well, so let's -- let's see how I can

11· ·do this.· But let's say they're not stored in the

12· ·heavy gauge steel container, right?· Let's say

13· ·midazolam and potassium chloride are stored in the

14· ·freezer, right?· Who would make that decision to say

15· ·let's deviate from the protocol and put them in the

16· ·freezer instead of a --

17· · · · · · · ·MR. SUTHERLAND:· Objection.

18· ·BY MR. KURSMAN:

19· ·Q.· · ·-- heavy gauge steel container?

20· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

21· · · · · · · ·THE WITNESS:· It wouldn't be me.

22· ·BY MR. KURSMAN:

23· ·Q.· · ·Would you have to sign off on that decision?

24· ·A.· · ·No.

25· ·Q.· · ·Okay.· Even though you're responsible for



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       169 of 352 PageID #: 167
                                                                            8811
                      www.EliteReportingServices.com                          YVer1f
·1· ·bringing the drugs into the armory area?

·2· ·A.· · ·If it belonged to that area and whatever's

·3· ·prescribed according to the pharmacist, that's the

·4· ·way they're stored.

·5· ·Q.· · ·Okay.· So who oversees the person who's

·6· ·storing the execution drugs?

·7· ·A.· · ·That would be me.

·8· ·Q.· · ·Okay.· And you see this person who's storing

·9· ·the execution drugs, right?

10· ·A.· · ·I do.

11· ·Q.· · ·Have you seen that they store the execution

12· ·drugs not in accordance with the protocol?

13· ·A.· · ·No.

14· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

15· ·BY MR. KURSMAN:

16· ·Q.· · ·Okay.· I want to talk about the freezer and

17· ·the refrigerator.· Do you know how temperatures are

18· ·monitored of the freezer and the refrigerator?

19· ·A.· · ·By thermometer.

20· ·Q.· · ·Okay.· Is there any way to monitor that

21· ·temperature when the doors to the freezer and

22· ·refrigerator are shut?

23· ·A.· · ·No.

24· ·Q.· · ·Okay.· So there's no external thermometer on

25· ·the freezer or the refrigerator?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       170 of 352 PageID #: 168
                                                                            8812
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·No.

·2· ·Q.· · ·So while those doors are shut, you don't know

·3· ·what the exact temperature is inside the freezer or

·4· ·the refrigerator, right?

·5· ·A.· · ·Correct.

·6· ·Q.· · ·Okay.· How do you know that the refrigerator

·7· ·or the freezer are working properly the entire time

·8· ·the drugs are stored in there?

·9· ·A.· · ·The refrigerator and freezer is only a backup

10· ·system, so it's constantly -- it's constantly

11· ·working properly at all times.

12· ·Q.· · ·Are you aware that the refrigerator and

13· ·freezer fluctuate in temperature?

14· ·A.· · ·No, I'm not.

15· ·Q.· · ·Okay.· Do you know what temperature

16· ·compounded drugs should be kept at in the

17· ·refrigerator and freezer?

18· ·A.· · ·No.

19· ·Q.· · ·Okay.· And who checks the temperature in the

20· ·refrigerator and freezer?

21· ·A.· · ·I check it.· The commissioner designee check

22· ·it when it's -- when we inventory it and when it's

23· ·delivered.

24· ·Q.· · ·Okay.· So you check it once it's delivered

25· ·and when it's inventoried?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       171 of 352 PageID #: 169
                                                                            8813
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·Yes.

·2· ·Q.· · ·And every time you check, you have to break

·3· ·the seal, right?

·4· ·A.· · ·Yes.

·5· ·Q.· · ·Okay.· And every time you break the seal,

·6· ·that would be recorded, right?

·7· ·A.· · ·Yes.

·8· · · · · · · ·(WHEREUPON, the above-mentioned

·9· ·document was presented, previously marked as

10· ·Exhibit Number 2.)

11· · · · · · · ·(WHEREUPON, the above-mentioned

12· ·document was presented, previously marked as

13· ·Exhibit Number 4.)

14· ·BY MR. KURSMAN:

15· ·Q.· · ·Okay.· So let's look at Exhibit 2 and 4.

16· · · · · Have you seen these exhibits before?

17· ·A.· · ·No.

18· ·Q.· · ·Okay.· And do you see that they're exhibits

19· ·for midazolam and for potassium chloride?

20· ·A.· · ·Yes.

21· ·Q.· · ·Okay.· And do you see this calls for the

22· ·compounded midazolam on Exhibit 2 and the compounded

23· ·potassium chloride on Exhibit 4 to be stored in the

24· ·freezer?

25· ·A.· · ·Yes.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       172 of 352 PageID #: 170
                                                                            8814
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·Okay.· And in your mind is that inconsistent

·2· ·with the paragraph on page 35 we just discussed?

·3· · · · · · · ·MR. SUTHERLAND:· Could you refer him to

·4· ·which paragraph?

·5· · · · · · · ·MR. KURSMAN:· Yeah.

·6· ·BY MR. KURSMAN:

·7· ·Q.· · ·So it would be "Storage of LIC" under

·8· ·Section 1, "The LIC is placed in an unmovable heavy

·9· ·gauge steel container with security grade locks."

10· ·A.· · ·It is stored where it's stored.· We have more

11· ·than one LIC, we have three.

12· ·Q.· · ·Right.· No, I understand that.· But my

13· ·question is these two compounded chemicals,

14· ·potassium chloride and midazolam --

15· ·A.· · ·Correct.

16· ·Q.· · ·-- the instructions say store them in a

17· ·freezer when you receive them.

18· · · · · Is that inconsistent with the directions in

19· ·the protocol of what to do with compounded

20· ·chemicals?

21· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

22· · · · · · · ·THE WITNESS:· I would say no.

23· ·BY MR. KURSMAN:

24· ·Q.· · ·No?· Why?

25· ·A.· · ·Why?· Because it tells you to be in



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       173 of 352 PageID #: 171
                                                                            8815
                      www.EliteReportingServices.com                          YVer1f
·1· ·consistence the way it is prescribed by the

·2· ·pharmacist, and if the pharmacist says

·3· ·refrigerator/freezer, it goes in the

·4· ·refrigerator/freezer for those compounded

·5· ·substances.

·6· ·Q.· · ·Okay.· But do you see where the protocol

·7· ·says, "The LIC is placed in an unmovable heavy gauge

·8· ·steel container"?

·9· ·A.· · ·That would be the vecuronium bromide.

10· ·Q.· · ·So your understanding is that instruction

11· ·under "Storage of LIC" is for the vecuronium

12· ·bromide?

13· ·A.· · ·It's consistent with both of them.· It's

14· ·telling you how would it be stored, that's the way

15· ·you store it.

16· ·Q.· · ·Okay.· So when you read under Section 1,

17· ·"Storage of LIC," the sentence that we keep

18· ·discussing, "The LIC is placed in an unmovable heavy

19· ·gauge steel container with security grade locks,"

20· ·you take that to mean it's talking about the

21· ·vecuronium bromide?

22· ·A.· · ·Correct.

23· ·Q.· · ·Okay.· Are you aware that the vecuronium

24· ·bromide is not compounded?

25· ·A.· · ·Yes.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       174 of 352 PageID #: 172
                                                                            8816
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·Okay.· And you do see at the top that this is

·2· ·for compounded preparations?

·3· ·A.· · ·That is true.

·4· ·Q.· · ·Okay.· Do you have instructions for

·5· ·vecuronium bromide?

·6· ·A.· · ·Whatever the pharmacist's instructions are.

·7· ·Q.· · ·Okay.· And who did the pharmacist give

·8· ·instructions to, if you know?

·9· ·A.· · ·I don't know.

10· · · · · · · ·MR. SUTHERLAND:· I'm going to object to

11· ·the extent that it calls for the identification --

12· ·don't identify an individual.

13· · · · · · · ·THE WITNESS:· I don't know.

14· ·BY MR. KURSMAN:

15· ·Q.· · ·Have you ever spoken to the pharmacist?

16· ·A.· · ·No.

17· ·Q.· · ·Okay.· Let's go back to Exhibit 2.· Do you

18· ·see, under "Preparation," it says No. 1?

19· ·A.· · ·Yes.

20· ·Q.· · ·"Remove 4 vials of midazolam from the freezer

21· ·and place in refrigerator 24 hours prior to use to

22· ·allow to thaw"?

23· ·A.· · ·Yes.

24· ·Q.· · ·Okay.· What does that mean to you?

25· · · · · · · ·MR. SUTHERLAND:· Objection to the form.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       175 of 352 PageID #: 173
                                                                            8817
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · · · ·THE WITNESS:· That means that if an

·2· ·execution is scheduled for today, we need to remove

·3· ·it on yesterday, 24 hours prior.

·4· ·BY MR. KURSMAN:

·5· ·Q.· · ·And how do you ensure that the vials are

·6· ·thawed?

·7· · · · · · · ·MR. SUTHERLAND:· Same objection.

·8· · · · · · · ·THE WITNESS:· Remove them from the

·9· ·freezer and put them in the refrigerator and the

10· ·next day, when you go and check them, give them to

11· ·whoever, then whoever receives them, they ensure

12· ·that they're thawed.

13· ·BY MR. KURSMAN:

14· ·Q.· · ·And when you say "whoever," without

15· ·identifying that person, who are you talking about?

16· ·A.· · ·The executioner.

17· ·Q.· · ·Okay.· And do you think No. 1, this

18· ·instruction we just read, do you think that's

19· ·consistent with the protocol instructing that the

20· ·compounded chemicals are stored in a heavy gauge

21· ·steel container?

22· · · · · (Cell phone interruption.)

23· · · · · · · ·THE WITNESS:· I'm sorry.

24· ·BY MR. KURSMAN:

25· ·Q.· · ·That's okay.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       176 of 352 PageID #: 174
                                                                            8818
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·That would be correct.

·2· ·Q.· · ·That would be correct, it is consistent or

·3· ·that would be correct, it's not consistent?

·4· ·A.· · ·That would be correct in being consistent.

·5· ·Q.· · ·Inconsistent?

·6· ·A.· · ·Consistent.

·7· ·Q.· · ·Okay.· So when the protocol says store in a

·8· ·heavy gauge steel container, you think it's

·9· ·consistent to just store in a freezer instead?

10· ·A.· · ·Whatever is designed to be in the freezer, it

11· ·goes in the freezer, the compounded ones.· And

12· ·whatever is designed to go into the steel cabinet

13· ·goes in that.

14· ·Q.· · ·Okay.· Do you see on No. 3, under

15· ·"Preparation," it says, "On the day of use, retrieve

16· ·the necessary vials of midazolam from the

17· ·refrigerator and remove the blue seal from the top

18· ·of each vial of midazolam"?

19· · · · · Do you see that?

20· ·A.· · ·I do.

21· ·Q.· · ·Okay.· Do you know why the protocol doesn't

22· ·call for the use of a refrigerator for compounded

23· ·chemicals?

24· ·A.· · ·I don't know.

25· ·Q.· · ·Okay.· And can you tell me how the drugs are



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       177 of 352 PageID #: 175
                                                                            8819
                      www.EliteReportingServices.com                          YVer1f
·1· ·transported to DOC?

·2· · · · · · · ·MR. SUTHERLAND:· Objection, form.

·3· · · · · · · ·THE WITNESS:· I don't know.

·4· ·BY MR. KURSMAN:

·5· ·Q.· · ·Okay.· Are you aware that they're transported

·6· ·overnight?

·7· ·A.· · ·I don't know that either.

·8· ·Q.· · ·Do you know if the compounded and

·9· ·manufactured drugs are transported together?

10· ·A.· · ·I don't know that either.

11· ·Q.· · ·Okay.· You -- you take the drugs, once you

12· ·receive them, into the armory area, right?

13· ·A.· · ·I go with the individual that brings them.

14· ·Q.· · ·So --

15· ·A.· · ·I don't take them.

16· ·Q.· · ·So you don't see the drugs at that point?

17· ·A.· · ·I go into the area and I watch them be put

18· ·away.

19· ·Q.· · ·Okay.· But you're --

20· ·A.· · ·I don't handle them.

21· ·Q.· · ·So you're unaware if some of the drugs are

22· ·compounded and some are manufactured at the same

23· ·time?

24· ·A.· · ·Correct.· I just go with what the protocol

25· ·says they are.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       178 of 352 PageID #: 176
                                                                            8820
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·Okay.· Do you know if the manufactured drugs

·2· ·come frozen?

·3· ·A.· · ·That would be the vecuronium bromide?· No.

·4· ·Q.· · ·Okay.· Does the -- do you know if the

·5· ·pharmacist encloses instructions for storing and

·6· ·preparing with each shipment?

·7· ·A.· · ·I wouldn't know.

·8· ·Q.· · ·Okay.· So you don't actually see the shipment

·9· ·that comes in when the drugs arrive at TDOC?

10· ·A.· · ·No.

11· ·Q.· · ·Okay.· And do you know how TDOC ensures that

12· ·the drugs are sterile at the time of use?

13· · · · · · · ·MR. SUTHERLAND:· Objection, form.

14· · · · · · · ·THE WITNESS:· No.

15· ·BY MR. KURSMAN:

16· ·Q.· · ·Okay.· So at the time of use, what do you do

17· ·with the drugs?

18· ·A.· · ·At the time of the use?

19· ·Q.· · ·Yeah, meaning on the date of an execution.

20· ·A.· · ·I don't do anything with them.

21· ·Q.· · ·Do --

22· ·A.· · ·At the time of use?

23· ·Q.· · ·On the day of execution, yes.

24· ·A.· · ·I don't do anything with them.

25· ·Q.· · ·Are you the one who breaks the seal and



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       179 of 352 PageID #: 177
                                                                            8821
                      www.EliteReportingServices.com                          YVer1f
·1· ·opens --

·2· ·A.· · ·At that point I do.

·3· ·Q.· · ·Okay.· And what do you do at that point?

·4· ·A.· · ·I break the seal and I issue them to the

·5· ·individual that receives them for purposes of

·6· ·execution.

·7· ·Q.· · ·And is that the executioner?

·8· ·A.· · ·Correct.

·9· ·Q.· · ·Okay.· And does anybody else look at the

10· ·drugs at that time?

11· ·A.· · ·The executioner, myself, and my designee.

12· ·Q.· · ·And --

13· ·A.· · ·But we don't look at them, we're there.· The

14· ·executioner gets them himself and he takes them

15· ·himself.· I just open the freezer.

16· ·Q.· · ·Okay.· So let me understand what happens on

17· ·the day of an execution.· So when you say your

18· ·designee, are you talking about the associate

19· ·warden?

20· ·A.· · ·Correct.

21· ·Q.· · ·Okay.· So you and the associate warden are in

22· ·the armory area?

23· ·A.· · ·Correct.

24· ·Q.· · ·And the executioner comes in?

25· ·A.· · ·Correct.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       180 of 352 PageID #: 178
                                                                            8822
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·And you break the seal?

·2· ·A.· · ·Correct.

·3· ·Q.· · ·And then the executioner takes a certain

·4· ·number of vials of midazolam?

·5· ·A.· · ·Correct.

·6· ·Q.· · ·He takes a certain number of vials of

·7· ·vecuronium bromide?

·8· ·A.· · ·Correct.

·9· ·Q.· · ·And he takes a certain number of vials of

10· ·potassium chloride?

11· ·A.· · ·Correct.

12· ·Q.· · ·Does anybody else look at those drugs once he

13· ·takes those drugs?

14· ·A.· · ·No.

15· ·Q.· · ·Okay.· And what does he do with those drugs

16· ·once he takes them?

17· · · · · · · ·MR. SUTHERLAND:· Objection, form.

18· · · · · · · ·THE WITNESS:· He takes them with him to

19· ·the execution chamber.

20· ·BY MR. KURSMAN:

21· ·Q.· · ·Okay.

22· ·A.· · ·The dispense room.

23· ·Q.· · ·And where does he put them once they're in

24· ·the execution chamber?

25· · · · · · · ·MR. SUTHERLAND:· Same objection.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       181 of 352 PageID #: 179
                                                                            8823
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · · · ·THE WITNESS:· That I don't know.

·2· ·BY MR. KURSMAN:

·3· ·Q.· · ·And does he reconstitute any of the drugs?

·4· · · · · · · ·MR. SUTHERLAND:· Same objection.

·5· · · · · · · ·THE WITNESS:· That I don't know.

·6· ·BY MR. KURSMAN:

·7· ·Q.· · ·And does he mix any of the drugs?

·8· · · · · · · ·MR. SUTHERLAND:· Same objection.

·9· · · · · · · ·THE WITNESS:· That I don't know.

10· ·BY MR. KURSMAN:

11· ·Q.· · ·And does anybody oversee him doing that?

12· ·A.· · ·That I don't know.

13· ·Q.· · ·Okay.· And does he --

14· ·A.· · ·I'm not there.

15· ·Q.· · ·Okay.· And does he dilute any of the drugs?

16· · · · · · · ·MR. SUTHERLAND:· Same objection.

17· · · · · · · ·THE WITNESS:· Not there.

18· ·BY MR. KURSMAN:

19· ·Q.· · ·Okay.· Do you see him doing that during

20· ·training sessions?

21· ·A.· · ·No.

22· ·Q.· · ·Okay.· Now, let's turn to Exhibit 4.

23· · · · · And do you see this is the instructions for

24· ·potassium chloride?

25· ·A.· · ·Yes.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       182 of 352 PageID #: 180
                                                                            8824
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·Do you know who provided these instructions?

·2· ·A.· · ·No.

·3· ·Q.· · ·Okay.· Do you know whether TDOC follows these

·4· ·instructions?

·5· · · · · · · ·MR. SUTHERLAND:· Objection, form.

·6· · · · · · · ·THE WITNESS:· Yes.

·7· ·BY MR. KURSMAN:

·8· ·Q.· · ·Yes, you do know that they follow these

·9· ·instructions?

10· ·A.· · ·Certain portions of it.

11· ·Q.· · ·Okay.· Which portions do they follow?

12· ·A.· · ·The portion that I follow is 1.· It's 1.

13· ·Q.· · ·Are there any portions that aren't followed?

14· ·A.· · ·Other than 1, I would not know.

15· ·Q.· · ·Okay.· And do you think, under No. 1,

16· ·"Preparation:· Remove 2 vials of potassium chloride

17· ·from the freezer and place in refrigerator 24 hours

18· ·prior to use to allow to thaw," do you think that's

19· ·inconsistent with the protocol?

20· ·A.· · ·No.

21· ·Q.· · ·Okay.· And who is responsible for following

22· ·these instructions?

23· · · · · · · ·MR. SUTHERLAND:· Objection to the extent

24· ·that it calls for the identification of an

25· ·individual.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       183 of 352 PageID #: 181
                                                                            8825
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · · · ·Don't name anyone.

·2· · · · · · · ·THE WITNESS:· Anyone that has anything

·3· ·to do with these instructions.

·4· ·BY MR. KURSMAN:

·5· ·Q.· · ·So would that be anyone aside from you and

·6· ·the drug procurer?

·7· ·A.· · ·Removing two vials of potassium chloride,

·8· ·that's the day prior to the execution.· It could be

·9· ·me, yes, and the drug procurer, or me and the

10· ·commissioner's designee.

11· ·Q.· · ·And it's your belief that this is consistent

12· ·with the protocol?

13· ·A.· · ·Yes.

14· ·Q.· · ·Okay.· Do you see, under No. 14 on the second

15· ·page of this exhibit, it says, "Inspect the syringe

16· ·now filled with potassium chloride.· Inspect to

17· ·ensure you see no particles or discoloring.· Set

18· ·aside."

19· · · · · Do you see that?

20· ·A.· · ·I do.

21· ·Q.· · ·Okay.· Do you know who does this?

22· ·A.· · ·By reading that I would say it would probably

23· ·be the executioner.

24· ·Q.· · ·And are you sure that always happens?

25· ·A.· · ·No I'm not --



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       184 of 352 PageID #: 182
                                                                            8826
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · · · ·MR. SUTHERLAND:· Objection, form.

·2· · · · · · · ·THE WITNESS:· I'm not sure because I'm

·3· ·not there.

·4· ·BY MR. KURSMAN:

·5· ·Q.· · ·Okay.· So who oversees the executioner to

·6· ·make sure he's doing this?

·7· ·A.· · ·That I would not know.

·8· ·Q.· · ·Do you know what happens if discoloration is

·9· ·present?

10· ·A.· · ·No.

11· ·Q.· · ·Okay.· Do you know why the instructions don't

12· ·say what to do if --

13· · · · · · · ·MR. SUTHERLAND:· Objection, form.

14· ·BY MR. KURSMAN:

15· ·Q.· · ·-- discoloration is present?

16· ·A.· · ·No.

17· ·Q.· · ·Okay.· Do you know what to do if there are

18· ·particles?

19· · · · · · · ·MR. SUTHERLAND:· Objection, form.

20· · · · · · · ·THE WITNESS:· Other than reading what's

21· ·in front of me, that would probably let me know, but

22· ·other than that, no.

23· ·BY MR. KURSMAN:

24· ·Q.· · ·Okay.· So what would you do if the

25· ·executioner told you that there was either



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       185 of 352 PageID #: 183
                                                                            8827
                      www.EliteReportingServices.com                          YVer1f
·1· ·discoloration or particles in the syringe?

·2· · · · · · · ·MR. SUTHERLAND:· Objection, form.

·3· · · · · · · ·THE WITNESS:· It has never happened, but

·4· ·if he told me that that had taken place, I would

·5· ·probably contact the commissioner.

·6· ·BY MR. KURSMAN:

·7· ·Q.· · ·Okay.· And who would then decide if the

·8· ·execution moved forward, without disclosing names?

·9· ·A.· · ·As always, the commissioner.

10· ·Q.· · ·Okay.· Now, let's go to page 35 of Exhibit 1.

11· · · · · Do you see it says, in No. 3 under "Storage

12· ·of LIC," it says, "The LIC on hand is monitored for

13· ·expiration dates.· All of the LIC boxes/bottles

14· ·have an expiration date and all are in tamper-proof

15· ·containers.· As the LIC reaches its expiration

16· ·date, it shall be disposed of by hazardous waste

17· ·pick-up."

18· · · · · Do you see that?

19· ·A.· · ·Yes.

20· ·Q.· · ·What's the point of that paragraph?

21· · · · · · · ·MR. SUTHERLAND:· Objection, form.

22· · · · · · · ·THE WITNESS:· I would say the point of

23· ·it, if it's expired, it has to be disposed of and it

24· ·tells you how to dispose of it.

25· ·///



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       186 of 352 PageID #: 184
                                                                            8828
                      www.EliteReportingServices.com                          YVer1f
·1· ·BY MR. KURSMAN:

·2· ·Q.· · ·Okay.· And is that a mandatory provision of

·3· ·the protocol?

·4· ·A.· · ·Yes.

·5· ·Q.· · ·Okay.· Are you responsible for monitoring the

·6· ·expiration dates?

·7· ·A.· · ·In conjunction, yes.

·8· ·Q.· · ·In conjunction with who, without identifying

·9· ·anybody?

10· ·A.· · ·Designee.

11· ·Q.· · ·And the designee would be the associate

12· ·warden?

13· ·A.· · ·The commissioner's designee.

14· ·Q.· · ·The -- so who is the commissioner's designee,

15· ·without identifying anyone?

16· ·A.· · ·I just identify him as the designee.

17· ·Q.· · ·Okay.· And is that the same person as the

18· ·drug procurer?

19· ·A.· · ·I wouldn't know.

20· ·Q.· · ·Okay.· Right.· I apologize.

21· · · · · And have you disposed of all the lethal

22· ·injection chemicals once they've reached their

23· ·expiration dates?

24· ·A.· · ·Yes.

25· ·Q.· · ·You have?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       187 of 352 PageID #: 185
                                                                            8829
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·Yes.

·2· ·Q.· · ·Okay.· Does TDOC have any lethal injection

·3· ·chemicals in its possession that's currently

·4· ·expired?

·5· ·A.· · ·No.

·6· ·Q.· · ·Okay.· We can -- we'll talk about that in a

·7· ·minute.

·8· · · · · Let's go to paragraph 2.· And if you go to

·9· ·the third line, under "Storage of LIC" on page 35,

10· ·it says, "There is only one key to access the

11· ·storage container."

12· · · · · And then -- skip the next sentence.· Then it

13· ·says, "The Warden also has the pattern key to the

14· ·container in his -- in his possession.· There are

15· ·no duplicates produced.· The Warden surrenderers

16· ·the key to no one other than one member of the

17· ·Execution Team designated for inventorying the

18· ·LIC."

19· · · · · Do you see that?

20· ·A.· · ·I do.

21· ·Q.· · ·Without identifying anyone, who is that

22· ·person that you give the key to?

23· ·A.· · ·That would be my designee.

24· ·Q.· · ·And that would be the associate warden?

25· ·A.· · ·Security.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       188 of 352 PageID #: 186
                                                                            8830
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·Okay.· Now, let's go to the next page,

·2· ·page 36, and paragraph 4 under "Accountability of

·3· ·LIC."· Do you see it says, "Upon receipt of the LIC,

·4· ·the Warden or designee proceeds to the armory

·5· ·storage area, secures the LIC, and adjusts the

·6· ·inventory properly [sic].· Prior to the LIC being

·7· ·placed in storage, the expiration date and lot

·8· ·number or other identifying marking is recorded to

·9· ·ensure that the LIC is properly disposed of at the

10· ·time of expiration."

11· · · · · Do you see that?

12· ·A.· · ·I do.

13· ·Q.· · ·Do you do this?

14· ·A.· · ·I do.

15· ·Q.· · ·Okay.· How do you know where to store each

16· ·drug?

17· ·A.· · ·Based on the prescription according to the

18· ·designee that delivers it.

19· ·Q.· · ·And are you the person who is storing each of

20· ·the drugs?

21· ·A.· · ·In --

22· · · · · · · ·MR. SUTHERLAND:· Objection, form.

23· · · · · · · ·THE WITNESS:· In conjunction with the

24· ·designee.

25· ·///



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       189 of 352 PageID #: 187
                                                                            8831
                      www.EliteReportingServices.com                          YVer1f
·1· ·BY MR. KURSMAN:

·2· ·Q.· · ·Who is actually putting the drugs into the

·3· ·freezer or refrigerator?

·4· ·A.· · ·The designee.

·5· ·Q.· · ·Okay.· And where is your understanding where

·6· ·you store the midazolam?

·7· ·A.· · ·Midazolam, my understanding, is stored in the

·8· ·freezer.

·9· ·Q.· · ·Okay.· And what about the potassium chloride?

10· ·A.· · ·The freezer.

11· ·Q.· · ·And the vecuronium bromide?

12· ·A.· · ·Dry storage.

13· ·Q.· · ·Okay.· Now, let's go to paragraph 5, same

14· ·page, after "Accountability of LIC."· Do you see it

15· ·says, "The Warden and the designee jointly verify

16· ·the inventory of LIC on a semi-annual basis," and

17· ·then in parentheses, "January/July," and then, "at

18· ·minimum, and subsequent to each execution."

19· ·A.· · ·I do see that.

20· ·Q.· · ·And then it says, "The Warden and the

21· ·designee make appropriate entries in the ledger with

22· ·their full signatures that verify the correctness of

23· ·the LIC count."

24· ·A.· · ·I see that.

25· ·Q.· · ·When was the last time that you did this?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       190 of 352 PageID #: 188
                                                                            8832
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·This month.

·2· ·Q.· · ·Okay.· How long ago?

·3· ·A.· · ·That's not hard.· Yesterday.

·4· ·Q.· · ·Yesterday.· Okay.· When did you do it before

·5· ·yesterday?

·6· ·A.· · ·It had to have been January of this year

·7· ·because the protocol designed that -- I know we've

·8· ·had faults with COVID, so it may have been somewhere

·9· ·between January and July.

10· ·Q.· · ·Okay.· But it's your understanding that you

11· ·have done it --

12· ·A.· · ·Yes.

13· ·Q.· · ·-- at least sometime between January and

14· ·July?

15· ·A.· · ·Yes.

16· ·Q.· · ·Okay.· And how many drugs are currently in

17· ·the fridge right now?

18· ·A.· · ·Zero.

19· ·Q.· · ·And how many are currently in the freezer?

20· ·A.· · ·Zero.

21· ·Q.· · ·Okay.· Now, let's go to "Transfer of

22· ·Location," paragraph 2.· See it says, "If the LIC is

23· ·not used and not compromised in any way, the LIC is

24· ·returned to the armory, re-entered on the perpetual

25· ·inventory ledger, and secured in the refrigerator."



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       191 of 352 PageID #: 189
                                                                            8833
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · Do you see that?

·2· ·A.· · ·I do, yes.

·3· ·Q.· · ·What does it mean "not compromised in any

·4· ·way"?

·5· · · · · · · ·MR. SUTHERLAND:· Objection, form.

·6· · · · · · · ·THE WITNESS:· Not compromised to me

·7· ·would mean not tampered with.

·8· ·BY MR. KURSMAN:

·9· ·Q.· · ·Can it be opened?

10· ·A.· · ·That's tampered with.

11· ·Q.· · ·Why is it secured in the refrigerator?

12· ·A.· · ·Can't just be left laying around.· It has to

13· ·be put somewhere secured.

14· ·Q.· · ·Can it be reused on the same inmate?

15· ·A.· · ·No.

16· ·Q.· · ·Let's say an inmate got a stay of execution

17· ·for 12 hours.

18· ·A.· · ·Okay.

19· ·Q.· · ·Would that LIC be able to be used on the same

20· ·inmate if it wasn't tampered with?

21· ·A.· · ·If it haven't expired and is not outside of

22· ·the time limit of being outside, I would say

23· ·probably yes.

24· ·Q.· · ·Okay.· And -- you would say probably yes?

25· ·A.· · ·Yes.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       192 of 352 PageID #: 190
                                                                            8834
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·Okay.· Who would make that determination?

·2· ·A.· · ·Probably the executioner.

·3· ·Q.· · ·Okay.· So it's up to the executioner as to

·4· ·whether drugs that have been transferred can be

·5· ·reused again on the same inmate?

·6· · · · · · · ·MR. SUTHERLAND:· Objection, form.

·7· · · · · · · ·THE WITNESS:· I would say he handled it

·8· ·outside of my possession, so he would know.

·9· ·BY MR. KURSMAN:

10· ·Q.· · ·And would you defer to his expertise on this

11· ·area?

12· ·A.· · ·Yes.

13· ·Q.· · ·Okay.· Let's go to page 37.· And you see at

14· ·the top it's talking about commercially manufactured

15· ·drugs?

16· ·A.· · ·Yes.

17· ·Q.· · ·Okay.· And then do you see the last sentence

18· ·in 1 under "Storage of LIC," it says, "The chemicals

19· ·are placed in unmovable heavy gauge steel containers

20· ·with security grade locks"?

21· ·A.· · ·Yes.

22· ·Q.· · ·Are the manufactured drugs stored with the

23· ·compounded drugs?

24· ·A.· · ·No.

25· ·Q.· · ·Okay.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       193 of 352 PageID #: 191
                                                                            8835
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·2· ·BY MR. KURSMAN:

·3· ·Q.· · ·And why not?

·4· · · · · · · ·MR. SUTHERLAND:· Same objection.

·5· · · · · · · ·THE WITNESS:· One has a different

·6· ·requirement than the other.

·7· ·BY MR. KURSMAN:

·8· ·Q.· · ·According to what?

·9· ·A.· · ·According to the -- probably the prescription

10· ·from the pharmacist.

11· ·Q.· · ·Okay.· Now, if there's a conflict between a

12· ·prescription from the pharmacist and the protocol

13· ·itself, which provision would you follow?

14· · · · · · · ·MR. SUTHERLAND:· Objection to form.

15· · · · · · · ·THE WITNESS:· If I had to do that, being

16· ·that I don't see the prescription and I'm not the

17· ·one putting it away, I would follow what the

18· ·protocol says.

19· ·BY MR. KURSMAN:

20· ·Q.· · ·Okay.· And what if somebody who was doing it

21· ·chose to follow the prescription rather than the

22· ·protocol?

23· · · · · · · ·MR. SUTHERLAND:· Objection, form.

24· · · · · · · ·THE WITNESS:· Never have taken place,

25· ·they can't.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       194 of 352 PageID #: 192
                                                                            8836
                      www.EliteReportingServices.com                          YVer1f
·1· ·BY MR. KURSMAN:

·2· ·Q.· · ·Would you stop them from doing it?

·3· ·A.· · ·Yes.

·4· ·Q.· · ·Okay.· And why?

·5· · · · · · · ·MR. SUTHERLAND:· Objection, form.

·6· · · · · · · ·THE WITNESS:· Because I'm the warden and

·7· ·it's my responsibility to stop them.

·8· ·BY MR. KURSMAN:

·9· ·Q.· · ·And what if you didn't stop them from doing

10· ·it?

11· · · · · · · ·MR. SUTHERLAND:· Objection, form.

12· ·BY MR. KURSMAN:

13· ·Q.· · ·Do you think it could interfere with the

14· ·lethal injection process?

15· ·A.· · ·Don't know, never had to do it.

16· ·Q.· · ·Okay.· Let's go to "Storage of LIC,"

17· ·paragraph 3.· And do you see it says, at the very

18· ·bottom, "As the chemicals reach their expiration

19· ·dates, they are disposed of by hazardous waste

20· ·pick-up"?

21· · · · · Do you see that?

22· ·A.· · ·I do, yes.

23· ·Q.· · ·Okay.· Who's responsible for ensuring this?

24· ·A.· · ·Myself in conjunction with the designee.

25· ·Q.· · ·Okay.· And is this always done on time?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       195 of 352 PageID #: 193
                                                                            8837
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·It's done as required by protocol.

·2· ·Q.· · ·The drugs that you disposed of yesterday,

·3· ·were many of them expired?

·4· ·A.· · ·Yes.

·5· ·Q.· · ·And had they been expired for a long time?

·6· ·A.· · ·Yes, probably so.

·7· ·Q.· · ·Past --

·8· ·A.· · ·You'd have to define "long."

·9· ·Q.· · ·Past January of this year?· Did they expire

10· ·in 2020?

11· ·A.· · ·Yes.

12· ·Q.· · ·Okay.· And a minute ago you said you did one

13· ·of these checks in January or sometime about -- to

14· ·look at the beyond use dates of the drugs in the

15· ·freezer and refrigerator?

16· ·A.· · ·Yes.

17· ·Q.· · ·Why weren't they disposed of then?

18· ·A.· · ·They just weren't.· I mean, I can inventory

19· ·and make sure they're there, but that doesn't mean I

20· ·have to dispose of them at that time.

21· ·Q.· · ·Well, doesn't the protocol require that you

22· ·dispose of the chemicals when they reach their

23· ·expiration dates?

24· ·A.· · ·Yes.

25· ·Q.· · ·Okay.· But that wasn't done in January?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       196 of 352 PageID #: 194
                                                                            8838
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·Apparently not.

·2· ·Q.· · ·Okay.· Who decided that it was okay to

·3· ·deviate from the protocol?

·4· · · · · · · ·MR. SUTHERLAND:· Don't identify any

·5· ·individuals' names.

·6· · · · · · · ·THE WITNESS:· I would say the designee.

·7· ·BY MR. KURSMAN:

·8· ·Q.· · ·The designee said to you, "It's okay to

·9· ·deviate from the protocol"?

10· ·A.· · ·Not okay to deviate.· If you want to look at

11· ·it that way.· It's we'll dispose of it at a later

12· ·time.· We were doing COVID at that time, and we did

13· ·not dispose of anything at that time.

14· ·Q.· · ·You didn't dispose of trash at the prison at

15· ·that time?

16· ·A.· · ·Yes.

17· ·Q.· · ·You didn't dispose of hazardous waste at the

18· ·prison at that time?

19· ·A.· · ·I'm sure we did.

20· ·Q.· · ·Okay.· So why didn't you dispose of the

21· ·lethal injection chemicals at that time?

22· ·A.· · ·No answer for that.

23· ·Q.· · ·Okay.· And the person -- okay.

24· · · · · And when the designee said, "Let's not

25· ·dispose of these drugs yet," what was your



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       197 of 352 PageID #: 195
                                                                            8839
                      www.EliteReportingServices.com                          YVer1f
·1· ·response?

·2· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·3· · · · · · · ·THE WITNESS:· We'll dispose of them when

·4· ·we get to them.

·5· ·BY MR. KURSMAN:

·6· ·Q.· · ·Okay.· Did you think, "I'm the warden and

·7· ·it's my job to carry out the protocol, and the

·8· ·protocol says we have to dispose of them now, so we

·9· ·have to"?

10· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

11· · · · · · · ·THE WITNESS:· What I thought was they're

12· ·here in a secure area, and though they're expired,

13· ·we will dispose of them the first opportunity we

14· ·get, outside of that opportunity.

15· ·BY MR. KURSMAN:

16· ·Q.· · ·Okay.· And the first opportunity was

17· ·yesterday?

18· ·A.· · ·Yes.

19· ·Q.· · ·Okay.· And who ultimately made the decision

20· ·that it was okay to deviate from the protocol's

21· ·requirement that you have to dispose of the drugs

22· ·when they reach their expiration date?

23· ·A.· · ·I would say it was a joint decision.

24· ·Q.· · ·Between who?· Without identifying any names.

25· ·A.· · ·Myself and the designee.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       198 of 352 PageID #: 196
                                                                            8840
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·Okay.· Now, let's go on paragraph 37 -- I

·2· ·mean, on page 37, I apologize.

·3· · · · · In the -- in the middle of the main

·4· ·paragraph it says -- you see where it says

·5· ·chemicals are picked up from the DSNF or RMSI

·6· ·warehouse.· "A member of the Execution Team checks

·7· ·the supply of chemicals, the concentration, and

·8· ·expiration dates"?

·9· · · · · It begins three -- four lines from the

10· ·bottom.

11· ·A.· · ·(Reviewing)· "One of the members of the

12· ·Execution Team," you reading from there?

13· ·Q.· · ·No, I'm sorry.· So at the very end of the

14· ·last paragraph --

15· ·A.· · ·Okay.

16· ·Q.· · ·-- it says --

17· · · · · · · ·MR. SUTHERLAND:· You mean the first

18· ·paragraph?

19· · · · · · · ·MR. KURSMAN:· Yeah, on the first

20· ·practice, I apologize.

21· ·BY MR. KURSMAN:

22· ·Q.· · ·It says, "A member of the Execution Team

23· ·checks the supply of the chemicals, the

24· ·concentration, and the expiration dates."

25· · · · · You see that?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       199 of 352 PageID #: 197
                                                                            8841
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·I do.

·2· ·Q.· · ·Okay.· Without identifying who that person

·3· ·is, who is that member of the execution team?

·4· ·A.· · ·I would say myself and the -- my designee.

·5· ·Q.· · ·Okay.· Do either yourself or your designee

·6· ·have any medical or pharmacological training?

·7· ·A.· · ·No.

·8· ·Q.· · ·Okay.· And how do you check the concentration

·9· ·of the chemicals?

10· ·A.· · ·It's saying that -- I would say that would

11· ·have to be the executioner.

12· ·Q.· · ·Okay.· So --

13· ·A.· · ·I don't do that.

14· · · · · · · ·THE VIDEOGRAPHER:· Counsel, I'm sorry.

15· ·You're rustling some paper.

16· · · · · · · ·MR. KURSMAN:· Oh, yeah, I apologize.

17· ·BY MR. KURSMAN:

18· ·Q.· · ·So the executioner is the person who would

19· ·check the concentration?

20· ·A.· · ·I would say yes.

21· ·Q.· · ·Okay.· So you or your designee don't check

22· ·the concentration; is that right?

23· ·A.· · ·Correct.

24· ·Q.· · ·Okay.· Do you know why the protocol requires

25· ·that the concentration would be checked?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       200 of 352 PageID #: 198
                                                                            8842
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · · · ·MR. SUTHERLAND:· Objection to form.

·2· · · · · · · ·THE WITNESS:· No.

·3· ·BY MR. KURSMAN:

·4· ·Q.· · ·Do you know why -- do you see at the top it

·5· ·says, "Commercially Manufactured Drugs"?

·6· ·A.· · ·Yes.

·7· ·Q.· · ·Do you know why this same requirement isn't

·8· ·for the compounded drugs?

·9· · · · · · · ·MR. SUTHERLAND:· Same objection.

10· · · · · · · ·THE WITNESS:· No.

11· ·BY MR. KURSMAN:

12· ·Q.· · ·Okay.· I have one other question.· What was

13· ·scheduled first, your deposition today or

14· ·yesterday's inventory?

15· ·A.· · ·My deposition.

16· ·Q.· · ·Okay.· Let's go to page 38.· And do you see

17· ·at the bottom it says, "Transfer of Location"?

18· ·A.· · ·Yes.

19· ·Q.· · ·Do you see it says, "The Warden's designee is

20· ·responsible for the delivery of the LICs to the

21· ·appropriate individuals in the Execution Chamber"?

22· · · · · · · ·MR. SUTHERLAND:· I'm sorry, Alex, where

23· ·are you?

24· · · · · · · ·MR. KURSMAN:· Oh, so it's page 38,

25· ·"Transfer of Location," paragraph 1.· It's the very



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       201 of 352 PageID #: 199
                                                                            8843
                      www.EliteReportingServices.com                          YVer1f
·1· ·last sentence in paragraph 1.

·2· · · · · · · ·MR. SUTHERLAND:· Thank you.

·3· · · · · · · ·MR. KURSMAN:· I should have been more

·4· ·clear.· I'm sorry.

·5· · · · · · · ·MR. SUTHERLAND:· That's okay.

·6· · · · · · · ·THE WITNESS:· That last sentence?

·7· ·BY MR. KURSMAN:

·8· ·Q.· · ·Yeah.

·9· ·A.· · ·"The Warden's designee is responsible for the

10· ·delivery of the LICs to the appropriate individual

11· ·in the Execution Chamber"?

12· ·Q.· · ·Yes.· Do you see that?

13· ·A.· · ·Yes.

14· ·Q.· · ·Okay.· And do you see that that same

15· ·language -- if you go back to 36 for compounded

16· ·chemicals, that same language is there also, under

17· ·"Transfer of Location," paragraph 1, "The Warden's

18· ·designee is responsible for the delivery"?

19· · · · · Do you see that?

20· ·A.· · ·Yes.

21· ·Q.· · ·Who is the designee, without identifying any

22· ·names?

23· ·A.· · ·It would be my designee.

24· ·Q.· · ·And is that the associate warden?

25· ·A.· · ·Uh-huh.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       202 of 352 PageID #: 200
                                                                            8844
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·Okay.· A minute ago you told me that the

·2· ·executioner actually takes the drugs from the

·3· ·refrigerator and the freezer.

·4· ·A.· · ·That's because myself, along with the

·5· ·executioner, do it.· I don't -- I don't designate

·6· ·that to my designee to do.· The protocol says the

·7· ·warden's designee is responsible, but I take that

·8· ·upon myself to do.

·9· ·Q.· · ·Okay.· But nobody delivers the -- do you

10· ·deliver the lethal injection chemicals to the

11· ·appropriate individuals in the chamber?

12· ·A.· · ·No.

13· ·Q.· · ·Okay.· Does your designee deliver the LICs to

14· ·the appropriate individuals in the execution

15· ·chamber?

16· ·A.· · ·No.

17· ·Q.· · ·Okay.· Who decided that they could deviate

18· ·from the protocol here?

19· · · · · · · ·MR. SUTHERLAND:· Objection, form.

20· · · · · · · ·THE WITNESS:· I decided that, in

21· ·conjunction with the executioner.

22· ·BY MR. KURSMAN:

23· ·Q.· · ·Okay.· And how did you determine that you

24· ·were able to deviate from the protocol?

25· · · · · · · ·MR. SUTHERLAND:· Objection, form.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       203 of 352 PageID #: 201
                                                                            8845
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · · · ·THE WITNESS:· Really, there weren't a

·2· ·determination.· We just did it.

·3· ·BY MR. KURSMAN:

·4· ·Q.· · ·Okay.· And was there any -- did anybody tell

·5· ·you you can't do this?

·6· ·A.· · ·No.

·7· ·Q.· · ·Okay.· And how long have you been doing this?

·8· ·A.· · ·The first two executions that I performed was

·9· ·both lethal and we did it with both.

10· ·Q.· · ·Okay.· Now, let's go to page 39.· And you see

11· ·it says at the very top, "Lethal Injection Chemical

12· ·Set-Up and Preparation"?

13· ·A.· · ·Yes.

14· ·Q.· · ·And then it says, under 1, "Prior to an

15· ·execution, a minimum of two members of the Execution

16· ·Team bring the LICs from the armory area directly

17· ·into the Lethal Injection Room."

18· · · · · Do you see that?

19· ·A.· · ·Yes.

20· ·Q.· · ·That's not what happens, though, is it?

21· ·A.· · ·"Prior to the execution, a minimum of two --

22· ·minimum of two members of the Execution Team bring

23· ·LICs from the armory area directly to the Lethal" --

24· ·that is what happens.

25· ·Q.· · ·Oh.· So I'm -- I guess I'm confused.· You



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       204 of 352 PageID #: 202
                                                                            8846
                      www.EliteReportingServices.com                          YVer1f
·1· ·told me that the executioner brings them from the

·2· ·armory --

·3· ·A.· · ·The executioner is a member of the team as

·4· ·well as myself a member of the team.

·5· ·Q.· · ·So you go with the executioner to the

·6· ·execution room --

·7· ·A.· · ·Yes.

·8· ·Q.· · ·-- once he grabs the drugs?

·9· ·A.· · ·Yes.

10· ·Q.· · ·Okay.· And then do you see, in paragraph 1,

11· ·it says, "The amount of chemicals and saline is

12· ·sufficient to make two complete sets of nine

13· ·syringes each.· One set is color coded red and the

14· ·back-up set is color coded blue."

15· · · · · Do you see that?

16· ·A.· · ·Yes.

17· ·Q.· · ·Who does this procedure?

18· · · · · · · ·MR. SUTHERLAND:· Don't identify anyone

19· ·by name.

20· · · · · · · ·THE WITNESS:· The executioner.

21· ·BY MR. KURSMAN:

22· ·Q.· · ·And where are you at this point?

23· ·A.· · ·Along with him, at the armory where we

24· ·receive the drugs.

25· ·Q.· · ·Okay.· So just so I'm clear, when he makes



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       205 of 352 PageID #: 203
                                                                            8847
                      www.EliteReportingServices.com                          YVer1f
·1· ·the two sets of nine syringes, that's in the armory?

·2· ·A.· · ·No, they're made in the drip room, what we

·3· ·call it.· But he's there by himself then, along with

·4· ·his assistants.

·5· ·Q.· · ·Okay.

·6· ·A.· · ·I'm not there.

·7· ·Q.· · ·Is the drip room the same as --

·8· ·A.· · ·Yes.

·9· ·Q.· · ·-- the -- just so I'm clear -- the same as

10· ·the lethal injection executioner's room?

11· ·A.· · ·Yes.

12· ·Q.· · ·Okay.· And where are you at this point?

13· ·A.· · ·I may not even be in that area at that time.

14· ·Q.· · ·Well, where would you be?

15· ·A.· · ·Who knows?

16· ·Q.· · ·Okay.

17· ·A.· · ·Somewhere at the facility.

18· ·Q.· · ·Well, okay, so a minute ago you told me that

19· ·you and the executioner take the lethal injection

20· ·chemicals and walk them into the execution area.

21· ·A.· · ·Yes.

22· ·Q.· · ·Okay.· Then he takes -- the executioner then

23· ·takes the drugs and mixes them into the red and blue

24· ·sets?

25· ·A.· · ·And I'm not there.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       206 of 352 PageID #: 204
                                                                            8848
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·You're not in the execution room at this

·2· ·point?

·3· ·A.· · ·No.

·4· ·Q.· · ·Okay.· So you leave -- you do whatever you

·5· ·need to do?

·6· ·A.· · ·I leave the area.

·7· ·Q.· · ·Okay.· And you said him and his assistants?

·8· ·A.· · ·Yes.

·9· ·Q.· · ·And that's him and two assistants?

10· ·A.· · ·I don't think I said a number.

11· ·Q.· · ·Well, I thought you -- okay.· Are any of his

12· ·assistants members of the IV team?

13· ·A.· · ·No.

14· ·Q.· · ·Okay.· Do any of his assistants have any

15· ·medical training?

16· ·A.· · ·That I wouldn't know.

17· ·Q.· · ·Okay.· And then you see, in paragraph 2 on

18· ·the same page, on 39, it says, "The LICs are drawn

19· ·into syringes by one member of the Execution Team."

20· · · · · And you're saying that is the executioner,

21· ·right?

22· ·A.· · ·Yes.

23· ·Q.· · ·And then it says, "Another member of the

24· ·Execution Team observes and verifies that the

25· ·procedure has been carried out correctly."



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       207 of 352 PageID #: 205
                                                                            8849
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·Yes.

·2· ·Q.· · ·Okay.· Is that other member, is that one of

·3· ·his assistants?

·4· ·A.· · ·Yes.

·5· ·Q.· · ·Do you know which assistant that is, without

·6· ·identifying any names?

·7· ·A.· · ·No.

·8· ·Q.· · ·Okay.· Do you know whether the same size

·9· ·syringe is used for each drug?

10· ·A.· · ·I wouldn't know.

11· ·Q.· · ·Do you know whether the drug is drawn

12· ·directly into the syringe?

13· ·A.· · ·I wouldn't know.

14· ·Q.· · ·Do you know if the drug is mixed first with

15· ·either saline or bacteriostatic water before it's

16· ·put into a syringe?

17· ·A.· · ·Yes, but I can't say for sure which one it

18· ·is.

19· ·Q.· · ·And have you ever seen that done?

20· ·A.· · ·No.

21· ·Q.· · ·Okay.· Do you know what color the content is

22· ·of the prepared syringes?

23· ·A.· · ·No.

24· ·Q.· · ·Do you know what falling out of solution

25· ·means?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       208 of 352 PageID #: 206
                                                                            8850
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·No.

·2· ·Q.· · ·Do you know who checks to determine if the

·3· ·lethal injection chemicals are falling out of

·4· ·solution?

·5· · · · · · · ·MR. SUTHERLAND:· Don't identify anybody

·6· ·by name.

·7· · · · · · · ·THE WITNESS:· No.

·8· ·BY MR. KURSMAN:

·9· ·Q.· · ·Okay.· What does it mean where it says,

10· ·"Another member of the Execution Team observes and

11· ·verifies that the procedure has been carried out

12· ·correctly"?

13· · · · · What does it mean for the procedure to be

14· ·carried out correctly?

15· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

16· · · · · · · ·THE WITNESS:· Which procedure?

17· ·BY MR. KURSMAN:

18· ·Q.· · ·The procedure of being -- the LICs being

19· ·drawn into syringes.

20· ·A.· · ·It probably would be one of his assistants.

21· ·Q.· · ·But my question is what does it mean for the

22· ·procedure to be carried out correctly?

23· · · · · · · ·MR. SUTHERLAND:· Same objection.

24· · · · · · · ·THE WITNESS:· Probably according to what

25· ·the protocol says it has to be done.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       209 of 352 PageID #: 207
                                                                            8851
                      www.EliteReportingServices.com                          YVer1f
·1· ·BY MR. KURSMAN:

·2· ·Q.· · ·Do you know how the execution team member

·3· ·verifies that that procedure has been carried out

·4· ·correctly?

·5· ·A.· · ·No.

·6· ·Q.· · ·And do you know if that member has a

·7· ·background in chemistry?

·8· ·A.· · ·I wouldn't know.

·9· ·Q.· · ·Okay.· And what do you do with the empty

10· ·vials after preparing the syringes?

11· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

12· · · · · · · ·THE WITNESS:· The empty vials, bagged up

13· ·in a biohazard bag, it has to accompany the deceased

14· ·to the ME's office.

15· ·BY MR. KURSMAN:

16· ·Q.· · ·Did you decide which member will be

17· ·responsible for which role in this procedure here?

18· ·A.· · ·No.

19· ·Q.· · ·Okay.· So as the warden, did you decide who

20· ·the executioner would be?

21· · · · · · · ·MR. SUTHERLAND:· Objection, form.

22· · · · · · · ·THE WITNESS:· No.

23· ·BY MR. KURSMAN:

24· ·Q.· · ·Did you decide who the executioner's

25· ·assistants would be?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       210 of 352 PageID #: 208
                                                                            8852
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·No.

·2· ·Q.· · ·Who decided who the executioner's assistants

·3· ·would be, without identifying any names?

·4· ·A.· · ·The commissioner, as I stated earlier, in

·5· ·conjunction with myself.· But the commissioner make

·6· ·that decision.

·7· ·Q.· · ·But you were with the commissioner at that

·8· ·time to make the decision?

·9· ·A.· · ·Yes, he discussed it with me.

10· ·Q.· · ·Are the executioner's assistants at all of

11· ·the trainings?

12· ·A.· · ·Not all.

13· ·Q.· · ·Are they at most?

14· ·A.· · ·Yes.

15· ·Q.· · ·Okay.· Are they at all the classes?

16· ·A.· · ·Not all.

17· ·Q.· · ·How did you decide who the executioner's

18· ·assistants would be?

19· ·A.· · ·I don't.

20· ·Q.· · ·How did you and the commissioner together

21· ·decide who the executioner's assistants would be?

22· ·A.· · ·He presents them to me, we discuss them, and

23· ·then he makes the decision whether they're a good

24· ·candidate.

25· ·Q.· · ·Okay.· And what qualifications do you base



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       211 of 352 PageID #: 209
                                                                            8853
                      www.EliteReportingServices.com                          YVer1f
·1· ·that on?

·2· ·A.· · ·We utilize some of the qualifications in

·3· ·here.· Basically that's it, the commissioner makes a

·4· ·decision.

·5· ·Q.· · ·So you and the commissioner talked about who

·6· ·the executioner's assistants would be?

·7· ·A.· · ·Yes, he presented them to me and we discussed

·8· ·them.

·9· ·Q.· · ·And you -- and you knew they would have a

10· ·role of mixing the drugs, or at least watching the

11· ·executioner mix the drugs --

12· ·A.· · ·Yes.

13· ·Q.· · ·-- and watching the executioner push the

14· ·drugs?

15· ·A.· · ·Yes.

16· ·Q.· · ·And you weren't curious as to whether they

17· ·had medical experience?

18· ·A.· · ·No.

19· · · · · · · ·MR. SUTHERLAND:· Objection, form.

20· ·BY MR. KURSMAN:

21· ·Q.· · ·Okay.· And you weren't curious as to whether

22· ·they had a background in chemistry?

23· · · · · · · ·MR. SUTHERLAND:· Objection, form.

24· · · · · · · ·THE WITNESS:· No.

25· ·///



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       212 of 352 PageID #: 210
                                                                            8854
                      www.EliteReportingServices.com                          YVer1f
·1· ·BY MR. KURSMAN:

·2· ·Q.· · ·And you weren't curious as to whether they

·3· ·had a background in pushing drugs through IV lines?

·4· · · · · · · ·MR. SUTHERLAND:· Same objection.

·5· · · · · · · ·THE WITNESS:· No.

·6· ·BY MR. KURSMAN:

·7· ·Q.· · ·Okay.· And you didn't find that out while

·8· ·discussing the qualifications of these people with

·9· ·the commissioner?

10· ·A.· · ·No.

11· ·Q.· · ·Okay.· And how does the warden have knowledge

12· ·or experience to determine who should be responsible

13· ·for this role?

14· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

15· · · · · · · ·THE WITNESS:· The role of a executioner?

16· ·BY MR. KURSMAN:

17· ·Q.· · ·Yes.

18· ·A.· · ·I don't.

19· ·Q.· · ·Okay.· Let's go to page -- stay on page 39.

20· · · · · Do you see at the bottom it says,

21· ·"Preparation in accordance with the directions of

22· ·the Pharmacy with which the Department has Pharmacy

23· ·Service Agreements," and then it -- you see it

24· ·discusses midazolam, saline, vecuronium bromide,

25· ·saline again, potassium chloride, and saline?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       213 of 352 PageID #: 211
                                                                            8855
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·Yes.

·2· ·Q.· · ·Is the executioner responsible for carrying

·3· ·out all of these steps as described in paragraph 4

·4· ·on page 39?

·5· ·A.· · ·Yes.

·6· ·Q.· · ·Is the executioner responsible for

·7· ·reconstituting the vecuronium bromide?· And that

·8· ·would be in paragraph 4, Subsection c.

·9· ·A.· · ·Uh-huh.· Yes.

10· ·Q.· · ·Did you ask the executioner how he knows how

11· ·to reconstitute the vecuronium bromide?

12· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

13· · · · · · · ·THE WITNESS:· No.

14· ·BY MR. KURSMAN:

15· ·Q.· · ·Do you know how he knows to reconstitute the

16· ·vecuronium bromide?

17· ·A.· · ·Not without guessing or speculating.

18· ·Q.· · ·Okay.· Do you have any written instructions

19· ·on how to reconstitute the vecuronium bromide?

20· ·A.· · ·Do I?

21· ·Q.· · ·Does TDOC, that you're aware of?

22· ·A.· · ·I'm sure they would have a prescription on

23· ·how to mix it.

24· ·Q.· · ·Okay.· And if they don't have instructions,

25· ·how could another member of the execution team



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       214 of 352 PageID #: 212
                                                                            8856
                      www.EliteReportingServices.com                          YVer1f
·1· ·verify that this is being done correctly?

·2· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·3· · · · · · · ·THE WITNESS:· They would have to know.

·4· ·BY MR. KURSMAN:

·5· ·Q.· · ·They would have to know what?

·6· ·A.· · ·How to properly mix it.

·7· ·Q.· · ·The other member of the execution team,

·8· ·you're saying?

·9· ·A.· · ·The assistants, yeah.

10· ·Q.· · ·The assistants --

11· ·A.· · ·Yes.

12· ·Q.· · ·-- would have to know how to properly mix it?

13· ·A.· · ·Yes.

14· ·Q.· · ·And how would they know how to properly mix

15· ·it if there were no written instructions?

16· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

17· · · · · · · ·THE WITNESS:· Without written

18· ·instructions, they wouldn't.

19· ·BY MR. KURSMAN:

20· ·Q.· · ·Okay.· And you said you've never spoken with

21· ·the executioner regarding the preparation of

22· ·vecuronium bromide, right?

23· ·A.· · ·No.

24· ·Q.· · ·And you've never spoken with the pharmacist,

25· ·right?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       215 of 352 PageID #: 213
                                                                            8857
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·No.

·2· ·Q.· · ·Okay.· And do you know what the protocol is

·3· ·for determining whether any of the LIC has fallen

·4· ·out of solution?

·5· · · · · · · ·MR. SUTHERLAND:· Can you rephrase that?

·6· · · · · · · ·MR. KURSMAN:· Sure.

·7· · · · · · · ·MR. SUTHERLAND:· Using the term

·8· ·"protocol" is kind of --

·9· · · · · · · ·MR. KURSMAN:· Right, yeah, I -- yeah,

10· ·sorry about that.

11· ·BY MR. KURSMAN:

12· ·Q.· · ·Do you know what the policy would be or

13· ·instructions would be or steps that would be taken

14· ·to determine whether any of the LIC has fallen out

15· ·of solution?

16· ·A.· · ·I don't understand that terminology.

17· ·Q.· · ·Do you mean -- what terminology are you

18· ·talking about, falling out of solution?

19· ·A.· · ·Falling out of solution.

20· ·Q.· · ·Okay.· And who sends the syringes and

21· ·prepared but unused lethal injection chemicals to

22· ·the medical examiner's office after the execution is

23· ·complete?

24· ·A.· · ·Who sends the syringes and -- repeat, please.

25· ·Q.· · ·Sure.· Who sends the syringes and the



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       216 of 352 PageID #: 214
                                                                            8858
                      www.EliteReportingServices.com                          YVer1f
·1· ·prepared but unused lethal injection chemicals --

·2· · · · · · · ·MR. SUTHERLAND:· Don't state a person's

·3· ·name?

·4· ·BY MR. KURSMAN:

·5· ·Q.· · ·-- to the medical examiner's office after the

·6· ·execution is complete?

·7· ·A.· · ·The executioner.

·8· ·Q.· · ·Let's go to page 42.

·9· · · · · And do you see at the top it says,

10· ·"Insertion of a Catheter and Connection of IV

11· ·Lines"?

12· ·A.· · ·Yes.

13· ·Q.· · ·And then it says, No. 7, "In the unlikely

14· ·event that none of these veins are usable, the

15· ·physician is called into the Execution Chamber to

16· ·perform a cut-down procedure"?

17· ·A.· · ·Yes, I see it.

18· ·Q.· · ·And I think we talked about this before, but

19· ·who decides to call the physician into the execution

20· ·chamber?

21· · · · · · · ·MR. SUTHERLAND:· Don't identify a

22· ·specific individual.

23· · · · · · · ·THE WITNESS:· It would have to be the IV

24· ·team/EMTs.

25· ·///



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       217 of 352 PageID #: 215
                                                                            8859
                      www.EliteReportingServices.com                          YVer1f
·1· ·BY MR. KURSMAN:

·2· ·Q.· · ·Do you make the ultimate call on that?

·3· ·A.· · ·If they shared it with me and they request a

·4· ·doctor, then, yes, we would do that.

·5· ·Q.· · ·Do they have to share it with you?

·6· ·A.· · ·Yes.

·7· ·Q.· · ·Okay.· So if they can't find a vein, they

·8· ·have to tell you before going to the physician?

·9· ·A.· · ·Yes, I would say we share it in conjunction

10· ·together.

11· ·Q.· · ·Okay.· And then who makes the ultimate

12· ·determination whether to call the doctor?· Is that

13· ·you?

14· ·A.· · ·Yes.

15· ·Q.· · ·Okay.· Now let's go to page 44 of Exhibit 1.

16· ·And it's titled, "Chemical Administration and IV

17· ·Monitoring."

18· · · · · And you see in Section 1 it says, "All

19· ·members of the IV Team monitor both catheters to

20· ·ensure there's no swelling around the catheter that

21· ·could indicate the catheter is not sufficiently

22· ·inside the vein."

23· · · · · Do you see that?

24· ·A.· · ·I do.

25· ·Q.· · ·Okay.· At this point, though, they're not in



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       218 of 352 PageID #: 216
                                                                            8860
                      www.EliteReportingServices.com                          YVer1f
·1· ·the execution chamber anymore, right?

·2· ·A.· · ·"They" being the --

·3· ·Q.· · ·The IV team.

·4· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·5· · · · · · · ·THE WITNESS:· (Reviewing)· Correct.

·6· ·BY MR. KURSMAN:

·7· ·Q.· · ·Okay.· So who is monitoring both catheters to

·8· ·ensure there's no swelling around the catheter?

·9· ·A.· · ·Will be one of the assistants in the IV room.

10· ·Q.· · ·Okay.· So it would be one of the

11· ·executioner's assistants?

12· ·A.· · ·Yes.

13· ·Q.· · ·Okay.· And how can they see the possible

14· ·swelling around the catheters?

15· ·A.· · ·By viewing it on closed circuit monitor.

16· ·Q.· · ·Okay.· And do you know what their expertise

17· ·is with the swelling around catheters?

18· ·A.· · ·That I don't.

19· ·Q.· · ·Okay.· And then if you go to 6 on this same

20· ·page, page 44, it says, "When the Warden gives the

21· ·signal to proceed with the execution, the

22· ·Executioner clamps the line near the spike."

23· · · · · Do you see that?

24· ·A.· · ·I do.

25· ·Q.· · ·Are you monitoring the IV sites at this



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       219 of 352 PageID #: 217
                                                                            8861
                      www.EliteReportingServices.com                          YVer1f
·1· ·point?

·2· ·A.· · ·No.

·3· ·Q.· · ·Okay.· And then if you go to -- on page 45,

·4· ·paragraph 7, it says, on the second sentence,

·5· ·"Should there be or appear to be swelling around the

·6· ·catheter or if there is resistance to the pressure

·7· ·being applied to the plunger, the Executioner pulls

·8· ·the plunger back."

·9· · · · · Do you see that?

10· ·A.· · ·Yes.

11· ·Q.· · ·At this point who is looking for that

12· ·swelling?

13· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

14· · · · · · · ·THE WITNESS:· It would be the

15· ·individuals in the IV room.

16· ·BY MR. KURSMAN:

17· ·Q.· · ·And you're talking about the executioner's

18· ·assistants?

19· ·A.· · ·Uh-huh.

20· ·Q.· · ·And are they aware that they're looking for

21· ·the swelling?

22· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

23· · · · · · · ·THE WITNESS:· I will say that they are.

24· ·BY MR. KURSMAN:

25· ·Q.· · ·Okay.· And they're not watching the



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       220 of 352 PageID #: 218
                                                                            8862
                      www.EliteReportingServices.com                          YVer1f
·1· ·executioner at this point?

·2· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·3· · · · · · · ·THE WITNESS:· I wouldn't have an

·4· ·understanding of what they would be watching in the

·5· ·room.· I know they monitor.

·6· ·BY MR. KURSMAN:

·7· ·Q.· · ·Okay.· Well, it was my understanding when we

·8· ·were discussing this earlier that the executioner's

·9· ·assistants are watching the push rate of the

10· ·executioner.

11· ·A.· · ·More than one watch more than one thing.

12· ·Q.· · ·So they're watching both the push rate of the

13· ·executioner and swelling for -- at the execution

14· ·site -- at the injection site?

15· ·A.· · ·Don't like to --

16· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

17· · · · · · · ·THE WITNESS:· Don't like to assume, but

18· ·I will take it that one is monitoring the execution

19· ·and one is monitoring the veins.

20· ·BY MR. KURSMAN:

21· ·Q.· · ·Okay.· And you don't know whether either of

22· ·these individuals have any medical experience,

23· ·right?

24· ·A.· · ·Do not.

25· ·Q.· · ·Okay.· Now let's go to page 51.· It's titled



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       221 of 352 PageID #: 219
                                                                            8863
                      www.EliteReportingServices.com                          YVer1f
·1· ·"Execution Team" at the top.

·2· · · · · If we go to paragraph 4, it says, "The

·3· ·following procedures shall apply:· The Execution

·4· ·Team's Officer in Charge and/or the Assistant

·5· ·Officer in Charge conducts a training session at

·6· ·least once each month at which time all equipment

·7· ·will be tested.· The training includes a simulated

·8· ·execution."

·9· · · · · Who -- without identifying any names, who is

10· ·the execution team's officer in charge?

11· ·A.· · ·That would be me.

12· ·Q.· · ·And same as before, without identifying any

13· ·names, who is the assistant officer in charge?

14· ·A.· · ·My associate security.

15· ·Q.· · ·Okay.· And do these trainings happen at least

16· ·once a month?

17· ·A.· · ·Yes.

18· ·Q.· · ·And do you schedule the training?

19· ·A.· · ·Yes.

20· ·Q.· · ·And when was your most recent training?

21· ·A.· · ·Week before last.

22· ·Q.· · ·And when's the next training?

23· ·A.· · ·I haven't scheduled.

24· ·Q.· · ·Okay.· And what does the term "simulated

25· ·execution" mean?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       222 of 352 PageID #: 220
                                                                            8864
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·2· · · · · · · ·THE WITNESS:· Not an actual execution,

·3· ·you're just simulating it, acting it out.

·4· ·BY MR. KURSMAN:

·5· ·Q.· · ·Who inserts the IV lines at this point?

·6· ·A.· · ·The IV team, the EMTs.

·7· ·Q.· · ·And how do you test the IV drip?

·8· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·9· · · · · · · ·THE WITNESS:· I don't.

10· ·BY MR. KURSMAN:

11· ·Q.· · ·How do the executioners test the IV drip?

12· ·A.· · ·I wouldn't know.

13· ·Q.· · ·And how do they practice for monitoring

14· ·swelling at the injection site?

15· · · · · · · ·MR. SUTHERLAND:· Same objection.

16· · · · · · · ·THE WITNESS:· Same way if it was an

17· ·actual execution.

18· ·BY MR. KURSMAN:

19· ·Q.· · ·Which is what?

20· ·A.· · ·Monitor -- on the monitor in the -- in the

21· ·room.

22· ·Q.· · ·But how do they know what to look for is my

23· ·question.

24· · · · · · · ·MR. SUTHERLAND:· Same objection.

25· · · · · · · ·THE WITNESS:· I wouldn't know that.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       223 of 352 PageID #: 221
                                                                            8865
                      www.EliteReportingServices.com                          YVer1f
·1· ·BY MR. KURSMAN:

·2· ·Q.· · ·Then it says, "A week before the scheduled

·3· ·execution, the Officer in Charge and Assistant

·4· ·assembles the Execution Team in the execution area

·5· ·to prepare and test all appliances and equipment for

·6· ·the scheduled execution."

·7· · · · · And that's 4B.· How long does this take?

·8· ·A.· · ·No specific time.

·9· ·Q.· · ·And what appliances and equipment are tested?

10· ·A.· · ·Everything that is utilized to carry out an

11· ·execution properly, the gurney, the audio systems,

12· ·the video systems, equipment in the room and

13· ·everything, the telephones and all.

14· ·Q.· · ·Do you have any equipment to help determine

15· ·consciousness of the inmate?

16· ·A.· · ·No.

17· ·Q.· · ·Do you know why you don't have that

18· ·equipment?

19· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

20· · · · · · · ·THE WITNESS:· No.

21· ·BY MR. KURSMAN:

22· ·Q.· · ·Do you know that in hospitals they have that

23· ·equipment?

24· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

25· · · · · · · ·THE WITNESS:· No.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       224 of 352 PageID #: 222
                                                                            8866
                      www.EliteReportingServices.com                          YVer1f
·1· ·BY MR. KURSMAN:

·2· ·Q.· · ·Do you think that equipment would be helpful

·3· ·for you --

·4· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·5· ·BY MR. KURSMAN:

·6· ·Q.· · ·-- in determining an inmate's consciousness?

·7· ·A.· · ·I wouldn't know.

·8· ·Q.· · ·Okay.· Now, who is responsible for ensuring

·9· ·that all equipment is properly placed?· And that's

10· ·page 51, C2.

11· · · · · · · ·MR. SUTHERLAND:· Don't state an

12· ·individual's name.

13· · · · · · · ·THE WITNESS:· Every individual that had

14· ·been designated to do certain assignments, it's

15· ·their responsibility to make sure that it's all in

16· ·place when it's time to go.

17· ·BY MR. KURSMAN:

18· ·Q.· · ·And without identifying those individuals,

19· ·who would they be?

20· ·A.· · ·Every station, from the escort person to the

21· ·IV team to the audio team, from the -- everyone that

22· ·have a part in it and anything to do with it,

23· ·everyone ensure that their area is ready to roll

24· ·when it's time to roll.

25· ·Q.· · ·And then you see in paragraph 6 it says,



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       225 of 352 PageID #: 223
                                                                            8867
                      www.EliteReportingServices.com                          YVer1f
·1· ·"After the physician pronounces death -- the inmate

·2· ·deceased, the designee -- pronounces the inmate

·3· ·deceased" -- I apologize -- "the designee informs

·4· ·the Commissioner that the sentence has been carried

·5· ·out."

·6· · · · · Who is the designee, without naming that

·7· ·person's name, that informs the commissioner that

·8· ·the sentence has been carried out?

·9· ·A.· · ·That would be me.

10· ·Q.· · ·And who removes the body and places it into a

11· ·body bag?

12· · · · · · · ·MR. SUTHERLAND:· Don't state any

13· ·person's name.

14· · · · · · · ·THE WITNESS:· The medical examiner's

15· ·office.

16· ·BY MR. KURSMAN:

17· ·Q.· · ·Okay.· And without identifying anybody, who

18· ·places the lethal injection chemicals and syringes

19· ·into the body bag?

20· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

21· · · · · · · ·THE WITNESS:· The medical examiner.

22· ·BY MR. KURSMAN:

23· ·Q.· · ·And who closes the bag?

24· ·A.· · ·The medical examiner.

25· ·Q.· · ·Okay.· At what point do you leave the



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       226 of 352 PageID #: 224
                                                                            8868
                      www.EliteReportingServices.com                          YVer1f
·1· ·execution chamber?

·2· ·A.· · ·Once everything is what I call squared away,

·3· ·everything's back in order and -- I'm usually the

·4· ·last one to leave.

·5· · · · · · · ·MR. KURSMAN:· Could we take a 10-minute

·6· ·break at this point?

·7· · · · · · · ·MR. SUTHERLAND:· Absolutely.

·8· · · · · · · ·MR. KURSMAN:· Okay.

·9· · · · · · · ·THE VIDEOGRAPHER:· One moment, please.

10· ·Going off the record at 2:28 p.m.

11· · · · · · · ·(Recess observed from 2:30 p.m. to

12· ·2:48 p.m.)

13· · · · · · · ·THE VIDEOGRAPHER:· Back on the record at

14· ·2:45 p.m.

15· · · · · · · ·MR. KURSMAN:· Warden, we just went on

16· ·break.· During that break was there anything you

17· ·thought of that would change your response to any of

18· ·my questions earlier?

19· · · · · · · ·THE WITNESS:· No, sir.

20· ·BY MR. KURSMAN:

21· ·Q.· · ·Okay.· Let's go to page 64, which has "Day

22· ·3 - Evening Schedule."· That would be 64 of

23· ·Exhibit 1.· Just let me know when you get there.

24· ·A.· · ·Okay.

25· ·Q.· · ·Okay.· And then if you go to page 66, which



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       227 of 352 PageID #: 225
                                                                            8869
                      www.EliteReportingServices.com                          YVer1f
·1· ·is still on that evening schedule, at the top it

·2· ·says 7:10 p.m.

·3· ·A.· · ·Okay.

·4· ·Q.· · ·Do you see No. 4, it says, "The Warden gives

·5· ·the signal to proceed and the Executioner begins to

·6· ·administer the first chemical"?

·7· · · · · Yes.

·8· ·A.· · ·Is there any checklist you go through

·9· ·before --

10· · · · · · · ·MR. SUTHERLAND:· Sorry, Alex, where are

11· ·you?

12· · · · · · · ·MR. KURSMAN:· So do you see on page 66,

13· ·7:10 p.m.?

14· · · · · · · ·MR. SUTHERLAND:· Yes.

15· · · · · · · ·MR. KURSMAN:· Okay.· And then No. 4.

16· · · · · · · ·MR. SUTHERLAND:· Gotcha.

17· ·BY MR. KURSMAN:

18· ·Q.· · ·Is there any checklist you go through before

19· ·giving the signal to proceed?

20· ·A.· · ·I just follow the protocol to the letter.

21· ·When it gets to that point, then I proceed.

22· ·Q.· · ·I mean, are you looking for proper vein

23· ·access at that time?

24· ·A.· · ·No.· That will be after I have checked for

25· ·consciousness.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       228 of 352 PageID #: 226
                                                                            8870
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · I'm sorry.· Let me back up.

·2· ·Q.· · ·Sure.

·3· ·A.· · ·That's after everything had gotten to the

·4· ·point and he has given his last words.

·5· ·Q.· · ·Right.· So my question is before you give the

·6· ·signal to proceed, is there any checklist you go

·7· ·through, meaning do you look at his veins?· Do you

·8· ·look --

·9· ·A.· · ·No.· At that time there wouldn't be a need.

10· ·I don't look at his veins anyway, but at that time

11· ·there wouldn't be a need to look at his veins.

12· ·Q.· · ·Okay.· So is the only thing you're waiting

13· ·for are his last words to end?

14· ·A.· · ·Yes.

15· ·Q.· · ·And then Section 5 says, "After

16· ·500 milligrams of midazolam and a saline flush has

17· ·been dispensed, the Executioner shall signal to the

18· ·Warden and await further direction."

19· ·A.· · ·Yes.

20· ·Q.· · ·What's the purpose of this pause?

21· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

22· · · · · · · ·THE WITNESS:· After 500 milligrams

23· ·midazolam will be given, you're asking about the

24· ·pause?

25· ·///



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       229 of 352 PageID #: 227
                                                                            8871
                      www.EliteReportingServices.com                          YVer1f
·1· ·BY MR. KURSMAN:

·2· ·Q.· · ·Yeah.

·3· ·A.· · ·Speculation, other than waiting on it to work

·4· ·into the system is the only thing I can think of.

·5· ·Q.· · ·Okay.· And what happens if you see any signs

·6· ·of distress from the inmate?· What would you do at

·7· ·that point?

·8· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·9· · · · · · · ·THE WITNESS:· I've never seen any signs

10· ·of distress as of yet.· Once the midazolam is

11· ·inserted and the waiting period, that I couldn't

12· ·answer.· I've never had to be confronted with that.

13· ·BY MR. KURSMAN:

14· ·Q.· · ·Have you trained for that?

15· ·A.· · ·No.

16· ·Q.· · ·Okay.· So if you go to Section 6, it says,

17· ·"The Warden shall wait two minutes following the

18· ·administration of midazolam and the saline flush

19· ·before assessing the consciousness of the inmate."

20· · · · · Do you know why you wait two minutes?

21· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

22· · · · · · · ·THE WITNESS:· As just stated, other than

23· ·wait until it gets into his system.

24· ·BY MR. KURSMAN:

25· ·Q.· · ·But do you know who decided on two minutes



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       230 of 352 PageID #: 228
                                                                            8872
                      www.EliteReportingServices.com                          YVer1f
·1· ·rather than one or rather than ten?

·2· · · · · · · ·MR. SUTHERLAND:· Same objection.

·3· · · · · · · ·THE WITNESS:· I don't.

·4· ·BY MR. KURSMAN:

·5· ·Q.· · ·And then if you go to Section 7, do you see

·6· ·Section 7 says, "At this time, the Warden shall

·7· ·assess the consciousness of the condemned inmate" --

·8· ·A.· · ·Yes.

·9· ·Q.· · ·-- "by brushing the back of his hand" -- and

10· ·you see that what paragraph says?

11· ·A.· · ·Yes.

12· ·Q.· · ·What does it mean to you to be unconscious?

13· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

14· · · · · · · ·THE WITNESS:· Unaware.

15· ·BY MR. KURSMAN:

16· ·Q.· · ·Is there a way for an individual to be

17· ·unconscious and then regain consciousness in your

18· ·opinion?

19· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

20· · · · · · · ·THE WITNESS:· That would be yes.

21· ·BY MR. KURSMAN:

22· ·Q.· · ·Okay.· Are you aware of medical procedures

23· ·where a person is sedated but not under a deep level

24· ·of anesthesia?

25· · · · · · · ·MR. SUTHERLAND:· Objection to the form.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       231 of 352 PageID #: 229
                                                                            8873
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · · · ·THE WITNESS:· Professionally, not -- not

·2· ·really.

·3· ·BY MR. KURSMAN:

·4· ·Q.· · ·Okay.· So an example would be, like, a

·5· ·colonoscopy, let's say.· Are you aware of what a

·6· ·colonoscopy is?

·7· ·A.· · ·Yes.

·8· ·Q.· · ·Are you aware that sometimes midazolam is

·9· ·given as the drug to sedate patients during a

10· ·colonoscopy?

11· ·A.· · ·No.

12· ·Q.· · ·Okay.· Are you aware that during a

13· ·colonoscopy patients aren't under a deep level of

14· ·anesthesia?

15· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

16· · · · · · · ·THE WITNESS:· Repeat, please.

17· ·BY MR. KURSMAN:

18· ·Q.· · ·Sure.· Are you aware that during a

19· ·colonoscopy patients aren't under a deep level of

20· ·anesthesia?

21· ·A.· · ·No.

22· · · · · · · ·MR. SUTHERLAND:· Same objection.

23· ·BY MR. KURSMAN:

24· ·Q.· · ·Meaning that some stimuli, like violent

25· ·stimuli, could arouse them and wake them up,



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       232 of 352 PageID #: 230
                                                                            8874
                      www.EliteReportingServices.com                          YVer1f
·1· ·although they seem to be sleeping?

·2· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·3· · · · · · · ·THE WITNESS:· No, not aware.· I've had a

·4· ·colonoscopy and I slept like a baby.· I wasn't aware

·5· ·of my surrounding.

·6· ·BY MR. KURSMAN:

·7· ·Q.· · ·Right.· Are you aware -- are you aware that a

·8· ·colonoscopy procedure is much less intrusive than

·9· ·receiving the doses of vecuronium bromide and

10· ·potassium chloride, as called for as -- from the

11· ·protocol?

12· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

13· · · · · · · ·THE WITNESS:· I've never received

14· ·vecuronium bromide or midazolam.

15· ·BY MR. KURSMAN:

16· ·Q.· · ·Sure.· But are you aware of the pain that

17· ·those two drugs would cause if a person wasn't

18· ·insensate to pain before receiving those two drugs?

19· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

20· · · · · · · ·THE WITNESS:· Not knowing that there is

21· ·pain to be received, I don't know that.

22· ·BY MR. KURSMAN:

23· ·Q.· · ·Okay.· So you're not aware that the second

24· ·and third drugs could cause an inmate pain?

25· ·A.· · ·Not aware.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       233 of 352 PageID #: 231
                                                                            8875
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·Okay.· You said that you had received a

·2· ·colonoscopy and slept like a baby.

·3· · · · · Do you think if you received that same

·4· ·anesthetic drug for a heart surgery you would have

·5· ·slept like a baby?

·6· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·7· · · · · · · ·THE WITNESS:· Which drug are you

·8· ·referring to?

·9· ·BY MR. KURSMAN:

10· ·Q.· · ·Whatever drug you received during your

11· ·colonoscopy.

12· ·A.· · ·I don't know.· I've never been involved in

13· ·that.

14· ·Q.· · ·Okay.· And is that because you're not a

15· ·medical professional?

16· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

17· · · · · · · ·THE WITNESS:· Medical profession or ever

18· ·had to do it.

19· ·BY MR. KURSMAN:

20· ·Q.· · ·Okay.· Do you know how you can tell whether

21· ·somebody is insensate verse unresponsive?

22· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

23· · · · · · · ·THE WITNESS:· No.

24· ·BY MR. KURSMAN:

25· ·Q.· · ·Okay.· And are you aware that --



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       234 of 352 PageID #: 232
                                                                            8876
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · · · ·MR. GUNN:· Sorry.

·2· · · · · · · ·THE VIDEOGRAPHER:· I'm so sorry.· Your

·3· ·mic is rubbing against your shirt and I'm getting

·4· ·some interference.· Can I just adjust that for you

·5· ·real quick?

·6· · · · · · · ·MR. KURSMAN:· Sure.

·7· · · · · · · ·(Off the record.)

·8· · · · · · · ·THE VIDEOGRAPHER:· Continue.

·9· ·BY MR. KURSMAN:

10· ·Q.· · ·And are you able to tell whether somebody is

11· ·unresponsive but still sensate to pain?

12· · · · · · · ·MR. SUTHERLAND:· Same objection,

13· ·objection to form.

14· · · · · · · ·THE WITNESS:· No.

15· ·BY MR. KURSMAN:

16· ·Q.· · ·Do you think if somebody is sleeping that

17· ·they are unconscious?

18· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

19· · · · · · · ·THE WITNESS:· Sleeping but unconscious?

20· ·Yes.

21· ·BY MR. KURSMAN:

22· ·Q.· · ·Okay.· And can you describe in your own words

23· ·what a person who is unconscious, as defined in the

24· ·protocol, what this person would look like?

25· · · · · · · ·MR. SUTHERLAND:· Objection to the form.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       235 of 352 PageID #: 233
                                                                            8877
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · · · ·THE WITNESS:· Sleeping but unconscious

·2· ·and what that person would look like.· It's someone

·3· ·that would be unconscious, of course, because their

·4· ·eyes would be closed.· Some will have no reaction to

·5· ·anything.· Some can maybe resist noise of their

·6· ·surroundings.

·7· ·BY MR. KURSMAN:

·8· ·Q.· · ·Okay.· And in your opinion what would it take

·9· ·for that person to regain consciousness as defined

10· ·in the protocol?

11· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

12· · · · · · · ·THE WITNESS:· I have no opinion.

13· ·BY MR. KURSMAN:

14· ·Q.· · ·Okay.· But what would signal to you that the

15· ·person has regained consciousness?

16· · · · · · · ·MR. SUTHERLAND:· Same objection.

17· · · · · · · ·THE WITNESS:· Reacting to certain --

18· ·certain things.

19· ·BY MR. KURSMAN:

20· ·Q.· · ·Okay.· If there is a person who drinks too

21· ·much alcohol and is passed out, would you consider

22· ·that person unconscious?

23· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

24· · · · · · · ·THE WITNESS:· I wouldn't know.

25· ·///



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       236 of 352 PageID #: 234
                                                                            8878
                      www.EliteReportingServices.com                          YVer1f
·1· ·BY MR. KURSMAN:

·2· ·Q.· · ·Okay.· But if you -- if you called their name

·3· ·and they didn't respond, wouldn't you consider that

·4· ·person unconscious?

·5· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·6· · · · · · · ·THE WITNESS:· Wouldn't know.· I've never

·7· ·had to do it, but I would say if someone had passed

·8· ·out to the point from drinking alcohol and you

·9· ·yelled their name and did other things, such as

10· ·pinching certain areas, and if you don't get a

11· ·reaction, then I will say that they're unconscious.

12· ·BY MR. KURSMAN:

13· ·Q.· · ·Okay.· Is movement of an inmate's fingers

14· ·indicative of consciousness?

15· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

16· · · · · · · ·THE WITNESS:· No.

17· ·BY MR. KURSMAN:

18· ·Q.· · ·Okay.· So if an inmate moves their fingers,

19· ·you don't think that that would mean that they are

20· ·conscious?

21· · · · · · · ·MR. SUTHERLAND:· Same objection.

22· · · · · · · ·THE WITNESS:· No, not necessarily.

23· ·BY MR. KURSMAN:

24· ·Q.· · ·Okay.· Did you discuss that with the

25· ·physician at all?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       237 of 352 PageID #: 235
                                                                            8879
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·I did.

·2· ·Q.· · ·Whether an inmate moves their fingers?

·3· ·A.· · ·Yes.

·4· ·Q.· · ·Okay.· And what did the physician tell you?

·5· ·A.· · ·You can actually be deceased and have finger

·6· ·movement with nerves.· It doesn't mean that you're

·7· ·conscious.· That can just be your nerves reacting.

·8· ·Q.· · ·Okay.· What about if they -- if their eyes

·9· ·blinked?· Would that signal to you that they were

10· ·conscious?

11· · · · · · · ·MR. SUTHERLAND:· I'm sorry.· Can you --

12· ·you were talking about the physician, and can you

13· ·just rephrase the question?· Are you --

14· · · · · · · ·MR. KURSMAN:· Oh, I'm done with that,

15· ·the physician question.

16· · · · · · · ·MR. SUTHERLAND:· You're now back to just

17· ·asking him his --

18· · · · · · · ·MR. KURSMAN:· Yeah.

19· · · · · · · ·MR. SUTHERLAND:· Okay.· Can you just

20· ·rephrase the question?

21· · · · · · · ·MR. KURSMAN:· Sure.

22· ·BY MR. KURSMAN:

23· ·Q.· · ·So what if an inmate's eyes blink, would that

24· ·signal to you that the inmate was conscious?

25· · · · · · · ·MR. SUTHERLAND:· Objection to the form.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       238 of 352 PageID #: 236
                                                                            8880
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · · · ·THE WITNESS:· It could.

·2· ·BY MR. KURSMAN:

·3· ·Q.· · ·But would it be a definitive signal of

·4· ·consciousness?

·5· · · · · · · ·MR. SUTHERLAND:· Same objection.

·6· · · · · · · ·THE WITNESS:· Not necessarily.

·7· ·BY MR. KURSMAN:

·8· ·Q.· · ·What if an inmate opened their mouth --

·9· · · · · · · ·MR. SUTHERLAND:· Same objection.

10· ·BY MR. KURSMAN:

11· ·Q.· · ·-- after you called their name but didn't say

12· ·anything?· Would that signal to you that they were

13· ·still conscious?

14· ·A.· · ·Not necessarily.

15· ·Q.· · ·Okay.· So what would indicate to you, after

16· ·you performed the consciousness test, that an inmate

17· ·was still conscious?

18· ·A.· · ·By them reacting to the things that I have

19· ·done and to watch for some form of reaction when I

20· ·do the things that I do.· That may be an indication.

21· ·Q.· · ·Okay.· So let's say their response is

22· ·nonresponsive to what you do.· So you call their

23· ·name, you rub their eye, you pinch their shoulder,

24· ·and instead of reacting to any of that, they turn

25· ·their head to the side.· Would you think the inmate



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       239 of 352 PageID #: 237
                                                                            8881
                      www.EliteReportingServices.com                          YVer1f
·1· ·was conscious at that point?

·2· · · · · · · ·MR. SUTHERLAND:· Object to the form.

·3· · · · · · · ·THE WITNESS:· Not necessarily.

·4· ·BY MR. KURSMAN:

·5· ·Q.· · ·Okay.· What if they made sounds out of their

·6· ·mouth?· Would you think the inmate was conscious?

·7· · · · · · · ·MR. SUTHERLAND:· Same objection.

·8· · · · · · · ·THE WITNESS:· Not necessarily.

·9· ·BY MR. KURSMAN:

10· ·Q.· · ·What if they kicked their legs, or at least

11· ·attempted to kick their legs, because they're

12· ·strapped in?

13· · · · · · · ·MR. SUTHERLAND:· Same objection.

14· · · · · · · ·THE WITNESS:· Not necessarily.· Could be

15· ·a nervous reaction.

16· ·BY MR. KURSMAN:

17· ·Q.· · ·What if they said a word out loud --

18· · · · · · · ·MR. SUTHERLAND:· Same objection.

19· ·BY MR. KURSMAN:

20· ·Q.· · ·-- unresponsive to your calling their name or

21· ·grabbing -- or grabbing them?

22· ·A.· · ·Said a word?

23· ·Q.· · ·Just any word.· Dog.

24· ·A.· · ·Then I would say that they were probably

25· ·unconscious.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       240 of 352 PageID #: 238
                                                                            8882
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·Unconscious.· Okay.

·2· ·A.· · ·I mean conscious.

·3· ·Q.· · ·Oh, conscious.

·4· ·A.· · ·Conscious.

·5· ·Q.· · ·Okay.· Okay.· And what if they squeezed their

·6· ·fists, if they could?

·7· ·A.· · ·Could be nerves.· That doesn't mean they're

·8· ·conscious.

·9· ·Q.· · ·Okay.· So at that point would you tell the

10· ·executioner to proceed?

11· · · · · · · ·MR. SUTHERLAND:· I'm sorry.· At what

12· ·point, Alex?

13· · · · · · · ·MR. KURSMAN:· At these points of

14· ·determining consciousness.

15· · · · · · · ·MR. SUTHERLAND:· All these?

16· · · · · · · ·MR. KURSMAN:· Yeah, each one, aside from

17· ·the dog example that we said.

18· · · · · · · ·MR. SUTHERLAND:· I'll object to the

19· ·form.

20· · · · · · · ·THE WITNESS:· If they reacted, once I

21· ·performed the things that I did at the time I did

22· ·them, I would probably just say yes, that they're

23· ·conscious.· But after I did them and didn't observe

24· ·any signs, then I would probably say that they're

25· ·unconscious.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       241 of 352 PageID #: 239
                                                                            8883
                      www.EliteReportingServices.com                          YVer1f
·1· ·BY MR. KURSMAN:

·2· ·Q.· · ·Okay.· But my question is after you do your

·3· ·three things --

·4· ·A.· · ·Uh-huh.

·5· ·Q.· · ·-- if the inmate then blinks their eyes but

·6· ·nothing else, would you tell the executioner he can

·7· ·proceed?

·8· ·A.· · ·I never have experienced that.· It would just

·9· ·depend on what I see.

10· ·Q.· · ·Okay.· What if the inmate -- after you do

11· ·your three tests, if the inmate moves his fingers?

12· ·Would you tell the executioner he can proceed?

13· ·A.· · ·Probably.

14· ·Q.· · ·Okay.· And what about if the inmate's legs

15· ·start moving after you do your three things?· Would

16· ·you tell the executioner he can proceed?

17· ·A.· · ·I guess I would have to ask the question -- I

18· ·know I'm not the one asking the questions.· How much

19· ·time in between the conclusion of the consciousness

20· ·check and this person doing whatever reaction you're

21· ·describing?

22· ·Q.· · ·Sure.· Maybe a minute.· I'm saying if it's

23· ·not in response to the consciousness check.

24· ·A.· · ·If it's a minute --

25· ·Q.· · ·Yep.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       242 of 352 PageID #: 240
                                                                            8884
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·-- after I have concluded consciousness

·2· ·check?

·3· ·Q.· · ·Yeah.

·4· ·A.· · ·I would say it's too late anyway.

·5· ·Q.· · ·Okay.· What if it's just some point between

·6· ·the consciousness check and your scheduled timing to

·7· ·tell the executioner to proceed?· So it's 15 seconds

·8· ·after, if the inmate starts tapping his fingers or

·9· ·moving his fingers?

10· ·A.· · ·Step back.· Signal is given then.· I don't

11· ·know when the executioner begin to push.· It'd just

12· ·depend on how much I saw.· Movement of fingers could

13· ·be nerves as well.

14· ·Q.· · ·Okay.· And what criteria do you rely on to

15· ·determine whether the inmate is conscious or not?

16· · · · · · · ·MR. SUTHERLAND:· Object to the form.

17· · · · · · · ·THE WITNESS:· The criteria that the

18· ·protocol spells out that I have to carry out

19· ·describing conscious check.

20· ·BY MR. KURSMAN:

21· ·Q.· · ·Right.· But what I mean is -- and sorry, I'm

22· ·asking the question inartfully.· If you do the

23· ·consciousness check and the inmate doesn't respond

24· ·at all, let's say, aside from leg movements, how do

25· ·you know whether to declare the inmate conscious or



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       243 of 352 PageID #: 241
                                                                            8885
                      www.EliteReportingServices.com                          YVer1f
·1· ·unconscious?

·2· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·3· · · · · · · ·THE WITNESS:· If he responds to what I

·4· ·do, I will take him as being conscious.

·5· ·BY MR. KURSMAN:

·6· ·Q.· · ·Uh-huh.

·7· ·A.· · ·If he don't respond at the time that I do the

·8· ·things that I do, I will determine him to be

·9· ·unconsciousness.

10· ·Q.· · ·Okay.· Just so I'm clear, I just want to --

11· ·so if he doesn't respond to the consciousness check

12· ·but then later makes some sort of movement, you

13· ·would declare him unconscious because he didn't

14· ·respond to the consciousness check?

15· · · · · · · ·MR. SUTHERLAND:· I'm going to object to

16· ·the form.

17· · · · · · · ·THE WITNESS:· Yes.

18· ·BY MR. KURSMAN:

19· ·Q.· · ·Okay.· And then do you see in paragraph 7 it

20· ·also says, "Observation shall be documented"?· We're

21· ·still on 7:10, page 66 of Exhibit 1.

22· ·A.· · ·Midway the paragraph?

23· ·Q.· · ·Yep.

24· ·A.· · ·Yes.

25· ·Q.· · ·Who documents your observation?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       244 of 352 PageID #: 242
                                                                            8886
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · · · ·MR. SUTHERLAND:· Don't name any names.

·2· · · · · · · ·THE WITNESS:· Recorders.

·3· ·BY MR. KURSMAN:

·4· ·Q.· · ·Recorders?

·5· ·A.· · ·Uh-huh.

·6· ·Q.· · ·Are they the same individuals as the

·7· ·executioner's assistants?

·8· ·A.· · ·No.· It's multiple ones.

·9· ·Q.· · ·Where are the recorders during a time that

10· ·you're performing the consciousness check?

11· ·A.· · ·I stated earlier, of course, they're in their

12· ·room with the executioner and I stated earlier when

13· ·we were going through the diagram that, back in the

14· ·video/audio room, recorders is in there as well

15· ·watching on monitors.

16· ·Q.· · ·Okay.· And I apologize, I --

17· ·A.· · ·That's fine.

18· ·Q.· · ·And do you know who wrote this language in

19· ·the protocol?

20· · · · · · · ·MR. SUTHERLAND:· Don't name any names.

21· ·BY MR. KURSMAN:

22· ·Q.· · ·Without naming any names, this entire

23· ·procedure at 7:10 p.m.?

24· ·A.· · ·No.

25· ·Q.· · ·Okay.· And do you know why it's not the



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       245 of 352 PageID #: 243
                                                                            8887
                      www.EliteReportingServices.com                          YVer1f
·1· ·physician who checks the inmate for consciousness?

·2· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·3· · · · · · · ·THE WITNESS:· I do not know.

·4· ·BY MR. KURSMAN:

·5· ·Q.· · ·Okay.· Could you give the physician that

·6· ·role?

·7· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·8· ·BY MR. KURSMAN:

·9· ·Q.· · ·Do you have that power to do that?

10· · · · · · · ·MR. SUTHERLAND:· Same objection.

11· · · · · · · ·THE WITNESS:· No.

12· ·BY MR. KURSMAN:

13· ·Q.· · ·Who does?

14· ·A.· · ·That I don't know.

15· ·Q.· · ·And if there's a problem with the execution,

16· ·who directs that the execution stop?

17· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

18· · · · · · · ·THE WITNESS:· As we discussed earlier as

19· ·well, it depend on what point you're speaking about

20· ·stop.

21· ·BY MR. KURSMAN:

22· ·Q.· · ·So let's say the midazolam was injected, the

23· ·inmate is declared unconscious, and as the

24· ·executioner begins pushing the second drugs, the

25· ·inmate's eyes open.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       246 of 352 PageID #: 244
                                                                            8888
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·(Pause)· I would say -- once he begins to

·2· ·push the second drug, you said, and his eyes open?

·3· ·Q.· · ·Uh-huh.

·4· ·A.· · ·Probably wouldn't stop.

·5· ·Q.· · ·The execution would just proceed?

·6· ·A.· · ·It probably could be -- that doesn't mean

·7· ·that he's conscious because his eyes come open.

·8· ·Q.· · ·Okay.· And what if the midazolam has been

·9· ·injected, the vecuronium bromide begins to be

10· ·injected, and the inmate yells, "Help"?

11· · · · · · · ·MR. SUTHERLAND:· What's the question?

12· ·I'm sorry.

13· ·BY MR. KURSMAN:

14· ·Q.· · ·The question is who stops the execution at

15· ·that point?· If anybody does stop the execution.

16· · · · · · · ·MR. SUTHERLAND:· Object to the form of

17· ·the question.

18· · · · · · · ·THE WITNESS:· If an inmate hollers

19· ·"Help" once midazolam was inserted and they begin to

20· ·push the vecuronium bromide and he yells "Help,"

21· ·then I would think that he is conscious.

22· ·BY MR. KURSMAN:

23· ·Q.· · ·And who -- my question is who directs that

24· ·the execution would stop at that point, if anybody?

25· ·Because maybe nobody does, so the first question I



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       247 of 352 PageID #: 245
                                                                            8889
                      www.EliteReportingServices.com                          YVer1f
·1· ·think should be would the execution be called off at

·2· ·that point?

·3· ·A.· · ·Well, it wouldn't be called off.· We may --

·4· ·that I wouldn't know.· We've never had to do that.

·5· ·I understand what you're getting, but that person

·6· ·probably would be me.

·7· ·Q.· · ·Okay.· But you don't know if it would be you?

·8· ·A.· · ·I don't know.

·9· ·Q.· · ·Okay.· Then if we go to Section 16, it says,

10· ·"The lethal injection recorder completes the Lethal

11· ·Injection Execution Recorder Checklist."

12· · · · · And just for the record, that's on page 67

13· ·of Exhibit 1.· Do you see that?

14· ·A.· · ·I do.

15· ·Q.· · ·Do you ever read that checklist?

16· ·A.· · ·I do.

17· ·Q.· · ·When is the last time you reviewed a lethal

18· ·injection recorder checklist?

19· ·A.· · ·The last time we rehearsed.

20· ·Q.· · ·Okay.· And why do you do that?

21· ·A.· · ·To make sure that everything is in order and

22· ·all lines is filled completely the way that it's

23· ·supposed to be, nothing's been ignored.

24· ·Q.· · ·And when you're looking at that checklist, do

25· ·you look to see what time the drugs are mixed?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       248 of 352 PageID #: 246
                                                                            8890
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·It's a checklist with times and everything,

·2· ·so if I look at times, yes, of course, I see on

·3· ·there what time they're mixed.

·4· ·Q.· · ·Do you know why some drugs are mixed later

·5· ·than other drugs?

·6· · · · · · · ·MR. SUTHERLAND:· Are you talking about

·7· ·rehearsal or --

·8· · · · · · · ·MR. KURSMAN:· I'm talking about actual

·9· ·executions.

10· · · · · · · ·MR. SUTHERLAND:· Okay.

11· · · · · · · ·THE WITNESS:· Actual execution, first

12· ·set, second set?

13· ·BY MR. KURSMAN:

14· ·Q.· · ·No.· And we'll get to it, but what I'm

15· ·talking about is why is midazolam mixed much later

16· ·than the other two drugs?· Do you know why that

17· ·happens?

18· ·A.· · ·No.

19· ·Q.· · ·Okay.· Let's go to page 69 on Exhibit 1.· And

20· ·you see it says, "Contingency Issues"?

21· ·A.· · ·Yes.

22· ·Q.· · ·And then it lists a few of the contingency

23· ·issues, the three.· Do you see that?

24· ·A.· · ·Yes.

25· ·Q.· · ·Are the contingency issues listed on this



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       249 of 352 PageID #: 247
                                                                            8891
                      www.EliteReportingServices.com                          YVer1f
·1· ·page the only issues that you have trained for?

·2· ·A.· · ·(Reviewing)· Other than what should happen if

·3· ·I receive a phone call before we begin the

·4· ·procedure, there's a contingency.

·5· ·Q.· · ·Okay.· And that phone call would be what?

·6· ·A.· · ·That phone call would be from the

·7· ·commissioner telling me to halt/cease or whatever.

·8· ·Q.· · ·Okay.· And I'm sorry.· I should have asked

·9· ·this first:· Have you trained for these three

10· ·contingency issues?

11· ·A.· · ·Yes.

12· ·Q.· · ·Okay.· And the only other contingency issue

13· ·you've trained for is if you get the phone call from

14· ·the commissioner, I think you said, right?

15· ·A.· · ·Yes.

16· ·Q.· · ·Okay.· So do you see, under "Interruptions of

17· ·the delivery of lethal injection drugs" --

18· ·A.· · ·Uh-huh.

19· ·Q.· · ·-- and then it --

20· ·A.· · ·Yes.

21· ·Q.· · ·-- calls for what to do if that happens?

22· ·A.· · ·Yes.

23· ·Q.· · ·Do you know why you would do that, why you

24· ·would switch to the secondary IV line?

25· ·A.· · ·That would mean that the individual is



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       250 of 352 PageID #: 248
                                                                            8892
                      www.EliteReportingServices.com                          YVer1f
·1· ·unconscious.

·2· ·Q.· · ·So if you have -- if the inmate is exhibiting

·3· ·signs of consciousness following the first set, and

·4· ·then it says to administer the second set -- do you

·5· ·see that?

·6· ·A.· · ·When you're speaking of "set" are you

·7· ·speaking in whole or a certain drug in that set?

·8· ·Q.· · ·I mean whole.· So now you're going from red

·9· ·to blue.

10· ·A.· · ·Midazolam given in the first set, individual

11· ·still showing signs of unconscious, switch to the

12· ·second set, midazolam, not the first set of the two

13· ·drugs.· So it's not the whole set, it's the

14· ·midazolam.

15· ·Q.· · ·Right.· That's what -- I apologize.· That's

16· ·what I'm talking about, the midazolam sets --

17· ·A.· · ·That's the whole set.

18· ·Q.· · ·-- the red and blue set.

19· ·A.· · ·Yeah, midazolam.

20· ·Q.· · ·Right.· Sorry about that.· So my question is

21· ·do you know how much total midazolam would be

22· ·injected into an inmate at that point if you

23· ·injected them with both the red and blue sets?

24· ·A.· · ·It's -- protocol spells it out how much it

25· ·is.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       251 of 352 PageID #: 249
                                                                            8893
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·And do you know what the effects of that

·2· ·quantity of midazolam are on a human body?

·3· ·A.· · ·I'm sorry?

·4· ·Q.· · ·Do you know what the effects of that quantity

·5· ·of midazolam are on a human body?

·6· ·A.· · ·No.

·7· ·Q.· · ·Okay.· And I think we talked about this

·8· ·before, but what happens if the prisoner is still

·9· ·conscious after the second set, the blue set of

10· ·midazolam, is administered?

11· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

12· · · · · · · ·THE WITNESS:· As stated before, a call

13· ·on my behalf would be to close blinds and curtains,

14· ·consult with the doctor, and notify commissioner.

15· ·BY MR. KURSMAN:

16· ·Q.· · ·Would you call off the execution?

17· ·A.· · ·Commissioner the only one who can do that.

18· ·Q.· · ·Okay.· And would you advise him to call off

19· ·the execution at that point?

20· ·A.· · ·I don't advise him, he advises me.

21· ·Q.· · ·Okay.· He does not ask for your advice on

22· ·decisions?

23· ·A.· · ·We have never had to discuss that.

24· ·Q.· · ·If he advised you to proceed with the second

25· ·drug, would you do it?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       252 of 352 PageID #: 250
                                                                            8894
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·Second drug of...?

·2· ·Q.· · ·So if the inmate received two sets of

·3· ·midazolam, the red and the blue --

·4· ·A.· · ·Yes.

·5· ·Q.· · ·-- and was still conscious --

·6· ·A.· · ·Yes.

·7· ·Q.· · ·-- and you called the warden and the warden

·8· ·said --

·9· ·A.· · ·If I called the commissioner.

10· ·Q.· · ·Commissioner, I apologize.· And you called

11· ·the commissioner, and the commissioner said, "Please

12· ·proceed with the execution," would you --

13· · · · · · · ·MR. SUTHERLAND:· Object to the form.

14· ·BY MR. KURSMAN:

15· ·Q.· · ·-- would you tell the executioner to proceed?

16· ·A.· · ·Yes.

17· ·Q.· · ·Okay.· Let's go to Exhibit 41.

18· · · · · · · ·(WHEREUPON, the above-mentioned

19· ·document was presented, previously marked as

20· ·Exhibit Number 41.)

21· ·BY MR. KURSMAN:

22· ·Q.· · ·Let me know when you get there.

23· ·A.· · ·There.

24· ·Q.· · ·Okay.· And you see this is logs dated

25· ·September 7, 2018?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       253 of 352 PageID #: 251
                                                                            8895
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·Yes.

·2· ·Q.· · ·Okay.· Is this your handwriting right here?

·3· ·A.· · ·Yes, it is.

·4· ·Q.· · ·Okay.· And are these the lethal injection

·5· ·logs that we were discussing before?

·6· ·A.· · ·Logs or inventory lists?

·7· ·Q.· · ·Inventory list if that's what you call them.

·8· ·Is that what this is, the inventory list?

·9· ·A.· · ·Yes.

10· ·Q.· · ·Okay.· So let's start at -- do you see

11· ·potassium chloride second from the bottom -- I mean,

12· ·second from the top.· I apologize.

13· ·A.· · ·Yes.

14· ·Q.· · ·And it says 88 vials?

15· ·A.· · ·Yes.

16· ·Q.· · ·And it says, "Expire 6/1/2018."· Do you see

17· ·that?

18· ·A.· · ·50 vials?

19· ·Q.· · ·Yes.

20· ·A.· · ·Yes.

21· ·Q.· · ·Okay.· Why it wasn't discarded by

22· ·September 7th, 2018?

23· ·A.· · ·Who said that it wasn't?

24· ·Q.· · ·Well, this is an inventory list, right?

25· ·A.· · ·Uh-huh.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       254 of 352 PageID #: 252
                                                                            8896
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·Okay.· So my understanding of the inventory

·2· ·list was these are the drugs that you have on hand

·3· ·September 7, 2018.· Am I right?

·4· ·A.· · ·No.

·5· ·Q.· · ·Okay.· So can you explain to me what exactly

·6· ·this means, then, by potassium chloride, 50 vials

·7· ·expires 6/1/2018?

·8· ·A.· · ·That is the expiration date for 50 vials of

·9· ·potassium chloride.

10· ·Q.· · ·And where was these 50 vials on

11· ·September 7th, 2018, at the time you created this

12· ·log?

13· ·A.· · ·They were stored in the armory.

14· ·Q.· · ·Okay.· So my question to you is why weren't

15· ·these 50 vials discarded?

16· ·A.· · ·As stated earlier, just because the date is

17· ·September and this is June, that doesn't mean we

18· ·discarded it in June.· I explained that earlier,

19· ·that just because six -- three months have went by

20· ·and it's still there, that doesn't mean you have to

21· ·discard just because it's expired.· We eventually

22· ·got around to doing it.

23· ·Q.· · ·Right.· So my question only is why wasn't it

24· ·discarded?

25· ·A.· · ·No explanation.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       255 of 352 PageID #: 253
                                                                            8897
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·Okay.· Who decided that you could deviate

·2· ·from the protocol by not discarding them when they

·3· ·were expired?

·4· ·A.· · ·As stated earlier, that was a joint decision

·5· ·between me and the designee.

·6· ·Q.· · ·Okay.· And how did you and the designee come

·7· ·to that decision?

·8· ·A.· · ·We just said we will discard it the next time

·9· ·we inventory or we'll discard it eventually.· No

10· ·reason.

11· ·Q.· · ·Okay.· And then if you go down one you have

12· ·midazolam 280 vials expires 6/1/2018.· Do you see

13· ·that?

14· ·A.· · ·I do.

15· ·Q.· · ·So at this point the midazolam that expired

16· ·on June 1st, 2018 still wasn't discarded, right?

17· ·A.· · ·According to this inventory ledger.

18· ·Q.· · ·Okay.· And this inventory ledger is your

19· ·handwriting, right?

20· ·A.· · ·That is correct.

21· ·Q.· · ·Okay.· And is it accurate?

22· ·A.· · ·I would hope that it is.

23· ·Q.· · ·Okay.· So why wasn't the midazolam that was

24· ·expired June 1st, 2018 discarded at this time?

25· ·A.· · ·The midazolam, potassium chloride, as I



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       256 of 352 PageID #: 254
                                                                            8898
                      www.EliteReportingServices.com                          YVer1f
·1· ·stated earlier, it just wasn't.

·2· ·Q.· · ·Okay.· And who decided for the midazolam that

·3· ·you could deviate from the protocol that requires

·4· ·expired drugs to be discarded?

·5· ·A.· · ·I repeat, myself and the designee.

·6· ·Q.· · ·Okay.· And did you consult with anybody in

·7· ·determining that you could deviate from the

·8· ·protocol?

·9· ·A.· · ·I consulted with the designee and we came

10· ·with a joint decision.

11· ·Q.· · ·Okay.· And the -- let's go down to midazolam

12· ·at the bottom.· It says four vials expires

13· ·7/26/2018.· Do you see that?

14· ·A.· · ·I do.· Yes.

15· ·Q.· · ·Okay.· And then above it do you see it says

16· ·40 days, on the right side?

17· ·A.· · ·It says 40 who?

18· ·Q.· · ·Forty days.

19· ·A.· · ·I don't know what that -- I see a 40.               I

20· ·don't know if that's "days" or not.

21· ·Q.· · ·Okay.· If it does say 40 days, do you know

22· ·what that would mean?

23· ·A.· · ·I do not.

24· ·Q.· · ·Okay.· Do you know why the midazolam wasn't

25· ·discarded at this point?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       257 of 352 PageID #: 255
                                                                            8899
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·Do not.

·2· · · · · · · ·(WHEREUPON, the above-mentioned

·3· ·document was presented, previously marked as

·4· ·Exhibit Number 42.)

·5· ·BY MR. KURSMAN:

·6· ·Q.· · ·Okay.· Let's go to Exhibit 42.· And let's go

·7· ·to page 2 of that exhibit.

·8· · · · · And do you see, on page 2, at 10/30/2018, do

·9· ·you see that at the very top?· It says --

10· · · · · · · ·MR. SUTHERLAND:· I'm sorry, Alex, page 2

11· ·of 42?

12· · · · · · · ·MR. KURSMAN:· That was my problem.                I

13· ·went way past.

14· ·BY MR. KURSMAN:

15· ·Q.· · ·So let's go back to page 2.· I'm sorry about

16· ·that.

17· · · · · · · ·MR. SUTHERLAND:· Of 42?

18· · · · · · · ·MR. KURSMAN:· Of 42.

19· · · · · · · ·MR. SUTHERLAND:· Okay.

20· ·BY MR. KURSMAN:

21· ·Q.· · ·And do you see 7/27/2018, it says,

22· ·"Midazolam, 50 milligrams per milliliter"?· Do you

23· ·say that compounded at the very top?

24· ·A.· · ·Yes.

25· ·Q.· · ·Okay.· Is this your handwriting also?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       258 of 352 PageID #: 256
                                                                            8900
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·Looks like my handwriting.

·2· ·Q.· · ·Okay.· And do you see it says, "In freezer, 4

·3· ·degrees"?

·4· ·A.· · ·Yes.

·5· ·Q.· · ·And then if you go down a bit to 8/8/2018.

·6· ·A.· · ·Yes.

·7· ·Q.· · ·Okay.· And do you see it says freezer

·8· ·temperature next to 1:30 p.m. from 5 degrees to 48

·9· ·degrees?

10· ·A.· · ·Yes.

11· ·Q.· · ·Do you know why the temperature in the

12· ·freezer changed from 7/27 to 8/8?

13· ·A.· · ·7/27, 4 degrees; 8/8, 1:30, 5 to 48.· It

14· ·appears that the midazolam had been moved from the

15· ·freezer down to the refrigerator.

16· ·Q.· · ·Right.· My question, though, is just a bit

17· ·different, which is do you know why the freezer

18· ·temperature changed from 4 degrees to 5 degrees?

19· ·A.· · ·One temp?

20· ·Q.· · ·1 degree.

21· ·A.· · ·I do not.

22· ·Q.· · ·Okay.· And then you see it says the

23· ·refrigerator is at 48 degrees?

24· ·A.· · ·Yes.

25· ·Q.· · ·Okay.· Is that also your handwriting?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       259 of 352 PageID #: 257
                                                                            8901
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·Yes.

·2· ·Q.· · ·Who determined that the temperature of the

·3· ·refrigerator should be 48 degrees?

·4· · · · · · · ·MR. SUTHERLAND:· Don't identify an

·5· ·individual by name.

·6· · · · · · · ·Object to the form.

·7· · · · · · · ·THE WITNESS:· Determined that it's at

·8· ·48?· If it's stored according to pharmacy

·9· ·prescribing and has to be kept, I would say it was

10· ·within the guidelines of the temp.

11· ·BY MR. KURSMAN:

12· ·Q.· · ·And did you ask the pharmacist what

13· ·temperature the refrigerator should be?

14· ·A.· · ·No.

15· ·Q.· · ·Okay.· Do you know if anybody did?

16· ·A.· · ·I don't know.

17· ·Q.· · ·Okay.· Let's go to the next page.· And you

18· ·see it says 10/10/18 on the left side?

19· ·A.· · ·Yes.

20· ·Q.· · ·Do you see that the freezer is now at

21· ·1 degree?

22· ·A.· · ·Yes.

23· ·Q.· · ·And the refrigerator is at 44 degrees?

24· ·A.· · ·Yes.

25· ·Q.· · ·Okay.· Did anyone keep track of this



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       260 of 352 PageID #: 258
                                                                            8902
                      www.EliteReportingServices.com                          YVer1f
·1· ·temperature change?

·2· · · · · · · ·MR. SUTHERLAND:· Object to the form.

·3· · · · · · · ·THE WITNESS:· Because it was 1 degree?

·4· ·BY MR. KURSMAN:

·5· ·Q.· · ·Do you know why the temperature changed?

·6· ·A.· · ·No.

·7· ·Q.· · ·Now let's go two pages over.· There should be

·8· ·a -- and you see it's 10/31/18 on the left side?

·9· ·A.· · ·Yes.

10· ·Q.· · ·And it says, "Remove four vials of

11· ·midazolam"?

12· ·A.· · ·Yes.

13· ·Q.· · ·Is that your handwriting?

14· ·A.· · ·Yes.

15· ·Q.· · ·Is there a reason that the temperature isn't

16· ·noted at this point?

17· ·A.· · ·(Reviewing)· Hoping that it wasn't redacted.

18· ·The right-hand line box looks pretty thick.· I -- I

19· ·just don't know why it's not there.

20· · · · · · · ·MR. KURSMAN:· Okay.· To the extent that

21· ·counsel for defendants have redacted the temperature

22· ·of log -- the temperatures on log 42, and that would

23· ·be Defendants' Initial Disclosure 838, we'd request

24· ·an unredacted copy of that.

25· · · · · · · ·MR. SUTHERLAND:· Noted.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       261 of 352 PageID #: 259
                                                                            8903
                      www.EliteReportingServices.com                          YVer1f
·1· ·BY MR. KURSMAN:

·2· ·Q.· · ·Let's go to the next page.· And you'll see

·3· ·it's Defendants' Initial Disclosure 839.· And on the

·4· ·left-hand side it says 11/20/2018?

·5· ·A.· · ·Yes.

·6· ·Q.· · ·Is this your handwriting also?

·7· ·A.· · ·Yes.

·8· ·Q.· · ·Okay.· Now, here it says freezer temperature

·9· ·is 7 degrees.

10· · · · · · · ·MR. SUTHERLAND:· I'm sorry, Alex, can

11· ·you --

12· · · · · · · ·MR. KURSMAN:· Sure.· It's Defendants'

13· ·Initial Disclosure 839, still on Exhibit 42.

14· · · · · · · ·MR. SUTHERLAND:· Okay.· Gotcha.

15· ·BY MR. KURSMAN:

16· ·Q.· · ·Do you see it says, "Freezer temperature

17· ·7 degrees"?

18· ·A.· · ·Yes.

19· ·Q.· · ·Do you know why the freezer was 7 degrees on

20· ·this day?

21· ·A.· · ·Do not.

22· ·Q.· · ·And do you know why it rose in temperature

23· ·from 6 degrees only a month earlier?

24· ·A.· · ·Do not.

25· ·Q.· · ·Okay.· Did anybody discuss getting a new



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       262 of 352 PageID #: 260
                                                                            8904
                      www.EliteReportingServices.com                          YVer1f
·1· ·freezer or refrigerator?

·2· ·A.· · ·Not to my knowledge.

·3· ·Q.· · ·Okay.· Is there an interior temperature gauge

·4· ·on the fridge or freezer aside from the thermometer?

·5· ·Meaning is it an electronic fridge that you can set

·6· ·the temperature, or do you just put it on cold?

·7· ·A.· · ·I'm not sure.· It's probably you just put it

·8· ·on cold.

·9· · · · · · · ·(WHEREUPON, the above-mentioned

10· ·document was presented, previously marked as

11· ·Exhibit Number 43.)

12· ·BY MR. KURSMAN:

13· ·Q.· · ·Okay.· Now let's go to Exhibit 43.· Do you

14· ·see at the top it says February 11, 2020?

15· ·A.· · ·Yes.

16· ·Q.· · ·And then it says, "Received midazolam," and

17· ·then it says, "8 to 10 milliliter vials."

18· · · · · Do you see that?

19· ·A.· · ·Yes.

20· ·Q.· · ·8 by 10 milliliter vials?

21· ·A.· · ·Yes.

22· ·Q.· · ·Doesn't that conflict with the pharmacist's

23· ·instructions to have 10 milliliter vials?

24· ·A.· · ·Wouldn't know that.

25· ·Q.· · ·Okay.· Well, why don't we go to Exhibit 2.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       263 of 352 PageID #: 261
                                                                            8905
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · And do you see in Exhibit 2 under "Items you

·2· ·will need," No. 1 it says, "Four 5 milliliter

·3· ·midazolam 50 milligram per milliliter vials"?

·4· ·A.· · ·I do see that.

·5· ·Q.· · ·You see that?· Is there a reason that the

·6· ·instructions call for 5 milliliter vials but on the

·7· ·log it has 10 milliliter vials?

·8· ·A.· · ·Wouldn't know that.

·9· ·Q.· · ·Okay.· Did you write this down?

10· ·A.· · ·I did -- no, I didn't write that down, I'm

11· ·sorry.

12· ·Q.· · ·Okay.· Who wrote this?· Who wrote this down?

13· ·A.· · ·That's not my handwriting.

14· ·Q.· · ·Do you know who wrote this down?

15· ·A.· · ·I would say the designee.

16· ·Q.· · ·Okay.· And after the designee records logs,

17· ·do you double check those logs to make sure they're

18· ·accurate?

19· ·A.· · ·I do.

20· ·Q.· · ·Okay.· Now, if we could turn to -- well, let

21· ·me ask you this.· Were you the warden when Donnie

22· ·Johnson was executed?

23· ·A.· · ·Yes, I was.

24· ·Q.· · ·Okay.· And do you remember how long the

25· ·execution took?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       264 of 352 PageID #: 262
                                                                            8906
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·Not to the minute, I do not.

·2· ·Q.· · ·Okay.· What would you guess?

·3· · · · · · · ·MR. SUTHERLAND:· Object to the form.

·4· · · · · · · ·THE WITNESS:· What period of time are

·5· ·you talking?· From beginning of the -- what period

·6· ·of time were you talking?· From the time we

·7· ·assembled to the end?· Or the time that chemicals

·8· ·began to be administered to the time it was

·9· ·pronounced?· Or what period of time are you

10· ·referring to?

11· ·BY MR. KURSMAN:

12· ·Q.· · ·Well, let's go to, to make it easier --

13· ·because I don't want to trick you.· This isn't,

14· ·like, a trick.· Let's go to Exhibit 63.

15· · · · · · · ·(WHEREUPON, the above-mentioned

16· ·document was presented, previously marked as

17· ·Exhibit Number 63.)

18· · · · · · · ·THE WITNESS:· Okay, I'm there.

19· ·BY MR. KURSMAN:

20· ·Q.· · ·Okay.· And do you see on page 92, which would

21· ·be page 2 of the execution procedure --

22· ·A.· · ·Yes.

23· ·Q.· · ·-- at 1919, "Warden orders Execution Team to

24· ·proceed"?· And then at 1935, "Lethal Injection

25· ·process completed"?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       265 of 352 PageID #: 263
                                                                            8907
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·Yes, I see both of those.

·2· ·Q.· · ·So would that be a total of 16 minutes?· Does

·3· ·that sound about right?

·4· ·A.· · ·About right.

·5· ·Q.· · ·Okay.· And are you the person who declared

·6· ·Donnie Johnson unconscious?

·7· ·A.· · ·Yes.

·8· ·Q.· · ·And what did you observe during the

·9· ·execution?

10· · · · · · · ·MR. SUTHERLAND:· Object to the form.

11· · · · · · · ·THE WITNESS:· From which point?

12· ·BY MR. KURSMAN:

13· ·Q.· · ·From the point that you ordered the execution

14· ·to proceed to the point that the blinds and curtains

15· ·were closed.

16· ·A.· · ·From the time that I ordered for it to

17· ·proceed?· And that's beginning to push the first

18· ·vial of midazolam?

19· ·Q.· · ·That's right.

20· ·A.· · ·To the time we closed the curtains?

21· ·Q.· · ·That's right.

22· ·A.· · ·Okay.· Once the signal was given to proceed

23· ·with pushing of the first vial of midazolam,

24· ·Mr. Johnson was just laying there.· Mr. Johnson

25· ·starts speaking words, biblical verses.· He asked me



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       266 of 352 PageID #: 264
                                                                            8908
                      www.EliteReportingServices.com                          YVer1f
·1· ·as the warden if he could sing.· And I said, "Sing

·2· ·away."

·3· · · · · And he began singing, sung a beat of a song,

·4· ·sung a piece of another song.· And I would describe

·5· ·him as just sung until he went to sleep.

·6· ·Q.· · ·And did he sing while the midazolam was being

·7· ·pushed?

·8· · · · · · · ·MR. SUTHERLAND:· Object to the form.

·9· · · · · · · ·THE WITNESS:· Yes, he was.

10· ·BY MR. KURSMAN:

11· ·Q.· · ·And did you notice Mr. Johnson's fingers

12· ·moving after the midazolam was pushed?

13· · · · · · · ·MR. SUTHERLAND:· Object to the form.

14· · · · · · · ·THE WITNESS:· Best of my recollection.

15· ·I wasn't -- I was mostly focusing on his facial

16· ·features because he was singing.

17· ·BY MR. KURSMAN:

18· ·Q.· · ·How about when you checked for consciousness?

19· ·A.· · ·I did not notice any finger movement.

20· ·Q.· · ·Did you look at his fingers while you were

21· ·checking for consciousness?

22· ·A.· · ·I can't say that I did or didn't.

23· ·Q.· · ·Okay.· Is that part of the consciousness

24· ·check, to look at an inmate's fingers?

25· ·A.· · ·Not necessarily, just parts of his anatomy.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       267 of 352 PageID #: 265
                                                                            8909
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·Okay.· Do you know whether a second dose of

·2· ·midazolam was prepared for that execution?· A second

·3· ·dose meaning the blue set?

·4· ·A.· · ·I do not know that.

·5· ·Q.· · ·Okay.· And were you involved in any of the

·6· ·practice sessions leading up to Mr. Johnson's

·7· ·execution?

·8· ·A.· · ·Every one.

·9· ·Q.· · ·Okay.· When did those practice sessions take

10· ·place?

11· ·A.· · ·Don't know exact dates.

12· ·Q.· · ·Okay.· Let's go to -- let's go to Exhibit 62.

13· · · · · · · ·(WHEREUPON, the above-mentioned

14· ·document was presented, previously marked as

15· ·Exhibit Number 62.)

16· ·BY MR. KURSMAN:

17· ·Q.· · ·And do you see at the top that says,

18· ·"Chemical Preparation Time Sheet"?

19· ·A.· · ·Yes.

20· ·Q.· · ·And the date is 5/16/19?

21· ·A.· · ·Yes.

22· ·Q.· · ·And that's the date of Donnie Johnson's

23· ·execution, right?

24· ·A.· · ·I don't recall the exact date.

25· ·Q.· · ·Well, if you go to Exhibit 63, you'll see



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       268 of 352 PageID #: 266
                                                                            8910
                      www.EliteReportingServices.com                          YVer1f
·1· ·that it's the same date?

·2· ·A.· · ·Okay.

·3· ·Q.· · ·So would this be the chemical preparation

·4· ·time sheet for Donnie Johnson's execution?

·5· ·A.· · ·Yes, it appears to be it.

·6· ·Q.· · ·Okay.· Do you know why the vecuronium bromide

·7· ·and the potassium chloride were prepared two hours

·8· ·before the execution but the midazolam wasn't

·9· ·prepared until you ordered the execution to proceed?

10· ·A.· · ·Do not.

11· ·Q.· · ·Is that part of your training, that the

12· ·midazolam isn't prepared until the execution is

13· ·ordered to proceed?

14· · · · · · · ·MR. SUTHERLAND:· Object to the form.

15· · · · · · · ·THE WITNESS:· Well, no.

16· ·BY MR. KURSMAN:

17· ·Q.· · ·Okay.· Well, who decides when to prepare the

18· ·midazolam?

19· ·A.· · ·That would be the executioner.

20· ·Q.· · ·And does anybody oversee the executioner in

21· ·terms of when to prepare the different drugs?

22· ·A.· · ·He and his assistants.

23· ·Q.· · ·Does he follow anybody's direction when

24· ·deciding what time to prepare each drug?

25· · · · · · · ·MR. SUTHERLAND:· Objection, form.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       269 of 352 PageID #: 267
                                                                            8911
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · · · ·THE WITNESS:· That I wouldn't know.

·2· ·BY MR. KURSMAN:

·3· ·Q.· · ·And during the execution, were you aware that

·4· ·the midazolam was not yet prepared until you ordered

·5· ·the execution to proceed?

·6· ·A.· · ·No.

·7· · · · · · · ·MR. SUTHERLAND:· Objection, form.

·8· ·BY MR. KURSMAN:

·9· ·Q.· · ·Okay.· Let's go to Exhibit 5.

10· · · · · · · ·(WHEREUPON, the above-mentioned

11· ·document was presented, previously marked as

12· ·Exhibit Number 5.)

13· ·BY MR. KURSMAN:

14· ·Q.· · ·And let me know when you get there.

15· ·A.· · ·I'm there.

16· ·Q.· · ·Do you recognize this log?

17· ·A.· · ·No.

18· ·Q.· · ·Okay.· Are you aware that this is a log from

19· ·the pharmacist?

20· · · · · · · ·MR. SUTHERLAND:· Objection, form.

21· · · · · · · ·THE WITNESS:· No.

22· ·BY MR. KURSMAN:

23· ·Q.· · ·Okay.· Do you see that on 4/24 55 milliliters

24· ·of midazolam were made?

25· ·A.· · ·Yes.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       270 of 352 PageID #: 268
                                                                            8912
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·Do you see it says discard after 5/1?

·2· ·A.· · ·Yes.

·3· ·Q.· · ·Okay.· And do you see that the next time

·4· ·midazolam was made was 7/5/19?

·5· ·A.· · ·Line below it, yes.

·6· ·Q.· · ·Okay.· So at least according to these logs,

·7· ·the pharmacist didn't make any non-expired drugs

·8· ·between 5/1/2019 and 7/15/2019, right?

·9· · · · · · · ·MR. SUTHERLAND:· Objection, form.

10· · · · · · · ·THE WITNESS:· If that's what this log is

11· ·saying, yes.

12· ·BY MR. KURSMAN:

13· ·Q.· · ·Okay.· So do you know what midazolam was used

14· ·on May 16th, 2019, for the execution of Donnie

15· ·Johnson?

16· ·A.· · ·It would have had to have been the midazolam

17· ·that was prescribed for Mr. Johnson.

18· ·Q.· · ·And would that be the midazolam that was made

19· ·on 4/24?

20· ·A.· · ·That I could not know, I would not know.

21· ·Q.· · ·Okay.· Let's move to another execution.· Were

22· ·you the warden during the execution of Billy Ray

23· ·Irick?

24· ·A.· · ·Yes.

25· ·Q.· · ·And were you involved in the execution in any



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       271 of 352 PageID #: 269
                                                                            8913
                      www.EliteReportingServices.com                          YVer1f
·1· ·other capacity aside from warden?

·2· ·A.· · ·(Pause)

·3· ·Q.· · ·Were you involved in the execution in any

·4· ·other capacity aside from your role as warden?

·5· ·A.· · ·Irick and Johnson?

·6· ·Q.· · ·Yeah.

·7· ·A.· · ·Yes.

·8· ·Q.· · ·You were?

·9· ·A.· · ·Uh-huh.

10· ·Q.· · ·What other roles did you play in the

11· ·execution?

12· ·A.· · ·Five other executions as a warden.

13· ·Q.· · ·Oh, no, I apologize.· What I'm asking is did

14· ·you have any other role in the execution -- in

15· ·the -- in Billy Ray Irick's execution, aside from

16· ·your role as the warden?

17· ·A.· · ·No.

18· ·Q.· · ·Okay.· And can you describe for me, like you

19· ·described for me for Mr. Johnson's execution -- can

20· ·you describe for me what you observed from the time

21· ·you ordered the execution to proceed to the time

22· ·that the blinds were drawn?

23· ·A.· · ·Mr. Irick was laying on the gurney.· He was a

24· ·talker, as he always was, and even after I had

25· ·ordered him to begin to push, he was still speaking



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       272 of 352 PageID #: 270
                                                                            8914
                      www.EliteReportingServices.com                          YVer1f
·1· ·with myself and the AW, saying things like, "Don't

·2· ·be down on yourself, it's not you all's fault."

·3· · · · · He laid -- he laid still.· He began to

·4· ·snore, like he went to sleep, just snoring.· And

·5· ·then once he stopped snoring, he just -- he just

·6· ·went to sleep, into a deeper sleep.

·7· ·Q.· · ·And was that during the midazolam being

·8· ·pushed?

·9· ·A.· · ·Yes.

10· ·Q.· · ·And at that point did you then do a

11· ·consciousness check?

12· ·A.· · ·Yes.

13· ·Q.· · ·Okay.· And did you observe Mr. Irick's

14· ·fingers?

15· ·A.· · ·I can't say what I observed.· I just

16· ·observed.· I may have and I may not have.

17· ·Q.· · ·Okay.· When Mr. Irick was telling you it's

18· ·not your fault, how did that make you feel?

19· · · · · · · ·MR. SUTHERLAND:· Objection to form.

20· · · · · · · ·THE WITNESS:· Feelings?· I -- I really

21· ·didn't have feelings.· He apologized to me that it

22· ·wasn't my fault or his fault, as he did with other

23· ·staff members, what he had got himself involved in.

24· · · · · · · ·I hear that a lot, not just from

25· ·execution victims, but other individuals as well.                 I



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       273 of 352 PageID #: 271
                                                                            8915
                      www.EliteReportingServices.com                          YVer1f
·1· ·mean, that's not the first time I heard that.

·2· ·Mr. Johnson did the same thing.· And several other

·3· ·individuals did the same thing.

·4· ·BY MR. KURSMAN:

·5· ·Q.· · ·And did you know Mr. Irick or Mr. Johnson

·6· ·before the execution?

·7· ·A.· · ·I did.

·8· ·Q.· · ·Okay.· And how does it feel serving as part

·9· ·of the execution team when you know these

10· ·individuals?

11· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

12· · · · · · · ·THE WITNESS:· Any human that have

13· ·respect for any individual, regardless of who they

14· ·are or where they are or how they are, quite

15· ·naturally acknowledged that individual.· You will

16· ·have the same feeling regardless if it was coming

17· ·from Mr. Irick, Mr. Johnson, or the other five, just

18· ·as if I knew you beforehand and you apologizing to

19· ·me, of course, if you have built a rapport, if you

20· ·want to use that word, with individuals, quite

21· ·naturally, you know, you're going to have -- it's

22· ·going to go through your mind.· You'll think about

23· ·it.· You acknowledge it.

24· ·BY MR. KURSMAN:

25· ·Q.· · ·Right.· Do you think you're still able to



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       274 of 352 PageID #: 272
                                                                            8916
                      www.EliteReportingServices.com                          YVer1f
·1· ·proceed in the same fashion you do during training

·2· ·when you're going through these executions where

·3· ·people are being executed who you know?

·4· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·5· · · · · · · ·THE WITNESS:· Please repeat.

·6· ·BY MR. KURSMAN:

·7· ·Q.· · ·Sure.· So in these trainings when you're

·8· ·doing them, you know, it's not with a live -- it's

·9· ·with a live body, but the person isn't actually

10· ·being executed.· And then when you go into these

11· ·executions, the person who's being executed is a

12· ·person that you know because you're the warden.

13· · · · · Does that change the dynamics of what goes

14· ·on?

15· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

16· · · · · · · ·THE WITNESS:· Not really.

17· ·BY MR. KURSMAN:

18· ·Q.· · ·Okay.· How about after, after the execution

19· ·is over, when you go home, is there anything you do

20· ·to decompress?

21· · · · · · · ·MR. SUTHERLAND:· Same objection.

22· · · · · · · ·THE WITNESS:· I have -- I consider

23· ·myself to be a strong faith believer.· And that's

24· ·where I draw my substance from.· I don't -- if I may

25· ·be able to elaborate, I don't -- I don't look at it



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       275 of 352 PageID #: 273
                                                                            8917
                      www.EliteReportingServices.com                          YVer1f
·1· ·as something that I did, per se, that was mean,

·2· ·evil, or something out of the ordinary.

·3· · · · · · · ·Of course, I'm strong in my faith.                I

·4· ·have performed seven executions.· Of course, you

·5· ·think about it beforehand, during, and after.· But

·6· ·it's just something you just learn to -- as an

·7· ·individual, to deal with and move on.

·8· ·BY MR. KURSMAN:

·9· ·Q.· · ·Do you think about leaving the job at all

10· ·because of the amount of executions that you're

11· ·doing?

12· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

13· · · · · · · ·THE WITNESS:· Never.

14· ·BY MR. KURSMAN:

15· ·Q.· · ·Okay.· So let's go to Exhibit 60.

16· · · · · · · ·(WHEREUPON, the above-mentioned

17· ·document was presented, previously marked as

18· ·Exhibit Number 60.)

19· · · · · · · ·MR. SUTHERLAND:· I'm sorry, which one

20· ·now?

21· · · · · · · ·MR. KURSMAN:· 60, six zero.

22· ·BY MR. KURSMAN:

23· ·Q.· · ·And do you see this says at the top,

24· ·"Declaration of David Lubarsky, M.D."?

25· ·A.· · ·Yes.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       276 of 352 PageID #: 274
                                                                            8918
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·Okay.· And do you -- do you see it says,

·2· ·under paragraph 3, "The official media witnesses

·3· ·describe physical behavior of Mr. Irick after the

·4· ·drugs were administered that I recognize to be signs

·5· ·that Mr. Irick was not in a plane of surgical

·6· ·anesthesia during his execution.· This is important

·7· ·because an inmate who is not placed in a plane of

·8· ·surgical anesthesia is not protected from the

·9· ·subsequent torturous effects of the lethal injection

10· ·process.· These signs and indicators include that

11· ·Mr. Irick," and then in quotation, "gulped for an

12· ·extended period of time, was choking, gasping,

13· ·coughing, and that his stomach was moving up and

14· ·down.· Published media accounts report Irick did not

15· ·appear to react physically to the vecuronium

16· ·bromide -- did appear" -- I apologize -- "did appear

17· ·to react physically to the vecuronium bromide.· He

18· ·jolted and produced what sounded like a coughing or

19· ·choking noise.· He moved his head slightly and

20· ·appeared to briefly strain his forearm against the

21· ·restraints."

22· · · · · Did you notice those movements during

23· ·Mr. Irick's execution?

24· ·A.· · ·No.

25· ·Q.· · ·None of them?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       277 of 352 PageID #: 275
                                                                            8919
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·No.

·2· ·Q.· · ·Okay.· Do you have any opinion as to why

·3· ·media witnesses would say this?

·4· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·5· · · · · · · ·THE WITNESS:· Opinion?· My personal

·6· ·opinion?

·7· ·BY MR. KURSMAN:

·8· ·Q.· · ·Yes.

·9· ·A.· · ·I don't know why media do what they do, but I

10· ·know everything they report firsthand is not true.

11· ·And that's not what I've been told or heard, it's

12· ·what I've actually witnessed myself with media.· So

13· ·everything that they write or say, no, it's not

14· ·always true.

15· ·Q.· · ·Okay.· So let's go to Exhibit 59.

16· · · · · · · ·(WHEREUPON, the above-mentioned

17· ·document was presented, previously marked as

18· ·Exhibit Number 59.)

19· ·BY MR. KURSMAN:

20· ·Q.· · ·And do you see at the top this is -- it says,

21· ·"Tennessee death row inmate Billy Ray Irick

22· ·apologizes before being executed"?

23· · · · · And then if we go to the second page, it

24· ·says, "Then the execution proceeded.· A minute

25· ·later, his eyes closed.· Snoring and heavy



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       278 of 352 PageID #: 276
                                                                            8920
                      www.EliteReportingServices.com                          YVer1f
·1· ·breathing.· At 7:34 p.m., there was coughing,

·2· ·huffing and deep breaths.· An attendant began

·3· ·yelling 'Billy' and checked the inmate and grabbed

·4· ·his shoulder, but there didn't seem to be any

·5· ·reaction."

·6· · · · · Would that attendant be you?

·7· ·A.· · ·That attendant would be me.

·8· ·Q.· · ·Okay.· And what is the reporter describing at

·9· ·that point?

10· ·A.· · ·Me being the attendant and me reading this,

11· ·it sounds like all of this happened that didn't

12· ·happen.· A lot -- a lot of this didn't happen.· But

13· ·it sounds as though -- they're making it sound as

14· ·though everything is right there within five seconds

15· ·or ten seconds of itself.· That's not true.

16· ·Q.· · ·Okay.

17· ·A.· · ·They making it sound like snoring and heavy

18· ·breathing was heard at 7:30 and then at 7:34 there

19· ·were coughing, huffing and deep breathing, deep

20· ·breaths, and then the attendant began yelling

21· ·"Billy," as though I'm just yelling "Billy" at the

22· ·time he was doing that.· That's not true.

23· ·Q.· · ·Okay.

24· ·A.· · ·At the time I performed my conscious test --

25· ·check, none of this was going on.· None of it went



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       279 of 352 PageID #: 277
                                                                            8921
                      www.EliteReportingServices.com                          YVer1f
·1· ·on other than him snoring and falling asleep.

·2· ·Q.· · ·Okay.· So when you're yelling "Billy," you're

·3· ·saying that's during the consciousness check?

·4· ·A.· · ·That's during the consciousness check.· They

·5· ·make it read right here as though he's choking and

·6· ·I'm calling his name.

·7· ·Q.· · ·Okay.· So you -- let me ask you this first:

·8· ·Did you observe him coughing, huffing, and deep

·9· ·breaths?

10· ·A.· · ·I observed him snoring and falling asleep.

11· ·Q.· · ·Okay.· And then after that, is that when you

12· ·performed the consciousness check --

13· ·A.· · ·Yes.

14· ·Q.· · ·-- when you say he fell asleep?

15· ·A.· · ·Yes.

16· ·Q.· · ·Okay.· And then -- let me continue.· Then it

17· ·says, "Minutes later, Irick let out a cough or

18· ·choking sound, as his face turned dark purple."

19· ·A.· · ·That's what they say.

20· ·Q.· · ·Do you -- and my question to you is do you

21· ·recall that?

22· ·A.· · ·No.

23· ·Q.· · ·Okay.· What do you recall after the

24· ·consciousness check?

25· ·A.· · ·I recall nothing.· Once the conscious check



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       280 of 352 PageID #: 278
                                                                            8922
                      www.EliteReportingServices.com                          YVer1f
·1· ·was done, there was nothing else within Irick.

·2· ·Q.· · ·Nothing else -- I'm sorry?

·3· ·A.· · ·Nothing else within him.

·4· ·Q.· · ·Okay.· And what does that mean, "nothing else

·5· ·within Irick"?

·6· ·A.· · ·It means that he was asleep and never woke up

·7· ·again.

·8· ·Q.· · ·Okay.· Do you know if Mr. Irick's fingers

·9· ·were taped to the gurney during the execution?

10· ·A.· · ·Yes.

11· ·Q.· · ·Why?

12· ·A.· · ·To prevent gestures.

13· ·Q.· · ·To who?

14· ·A.· · ·The victim's family.

15· ·Q.· · ·Did you observe any movements of Mr. Irick's

16· ·fingers during the execution?

17· ·A.· · ·No, I can't -- what you just said, you

18· ·couldn't see fingers anyway if they're taped.

19· ·Q.· · ·Did you look at his fingers?

20· ·A.· · ·I can't say that I did or didn't.

21· ·Q.· · ·Okay.· Do you know if a second dose of

22· ·midazolam, meaning the blue set, was prepared during

23· ·Mr. Irick's execution?

24· ·A.· · ·No, I do not.

25· ·Q.· · ·Okay.· And are you aware that the protocol



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       281 of 352 PageID #: 279
                                                                            8923
                      www.EliteReportingServices.com                          YVer1f
·1· ·calls for both a red set and a blue set to be

·2· ·prepared?

·3· ·A.· · ·If needed, yes.

·4· ·Q.· · ·Okay.· So it's your understanding that the

·5· ·blue set is only prepared if needed?

·6· ·A.· · ·That would be my understanding.

·7· ·Q.· · ·Okay.· What would you have done if Mr. Irick

·8· ·had still been -- if you had determined Mr. Irick

·9· ·was still conscious --

10· · · · · · · ·MR. SUTHERLAND:· Objection --

11· ·BY MR. KURSMAN:

12· ·Q.· · ·-- following the injection of the red set of

13· ·midazolam?

14· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

15· · · · · · · ·THE WITNESS:· Red set being the second

16· ·set?

17· ·BY MR. KURSMAN:

18· ·Q.· · ·The red set being the first set.

19· ·A.· · ·First set?· I would have done what the

20· ·protocol spelled out.

21· ·Q.· · ·Okay.· Let's go to Exhibit 58.

22· · · · · · · ·(WHEREUPON, the above-mentioned

23· ·document was presented, previously marked as

24· ·Exhibit Number 58.)

25· ·///



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       282 of 352 PageID #: 280
                                                                            8924
                      www.EliteReportingServices.com                          YVer1f
·1· ·BY MR. KURSMAN:

·2· ·Q.· · ·And if you go to 965, which is the third

·3· ·page, do you see that the potassium chloride and

·4· ·vecuronium bromide were prepared at 1724 and 1728?

·5· ·A.· · ·Third page of this exhibit?

·6· ·Q.· · ·Yeah, would be Defendants' Initial

·7· ·Disclosure 965.

·8· ·A.· · ·Chemical preparation time set on 8/9/18?

·9· ·Q.· · ·Yep.

10· ·A.· · ·Okay, red.

11· ·Q.· · ·Yep.

12· ·A.· · ·And you're referring to...?

13· ·Q.· · ·Vecuronium bromide and potassium chloride.

14· ·Do you see that they were prepared at 1724 and 1728?

15· ·A.· · ·Yes.

16· ·Q.· · ·Do you know why the midazolam wasn't prepared

17· ·until two hours later, at the time of the execution?

18· ·A.· · ·Do not.

19· ·Q.· · ·Okay.· Is this how you train for executions?

20· · · · · · · ·MR. SUTHERLAND:· Object to the form.

21· · · · · · · ·THE WITNESS:· We do paperwork just like

22· ·we do in an actual execution, correct.

23· ·BY MR. KURSMAN:

24· ·Q.· · ·But my question is -- my question is why is

25· ·this inconsistent with how you train?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       283 of 352 PageID #: 281
                                                                            8925
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·2· ·BY MR. KURSMAN:

·3· ·Q.· · ·So maybe it'll be easier if I do this.· Let's

·4· ·go to Exhibit 65.

·5· · · · · · · ·@(WHEREUPON, the above-mentioned

·6· ·document was presented, previously marked as

·7· ·Exhibit Number 65.)

·8· ·BY MR. KURSMAN:

·9· ·Q.· · ·Let me know when you get there.

10· ·A.· · ·I'm there.

11· ·Q.· · ·Okay.· Do you see it's a chemical preparation

12· ·time sheet and it's at a training dated 4/14/21?

13· ·A.· · ·Yes.

14· ·Q.· · ·And do you see the midazolam is prepared at

15· ·12:45?

16· ·A.· · ·Yes.

17· ·Q.· · ·And then the vecuronium bromide at 12:48?

18· ·A.· · ·Yes.

19· ·Q.· · ·And the potassium chloride at 12:50?

20· ·A.· · ·Yes.

21· ·Q.· · ·So if we go back to Exhibit 58 at page 3, and

22· ·this is the same with the previous execution, why is

23· ·the executioner waiting until you direct the

24· ·execution to proceed to prepare the midazolam?

25· ·A.· · ·That I wouldn't know, as stated earlier.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       284 of 352 PageID #: 282
                                                                            8926
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·Do you know if this is a deviation from the

·2· ·protocol?

·3· ·A.· · ·Wouldn't know that.

·4· ·Q.· · ·Okay.· When you're not at trainings and the

·5· ·associate warden comes in your place, does he report

·6· ·back to you to let you know how it went?

·7· ·A.· · ·He do.

·8· ·Q.· · ·Are there any written communications

·9· ·documenting that?

10· ·A.· · ·No.

11· ·Q.· · ·Okay.· Let's go to Exhibit 66.

12· · · · · · · ·(WHEREUPON, the above-mentioned

13· ·document was marked as Exhibit Number 66.)

14· ·BY MR. KURSMAN:

15· ·Q.· · ·Do you see this on 5/6/18?

16· ·A.· · ·Yes.

17· ·Q.· · ·Is this one of the trainings that you missed?

18· ·A.· · ·Oh, I couldn't say whether it was or wasn't.

19· ·Q.· · ·Okay.· Well, if you could go to the last

20· ·page, page 93?

21· ·A.· · ·Okay.

22· ·Q.· · ·Do you see that it's a -- there's a space for

23· ·the warden to sign?

24· ·A.· · ·Yes.

25· ·Q.· · ·Do you know why it wouldn't be signed?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       285 of 352 PageID #: 283
                                                                            8927
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·Must have been an oversight.

·2· ·Q.· · ·Okay.· Do you know why most of the trainings

·3· ·start at 1 p.m.?

·4· ·A.· · ·That's usually the time that we -- that I

·5· ·select.

·6· ·Q.· · ·Why don't you do the trainings at 7 p.m.?

·7· · · · · · · ·MR. SUTHERLAND:· Object to the form.

·8· · · · · · · ·THE WITNESS:· We just don't.· We just

·9· ·train at 1.

10· ·BY MR. KURSMAN:

11· ·Q.· · ·Okay.· And do you take the training

12· ·seriously?

13· ·A.· · ·If you only knew, yes, I do.

14· ·Q.· · ·Okay.· Well, let's go to Exhibit 68.

15· · · · · · · ·(WHEREUPON, the above-mentioned

16· ·document was marked as Exhibit Number 68.)

17· · · · · · · ·THE WITNESS:· 68?

18· ·BY MR. KURSMAN:

19· ·Q.· · ·68.· Do you see on the -- on the first page

20· ·you have the inmate name Wild Bill?

21· ·A.· · ·Never seen that before.

22· ·Q.· · ·Okay.· Do you think --

23· ·A.· · ·2/22/17.

24· ·Q.· · ·Do you think that is indicative of taking the

25· ·training seriously?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       286 of 352 PageID #: 284
                                                                            8928
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·I would think so, being that 2/22/17, I was

·2· ·not the warden, but...

·3· ·Q.· · ·When did you become the warden?

·4· ·A.· · ·October of '17.

·5· ·Q.· · ·Okay.· You were the associate warden at this

·6· ·time, though?

·7· ·A.· · ·Yes, I would have been.

·8· ·Q.· · ·Okay.· Do you think describing the inmate as

·9· ·Wild Bill is indicative of taking the training

10· ·seriously?

11· ·A.· · ·Most definitely.

12· ·Q.· · ·Oh, you do?· Okay.

13· · · · · Let's go to the second page.· And do you see

14· ·that says 4/19/17?

15· ·A.· · ·Uh-huh.

16· ·Q.· · ·And the inmate's name is Con Demned?

17· ·A.· · ·I do see that.

18· ·Q.· · ·Do you think that's indicative of taking the

19· ·training seriously?

20· ·A.· · ·Most definitely.

21· ·Q.· · ·Okay.· Let's go to the next page.· And that

22· ·is on 6/28/17?

23· ·A.· · ·Yes.

24· ·Q.· · ·And do you see the inmate's name is Annie

25· ·Oakley?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       287 of 352 PageID #: 285
                                                                            8929
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·Yes.

·2· ·Q.· · ·Do you think that's indicative of taking the

·3· ·training seriously?

·4· ·A.· · ·I would.

·5· ·Q.· · ·Okay.· Let's go to the next page.

·6· ·A.· · ·Okay.

·7· ·Q.· · ·And that's 7/26/17?

·8· ·A.· · ·Uh-huh.

·9· ·Q.· · ·And do you see the inmate name is Doc

10· ·Holliday?

11· ·A.· · ·I do.

12· ·Q.· · ·Do you think that's indicative of taking the

13· ·training seriously?

14· ·A.· · ·I do.

15· ·Q.· · ·Okay.· Let's go to the next page.· And you

16· ·see this is August 16, 2017?

17· ·A.· · ·Yes.

18· ·Q.· · ·And you have the inmate name as Tom Thumb.

19· ·Do you think that's indicative of taking the

20· ·training seriously?

21· ·A.· · ·Yes.

22· ·Q.· · ·Okay.· Now we're in October of 2017, and this

23· ·is when you were the warden.· Do you see you have

24· ·the inmate name as John Henry?

25· ·A.· · ·I do.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       288 of 352 PageID #: 286
                                                                            8930
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·Do you think that's indicative of taking the

·2· ·training seriously?

·3· ·A.· · ·I do.

·4· ·Q.· · ·Okay.· And the next training we have

·5· ·12/20/17?

·6· ·A.· · ·Uh-huh.

·7· ·Q.· · ·And you have the inmate name as Billy the

·8· ·Kid?

·9· ·A.· · ·Yes.

10· ·Q.· · ·Do you think using the name Billy the Kid is

11· ·appropriate for a training?

12· ·A.· · ·I do not think it's appropriate.

13· ·Q.· · ·Okay.· Do you think any of these names are

14· ·appropriate?

15· ·A.· · ·I do not.

16· ·Q.· · ·Okay.· Do you know who decided to write these

17· ·names during an execution training?

18· · · · · · · ·MR. SUTHERLAND:· Don't say any

19· ·individuals' names.

20· · · · · · · ·THE WITNESS:· I do not.

21· ·BY MR. KURSMAN:

22· ·Q.· · ·Without identifying the individual, do you

23· ·know the role of the person that picked these names?

24· ·A.· · ·I do not.

25· ·Q.· · ·Okay.· And when the execution team trains,



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       289 of 352 PageID #: 287
                                                                            8931
                      www.EliteReportingServices.com                          YVer1f
·1· ·has that been referred -- have you heard the term

·2· ·"band practice" before?

·3· ·A.· · ·That was a term that they was utilizing when

·4· ·I first arrived at the facility, which we later

·5· ·changed.

·6· ·Q.· · ·And was that term used to refer to execution

·7· ·trainings?

·8· ·A.· · ·Correct.

·9· ·Q.· · ·Okay.· And you changed that?

10· ·A.· · ·Correct.

11· ·Q.· · ·And why did you change that?

12· ·A.· · ·I was informed by Legal to change it.

13· ·Q.· · ·Okay.· And would have you changed it had you

14· ·not been informed by Legal?

15· · · · · · · ·MR. SUTHERLAND:· Object to the form.

16· · · · · · · ·THE WITNESS:· I believe in things being

17· ·done decent and in order.· If I thought that

18· ·something was wrong with it, most definitely I would

19· ·have changed it.· "Band practice" doesn't sound

20· ·kosher for something of the sort, so, yes, I

21· ·probably would have changed it.

22· ·BY MR. KURSMAN:

23· ·Q.· · ·Okay.

24· ·A.· · ·Just like these names, and I know I'm

25· ·continuing to elaborate, I stopped that.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       290 of 352 PageID #: 288
                                                                            8932
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·So you were aware that --

·2· ·A.· · ·I wasn't aware, but then it came to me that

·3· ·names were being used of the sort and we -- if you

·4· ·look, you won't find any more of that sort.

·5· ·Q.· · ·And when did it come to your attention?

·6· ·A.· · ·Probably was in '17, late '17.

·7· ·Q.· · ·And do you know if it was the executioner who

·8· ·was writing these names?

·9· ·A.· · ·No --

10· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

11· · · · · · · ·THE WITNESS:· -- I do not know that.

12· ·BY MR. KURSMAN:

13· ·Q.· · ·Do you know who it was?

14· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

15· · · · · · · ·THE WITNESS:· I do not know that.

16· ·BY MR. KURSMAN:

17· ·Q.· · ·Did you have a conversation with the

18· ·execution team about these names?

19· ·A.· · ·I remember having a conversation saying, "We

20· ·will use John and Jane Doe."

21· ·Q.· · ·Okay.· But you didn't ask who on the team has

22· ·been writing these names?

23· ·A.· · ·I did not.

24· ·Q.· · ·Okay.· Was it the recorder?

25· ·A.· · ·I don't know that.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       291 of 352 PageID #: 289
                                                                            8933
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·2· · · · · · · ·(Reporter asked for clarification.)

·3· ·BY MR. KURSMAN:

·4· ·Q.· · ·Are you aware that some states perform

·5· ·executions by firing squad?

·6· ·A.· · ·I'm not aware.

·7· ·Q.· · ·Okay.· Are you aware that Utah performs

·8· ·executions by firing squad?

·9· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

10· · · · · · · ·THE WITNESS:· No.

11· ·BY MR. KURSMAN:

12· ·Q.· · ·Okay.· Do you carry a firearm?

13· ·A.· · ·No.

14· ·Q.· · ·Were you required to complete firearm

15· ·training as an employee of TDOC?

16· ·A.· · ·Not required.

17· ·Q.· · ·Did you -- did you complete firearm training

18· ·as an employee of TDOC?

19· ·A.· · ·Yes.

20· ·Q.· · ·Did you complete firearm training aside from

21· ·the training involved with your employment as -- in

22· ·TDOC?

23· ·A.· · ·No.

24· ·Q.· · ·Okay.· Do you know of anyone at TDOC that is

25· ·qualified to use a firearm?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       292 of 352 PageID #: 290
                                                                            8934
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·Repeat.

·2· ·Q.· · ·Do you know of anyone at TDOC that is

·3· ·qualified to use a firearm?

·4· ·A.· · ·Yes.

·5· ·Q.· · ·Okay.· Do you know if any members of the

·6· ·execution team are qualified to use firearms?

·7· ·A.· · ·Yes.

·8· ·Q.· · ·How many members?

·9· ·A.· · ·Wouldn't know a number without guessing, but

10· ·there are some.

11· ·Q.· · ·Would you guess over half?

12· ·A.· · ·(Indicating)

13· ·Q.· · ·Would you guess over half?

14· ·A.· · ·Yes.

15· ·Q.· · ·Does TDOC provide firearms training?

16· ·A.· · ·Yes.

17· ·Q.· · ·Does TDOC have access to a firearms range?

18· ·A.· · ·Range?

19· ·Q.· · ·A range.

20· ·A.· · ·Yes.

21· ·Q.· · ·To a shooting range?

22· ·A.· · ·Yes.

23· ·Q.· · ·Does TDOC own firearms?

24· ·A.· · ·Yes.

25· ·Q.· · ·Can TDOC readily acquire firearms?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       293 of 352 PageID #: 291
                                                                            8935
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·That would be a question --

·2· · · · · · · ·MR. SUTHERLAND:· Object to the form.

·3· · · · · · · ·THE WITNESS:· ·-- that would be above me

·4· ·if it was readily to acquire.

·5· ·BY MR. KURSMAN:

·6· ·Q.· · ·It would be above you to acquire firearms?

·7· ·As the warden, do you ever put in orders for

·8· ·firearms?

·9· ·A.· · ·No.

10· ·Q.· · ·Okay.· Does the commissioner ever put in

11· ·orders for firearms?

12· · · · · · · ·MR. SUTHERLAND:· Object to the form.

13· · · · · · · ·THE WITNESS:· That I wouldn't know.

14· ·BY MR. KURSMAN:

15· ·Q.· · ·Okay.· Does TDOC own ammunition?

16· ·A.· · ·Yes.

17· ·Q.· · ·Does TDOC have facilities where a firing

18· ·squad execution could take place?

19· · · · · · · ·MR. SUTHERLAND:· Object to the form.

20· · · · · · · ·THE WITNESS:· I would not know what that

21· ·would consist of.

22· ·BY MR. KURSMAN:

23· ·Q.· · ·Do you think TDOC could execute someone by

24· ·firing squad?

25· · · · · · · ·MR. SUTHERLAND:· Object to the form.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       294 of 352 PageID #: 292
                                                                            8936
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · · · ·THE WITNESS:· I would not know what it

·2· ·consists of to have those accommodations, to say

·3· ·"yes" or "no," but I will say "no."

·4· ·BY MR. KURSMAN:

·5· ·Q.· · ·You would say "no"?

·6· ·A.· · ·Yes.

·7· ·Q.· · ·Why?

·8· ·A.· · ·I've never seen a firing squad.· I know the

·9· ·facilities that we have, and by me not knowing what

10· ·those accommodations are, so I can't speculate and

11· ·speak on that.

12· ·Q.· · ·Okay.· So why would you say, no, TDOC could

13· ·not execute someone by firing squad?

14· ·A.· · ·Well, we pride ourself, and it's part of our

15· ·mission, to promote safe and secure facilities as

16· ·well -- as well as good community cooperation,

17· ·participation.· To shoot someone, I would say, even

18· ·though I don't know what it requires for a firing

19· ·range and an open range with the individuals that

20· ·would have to be there to observe and some possibly

21· ·not observing that shouldn't even be there that

22· ·would be observing, I would say that that would be

23· ·unbecoming.· That's why I said "no."

24· ·Q.· · ·Okay.· But you don't think electrocution is

25· ·unbecoming?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       295 of 352 PageID #: 293
                                                                            8937
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·2· · · · · · · ·THE WITNESS:· Electrocution is not in an

·3· ·outdoor area as though -- same thing we have as far

·4· ·as the firing range, it's enclosed, concealed, and

·5· ·only certain individuals allowed to be there to

·6· ·witness or view.

·7· ·BY MR. KURSMAN:

·8· ·Q.· · ·So you think it's unbecoming because it would

·9· ·be outside?· The firing squad?

10· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

11· · · · · · · ·THE WITNESS:· I think it's unethical.

12· ·BY MR. KURSMAN:

13· ·Q.· · ·Okay.· But you don't think electrocution is

14· ·unethical?

15· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

16· · · · · · · ·THE WITNESS:· Electrocution is nothing

17· ·to shoot someone out in open range.

18· ·BY MR. KURSMAN:

19· ·Q.· · ·I'm sorry, electrocution is what?

20· ·A.· · ·Nothing compared to probably shooting an

21· ·individual out in open range.

22· ·Q.· · ·And what expertise do you have to compare the

23· ·two?

24· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

25· · · · · · · ·THE WITNESS:· The only expertise I have



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       296 of 352 PageID #: 294
                                                                            8938
                      www.EliteReportingServices.com                          YVer1f
·1· ·in regards to electrocution is what I've observed

·2· ·myself.· I've never observed a firing squad/range

·3· ·type of execution.

·4· ·BY MR. KURSMAN:

·5· ·Q.· · ·So how can you compare the two?

·6· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·7· · · · · · · ·THE WITNESS:· I can't.

·8· ·BY MR. KURSMAN:

·9· ·Q.· · ·Okay.· But didn't you just do that?

10· ·A.· · ·Well, I said it would be unethical to shoot

11· ·someone out in open -- in the eyes of the public.

12· ·And you asked me about electrocution, is it

13· ·unethical inside of a concealed place with certain

14· ·individuals.

15· ·Q.· · ·Sure.· What if you could perform a firing

16· ·squad, not in front of the public, on TDOC's grounds

17· ·where the public obviously isn't allowed?

18· · · · · · · ·MR. SUTHERLAND:· What's the question,

19· ·Alex?· I'm sorry.

20· ·BY MR. KURSMAN:

21· ·Q.· · ·Would TDOC be able to carry out an execution

22· ·by firing squad?

23· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

24· · · · · · · ·THE WITNESS:· No.· We've never done it.

25· ·I wouldn't know.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       297 of 352 PageID #: 295
                                                                            8939
                      www.EliteReportingServices.com                          YVer1f
·1· ·BY MR. KURSMAN:

·2· ·Q.· · ·Okay.· So I think those are two different

·3· ·answers, that you wouldn't know and no.· So is the

·4· ·answer that TDOC -- it's your opinion that TDOC

·5· ·can't carry out a execution by firing squad, or is

·6· ·it your answer that you don't know whether --

·7· ·A.· · ·I wouldn't -- I wouldn't know.

·8· ·Q.· · ·Okay.· But in your opinion an execution by

·9· ·firing squad is unbecoming?

10· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

11· · · · · · · ·THE WITNESS:· It's my opinion.

12· ·BY MR. KURSMAN:

13· ·Q.· · ·Okay.· But an execution by electrocution is

14· ·not unbecoming?

15· · · · · · · ·MR. SUTHERLAND:· Same objection.

16· · · · · · · ·THE WITNESS:· Yes.

17· ·BY MR. KURSMAN:

18· ·Q.· · ·Okay.· And an execution injecting an inmate

19· ·with potassium chloride and vecuronium bromide,

20· ·would that be unbecoming if we took the midazolam

21· ·out of the equation?

22· · · · · · · ·MR. SUTHERLAND:· Objection, form.

23· · · · · · · ·THE WITNESS:· I wouldn't know.· I never

24· ·did it.

25· ·///



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       298 of 352 PageID #: 296
                                                                            8940
                      www.EliteReportingServices.com                          YVer1f
·1· ·BY MR. KURSMAN:

·2· ·Q.· · ·Okay.· But let's say the protocol required

·3· ·that, that it was just a two-drug protocol starting

·4· ·with vecuronium bromide, which would paralyze the

·5· ·inmate, and then potassium chloride that would stop

·6· ·their heart.· In your mind, would that be

·7· ·unbecoming?

·8· · · · · · · ·MR. SUTHERLAND:· Objection, form.

·9· · · · · · · ·THE WITNESS:· I wouldn't know.· I've

10· ·never seen it.

11· ·BY MR. KURSMAN:

12· ·Q.· · ·Okay.· So have you ever seen a firing squad

13· ·execution?

14· ·A.· · ·No.

15· ·Q.· · ·Okay.· So why are you opining on a firing

16· ·squad execution being unbecoming, but a --

17· · · · · · · ·MR. SUTHERLAND:· Objection, form.

18· ·BY MR. KURSMAN:

19· ·Q.· · ·-- two-drug protocol not being unbecoming?

20· ·A.· · ·Repeat your question, please.

21· ·Q.· · ·Sure.· So a minute ago you said that it was

22· ·your opinion that an execution by firing squad would

23· ·be unbecoming.· I asked you then about an execution

24· ·with a two-drug protocol, the two drugs, aside from

25· ·the midazolam, in the protocol.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       299 of 352 PageID #: 297
                                                                            8941
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · You said to me that firing squad would be

·2· ·unbecoming, even though you've never seen one.· But

·3· ·when I asked you about the two-drug protocol, you

·4· ·responded that you couldn't comment on that because

·5· ·you've never seen one.

·6· · · · · So my question is why can you comment on the

·7· ·firing squad execution but not on a two-drug

·8· ·protocol involving just vecuronium bromide and

·9· ·potassium chloride?

10· ·A.· · ·I commented on the firing range being

11· ·unbecoming because me, as an individual, the way I

12· ·think, to perform outdoors that form of exercise to

13· ·me is unbecoming.· That's what I was explaining.

14· ·Q.· · ·Okay.

15· ·A.· · ·The vecuronium bromide and the chloride,

16· ·excluding the vecuronium bromide and using the

17· ·midazolam and the chloride, I explained that I could

18· ·not say because I have never seen -- I do know that

19· ·the three-drug protocol we have and we're utilizing,

20· ·that I've seen work twice, it does work.

21· ·Q.· · ·And what do you mean by "it does work"?

22· ·A.· · ·Well --

23· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

24· · · · · · · ·THE WITNESS:· -- I have seen people die

25· ·gruesome deaths to where they do suffer.· They do



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       300 of 352 PageID #: 298
                                                                            8942
                      www.EliteReportingServices.com                          YVer1f
·1· ·all of the things that you have described.· I've

·2· ·seen it with my own naked eye, with the gurgling and

·3· ·the coughing of the blood and however you want to

·4· ·describe it.· I've seen that.

·5· · · · · · · ·I've seen two individuals lay down on a

·6· ·gurney and was put to sleep as though you would put

·7· ·a baby to sleep, calmly, quietly, with nothing as

·8· ·though someone died of a gruesome death.· Those two

·9· ·I can speak about and I know that it works because

10· ·I've seen it firsthand.

11· ·BY MR. KURSMAN:

12· ·Q.· · ·Are you aware that the second drug in the

13· ·protocol is a paralytic?

14· ·A.· · ·As you stated earlier, that's what you stated

15· ·it is.

16· ·Q.· · ·And are you aware that that means it

17· ·paralyzes the body?

18· ·A.· · ·As you stated earlier, I guess it is.

19· ·Q.· · ·So are you aware that if somebody is under

20· ·the effects of a paralytic, even if they can feel

21· ·those effects or the effects of another drug, they

22· ·can't move because they're paralyzed?

23· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

24· · · · · · · ·THE WITNESS:· I'm not aware of that

25· ·because I've never seen it, so I wouldn't know.                I



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       301 of 352 PageID #: 299
                                                                            8943
                      www.EliteReportingServices.com                          YVer1f
·1· ·wouldn't know what it would or would not do if you

·2· ·removed that paralytic drug.

·3· ·BY MR. KURSMAN:

·4· ·Q.· · ·That's not my question, though.

·5· ·A.· · ·Okay.

·6· ·Q.· · ·Are you -- are you aware that the paralytic

·7· ·causes the inmate, no matter what happens next, not

·8· ·to be able to move because it paralyzes their entire

·9· ·body?

10· ·A.· · ·I'm not aware.

11· ·Q.· · ·So you're not aware of what a paralytic does?

12· ·A.· · ·I'm aware that a paralytic will paralyze, but

13· ·I think your question, if you would rephrase it --

14· ·you asked me if it was not there.

15· ·Q.· · ·No -- oh, so -- that's not what I'm asking.

16· ·A.· · ·Okay.

17· ·Q.· · ·What I'm asking is are you aware that after

18· ·somebody receives a paralytic --

19· ·A.· · ·Okay.

20· ·Q.· · ·-- no matter how much pain they're in, they

21· ·cannot express that because they're paralyzed?

22· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

23· · · · · · · ·THE WITNESS:· Midazolam comes before the

24· ·paralytic drug.

25· ·///



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       302 of 352 PageID #: 300
                                                                            8944
                      www.EliteReportingServices.com                          YVer1f
·1· ·BY MR. KURSMAN:

·2· ·Q.· · ·But that's not what I'm asking right now.

·3· ·All I'm --

·4· ·A.· · ·Okay.

·5· ·Q.· · ·-- asking you is this.· Are you aware that

·6· ·after somebody receives a paralytic drug, no matter

·7· ·how much pain they're in, they cannot express that

·8· ·pain if they're under the effects of the paralytic

·9· ·drug?· Are you aware of that?

10· · · · · · · ·MR. SUTHERLAND:· Objection to --

11· · · · · · · ·THE WITNESS:· No.

12· · · · · · · ·MR. SUTHERLAND:· -- the form.

13· ·BY MR. KURSMAN:

14· ·Q.· · ·You're not?· Okay.· As the warden, as the

15· ·person who oversees this execution, don't you think

16· ·you should be aware of what each of these three

17· ·drugs do?

18· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

19· · · · · · · ·THE WITNESS:· I am aware of what the

20· ·three drugs do.· I am not aware what the two drugs

21· ·would do with the second drug being removed.

22· ·BY MR. KURSMAN:

23· ·Q.· · ·Sure.· That's not what I'm asking here,

24· ·though, at all.

25· ·A.· · ·Okay.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       303 of 352 PageID #: 301
                                                                            8945
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·What I'm asking you is this.· Let's make it a

·2· ·little easier.· What I'm asking you is this.· What

·3· ·does the second drug do?

·4· ·A.· · ·You said it's a paralytic.

·5· ·Q.· · ·And what does that do?

·6· ·A.· · ·Paralyzes you.

·7· ·Q.· · ·Okay.· And what does it mean to be paralyzed?

·8· ·A.· · ·Not able to move.

·9· ·Q.· · ·Okay.· Is there any circumstance in which an

10· ·individual could move if they were paralyzed?

11· · · · · · · ·MR. SUTHERLAND:· Object to the form.

12· · · · · · · ·THE WITNESS:· I would say no.

13· ·BY MR. KURSMAN:

14· ·Q.· · ·Okay.· So if a paralyzed individual is in

15· ·excruciating pain, would they be able to move?

16· · · · · · · ·MR. SUTHERLAND:· Object to the form.

17· · · · · · · ·THE WITNESS:· I would say no because

18· ·they're paralyzed.

19· ·BY MR. KURSMAN:

20· ·Q.· · ·Okay.· So do you understand that a person who

21· ·is under the effects of the paralytic would not be

22· ·able to move even if they're under excruciating

23· ·pain?

24· · · · · · · ·MR. SUTHERLAND:· Object to the form.

25· · · · · · · ·THE WITNESS:· I understand that.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       304 of 352 PageID #: 302
                                                                            8946
                      www.EliteReportingServices.com                          YVer1f
·1· ·BY MR. KURSMAN:

·2· ·Q.· · ·Okay.· You do understand that.· Okay.· And do

·3· ·you understand the first drug in the protocol is a

·4· ·benzodiazepine?

·5· ·A.· · ·Midazolam.

·6· ·Q.· · ·Yeah.· Do you know that it's a

·7· ·benzodiazepine?

·8· ·A.· · ·You asked me that earlier, and I said no.

·9· ·Q.· · ·Okay.· Do you know what a benzodiazepine is?

10· ·A.· · ·You asked -- I understand that the midazolam

11· ·will make you go to sleep, and that the

12· ·benzodiazepine?· No.

13· ·Q.· · ·And what does it mean to you to make you go

14· ·to sleep?

15· · · · · · · ·MR. SUTHERLAND:· Object to the form.

16· · · · · · · ·THE WITNESS:· What does it mean to me to

17· ·make me go to sleep?

18· ·BY MR. KURSMAN:

19· ·Q.· · ·When you use the term "midazolam will make

20· ·you go to sleep," what does that mean to you?

21· ·A.· · ·Self-explanatory.· You go to sleep, you're

22· ·not aware.

23· ·Q.· · ·Okay.· And does it matter how deep that sleep

24· ·is, in your mind?

25· · · · · · · ·MR. SUTHERLAND:· Same objection.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       305 of 352 PageID #: 303
                                                                            8947
                      www.EliteReportingServices.com                          YVer1f
·1· · · · · · · ·THE WITNESS:· Yes.

·2· ·BY MR. KURSMAN:

·3· ·Q.· · ·Okay.· And how deep of a sleep does midazolam

·4· ·put you in, if you know?

·5· · · · · · · ·MR. SUTHERLAND:· Same objection.

·6· · · · · · · ·THE WITNESS:· Apparently a deep sleep

·7· ·that you're not aware of your surroundings or

·8· ·someone is alerting you --

·9· ·BY MR. KURSMAN:

10· ·Q.· · ·Okay.

11· ·A.· · ·-- that's a deep sleep.

12· ·Q.· · ·As someone calling your name?

13· ·A.· · ·Yes.

14· ·Q.· · ·As somebody pinching your shoulder?

15· ·A.· · ·Yes.

16· ·Q.· · ·Okay.· What if somebody stuck a knife in your

17· ·chest?

18· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

19· · · · · · · ·THE WITNESS:· That I wouldn't know.

20· ·BY MR. KURSMAN:

21· ·Q.· · ·Okay.· What if somebody punched you in the

22· ·face?

23· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

24· · · · · · · ·THE WITNESS:· That I wouldn't know.

25· ·///



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       306 of 352 PageID #: 304
                                                                            8948
                      www.EliteReportingServices.com                          YVer1f
·1· ·BY MR. KURSMAN:

·2· ·Q.· · ·Okay.· What if somebody put a lighter to your

·3· ·back and turned it on?

·4· · · · · · · ·MR. SUTHERLAND:· Same objection.

·5· · · · · · · ·THE WITNESS:· That I wouldn't know.

·6· ·BY MR. KURSMAN:

·7· ·Q.· · ·Okay.· Are you aware that if you're given the

·8· ·second drug without enough -- without a deep enough

·9· ·sleep, it'll make you feel like you're choking to

10· ·death?

11· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

12· · · · · · · ·THE WITNESS:· I'm not aware of that.

13· ·BY MR. KURSMAN:

14· ·Q.· · ·Are you aware that if you're given the third

15· ·drug while you're not in a deep enough sleep, as you

16· ·call it, it'll make you feel like your body is

17· ·burning from the inside?

18· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

19· · · · · · · ·THE WITNESS:· I'm not aware of that.

20· ·BY MR. KURSMAN:

21· ·Q.· · ·Okay.· Do you think, as the warden of TDOC,

22· ·you should educate yourself on the three drugs of

23· ·the protocol?

24· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

25· · · · · · · ·THE WITNESS:· I'm educated -- I feel I'm



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       307 of 352 PageID #: 305
                                                                            8949
                      www.EliteReportingServices.com                          YVer1f
·1· ·educated to the point that I know that the drugs

·2· ·work, what they do as well.

·3· ·BY MR. KURSMAN:

·4· ·Q.· · ·And have you talked to an anesthesiologist

·5· ·about the drugs?

·6· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·7· · · · · · · ·THE WITNESS:· No, I haven't.

·8· ·BY MR. KURSMAN:

·9· ·Q.· · ·Do you know if anybody at TDOC has talked to

10· ·an anesthesiologist about the drugs?

11· ·A.· · ·Don't know that.

12· ·Q.· · ·Okay.· Let's go to Exhibit 6.

13· · · · · · · ·(WHEREUPON, the above-mentioned

14· ·document was presented, previously marked as

15· ·Exhibit Number 6.)

16· · · · · · · ·MR. SUTHERLAND:· I'm sorry, which one?

17· · · · · · · ·MR. KURSMAN:· Exhibit 6.

18· ·BY MR. KURSMAN:

19· ·Q.· · ·So do you see this is an email from

20· ·September 7, 2017?

21· ·A.· · ·Yes.

22· ·Q.· · ·And do you see it's -- have you seen this

23· ·email before?

24· ·A.· · ·No.

25· ·Q.· · ·Okay.· Did you see this in a prior



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       308 of 352 PageID #: 306
                                                                            8950
                      www.EliteReportingServices.com                          YVer1f
·1· ·deposition, do you know?

·2· ·A.· · ·Can't say that I have.

·3· ·Q.· · ·Okay.· So do you see it says, "So the word

·4· ·from the powers that be is that they first want to

·5· ·try to get midazolam and go from there if there none

·6· ·out there to get."

·7· · · · · Do you see that?

·8· ·A.· · ·I do see that.

·9· ·Q.· · ·Are you part of the powers that be?

10· ·A.· · ·No.

11· ·Q.· · ·Okay.· There was also a Powerpoint that was

12· ·exhibited around this time that discussed the

13· ·efforts to get pentobarbital.· Were you part of the

14· ·audience when that Powerpoint was presented?

15· ·A.· · ·No.

16· ·Q.· · ·Okay.· Do you know if TDOC is still

17· ·attempting to get pentobarbital?

18· ·A.· · ·No, I don't know that.

19· ·Q.· · ·Okay.· Do you know what pentobarbital is?

20· ·A.· · ·I take it it's a drug.

21· ·Q.· · ·Do you know whether it's been used in prior

22· ·Tennessee execution protocols?

23· ·A.· · ·Yes.

24· ·Q.· · ·Okay.· Do you know whether other states are

25· ·currently using a one-drug pentobarbital method to



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       309 of 352 PageID #: 307
                                                                            8951
                      www.EliteReportingServices.com                          YVer1f
·1· ·execute individuals?

·2· ·A.· · ·That I don't know.

·3· ·Q.· · ·Okay.· As warden, would you rather use a

·4· ·one-drug pentobarbital method than the three-drug

·5· ·method as required by the protocol?

·6· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·7· · · · · · · ·THE WITNESS:· Not my decision.

·8· ·BY MR. KURSMAN:

·9· ·Q.· · ·But my question is would you rather?

10· · · · · · · ·MR. SUTHERLAND:· Same objection.

11· · · · · · · ·THE WITNESS:· I don't know how it would

12· ·work.

13· ·BY MR. KURSMAN:

14· ·Q.· · ·Okay.· You don't know how the one-drug

15· ·pentobarbital protocol would work?

16· ·A.· · ·How it would affect the individual.· I've

17· ·never seen it.

18· ·Q.· · ·When you were warden and when you were

19· ·associate warden, are you aware that Tennessee's

20· ·execution protocol called for a one-drug

21· ·pentobarbital execution procedure?

22· ·A.· · ·Yes, for a short period of time, yes.

23· ·Q.· · ·And as the associate warden, wasn't it your

24· ·duty to read the protocol?

25· ·A.· · ·It was.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       310 of 352 PageID #: 308
                                                                            8952
                      www.EliteReportingServices.com                          YVer1f
·1· ·Q.· · ·Okay.· And at that time were you aware how

·2· ·pentobarbital worked?

·3· ·A.· · ·I knew it was a drug, but how it worked, no,

·4· ·I wasn't.

·5· ·Q.· · ·After reading the protocol, were you aware

·6· ·how it killed an inmate?

·7· ·A.· · ·No.

·8· ·Q.· · ·Okay.· So the execution protocol called for a

·9· ·certain amount of pentobarbital to be injected into

10· ·an inmate and then the inmate would die.· You aren't

11· ·aware of how that would work, even though you read

12· ·the execution protocol?

13· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

14· · · · · · · ·THE WITNESS:· No.

15· ·BY MR. KURSMAN:

16· ·Q.· · ·Okay.· Let's go to Exhibit 7.

17· · · · · · · ·(WHEREUPON, the above-mentioned

18· ·document was presented, previously marked as

19· ·Exhibit Number 7.)

20· ·BY MR. KURSMAN:

21· ·Q.· · ·And let's go to the second page.· You'll see

22· ·it's an email from Thursday, September 7th at

23· ·12:58 p.m.

24· · · · · And at this point were you the associate

25· ·warden?



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       311 of 352 PageID #: 309
                                                                            8953
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·September '17?· I was probably acting warden

·2· ·at that time.

·3· ·Q.· · ·Oh, you were the acting warden at this time?

·4· ·A.· · ·Uh-huh.

·5· ·Q.· · ·Okay.· So do you see this email says, "Here's

·6· ·my concern with midazolam.· Being a benzodiazepine,

·7· ·it does not elicit strong analgesic" --

·8· ·A.· · ·I'm sorry.· You lost me.

·9· ·Q.· · ·Oh, I'm sorry.· If you go --

10· ·A.· · ·Second page?

11· ·Q.· · ·Yes, second page, three lines down.

12· ·A.· · ·Okay.· I'm with you.

13· ·Q.· · ·It says, "Being a benzodiazepine does not

14· ·elicit strong analgesic effects."

15· · · · · Do you know what an analgesic effect means?

16· ·A.· · ·Maybe allergies.

17· ·Q.· · ·Okay.· And then it says, "The subjects may be

18· ·able to feel pain from the administration of the

19· ·second and third drugs.· Potassium chloride

20· ·especially."

21· · · · · Did the person who received this email show

22· ·this to you?

23· ·A.· · ·I've never seen it.

24· ·Q.· · ·Okay.· Even though -- as the person who

25· ·oversees the protocol, do you think you should have



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       312 of 352 PageID #: 310
                                                                            8954
                      www.EliteReportingServices.com                          YVer1f
·1· ·been shown this email?

·2· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

·3· · · · · · · ·THE WITNESS:· No.

·4· ·BY MR. KURSMAN:

·5· ·Q.· · ·Okay.· If I told you that the drug procurer

·6· ·received this email, do you think that the drug

·7· ·procurer should have showed you this email --

·8· · · · · · · ·MR. SUTHERLAND:· Object to the form.

·9· ·BY MR. KURSMAN:

10· ·Q.· · ·-- as the warden?

11· ·A.· · ·No.

12· ·Q.· · ·Would have you wanted to know that somebody

13· ·was writing the drug procurer letting them know that

14· ·inmates may be able to feel pain from the

15· ·administration of the second and third drugs?

16· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

17· · · · · · · ·THE WITNESS:· No.

18· ·BY MR. KURSMAN:

19· ·Q.· · ·You wouldn't want to know that as somebody

20· ·who's checking the consciousness of the inmates?

21· ·A.· · ·No.

22· ·Q.· · ·Why wouldn't you want to know that?

23· ·A.· · ·Why do I need to know it?

24· ·Q.· · ·Well, isn't that important to you, as

25· ·somebody who's overseeing the execution, that even



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       313 of 352 PageID #: 311
                                                                            8955
                      www.EliteReportingServices.com                          YVer1f
·1· ·if the inmates receive the first drug they still may

·2· ·feel the effects of the second and third drugs?

·3· ·A.· · ·So you're asking me, and I don't want to

·4· ·rephrase your question for you, that would I want to

·5· ·know that a person would be able to feel something

·6· ·after the first and second drug is given --

·7· ·Q.· · ·After the first drug is given.

·8· ·A.· · ·After the first drug is given, would I want

·9· ·to know that?

10· ·Q.· · ·Yes.

11· ·A.· · ·Not necessarily.

12· ·Q.· · ·Okay.· Are you concerned with how much pain

13· ·the inmates feel during an execution?

14· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

15· · · · · · · ·THE WITNESS:· That wouldn't be my

16· ·concern.

17· ·BY MR. KURSMAN:

18· ·Q.· · ·Okay.· So if the execution protocol called

19· ·for an execution that you knew would inflict a high

20· ·level of pain on an inmate, would you still carry

21· ·out that execution as the warden?

22· · · · · · · ·MR. SUTHERLAND:· Objection to the form.

23· · · · · · · ·THE WITNESS:· Such as a firing squad?

24· ·BY MR. KURSMAN:

25· ·Q.· · ·Any.· Any.



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       314 of 352 PageID #: 312
                                                                            8956
                      www.EliteReportingServices.com                          YVer1f
·1· ·A.· · ·I'm sorry?

·2· ·Q.· · ·Any.· Any execution method.

·3· ·A.· · ·It's part of the process.

·4· ·Q.· · ·So is that a "yes"?

·5· ·A.· · ·That's a "yes."

·6· · · · · · · ·MR. KURSMAN:· Okay.· Could we take a

·7· ·quick break?· Thanks.

·8· · · · · · · ·THE VIDEOGRAPHER:· One moment, please.

·9· ·All right.· We are going off the record at 4:29 p.m.

10· · · · · · · ·(Recess observed from 4:32 p.m. to

11· ·4:43 p.m.)

12· · · · · · · ·THE VIDEOGRAPHER:· Back on the record at

13· ·4:40 p.m.

14· ·BY MR. KURSMAN:

15· ·Q.· · ·Warden Mays, while we were on break, was

16· ·there anything that you thought of that would change

17· ·your testimony that you gave in the last session?

18· ·A.· · ·No.

19· · · · · · · ·MR. KURSMAN:· Okay.· I think I am done

20· ·with my questions.· I just want to put on the record

21· ·that prior to this deposition, we entered Exhibits 1

22· ·through 65.· In this deposition we entered Exhibits,

23· ·I believe, 66, 67, and 68 and then reused a few from

24· ·prior depositions.· So I would just ask the court

25· ·reporter to attach the packet, if that's fine with



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       315 of 352 PageID #: 313
                                                                            8957
                      www.EliteReportingServices.com                          YVer1f
·1· ·you, Mr. Sutherland.

·2· · · · · · · ·MR. SUTHERLAND:· I'll let Mr. -- it's

·3· ·fine with me.

·4· · · · · · · ·MR. MITCHELL:· Yeah, that's fine.

·5· · · · · · · ·MR. KURSMAN:· Okay.· Great.· So I am

·6· ·done and we can go off the record.

·7· · · · · · · ·THE VIDEOGRAPHER:· All right.· If there

·8· ·are no further questions, this concludes the

·9· ·deposition.· The time is 4:41 p.m.

10· · · · · · · ·(The following was off the video

11· ·record:)

12· · · · · · · ·THE REPORTER:· Do you want this

13· ·transcript?

14· · · · · · · ·MR. KURSMAN:· Yeah, but just regular.

15· · · · · · · ·THE REPORTER:· And you all want a copy?

16· · · · · · · ·MR. MITCHELL:· Yes, please.

17· · · · · · · ·THE REPORTER:· Do you want to read and

18· ·sign?

19· · · · · · · ·MR. MITCHELL:· Yeah.

20· · · · · · · ·(Proceedings adjourned at 4:44 p.m.)

21· · · · · · · ·FURTHER DEPONENT SAITH NOT.

22

23

24

25



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       316 of 352 PageID #: 314
                                                                            8958
                      www.EliteReportingServices.com
·1· · · · · · · · · REPORTER'S CERTIFICATE

·2· · · · · · · ·I certify that the witness in the

·3· ·foregoing deposition, WARDEN TONY MAYS, was by me

·4· ·duly sworn to testify in the within entitled cause;

·5· ·that the said deposition was taken at the time and

·6· ·place therein named; that the testimony of said

·7· ·witness was reported by me, a Shorthand Reporter and

·8· ·Notary Public of the State of Tennessee authorized

·9· ·to administer oaths and affirmations, and said

10· ·testimony, pages 1 through 314, was thereafter

11· ·transcribed to typewriting.

12· · · · · · · ·I further certify that I am not of

13· ·counsel or attorney for either or any of the parties

14· ·to said deposition, nor in any way interested in the

15· ·outcome of the cause named in said deposition.

16· · · · · · · ·IN WITNESS WHEREOF, I have hereunto set

17· ·my hand on August 9, 2021.

18

19

20
· · · · · · Terri Beckham, RPR, RMR, CRR, LCR No. 355
21· · · · · My commission expires:· 3/6/2022

22

23

24

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            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       317 of 352 PageID #: 315
                                                                            8959
                      www.EliteReportingServices.com
·1· · · · · · · · · · · · E R R A T A

·2·   · · · · · ·I, WARDEN TONY MAYS, having read the
· ·   ·foregoing deposition, pages 1 through 314, taken
·3·   ·July 27, 2021, do hereby certify said testimony is
· ·   ·a true and accurate transcript, with the following
·4·   ·corrections, if any:

·5· ·PAGE· · LINE· ·SHOULD HAVE BEEN

·6· ·_____· ·_____· _________________________________

·7· ·_____· ·_____· _________________________________

·8· ·_____· ·_____· _________________________________

·9· ·_____· ·_____· _________________________________

10· ·_____· ·_____· _________________________________

11· ·_____· ·_____· _________________________________

12· ·_____· ·_____· _________________________________

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18· ·_____· ·_____· _________________________________

19

20· · · · · · · · · · ·______________________________

21· · · · · · · · · · ·WARDEN TONY MAYS

22
· · ·________________________· · · ____________________
23
· · ·Notary Public· · · · · · · · ·My commission expires:
24

25



            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * (615)595-0073
                                                       318 of 352 PageID #: 316
                                                                            8960
                      www.EliteReportingServices.com
                           Ex 43 -               41:5,7,9,11 48:17   12:50 282:19
            Exhibits        Warden Tony M        49:8 56:17,18,20,
                                                                     12:58 309:23
                           ays 4:6 261:11,13     21 60:15 61:15
      Ex 01 -                                    68:7 69:6,9,10,16   13 90:16 109:20
                           Ex 49 -               90:15 106:21         118:23 121:4
       Warden Tony M
                            Warden Tony M        107:3 108:11
      ays 3:10 41:5,7,9,                                             14 48:23 49:2
                           ays 4:8 147:4,6,8,    109:13,20 111:22
       11 48:17 56:18,21                                              122:2 182:14
                            10                   112:14 118:23
       61:15 90:15
                                                 125:24 126:11       15 125:24 241:7
       109:20 111:22       Ex 50 -
                                                 130:18 145:1,2,5
       112:14 118:23        Warden Tony M                            150 7:10
                                                 149:14 160:3
       125:24 130:18       ays 4:11 105:16,      162:9 165:11        16 246:9 264:2
       145:1,2,5 149:14     17,19,20 106:14
                                                 166:21 171:8         286:16
       165:11 173:18
                           Ex 53 -               172:16 173:18
       174:17 181:15                                                 16th 269:14
                            Warden Tony M        174:17 181:12,14,
       184:10 216:15
                           ays 4:13 144:7,10     15 184:10 191:18    17 19:20 285:4
       225:23 242:21
                                                 199:25 200:1,17      289:6 310:1
       246:13 247:19
                           Ex 58 -               202:14 203:10
       262:2                                                         1724 281:4,14
                            Warden Tony M        216:15,18 225:23
      Ex 02 -              ays 4:15 280:21,      242:21 246:13       1728 281:4,14
       Warden Tony M        24 282:21            247:19 257:20
      ays 3:12 113:17                            258:21 259:3        18 18:18
                           Ex 59 -
       127:23 138:22                             262:2 284:3,9       18-cv-1234 7:7
                            Warden Tony M        313:21
       170:10,15,22
       173:17 261:25
                           ays 4:18 276:15,                          19 18:18 110:13
                            18                  10 32:25 33:1,3       111:22 117:18
       262:1                                     65:21 90:3 100:11
      Ex 04 -              Ex 60 -               124:18,19,20        190 87:2
       Warden Tony M        Warden Tony M        261:17,20,23        1919 263:23
      ays 3:14 117:17      ays 4:20 274:15,      262:7
                            18                                       1935 263:24
       170:13,23 180:22                         10-minute 225:5
       226:4,15            Ex 62 -                                   1982 19:23,24
                                                10/10/18 258:18
      Ex 05 -               Warden Tony M                            1:02 148:20
       Warden Tony M       ays 4:22 266:12,     10/30/2018 256:8
                            15                                       1:05 148:18
      ays 3:16 112:1                            10/31/18 259:8
       268:9,12            Ex 63 -                                   1:30 257:8,13
                                                10:49 90:5
      Ex 06 -               Warden Tony M                            1st 254:16,24
                           ays 5:4 263:14,17    10:52 90:6
       Warden Tony M
                            266:25              11 33:3 118:25
      ays 3:18 91:22                                                           2
       306:12,15,17        Ex 65 -               261:14

      Ex 07 -               Warden Tony M       11/20/2018 260:4     2 23:17,19 106:20,
       Warden Tony M       ays 5:6 282:4,7                            22 107:3 108:11
                                                11:07 90:9
      ays 3:20 109:21      Ex 66 -                                    109:13 113:17
       215:13 309:16,19     Warden Tony M       11:09 90:7            126:11 127:23
                                                                      134:15 138:22
      Ex 41 -              ays 5:9 283:11,13    12 33:3 48:23 49:2
                                                                      170:10,15,22
       Warden Tony M                             190:17
                           Ex 68 -                                    173:17 181:16
      ays 3:23 251:17,      Warden Tony M       12/20/17 287:5        186:8 189:22
       20                  ays 5:11 284:14,                           205:17 256:7,8,
                                                12:18 148:16          10,15 261:25
      Ex 42 -               16
                                                12:21 148:17          262:1 263:21
       Warden Tony M
      ays 4:4 256:4,6                1          12:45 282:15         2-executioner
       260:13                                                         147:16
                                                12:48 282:17
                           1 8:7 23:17,19




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        Services
                                                Index:
                                   Filed 03/17/22   * (615)595-0073
                                                  Page  1..2-executioneri1
                                                       319 of 352 PageID #: 8961
                      www.EliteReportingServices.com
      2/22/17 284:23       186:9                                    66 225:25 226:12
       285:1                                             5           242:21 283:11,13
                          36 187:2 200:15
                                                                     313:23
      20 126:13
                          37 191:13 197:1,2    5 109:3,8 112:1      67 246:12 313:23
      2016 19:14,15                             127:10 135:13
                          38 23:8,9 199:16,
                                                188:13 227:15       68 284:14,16,17,
      2017 286:16,22       24
                                                257:8,13,18          19 313:23
       306:20
                          39 202:10 205:18      262:2,6 268:9,12    69 247:19
      2018 43:2 56:6,13    211:19 212:4
       251:25 252:22                           5/1 269:1
                          3rd 7:10
       253:3,11 254:16,                        5/1/2019 269:8                 7
       24
                                    4          5/16/19 266:20
      2019 19:17 269:14                                             7 109:21 135:15,16
                                               5/6/18 283:15         160:10 215:13
      2020 194:10         4 23:12,14,15,17,                          218:4 229:5,6
       261:14                                  50 32:25 33:1
                           23 117:17 127:5                           242:19 251:25
                                                105:16,17,18,19,
      2021 7:3             134:18 170:13,15,                         253:3 260:9,17,19
                                                20 106:14 252:18
                           23 173:20 180:22                          284:6 306:20
      24 24:6 173:21                            253:6,8,10,15
                           187:2 212:3,8                             309:16,19
       174:3 181:17                             256:22 262:3
                           220:2 226:4,15
                                                                    7/15/2019 269:8
      24-hour 24:10        257:2,13,18         500 227:16,22
                                                                    7/26/17 286:7
      26 127:19           4/14/21 282:12       51 106:14 219:25
                                                223:10              7/26/2018 255:13
      27th 7:3            4/19/17 285:14
                                               53 144:7,10          7/27 257:12,13
      280 254:12          4/24 268:23
                           269:19              55 268:23            7/27/2018 256:21
      2:28 225:10
                          40 255:16,17,19,     58 280:21,24         7/5/19 269:4
      2:30 225:11          21                   282:21
                                                                    7:00 67:10,18
      2:45 225:14         41 251:17,20         59 276:15,18          69:11
      2:48 225:12         42 215:8 256:4,6,    5th 43:2             7:10 226:2,13
                           11,17,18 259:22                           242:21 243:23
                3          260:13
                                                         6          7:30 277:18
                          43 261:11,13
                                                                    7:34 277:1,18
      3 23:17,19 107:4    44 216:15 217:20     6 55:16 91:21,22
       108:11 109:13                            109:3,8 217:19      7th 252:22 253:11
                           258:23
       114:23 126:11                            223:25 228:16        309:22
       134:16 135:1,2     45 218:3              260:23 306:12,15,
       143:21 147:15                            17
                          48 257:8,13,23                                      8
       175:14 184:11
                           258:3,8             6/1/2018 252:16
       193:17 225:22
       275:2 282:21       49 147:4,6,8,10       253:7 254:12        8 61:15 261:17,20

      30-year 20:10       4:29 313:9           6/28/17 285:22       8/5/2019 109:3

      31 92:15 103:25     4:32 313:10          60 274:15,18,21      8/8 257:12,13

      32 130:14 138:21    4:40 313:13          62 266:12,15         8/8/2018 257:5
       143:21 144:20,25                        63 263:14,17         8/9/18 281:8
                          4:41 314:9
       145:1,2,4,5                              266:25
       147:23             4:43 313:11                               8/9/2019 109:4
                                               64 225:21,22
      34 149:13,14,17     4:44 314:20                               838 259:23
       155:9 164:19                            65 8:7 282:4,7
                          4B 222:7              313:22
                                                                    839 260:3,13
      35 159:24 166:5                                               88 252:14
       171:2 184:10




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * Index:
                                                      (615)595-0073
                                                               2/22/17..88i2
                                                       320 of 352 PageID #: 8962
                      www.EliteReportingServices.com
                            accurate 11:8        administrator         and/or 127:24
                9            87:2 254:21          26:3,12               220:4
                             262:18
                                                 advancement           anesthesia 83:24
      9 110:11              accurately 10:23      27:18,20 32:11        117:4,9,13 229:24
      92 263:20                                                         230:14,20 275:6,8
                            acidic 151:22        advice 250:21
      93 283:20                                                        anesthesiologist
                            acknowledge          advise 142:6
                                                                        84:12,17 306:4,10
      965 281:2,7            272:23               250:18,20
                                                                       anesthetic 138:4
      9:09 7:5              acknowledged         advised 250:24
                                                                        151:2 232:4
                             272:15
                                                 advises 250:20
                                                                       Annie 285:24
                A           acquire 291:25
                                                 affect 11:7 150:15
                             292:4,6                                   announcing
                                                  308:16
                                                                        149:4
      a.m. 7:5 90:5,6,7,9   acting 221:3
                                                 afternoon 148:22
                             310:1,3                                   annually 55:21
      ability 10:20,21
                                                 agents 21:22           132:20
       11:7 81:13 93:4      actual 34:1 37:17
       96:18 97:18           45:7,10,13 58:2,    agree 158:4,6,16      answering 12:9
                             18,24 122:9,21
      above-                                     Agreements            answers 11:24
                             133:3 142:1
      mentioned 41:3                              211:23                15:19 16:18 52:25
                             221:2,17 247:8,11
       105:14 144:5                                                     148:24 296:3
                             281:22              aid 22:15,16,19
       147:2 170:8,11
                                                                       antecubital 148:5
       251:18 256:2         additional 8:11      alcohol 234:21
       261:9 263:15          134:19 135:18,21     235:8                anybody's
       266:13 268:10         146:13,16,22                               267:23
       274:16 276:16
                                                 alert 81:8,11 82:6,
                            Additionally          10 83:7              anymore 217:1
       280:22 282:5
                             132:3
       283:12 284:15                             alerting 304:8        anyone's 39:22
       306:13 309:17        additive 155:22
                                                 alertness 81:24       apologies 106:16
      Absolutely 225:7      addressed 80:15
                             140:2               Alex 7:17 8:14        apologize 9:24
      academy 20:17,                              30:14 59:3 105:10     33:16 34:24 35:11
       18,21,22,24 21:2     adequate 113:20       158:2 166:16          36:21 38:19 46:25
                                                  199:22 226:10         50:7 55:14 58:22
      accepted 64:23,       adequately 138:3
                                                  239:12 256:10         95:14 103:16
       25 65:4
                            adjourned             260:10 295:19         145:1 147:9
      access 127:6           314:20                                     149:7,9,15 185:20
       186:10 226:23
                                                 all's 271:2            197:2,20 198:16
                            adjust 233:4
       291:17                                    allergies 310:16       224:3 243:16
                            adjusts 187:5                               249:15 251:10
      accommodation                              allowed 53:18          252:12 270:13
      s 293:2,10            administer 87:20      294:5 295:17          275:16
                             226:6 249:4
      accompany                                  alternative 9:1       apologized
       208:13               administered                                271:21
                             88:22,23 153:17
                                                 ammunition
      accordance                                  292:15               apologizes
                             154:1 250:10
       155:16 157:10
                             263:8 275:4         amount 99:1            276:22
       168:12 211:21
                                                  153:20 203:11        apologizing
                            administering
      Accountability                              274:10 309:9          272:18
                             88:19
       160:1 187:2
                            administration       Amy 25:19,20          Apparently 195:1
       188:14
                             18:21 19:3,12       analgesic 310:7,       304:6
      accounts 275:14
                             126:18 216:16        14,15                appeared 275:20
      accreditation          228:18 310:18
                             311:15              anatomy 265:25
       155:16 157:4




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * Index:
                                                      (615)595-0073
                                                               9..appearedi3
                                                       321 of 352 PageID #: 8963
                      www.EliteReportingServices.com
      appears 65:23          23 204:1 253:13      218:18 219:9         attorneys 13:2
       106:1 107:11                               243:7 267:22          14:1 15:23 16:8
                            arouse 230:25
       257:14 267:5                                                     17:9,10,14 18:3
                                                 assisting 26:15
                            arrange 110:12,                             71:5
      appliances                                  29:22 129:20
                             18 111:2
       222:5,9                                                         audience 307:14
                                                 assists 122:17,
                            arrive 177:9
      applicable                                  19,20,24             audio 73:21 89:9
       155:17 157:11        arrived 288:4                               122:22 222:11
                                                 associate 25:13,
       159:21                                                           223:21
                            arrow 68:1 74:15      15 26:20 27:17
      applied 21:14                               28:17,19,21,24       August 286:16
       28:1 95:19,21
                            arrow's 100:16        29:8,10,12 31:2,7,
                                                                       Augusta 7:11
       97:20 218:7          article 149:3         13,15,25 42:1,4,
                                                  20 55:4,9 62:14      authorized 53:2,
      apply 27:17,21        asleep 278:1,10,      67:2,7 70:20          11,12
       30:11,17 220:3        14 279:6             71:18 73:6,20,24
                                                                       Avenue 7:10
      applying 72:10        assemble 30:4,6       77:4 78:20 79:14
                             132:7                83:20 88:11 89:4,    AW 69:11 271:1
      appointment                                 8,14 99:20 121:8,
       91:24                assembled 263:7       24 122:3 123:12,     await 227:18
      approach 77:11        assembles 222:4       25 124:7 128:13      aware 11:15
       85:11 86:25 87:5                           130:4,9 134:13        39:24 41:21,22
       121:14,17,22,25      assembling            178:18,21 185:11      60:24 61:11 64:22
                             29:22                186:24 200:24         103:8 116:23
      approaching                                 220:14 283:5
                            assess 124:1                                117:3,8 118:12
       87:4                                       285:5 308:19,23
                             152:20 153:9                               150:20,23 151:9,
      approval 43:17         155:6 229:7          309:24                16,21 169:12
       47:10                                     association 7:12       172:23 176:5
                            assessing                                   212:21 218:20
      approve 37:2           123:13 124:16       assume 137:6           229:22 230:5,8,
                             228:19               159:19 219:17
      approximately                                                     12,18 231:3,4,7,
       13:11,12 25:3        assignments                                 16,23,25 232:25
                                                 assumed 110:3
       34:7 89:2             223:14                                     268:3,18 279:25
                                                 assure 56:25           289:1,2 290:4,6,7
      area 68:5,6,7,9,18    assist 28:25          57:16                 299:12,16,19,24
       69:14,17,18,20,22     29:13,17 101:13                            300:6,10,11,12,17
       70:4,6,9,11,13,21,    113:11 122:4,7      attach 313:25
                                                                        301:5,9,16,19,20
       22 73:2 74:7,9        126:2,4             attempted 238:11       303:22 304:7
       83:5 148:6 160:10
                            assistance                                  305:7,12,14,19
       165:1 166:4                               attempting
                             115:18                                     308:19 309:1,5,11
       168:1,2 176:12,17                          307:17
       178:22 187:5         assistant 67:22      attend 42:4,7,11,
       191:11 196:12         101:20,24 102:15                                   B
                                                  14,19
       202:16,23 204:13,     103:6 119:1,17
       20 205:6 222:4        120:2 121:8         attendance            baby 231:4 232:2,
       223:23 294:3          127:3,21 129:19      108:12                5 299:7
      areas 111:16           206:5 220:4,13      attendant 277:2,
                             222:3
                                                                       bachelor's 19:8,
       114:1 235:10                               6,7,10,20             9,11,15
      arisen 133:2          assistants           attended 42:12
                             101:19 127:8,13
                                                                       back 15:11 48:25
                                                  55:1,5,11 59:15       56:17,21 69:18,24
      arm 111:17             146:15 204:4
                                                 attends 59:19          72:23 82:20,24,25
                             205:7,9,12,14
      armory 160:10                                                     86:1,11,21 87:16,
                             206:3 207:20
       161:8,18,25 168:1                         attention 289:5        17,18,25 88:16,17
                             208:25 209:2,10,
       176:12 178:22                                                    90:8,15 92:24
                             18,21 210:6         attorney 8:15
       187:4 189:24                                                     99:17 100:10,11
                             213:9,10 217:9,11    70:25 71:7,8
       202:16,23 203:2,                                                 103:24 109:20




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22  Index:
                                                    * (615)595-0073
                                                       322 ofappears..backi4
                                                              352 PageID #: 8964
                      www.EliteReportingServices.com
       117:18 118:23       Bass 7:9               74:1 77:1,7 89:5    briefly 275:20
       138:21 144:20                              117:24 122:19
                           batch 141:13                               bring 35:25 38:3
       148:19 173:17                              129:20 142:5
                                                                       39:16 51:17
       200:15 218:8        batches 142:3          250:13 264:14
                                                                       202:16,22
       225:3,13 227:1                             270:22
                           beat 265:3
       229:9 236:16                                                   bringing 66:23
                                                 blink 236:23
       241:10 243:13       Beckham 7:12                                168:1
       256:15 282:21                             blinked 236:9
       283:6 305:3         bed 67:10                                  brings 176:13
       313:12
                                                 blinks 240:5          203:1
                           began 263:8
      back-up 203:14        265:3 271:3          blood 11:5 299:3     broad 68:6
                            277:2,20
      background                                 blue 175:17          broken 23:16
       18:12 34:21 63:8    begin 8:5 49:8         203:14 204:23
                                                                      bromide 98:3
                            77:23 78:6 241:11     249:9,18,23 250:9
       96:20 97:8 208:7                                                149:21 150:13
                            245:19 248:3          251:3 266:3
       210:22 211:3                                                    151:25 152:3,22
                            270:25                279:22 280:1,5
                                                                       153:11 165:1
      background-
                           beginning 122:9,      blueprint 65:22       166:3 172:9,12,
      wise 99:14
                            11,15 146:2 263:5     66:2,4,10            21,24 173:5 177:3
      backgrounds           264:17                                     179:7 188:11
                                                 body 81:21
       102:11                                                          211:24 212:7,11,
                           begins 69:2 88:18      114:23 125:14
                                                                       16,19 213:22
      backup 169:9          197:9 226:5           137:18 139:2
                                                                       231:9,14 245:9,20
                            244:24 245:1,9        150:14 224:10,11,
      bacteriostatic                                                   267:6 275:16,17
                                                  19 250:2,5 273:9
       154:14,17 206:15    behalf 96:2                                 281:4,13 282:17
                                                  299:17 300:9
                            250:13                                     296:19 297:4
      bad 103:16                                  305:16
                                                                       298:8,15,16
                           behavior 275:3        botches 140:2,4
      bag 139:3 154:18,                                               brought 31:12
       20,21 208:13        belief 182:11         bottom 55:18          34:17 71:15 97:7
       224:11,19,23                                                    163:2
                           believer 273:23        56:23 92:19
      bagged 208:12                               144:21 145:6
                           belonged 168:2                             brush 82:25
                                                  164:19 166:23
      bags 154:25                                 193:18 197:10       brushing 229:9
                           benzodiazepine
      ball 78:12,15,18,     150:21 303:4,7,9,     199:17 211:20
                                                                      building 80:1
       23 88:17,20          12 310:6,13           252:11 255:12
                                                                       120:15 160:10
      band 288:2,19        Berry 7:9             box 259:18            161:18

      base 209:25          Bethel 19:10          boxes/bottles        built 272:19
                                                  184:13
      based 11:16          biblical 264:25                            burning 305:17
       12:16 32:14 96:10                         break 12:11,12
                           Bill 284:20 285:9      13:19 22:8 90:2,
       97:3,5 99:3                                                             C
       104:20 113:14       Billy 269:22           11,12 148:11,23
       133:14,15 134:13     270:15 276:21         149:2 170:2,5
       187:17                                     178:4 179:1         C2 223:10
                            277:3,21 278:2
                            287:7,10              225:6,16 313:7,15   cabinet 175:12
      basic 22:15,16,19
                           binder 8:11 144:4     breaks 177:25        call 33:20 42:4
      basically 14:20
                                                 breathing 277:1,      45:11 67:8 68:13
       33:19 62:15 92:7,   biohazard 208:13
       10 106:18 122:13,                          18,19                77:8 80:14 103:6
       17,22 133:17
                           bit 12:7 18:11 92:2                         115:15,16 175:22
                            121:7 138:11         breaths 277:2,20      204:3 215:19
       135:21 150:14                              278:9
                            257:5,16                                   216:2,12 225:2
       157:13 210:3
                                                 Brewington            237:22 248:3,5,6,
      basis 188:16         blind 89:6
                                                  25:17                13 250:12,16,18
                           blinds 71:14 73:8                           252:7 262:6




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22  Index:
                                                    * (615)595-0073
                                                       323 ofback-up..calli5
                                                              352 PageID #: 8965
                      www.EliteReportingServices.com
       305:16               217:7,14,17         checked 63:7          298:9,15,17
                                                 70:15 116:10         310:19
      called 7:23 29:10,   ceiling 151:9,14
                                                 198:25 226:24
       12 83:3 215:15                                                choking 275:12,
                           cell 68:7 69:6,9,     265:18 277:3
       231:10 235:2                                                   19 278:5,18 305:9
                            10,16 140:14
       237:11 246:1,3                           checking 130:4
                            174:22                                   Cholesterol 11:5
       251:7,9,10 308:20                         265:21 311:20
       309:8 312:18        certificates 21:19                        chose 192:21
                                                checklist 226:8,
      calling 80:13 82:5   certifications        18 227:6 246:11,    circuit 217:15
       238:20 278:6         21:18                15,18,24 247:1
       304:12
                                                                     circumstance
                           cetera 92:23 93:5    checks 125:17,22      302:9
      calls 119:20,23                            169:19 194:13
       170:21 173:11
                           chamber 65:23,        197:6,23 207:2
                                                                     clamps 217:22
                            24 67:12,14 68:25
       181:24 248:21                             244:1               clarification
                            69:12,13,15,18,25
       280:1                                                          290:2
                            70:2,5,8,13,18,19   chemical 21:22
      calmly 299:7          71:2,6,22 73:4       202:11 216:16       class 132:4,6,9,
                            74:25 75:3,6         226:6 266:18         12,15,16,17,19
      cameras 68:15
                            76:25 77:5 78:19     267:3 281:8          133:12,19 134:10
      candidate 209:24      84:23,25 88:12       282:11
                            89:12 99:21
                                                                     classes 132:21
      capacity 270:1,4                          chemicals 73:16       136:23 137:5
                            112:19 113:4
                                                 77:17,18 126:18      209:15
      capital 112:16        115:14 117:23
                                                 139:2 149:18
                            129:14 140:16                            classification
      captain 27:2,3                             155:10 159:3,21
                            179:19,24 199:21                          150:24
                                                 160:22 161:17
      career 27:18,20       200:11 201:11,15
                                                 162:14 163:2        Classroom 22:7
       32:11                215:15,20 217:1
                                                 164:19 171:13,20
                            225:1                                    clean 22:21
      carefully 57:21                            174:20 175:23
                           change 62:17          185:22 186:3        cleaning 22:8
      carried 48:16         225:17 259:1         191:18 193:18
       91:3 161:8 205:25    273:13 288:11,12     194:22 195:21       clear 33:12 35:21
       207:11,14,22         313:16               197:5,7,23 198:9     49:22 52:22 58:22
       208:3 224:4,8                             200:16 201:10        95:14 107:2 200:4
                           changed 26:20         203:11 204:20        203:25 204:9
      carries 61:7          257:12,18 259:5
                                                 207:3 214:21         242:10
      carry 22:12 29:23     288:5,9,13,19,21
                                                 215:1 224:18        cleared 34:23,25
       30:1 48:15 57:6     charge 220:4,5,       263:7                99:14
       61:12 110:13         10,13 222:3
       129:23 196:7                             chemistry 208:7      clearer 12:8 50:18
       222:10 241:18       check 34:21 79:5,     210:22
       290:12 295:21        7,10,13 80:8,9,19                        clock 24:11
                                                chest 304:17
       296:5 312:20         85:11,25 86:6                            close 89:5,6
                            88:17 96:20         chloride 98:6         250:13
      carrying 41:14        112:4,10 115:15,     149:22 150:15
       126:2,4 212:2        19 118:10,18         153:14 154:12       closed 82:24
                            125:7 130:9          156:4 164:25         142:6 217:15
      case 7:7 8:17,21,
                            140:20 152:25        165:7,8,20 166:2,    234:4 264:15,20
       24,25 9:4 15:9
                            160:14 169:21,24     9 167:13 170:19,     276:25
       16:1,3,7,17 91:8
       128:3                170:2 174:10         23 171:14 179:10    closes 224:23
                            198:8,19,21          180:24 181:16
      cases 9:18 10:14      240:20,23 241:2,     182:7,16 188:9      closing 122:18
      catheter 113:21       6,19,23 242:11,14    211:25 231:10       coded 203:13,14
       215:10 216:20,21     243:10 262:17        252:11 253:6,9
       217:8 218:6          265:24 271:11        254:25 267:7        cohesive 104:23
                            277:25 278:3,4,      281:3,13 282:19     coincide 20:13
      catheters 216:19      12,24,25             296:19 297:5




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        Services
                                                Index:
                                   Filed 03/17/22   * (615)595-0073
                                                  Page  called..coincidei6
                                                       324 of 352 PageID #: 8966
                      www.EliteReportingServices.com
      coincided 20:16      compare 294:22       concluded 241:1       238:1,6 239:2,3,4,
                            295:5                                     8,23 241:15,19,25
      cold 261:6,8                              concludes 314:8
                                                                      242:4 245:7,21
                           compared 294:20
      college 20:12                             conclusion            250:9 251:5
                           competitive           240:19               277:24 278:25
      colonoscopy                                                     280:9
                            27:23
       230:5,6,10,13,19                         condemned
       231:4,8 232:2,11    complaint 16:18       68:4,7 69:16 72:8   consciousness
                                                 76:13 77:12,15       79:10,13 80:7,9,
      color 203:13,14      complete 20:8                              19 85:11 86:6
                                                 85:25 86:25 87:4,
       206:21               203:12 214:23
                                                 5 89:19 138:25       112:5,10 115:14,
                            215:6 290:14,17,
      comfortable                                229:7                23 118:10,17
                            20
       130:3                                                          123:13 124:1,16
                                                conduct 53:3,18       125:7,17,22
                           completed 78:10,
      comment 298:4,6                            104:20,21 124:21
                                                                      128:10 130:4,9
                            16 263:25
                                                 152:8
      commented                                                       137:10,16 140:15,
                           completely                                 18,20 152:20,25
       298:10                                   conducted
                            160:25 246:22                             153:6,10 222:15
                                                 110:20
      commercially                                                    223:6 226:25
                           completes
       155:12 163:25                            conducting 40:5       228:19 229:7,17
                            246:10
       164:21 191:14                                                  234:9,15 235:14
                                                conducts 54:9
       199:5               compliance                                 237:4,16 239:14
                                                 220:5
                            155:14 159:3,21                           240:19,23 241:1,
      commissioner
                            164:22              confer 50:13,14       6,23 242:11,14
       16:10 26:7,8 44:7
       59:11,12 67:22      compounded           confidential          243:10 244:1
       77:9,10 79:24,25     155:13,20,21         39:20 65:11          249:3 265:18,21,
       111:1,8,9 118:25     156:1 159:3,20,25                         23 271:11 278:3,
                                                confidentiality       4,12,24 311:20
       119:1,17,18          160:22 162:13
                                                 93:5 96:19
       120:1,2,8,11,13,     163:2,7,17,19,21,                        considers 93:1
       17,19,24 121:2       25 164:1,7,21,25    conflict 192:11
       127:21 128:18        165:11,18 166:5,     261:22              consist 292:21
       136:21 137:1         7,8,10 167:3,5,8                         consistence
       142:7,11 149:8       169:16 170:22
                                                confronted
                                                 228:12               172:1
       169:21 184:5,9       171:13,19 172:4,
       209:4,5,7,20         24 173:2 174:20     confused 33:24       consistent
       210:3,5 211:9        175:11,22 176:8,     202:25               155:14 157:3
       224:4,7 248:7,14     22 191:23 199:8                           164:23 172:13
       250:14,17 251:9,     200:15 256:23       confusing 12:6        174:19 175:2,3,4,
       10,11 292:10                             congratulations       6,9 182:11
                           compounding
      commissioner's        156:5                23:9                consistently
       110:21 161:19,21                         conjunction           15:11,19
                           compromised
       162:1 164:12                              161:19 185:7,8
                            189:23 190:3,6                           consists 293:2
       182:10 185:13,14                          187:23 193:24
                           Con 285:16            201:21 209:5        constantly 30:2
      communication                                                   169:10
                                                 216:9
       73:23 128:3,7       concealed 294:4
                            295:13              Connection           constitutional
      communications                                                  91:8
                                                 215:10
       283:8               concentration
                            197:7,24 198:8,     conscious 79:5,7     consult 16:5 48:5
      community 97:5                                                  104:6 114:7 142:6
                            19,22,25             80:23 85:12,15,24
       293:16
                                                 86:1,22 115:19       250:14 255:6
                           concern 310:6
      compacted                                  116:6,11,17         consulted 104:8
                            312:16
       160:18                                    137:21,23 140:18,    255:9
                           concerned             23 141:11,14
      company 11:14                                                  contact 127:24
                            312:12               235:20 236:7,10,
                                                 24 237:13,17         128:9,16 184:5




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        Services
                                              Index:
                                   Filed 03/17/22   * coincided..contacti7
                                                  Page(615)595-0073
                                                       325 of 352 PageID #: 8967
                      www.EliteReportingServices.com
      contained 61:13       100:21 104:12        189:8 195:12         dated 251:24
                            107:6,9,13,19,23                           282:12
      container 162:10,                         CPR 22:21
                            108:1,16 121:3,
       17,20,21 163:4,8                                               dates 10:7 14:12
                            20,21,23 122:1      create 43:8 47:18
       164:17 165:15                                                   106:2 108:12
                            143:1,11,19
       166:14,25 167:7,
                            148:24 150:6
                                                created 47:20          143:23 184:13
       12,19 171:9                               48:7 51:18,22         185:6,23 193:19
                            164:6,8 165:2
       172:8,19 174:21                           131:22 253:11         194:14,23 197:8,
                            169:5 171:15
       175:8 186:11,14                                                 24 266:11
                            172:22 175:1,2,3,   creation 48:5
      containers            4 176:24 178:8,                           David 274:24
       184:15 191:19        20,23,25 179:2,5,   creators 52:3
                            8,11 198:23 217:5
                                                                      day 24:7,10,12
      content 143:24                            credentials            134:16 135:1,2
                            254:20 281:22        34:18,20
       206:21                                                          174:10 175:15
                            288:8,10
                                                criteria 92:17         177:23 178:17
      contingency          correction 21:6       93:1,13 241:14,17     182:8 225:21
       247:20,22,25
                            101:22                                     260:20
       248:4,10,12                              cross-train 33:10
                           correctional          62:13                day-to-day 24:3
      continue 233:8        20:17,19,21
       278:16
                            23:12,13 26:24      cross-trained         days 24:7 255:16,
                                                 62:12                 18,20,21
      continuing            27:1,11,13,14
       288:25               68:18 84:3 92:22    cubital 147:20        dead 89:20,21
                                                 148:2                 117:20 118:4
      control 68:10,23     corrections 19:3
                                                                       153:4
       123:10               20:18 21:2,5,7,8,   cuffs 70:12
                            11,12 23:4,6,19                           deal 19:2 274:7
      controls 68:15                            curious 210:16,
                           correctly 152:25      21 211:2             death 34:8 68:5,6,
      conversation          205:25 207:12,14,                          9,17,22 69:13,21
       289:17,19            22 208:4 213:1      current 23:11          70:3,6,9,10 112:2
                                                 34:16 41:13 42:24
      conversations        correctness                                 134:17 224:1
                                                 43:1 53:24 55:6,      276:21 299:8
       18:6                 188:22               11 108:8 109:14       305:10
      conveyed 128:4       cough 278:17         curtain 117:24        deaths 298:25
      cooperation          coughing 275:13,
       293:16
                                                curtains 71:14        deceased 106:22
                            18 277:1,19 278:8    74:1 77:1,7 89:5,7    107:22 108:7
      coordinate 91:24      299:3                122:18 129:21         208:13 224:2,3
       122:12              counsel 7:14          142:5 250:13          236:5
                            11:10 16:19,22       264:14,20
      coordinator                                                     decent 288:17
       25:18                53:12 198:14        cut-down 113:19
                            259:21               215:16               decide 34:13 44:4
      copy 259:24                                                      82:3 93:9 156:16
       314:15              counseling           cutdown 111:12,        184:7 208:16,19,
                            64:17,19,23,25       14,18
      corporal 27:9,10                                                 24 209:17,21
                            65:5,14
      correct 10:4         count 188:23                               decided 46:15
                                                          D            163:13 195:2
       15:21 19:18 22:18
       23:24 24:8,15       County 20:1                                 201:17,20 209:2
       29:15 31:23 34:12                        dark 278:18            228:25 254:1
                           couple 17:17,18
       35:20,24 36:2,7,                         date 43:1 49:18        255:2 287:16
                            140:9 158:3
       10,17 38:2,11,24                          108:19 177:19        decides 215:19
       42:2 43:7 55:15     court 7:12 11:16      184:14,16 187:7       267:17
       57:14 58:8 60:11     39:25 91:7 313:24    196:22 253:8,16
       61:13,14,18 63:19                         266:20,22,24         deciding 267:24
                           cover 9:12
       64:10 69:23 74:20                         267:1                decision 111:5
       89:16,22 90:13      COVID 42:15
                                                                       114:5 116:20




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        Services
                                             Index:
                                   Filed 03/17/22   *contained..decisioni8
                                                  Page(615)595-0073
                                                       326 of 352 PageID #: 8968
                      www.EliteReportingServices.com
       142:8 164:14        degree 18:14,15,     9:5,9,21 12:24       detailed 60:17
       167:14,23 196:19,    20 19:1,6,11,15,    13:3 14:5,11,19       61:3
       23 209:6,8,23        17 20:12 257:20     15:3,11,16,18,20,
                                                                     detected 112:2
       210:4 254:4,7        258:21 259:3        23 16:2,6,11,16,
       255:10 308:7                             21 17:1,5,8,10,16,   determination
                           degrees 19:6
                                                20,22 18:4 158:12     80:10 89:24 96:14
      decision-making       257:3,8,9,13,18,
                                                199:13,15 307:1       121:9,12 126:24,
       111:4 136:8          23 258:3,23
                                                313:21,22 314:9       25 153:23 191:1
                            260:9,17,19,23
      decisions 120:21                                                202:2 216:12
                                               depositions 8:7
       250:22              delegate 110:22
                                                9:6,10,14 10:6,10    determine 80:22
                            129:25
      Declaration                               12:25 16:1 158:3      85:5,25 86:8
       274:24              delegated 110:24     313:24                87:24 115:23
                            129:6,13,22                               137:10 138:3
      declare 85:18                            depth 138:4
                                                                      201:23 207:2
       89:20 241:25        delegating 130:3
                                               deputy 26:19,23        211:12 214:14
       242:13
                           delegation 90:21     28:21 29:9,18         222:14 241:15
      declared 153:4        91:19               31:14,18              242:8
       244:23 264:5
                           deliver 201:10,13   describe 22:5         determined
      declined 65:17                            29:16 50:14 66:1      85:10 86:18
                           delivered 169:23,    77:14 81:14,17        153:21 258:2,7
       104:2
                            24
                                                105:3 132:6 153:9     280:8
      decompress                                157:8 164:13
                           delivers 187:18                           determines
       273:20
                            201:9               233:22 265:4
                                                                      136:4
      deem 116:17                               270:18,20 275:3
                           delivery 199:20      299:4                determining
      deep 229:23           200:10,18 248:17
                                                                      80:12 84:13
       230:13,19 277:2,                        describes 149:17
                           Demned 285:16                              115:19 128:10
       19 278:8 303:23
                                               describing             137:15 214:3
       304:3,6,11 305:8,   demonstrate          102:14 130:24         223:6 239:14
       15                   82:22               240:21 241:19         255:7
      deeper 271:6         denied 32:1,6        277:8 285:8
                                                                     deviate 44:1,3,4,
      Defendant            deny 32:3           designate 201:5        7,13,19,24 45:22,
       147:11                                                         25 46:4,20 47:1,
                           department 23:4,    designated 55:21
                                                                      10 120:5 164:15
      defendants 7:19       6 27:14 94:7        57:2 186:17
                                                                      167:15 195:3,9,10
       47:23 259:21         102:9,21 211:22     223:14
                                                                      196:20 201:17,24
      defendants'          departmental        designed 20:18         254:1 255:3,7
       16:19 259:23         60:18 104:23        150:4,15 175:10,
                                                                     deviated 45:5
       260:3,12 281:6                           12 189:7
                           departments                                72:12
      defender 8:15         155:16 157:4       designee 110:21
                                                                     deviates 119:25
                                                132:3 161:20,21
      defer 191:10         depend 240:9         162:1 164:12         deviating 46:7
                            241:12 244:19       169:21 178:11,18
      define 20:4 28:12                                              deviation 45:8,
       37:16 39:9 51:23    depending 76:12      182:10 185:10,11,
                                                                      12,16 46:8,16
       52:4 53:7 58:11      135:7               13,14,16 186:23
                                                                      47:15 119:16,21
       194:8                                    187:4,18,24
                           Depends 28:11                              120:20 283:1
                                                188:4,15,21
      defined 68:14                             193:24 195:6,8,24    diagram 99:18
       84:14 85:6,19
                           depo'd 14:16
                                                196:25 198:4,5,21     243:13
       152:20 233:23       DEPONENT             199:19 200:9,18,
       234:9                314:21              21,23 201:6,7,13
                                                                     die 298:24 309:10
      Definitions 61:17    deposed 16:3         224:2,3,6 254:5,6    died 299:8
                                                255:5,9 262:15,16
      definitive 237:3     deposition 7:5,8                          difference 81:4




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20 Index:  Services
                                             decision-making..differencei9
                                    Filed 03/17/22   * (615)595-0073
                                                   Page 327 of 352 PageID #: 8969
                      www.EliteReportingServices.com
       84:17 117:8          99:19 116:16         263:16 266:14        187:16 206:9,11,
       155:19               136:23 171:2         268:11 274:17        14 230:9 232:4,7,
                            209:9 210:7          276:17 280:23        10 245:2 249:7
      differences
                            244:18 307:12        282:6 283:13         250:25 251:1
       51:15
                                                 284:16 306:14        267:24 299:12,21
                           discusses
      differentiate                              309:18               300:2,24 301:6,9,
                            211:24
       23:18                                                          21 302:3 303:3
                                                documentation
                           discussing 51:16                           305:8,15 307:20
      dilute 180:15                              143:22 144:1,3,12
                                                                      309:3 311:5,6,13
                            56:12 109:9
      diluted 153:25        128:12 172:18       documented            312:1,6,7,8
                            211:8 219:8 252:5    143:22 242:20
      diluting 155:5                                                 drugs 36:15 53:25
                           discussion           documenting           66:25 88:14 118:2
      Dina 25:19            158:13               101:14 283:9         138:17 142:23
      direct 24:25 25:2                                               150:3 152:9
                           discussions          documents 14:3,       153:18,25 154:4
       282:23
                            133:1                6,8 242:25
                                                                      155:6,12,25
      direction 227:18     dismiss 106:21,      Doe 289:20            156:14,17,23
       267:23                                                         160:15 161:6,25
                            22
                                                dog 238:23            168:1,6,9,12
      directions 77:11     dispense 179:22       239:17
       122:23 171:18                                                  169:8,16 175:25
       211:21              dispensed            Donnie 108:24         176:9,11,16,21
                            227:17               109:4 262:21         177:1,9,12,17
      directly 202:16,23                         264:6 266:22         178:10 179:12,13,
       206:12              dispose 184:24                             15 180:3,7,15
                                                 267:4 269:14
                            194:20,22 195:11,                         187:20 188:2
      director 25:15        13,14,17,20,25      door 67:14,15,21,     189:16 191:4,15,
      directs 167:7         196:3,8,13,21        25 68:11 74:9        22,23 194:2,14
       244:16 245:23                             100:13               195:25 196:21
                           disposed 184:16,
      discard 154:25        23 185:21 187:9     doors 74:19           199:5,8 201:2
       155:3 253:21         193:19 194:2,17      168:21 169:2         203:8,24 204:23
       254:8,9 269:1                                                  210:10,11,14
                           disqualify 96:6,     dose 153:6,21         211:3 231:17,18,
      discarded 252:21      11                   266:1,3 279:21       24 244:24 246:25
       253:15,18,24                                                   247:4,5,16 248:17
                           distress 228:6,10    doses 231:9
       254:16,24 255:4,                                               249:13 253:2
       25                  district 7:8 8:19    double 262:17         255:4 267:21
                            39:25                                     269:7 275:4
      discarding 254:2                          draw 273:24
                           division 23:16                             297:24 301:17,20
      disclosing 54:20                          drawn 73:9,10         305:22 306:1,5,10
       56:2 184:8          Doc 176:1 286:9       205:18 206:11        310:19 311:15
                                                 207:19 270:22        312:2
      disclosure 101:8     doctor 67:23
       105:7,8 259:23       80:20,21 81:1,3,    drinking 235:8       drunk 138:16
       260:3,13 281:7       13,17 89:11 92:9
                                                drinks 234:20        dry 160:19 163:8
                            115:20 129:20
      discoloration                                                   165:1 166:3
                            142:6 143:11        drip 204:2,7
       183:8,15 184:1                                                 188:12
                            216:4,12 250:14      221:7,11
      discoloring          doctors 143:9,16                          DSNF 197:5
                                                drug 16:13 36:13
       182:17
                                                 44:24 46:3,6,11     duly 7:23
                           document 40:2
      discuss 16:21         41:4 48:22
                                                 87:9,20 88:2,5,6
       17:1 80:25 81:3,                          118:19 149:25       Duncan 25:19
                            105:15,23,25
       14 111:11 209:22                          150:17,24 152:3     duplicates
                            109:17,19 134:21
       235:24 250:23                             153:1,13 155:20      186:15
                            144:6 147:3
       260:25                                    157:25 158:25
                            170:9,12 251:19                          duties 29:24 30:1
                                                 161:21 162:5
      discussed 12:22       256:3 261:10                              35:7 42:21 60:17
                                                 182:6,9 185:18




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        Services
                                            Index:Page
                                   Filed 03/17/22  differences..dutiesi10
                                                    * (615)595-0073
                                                       328 of 352 PageID #: 8970
                      www.EliteReportingServices.com
       61:1,4,6 91:22       electronic 261:5     159:2,20 160:24     everything's
       93:19 110:3                               163:24 174:5,11      225:3
                            elicit 310:7,14
       112:14 113:4,11                           182:17 187:9
                                                                     evil 274:2
       117:18 118:24        Elite-brentwood      216:20 217:8
       121:4 122:6           7:13                223:23              exact 10:7 32:23,
       123:1,4,7 126:2,5,                                             24 49:18 169:3
                            else's 51:4,10,14   ensures 127:7
       8,11 129:21                                                    266:11,24
                                                 159:6 177:11
      duty 36:23 48:15      email 306:19,23
                                                                     EXAMINATION
                             309:22 310:5,21    ensuring 193:23
       129:15,17 308:24                                               8:1
                             311:1,6,7           223:8
      dynamics 273:13                                                examine 114:23
                            emergency 123:8     enter 67:15,16
                             140:7                                   examiner 224:21,
                                                entered 313:21,
                E                                                     24
                            emotions 72:7,8      22
                                                                     examiner's
      earlier 17:17         employed 21:3       enters 89:11
                                                                      214:22 215:5
       90:13 99:18           23:1
                                                entire 25:1 49:13     224:14
       116:16 124:3,11      employee             52:2 58:2 60:7,8
       126:23 147:24                                                 examines 89:19
                             290:15,18           66:19 91:12,15
       153:4 209:4 219:8                         118:6 134:25        exceptions
       225:18 243:11,12     employees 35:22      169:7 243:22         138:24
       244:18 253:16,18      38:13
                                                 300:8
       254:4 255:1                                                   exclude 54:22
                            employment          entirety 49:14
       260:23 282:25
                             290:21                                  excluding 298:16
       299:14,18 303:8                          entries 188:21
                            empty 208:9,12                           excruciating
      Early 150:2                               equation 296:21       302:15,22
                            EMT 29:3 33:13
      easier 263:12          35:5 107:3,4,14    equipment 220:6      excuse 66:17
       282:3 302:2                               222:5,9,12,14,18,
                             108:11,12 109:13                         79:4 166:16
      educate 305:22         115:20              23 223:2,9
                                                                     execute 292:23
      educated 305:25       EMT/IV 34:14        Ernest 25:12          293:13 308:1
       306:1                                    escort 62:9,10,17,
                            EMTS 34:1,8,10                           executed 262:22
      education 18:13        36:8 38:21 92:22    18 64:9 67:9         273:3,10,11
                             106:17,18 107:18    104:18 129:13        276:22
      effect 151:10,14,      108:15 114:6        139:16 223:20
       17,19 310:15                                                  execution 9:2
                             120:5 143:16
                                                essentially 24:14     28:12,16,20,24
      effectively 57:7       147:17 221:6
                                                                      29:8 30:5,12,17,
                                                establish 72:20,
      effects 250:1,4       EMTS/IV 92:9                              21 31:4,5,16,25
                                                 22 126:17
       275:9 299:20,21                                                32:8,17,22 33:5
                            EMTS/THE 39:7
       301:8 302:21                             established           34:1 35:23 36:1,
       310:14 312:2         en 140:16            73:11 74:13 127:6    19,22 37:9 38:14,
                                                                      17,20 39:8 40:14
      efforts 307:13        enclosed 294:4      establishing
                                                                      41:1,15,23 45:13
                                                 72:12
      elaborate 273:25      encloses 177:5                            46:17,19 50:10
       288:25                                   estimate 17:8         51:25 52:1,2,3,8,
                            end 122:9,11,15                           12 54:23 55:5,6,7,
      electrocution          197:13 227:13      et al 7:7 8:18        12 57:3,6,23 58:2,
       53:23 54:11,17,19     263:7                                    3,9,12,22 59:1,6,
                                                evaluate 97:13
       55:13,14 68:23                                                 7,13 60:7,9,23
                            enhance 135:23
       131:7 293:24                             evening 225:22        61:7,12,20 62:20,
                             136:1
       294:2,13,16,19                            226:1                22,24 63:3,13,18,
       295:1,12 296:13      ensure 57:19 58:5                         23,25 64:2,3,4,17
                                                event 215:14
                             73:21 89:8 90:18                         65:4,23,24 66:14,
      electrocutions         91:2,17 126:20     eventually
       54:7                                                           16,18 67:12,14,24
                             143:1 157:15        253:21 254:9




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        Services
                                                Index:
                                   Filed 03/17/22   * (615)595-0073
                                                  Page  duty..executioni11
                                                       329 of 352 PageID #: 8971
                      www.EliteReportingServices.com
       68:2,25 69:2,12,      21,22,25 270:3,      100:15,19 101:6      exhibited 307:12
       13,18,25 70:2,4,8,    11,14,15,19,21       112:24 127:3,8,13
                                                                       exhibiting 249:2
       13,17,18,19 71:2,     271:25 272:6,9       204:10 208:24
       6,11,22 73:4          273:18 275:6,23      209:2,10,17,21       exhibits 8:7,11,12
       74:25 75:3,6          276:24 279:9,16,     210:6 217:11          166:6 170:16,18
       76:25 77:4,6          23 281:17,22         218:17 219:8          313:21,22
       78:19,21 84:22,       282:22,24 287:17,    243:7
       23,25 87:19 88:12     25 288:6 289:18
                                                                       experience 62:24
                                                 executioners           63:3,13,18,25
       89:15 91:25           291:6 292:18
                                                  37:19 39:1 50:4       64:3 97:11,21,24
       92:16,20 94:22,25     295:3,21 296:5,8,
                                                  101:13,17,18,20,      98:2,5,9,12,16,20
       95:3 99:2,10,11,      13,18 297:13,16,
                                                  24 103:6 119:25       103:7,10 111:11
       21 101:7 103:18       22,23 298:7
                                                  221:11                125:16,22 133:14
       104:2,3,6,14,24       301:15 307:22
                                                                        210:17 211:12
       105:1 108:3,25        308:20,21 309:8,    executions 28:9
                                                                        219:22
       109:4,10,14           12 311:25 312:13,    29:17,19,21 37:18
       110:5,16 112:15,      18,19,21 313:2       40:5 53:3,18 54:4    experienced
       19 115:13 119:3                            60:2 62:8 65:1,5      240:8
                            executioner
       120:21 121:6,19                            91:5,9 98:12
                             16:13 29:5 34:2,4                         experiences
       122:5,7,10,16,17,                          128:13 132:14
                             36:4 37:20 44:13                           113:14
       21 124:13,22                               133:3 155:11
                             45:22 50:6 68:3
       125:3 128:6,20,25                          156:1 202:8 247:9    expertise 32:5
                             74:14 76:4,8,16
       129:11 130:16,19,                          270:12 273:2,11       191:10 217:16
                             77:16,24 79:18
       20,21 132:21                               274:4,10 281:19       294:22,25
                             83:17 85:8 86:13
       134:16,20 135:20,                          290:5,8
                             87:6 88:1,17 92:9                         expiration
       22,24 136:5
       138:23 139:6,8,9
                             100:22 101:2,7,12   exercise 298:12        184:13,14,15
                             102:15,22 103:2                            185:6,23 187:7,10
       142:1 149:25                              exhaust 119:22
                             106:21 107:8,13,                           193:18 194:23
       152:6,8 155:3
                             14,16 108:8         exhausted              196:22 197:8,24
       156:24 160:9
                             109:22 110:2,4,9     119:19 142:3          253:8
       162:2 164:20
                             121:5 127:2,8,12
       168:6,9,11 174:2                          exhibit 41:5,7,9,     expire 194:9
                             141:3,11,12
       177:19,23 178:6,                           11 48:17 56:18,21     252:16
                             142:25 143:10
       17 179:19,24                               61:15 90:15
                             144:22 145:7,9                            expired 21:20
       182:8 184:8                                105:16,17,19,20
                             146:6,12,14,22                             156:14,17,23
       186:17 188:18                              106:14 109:20
                             155:5 156:13                               184:23 186:4
       190:16 197:6,12,                           111:22 118:23
                             174:16 178:7,11,                           190:21 194:3,5
       22 198:3 199:21                            125:24 144:7,10
                             14,24 179:3                                196:12 253:21
       200:11 201:14                              145:1,2,5 147:4,6,
                             182:23 183:5,25                            254:3,15,24 255:4
       202:15,21,22                               8,10 149:14
                             191:2,3 198:11,18
       203:6 204:20                               170:10,13,15,22,     expires 253:7
                             201:2,5,21 203:1,
       205:1,19,24                                23 173:17 180:22      254:12 255:12
                             3,5,20 204:19,22
       207:10 208:2                               182:15 184:10
                             205:20 208:20                             explain 66:13
       212:25 213:7                               216:15 225:23
                             210:11,13 211:15                           150:2 162:23
       214:22 215:6,15,                           242:21 246:13
                             212:2,6,10 213:21                          253:5
       19 217:1,21                                247:19 251:17,20
                             215:7 217:22
       219:13,18 220:1,                           256:4,6,7 260:13     explained 99:6
                             218:7 219:1,10,13
       3,8,10,25 221:2,                           261:11,13,25          126:23 253:18
                             226:5 227:17
       17 222:3,4,6,11                            262:1 263:14,17       298:17
                             239:10 240:6,12,
       225:1 244:15,16                            266:12,15,25
                             16 241:7,11                               explaining
       245:5,14,15,24                             268:9,12 274:15,
                             243:12 244:24                              298:13
       246:1,11 247:11                            18 276:15,18
                             251:15 267:19,20
       250:16,19 251:12                           280:21,24 281:5      explains 55:19
                             282:23 289:7
       262:25 263:21,23                           282:4,7,21
       264:9,13 266:2,7,    executioner's         283:11,13 284:14,    explanation
       23 267:4,8,9,12       67:20 73:1 74:16     16 306:12,15,17       253:25
       268:3,5 269:14,       75:7 78:14 85:3      309:16,19




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20  Index:
                                   Filed  Services
                                              executioner..explanationi12
                                         03/17/22   * (615)595-0073
                                                  Page 330 of 352 PageID #: 8972
                      www.EliteReportingServices.com
      express 300:21        fast 142:19,22         241:8,9,12          13 48:12 52:6,15
       301:7                                       265:11,20,24        64:20 65:6 72:15
                            fault 271:2,18,22
                                                   271:14 279:8,16,    73:13 75:17,24
      expressed 96:1
                            faults 189:8           18,19               76:6 78:1 81:19
      extended 275:12                                                  82:8 83:7 85:23
                            FDA-APPROVED          finish 11:22,23,24
                                                                       87:10,21 91:14
      extent 25:24           155:12 164:20         135:1
                                                                       93:16 94:4 95:5
       105:6 156:9
                            feature 15:8          finished 88:19       96:8,15 97:15
       157:20 159:7
                                                                       98:17 99:12
       173:11 181:23        features 265:16       Fire 25:19           112:6,11,21,25
       259:20
                            February 261:14       firearm 22:1,3,10    113:5,24 115:3,24
      external 168:24                              290:12,14,17,20,    116:4,25 117:14
                            fed 73:24              25 291:3            118:14,20 119:6
      extraction 62:12,                                                120:3,22 123:5,20
       16,19 64:8 67:17
                            federal 8:15 39:25    firearms 291:6,      125:8,18 126:6,22
       69:14 70:21 71:19    feel 32:5,10 81:13,    15,17,23,25         127:16 128:14,21
                             15 83:9 84:19         292:6,8,11          129:2 130:6
      extreme 68:6
                             113:10 119:7                              131:24 133:7,13
                                                  fired 108:2
      eye 82:24 237:23       128:19 136:9                              136:15 137:3
       299:2                 271:18 272:8         firing 290:5,8       138:5,12,18 140:8
                             299:20 305:9,16,      292:17,24 293:8,    142:10,15 145:14
      eyelids 82:20,23,
                             25 310:18 311:14      13,18 294:4,9       146:19 150:1
       25
                             312:2,5,13            295:2,15,22         151:5,11 152:4,23
      eyes 234:4 236:8,                            296:5,9 297:12,     154:7 156:19,25
                            feeling 272:16         15,22 298:1,7,10
       23 240:5 244:25                                                 157:6 158:4,15
       245:2,7 276:25       feelings 271:20,       312:23              161:1 167:20
       295:11                21                                        168:14 171:21
                                                  firsthand 276:10
                            fell 278:14            299:10              173:25 176:2
                F                                                      177:13 179:17
                            felt 115:18           fiscal 25:15         181:5 183:1,13,19
                            field 94:9 116:24     fists 239:6          184:2,21 187:22
      face 82:22 278:18
                             119:8                                     190:5 191:6
       304:22                                     fit 32:6,7           192:1,14,23
      facial 265:15         file 97:7             flinching 81:21      193:5,11 196:2,10
                            filed 7:7 16:17                            199:1 201:19,25
      facilities 26:16                            flowing 127:11
                             39:25                                     207:15 208:11,21
       292:17 293:9,15
                                                  fluctuate 169:13     210:19,23 211:14
      facility 23:20,22     filing 10:25                               212:12 213:2,16
       24:5,6,11,14 25:1,                         flush 227:16         217:4 218:13,22
                            fill 33:6,7 34:14      228:18
       18,19 38:9,10                                                   219:2,16 221:1,8
       39:23 40:8 65:9,     filled 31:19,22       focusing 265:15      222:19,24 223:4
       12 68:20 204:17       34:3,6,9,15 62:2                          224:20 227:21
       288:4                 95:9 182:16          fogger 22:1,2        228:8,21 229:13,
                             246:22                                    19,25 230:15
      fact 99:4                                   follow 57:12
                                                                       231:2,12,19
                            find 113:20 114:8,     115:11 117:24
      facts 11:8                                                       232:6,16,22
                             16,17 161:24          135:10 164:4,5
                                                                       233:13,18,25
      faith 273:23 274:3     211:7 216:7 289:4     166:17 181:8,11,
                                                                       234:11,23 235:5,
                                                   12 192:13,17,21
      fallen 214:3,14       fine 148:11 150:11     226:20 267:23
                                                                       15 236:25 237:19
                             243:17 313:25                             238:2 239:19
      falling 206:24         314:3,4              forbid 123:8         241:16 242:2,16
       207:3 214:18,19                                                 244:2,7,17 245:16
       278:1,10             finger 236:5          forearm 275:20
                                                                       250:11 251:13
                             265:19
      family 279:14                               form 18:7 40:12      258:6 259:2 263:3
                            fingers 235:13,18      44:11,15,21 45:1,   264:10 265:8,13
      fashion 83:24          236:2 240:11          18,21 46:22 47:3,   267:14,25 268:7,
       273:1




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22 Index:
                                                    * (615)595-0073
                                                       331express..formi13
                                                          of 352 PageID #: 8973
                      www.EliteReportingServices.com
       20 269:9 271:19      full-time 21:8,10    God 45:10 123:8       70:1 71:5 74:13
       272:11 273:4,15                                                 77:5,11 85:11,13,
                            fully 70:9 81:11     good 7:16 8:3
       274:12 276:4                                                    16 100:13 129:16
                             82:1,4               33:25 35:7 48:20
       280:14 281:20                                                   222:11 270:23
                                                  49:12 73:21
       282:1 284:7          functioning                                279:9 299:6
                                                  106:23 148:10,22
       288:15 289:10,14      126:17
                                                  209:23 293:16
       290:1,9 292:2,12,
                            functions 56:25                                     H
       19,25 294:1,10,                           Gotcha 105:21
                             57:16,19 58:6
       15,24 295:6,23                             226:16 260:14
                             110:13                                   half 59:24 291:11,
       296:10,22 297:8,
       17 298:12,23
                                                 governor 53:11        13
                            future 166:6
       299:23 300:22                             grabbed 277:3        halt/cease 248:7
       301:12,18 302:11,
       16,24 303:15
                                      G          grabbing 238:21      hand 82:21,24
       304:18,23 305:11,                         grabs 203:8           184:12 229:9
       18,24 306:6 308:6    garage 74:6,7,8,9,                         253:2
       309:13 311:2,8,16     10,22 75:4,22       grade 162:10
                                                  165:16 171:9        handcuffs 71:13
       312:14,22             112:16
                                                  172:19 191:20       handle 22:1,7
      formulate 109:18      gasping 275:12
                                                 graduate 19:21,       176:20
      formulated            gauge 162:10,17,      24                  handled 164:3
       109:17                20,21 163:3
                                                 graduated 20:9,       191:7
                             164:16 165:15
      Forty 255:18           166:13,24 167:6,     11                  handling 22:3
      forward 46:17          9,12,19 171:9       Great 314:5          hands 39:22
       184:8                 172:7,19 174:20
                             175:8 191:19        ground 9:12          handwriting
      fossa 148:6            261:3                                     252:2 254:19
                                                 grounds 295:16
      freezer 163:6,12,                                                256:25 257:1,25
                            gave 47:9 148:25     group 38:12
       14,18 164:10,16                                                 259:13 260:6
                             313:17
       165:3,9 166:2                             gruesome 298:25       262:13
       167:14,16 168:16,    gears 18:11           299:8               happen 46:16
       18,21,25 169:3,7,    general 53:12,13                           134:9 141:21,23,
       9,13,17,20 170:24                         guards 35:11
                             93:1                                      24,25 153:16
       171:17 173:20                             guess 20:10           157:16 220:15
       174:9 175:9,10,11    gentleman 13:7        24:23 52:9 128:4     248:2 277:12
       178:15 181:17        gesture 121:6         150:3,13 159:12,
       188:3,8,10 189:19                          13 161:9 202:25     happened 86:16
       194:15 201:3         gestures 279:12       240:17 263:2         184:3 277:11
       257:2,7,12,15,17                           291:11,13 299:18    hard 96:20 189:3
                            give 11:8 39:15,17
       258:20 260:8,16,
                             40:20 43:16 57:10   guessing 212:17
       19 261:1,4                                                     hazardous
                             77:10,12 80:11       291:9                184:16 193:19
      fridge 189:17          85:17 86:1 89:10
                                                 guideline 56:24       195:17
       261:4,5               106:22 116:16
                             122:19,23 133:10     57:6,8,10,12        head 11:18 36:25
      front 8:10 41:8        173:7 174:10                              52:25 237:25
       48:17,25 183:21                           guidelines
                             186:22 227:5         155:15 157:4         275:19
       295:16                244:5                159:4 258:10        heading 91:21
      frozen 160:21,25      giving 80:17
       161:3 163:2,5,7,9,                        gulped 275:11        health 64:16 65:4,
                             143:6 226:19
       11,22,23,24 177:2                         GUNN 233:1            13
                            glanced 49:5
      fulfill 35:6 139:10                        gurgling 299:2       hear 32:5 42:18
                             66:11
                                                                       84:21 85:2 89:9
      full 48:24 117:10     glass 79:19          gurney 67:8,9,13,     271:24
       155:10 188:22                              21 69:11,17,20,21




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        Services
                                                Index:
                                   Filed 03/17/22   * (615)595-0073
                                                  Page  formulate..heari14
                                                       332 of 352 PageID #: 8974
                      www.EliteReportingServices.com
      heard 103:12,14,    hospital 83:23,25    identities 47:1,22    258:5 272:13,15
       17 272:1 276:11     151:2                48:1 101:9           274:7 287:22
       277:18 288:1                                                  294:21 298:11
                          hospitals 222:22     identity 53:5
                                                                     302:10,14 308:16
      heart 150:15                              105:9 156:10
                          hour 67:10,18
       232:4 297:6                              162:5               individual's
                           69:11 134:18
                                                                     223:12
      heavy 162:9,17,      135:1,3             ill 10:25 123:9
       19,21 163:3                                                  individuals 34:17
                          hour-and-a-half      illegal 138:17
       164:16 165:15                                                 62:7 70:24 73:22
                           13:19 135:7
       166:13,24 167:6,                        implementation        106:2 129:23
       9,12,19 171:8      hourly 39:4           119:2                140:13 199:21
       172:7,18 174:20                                               201:11,14 218:15
       175:8 191:19
                          hours 13:11,13,      implementing          219:22 223:18
                           20,21,24 17:11,      111:16
       276:25 277:17                                                 243:6 271:25
                           13,15,18,19 24:7,
                                               important 129:25      272:3,10,20
      held 7:9 132:19      12 48:23 49:2
                                                275:6 311:24         293:19 294:5
       134:19              133:23 135:7,9
                                                                     295:14 299:5
      helped 30:3
                           173:21 174:3        inartfully 241:22     308:1
                           181:17 190:17
       129:21                                  include 17:9 36:3,
                           267:7 281:17                             individuals'
                                                11,13 55:13 96:20
      helpful 223:2                                                  195:5 287:19
                          HR 25:16              275:10
      helping 122:12                                                inflict 312:19
                          huffing 277:2,19     included 60:23
      Henry 286:24         278:8                                    influence 138:17
                                               includes 36:6
      Heron 25:16         Huh-uh 98:22          60:9 138:23         inform 119:17
                                                143:23 220:7         120:7
      high 19:21,24       human 81:21
       20:1,3,6,7,9,11     250:2,5 272:12      including 38:18      information
       82:10 312:19                                                  18:25 104:17
                                               inconsistent          105:6,7 108:11,
      high-pitched                 I            171:1,18 175:5       17,19 143:7
       82:11                                    181:19 281:25
                          ice 160:19                                informed 119:1,9
      higher 52:20                             Indicating 291:12     288:12,14
      highest 18:13       identification       indication 116:16
                           46:22 102:4                              informs 224:3,7
       23:23                                    237:20
                           157:21 159:8                             initial 144:23
      highly 151:21        173:11 181:24       indicative 235:14     145:10,25 146:2
                                                284:24 285:9,18      259:23 260:3,13
      hire 63:5           identified 109:12     286:2,12,19 287:1    281:6
      hired 27:14 63:2    identify 157:22      indicators 275:10    injected 114:24
      history 110:8        173:12 185:16
                           195:4 203:18        individual 32:4       118:2 138:10
      hold 21:18           207:5 215:21         33:17 62:3 68:24     147:19 152:21
                           258:4                70:1 81:23 96:11     153:1,11 244:22
      holds 132:3                                                    245:9,10 249:22,
                                                97:2 102:5 104:8,
      hollers 245:18      identifying 53:14     9,10 106:19          23 309:9
                           58:16 61:24 62:23    110:20 116:6
      Holliday 286:10      66:14 104:17                             injecting 66:24
                                                129:13 139:11        141:6 296:18
                           124:9 139:4 143:7    140:15,17,22
      home 38:3 39:16,
                           145:20 162:4         146:10 156:10       injection 9:20,22
       17 273:19
                           174:15 185:8,15      157:21 159:9         10:2,14 53:22,25
      Honor 166:15,16      186:21 187:8         173:12 176:13        54:10 55:20 57:3
                           196:24 198:2         178:5 181:25         67:19,24 68:2,21
      hope 40:18 157:1
                           200:21 206:6         200:10 215:22        73:1 74:16 75:7
       254:22
                           209:3 220:9,12       223:13 229:16        78:13 79:17 85:3
      Hoping 259:17        223:18 224:17        248:25 249:10        94:15 100:15,19
                           287:22                                    103:22 112:24




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        Services
                                               Index:
                                   Filed 03/17/22   * (615)595-0073
                                                  Page heard..injectioni15
                                                       333 of 352 PageID #: 8975
                      www.EliteReportingServices.com
       125:25 126:18       inpatient 84:6       interchangeably      involving 298:8
       130:20,23 131:3,                          154:23
                           inquired 95:6,10                          Irick 269:23 270:5,
       10 141:10 149:18
                                                interest 96:1         23 271:17 272:5,
       155:11 162:14       inquiry 105:8
                                                                      17 275:3,5,11,14
       164:20 185:22                            interested 95:18,
       186:2 193:14
                           insensate 81:4                             276:21 278:17
                                                 23
                            153:18 231:18                             279:1,5 280:7,8
       195:21 201:10
                            232:21              interfere 193:13
       202:11,17 204:10,                                             Irick's 270:15
       19 207:3 214:21     insert 71:23 78:6    interference          271:13 275:23
       215:1 219:14         113:20 118:8         233:4                279:8,15,23
       221:14 224:18
       246:10,11,18        inserted 73:5        interim 26:19,23     irons 70:14 71:13
       248:17 252:4         228:11 245:19        28:21 29:9,18
                                                                     issue 178:4
       263:24 275:9        inserting 73:16      interior 261:3        248:12
       280:12               78:9,10
                                                interject 141:15     issues 14:9 133:1
      injects 141:12       insertion 78:16                            247:20,23,25
                                                internal 100:3        248:1,10
      inmate 66:23,24       139:20 215:10
       69:6,8,10 71:4                           interpreting 91:8    Items 262:1
                           inserts 221:5
       74:12 77:5 78:20                         Interrogatories
       80:22 82:3 83:12,   inside 67:24                              IV 29:1 33:12,22,
                                                 147:13
       15 84:13 85:6,19     68:21,24 83:5                             25 34:4,5,8,10,16
       86:8,14 87:24        169:3 216:22        interrupt 158:1       35:18,22 36:6,8,
       88:11 89:14,20,21    295:13 305:17                             22 37:20 38:21
                                                interruption          39:7 44:19 45:25
       99:21 117:19        Inspect 182:15,16     174:22
       118:2,4,13,18                                                  54:16,22 63:1,24
       121:14,22,25        instance 16:10       Interruptions         67:22 71:15,16,
       129:14 138:3,16,                          248:16               18,19,21,24,25
                           instruct 37:7                              72:10,12,20,21,22
       25 141:11,12,14                          interstate 161:13
       153:4,17 190:14,    instructing                                73:5,11,12 74:5,
       16,20 191:5          174:19              interviewed 32:4      13,17 75:15 76:14
       222:15 224:1,2                            34:17 63:10 96:4     83:11 92:11,13
                           instruction                                93:12,15,18
       228:6,19 229:7       144:23 145:10       introduce 7:14
       231:24 235:18                                                  95:15,17 97:14,
                            147:22 172:10                             20,22 99:22,23,
       236:2,24 237:8,      174:18
                                                introduced 8:6
       16,25 238:6                                                    24,25 100:2,5,9,
                           instructions         intrusive 231:8       12 101:3 102:25
       240:5,10,11
       241:8,15,23,25       43:19 60:22 61:11   inventoried           103:2 104:11
       244:1,23 245:10,     134:14 145:16        169:25               106:5,8,13,19,20
       18 249:2,22 251:2    164:4,5,9 171:16                          107:5,17 108:6,8,
                            173:4,6,8 177:5     inventory 169:22      15,20,23 109:3,7,
       275:7 276:21
                            180:23 181:1,4,9,    187:6 188:16         8 111:16 113:19,
       277:3 284:20
                            22 182:3 183:11      189:25 194:18        25 114:6,20
       285:8 286:9,18,24
                            212:18,24 213:15,    199:14 252:6,7,8,    122:20 126:14,17,
       287:7 296:18
                            18 214:13 261:23     24 253:1 254:9,      20,25 127:11
       297:5 300:7
                            262:6                17,18                139:18,20 142:19
       309:6,10 312:20
                                                inventorying          143:16 147:16,17,
      inmate's 71:5        instructor 21:12                           19 205:12 211:3
                                                 186:17
       82:19 115:23        instructor's                               215:10,23 216:16,
       137:10,15 152:20     144:18              involved 28:9,12      19 217:3,9,25
       153:10 223:6                              54:11,17 64:5        218:15 221:5,6,7,
       235:13 236:23       instructors           83:22 104:1          11 223:21 248:24
       240:14 244:25        20:22,24,25 21:7,    124:12 139:22
       265:24 285:16,24     9                    232:12 266:5        IVS 66:24 103:10
                                                 269:25 270:3         106:17
      inmates 311:14,      instructs 58:14
                                                 271:23 290:21
       20 312:1,13          120:18




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22  Index:
                                                    * (615)595-0073
                                                       334 ofinjects..IVSi16
                                                              352 PageID #: 8976
                      www.EliteReportingServices.com
                           killed 309:6         148:8,14,21          265:10,17 266:16
                J                               149:7,11 150:7       267:16 268:2,8,
                           kind 20:15 214:8
                                                151:6,13 152:5,14    13,22 269:12
      Jacob 25:16          King 7:6,17 8:18,    153:2 154:8          272:4,24 273:6,17
                            21                  156:11,21 157:2,     274:8,14,21,22
      Jane 289:20                               9,14,24 158:6,9,     276:7,19 280:11,
                           kits 140:17 141:4    16,18,20,24          17 281:1,23
      January 189:6,9,
       13 194:9,13,25      knew 210:9           159:14 161:4         282:2,8 283:14
                            272:18 284:13       166:19,20 167:18,    284:10,18 287:21
      January/july          309:3 312:19        22 168:15 170:14     288:22 289:12,16
       188:17                                   171:5,6,23 173:14    290:3,11 292:5,
                           knife 304:16         174:4,13,24 176:4    14,22 293:4
      jerking 81:22
                           knowing 231:20       177:15 179:20        294:7,12,18
      job 20:14,16 21:8,    293:9               180:2,6,10,18        295:4,8,20 296:1,
       10 22:12 23:11,25                        181:7 182:4          12,17 297:1,11,18
       24:16 35:6,19       knowledge 52:9       183:4,14,23 184:6    299:11 300:3
       60:5 196:7 274:9     108:9 211:11        185:1 188:1 190:8    301:1,13,22
                            261:2               191:9 192:2,7,19     302:13,19 303:1,
      John 286:24
       289:20              kosher 288:20        193:1,8,12 195:7     18 304:2,9,20
                                                196:5,15 197:19,     305:1,6,13,20
      Johnson 262:22       Kursman 7:16,17      21 198:16,17         306:3,8,17,18
       264:6,24 269:15,     8:2,5,9,15 18:8     199:3,11,24          308:8,13 309:15,
       17 270:5 272:2,5,    25:10 30:15,16      200:3,7 201:22       20 311:4,9,18
       17                   37:10 40:13,19      202:3 203:21         312:17,24 313:6,
                            41:6 44:12,16,23    207:8,17 208:1,      14,19 314:5,14
      Johnson's             45:3,19 46:24       15,23 210:20
       108:25 109:4         47:6,14,24 48:13    211:1,6,16 212:14
       265:11 266:6,22      52:11,18 53:9                                     L
                                                213:4,19 214:6,9,
       267:4 270:19         58:20 59:4,5        11 215:4 216:1
      joint 196:23 254:4    64:24 65:15,20      217:6 218:16,24     labeled 67:16
       255:10               72:16,19 73:17      219:6,20 221:4,     laid 271:3
                            75:18 76:3,10       10,18 222:1,21
      jointly 188:15        78:3 82:2,12 86:4                       Lake 20:1
                                                223:1,5,17
      jolted 275:18         87:11,23 90:1,10    224:16,22 225:5,
                            91:20 93:20 94:10                       landed 49:10
                                                8,15,20 226:12,
      judicially 57:3       95:7 96:12 97:9,                        language 200:15,
                                                15,17 228:1,13,24
      July 7:3 43:2         19 98:19 99:16      229:4,15,21          16 243:18
       189:9,14             101:15 102:6        230:3,17,23
                            105:11,13,17,20,                        late 241:4 289:6
                                                231:6,15,22
      June 253:17,18        22 106:13,24        232:9,19,24         law 90:19,23,25
       254:16,24            112:8,13,22                              91:1,8
                                                233:6,9,15,21
      jurisdiction 45:6     113:2,7,12 114:4    234:7,13,19
                            115:6,12 116:2,8,                       laws 91:4
                                                235:1,12,17,23
                            19 117:2,7,16       236:14,18,21,22     lawyer 12:14
                K           118:16,22 119:10,   237:2,7,10 238:4,
                            15 120:9 121:1                          lay 299:5
                                                9,16,19 239:13,16
      Kevin 26:4,9          123:11,24 125:11,   240:1 241:20        laying 190:12
                            20 126:9 127:1,18   242:5,18 243:3,21    264:24 270:23
      key 60:18 186:10,     128:15,24 129:4,8
       13,16,22                                 244:4,8,12,21
                            130:7,13 132:1                          layout 66:9
                                                245:13,22 247:8,
      Keys 25:14            133:9,18 134:5,8    13 250:15 251:14,   lead 39:11 81:25
                            136:16 137:4,13     21 256:5,12,14,      102:4 137:5
      kick 238:11           138:7,14,20         18,20 258:11         144:14,16 156:10
      kicked 238:10         140:11 141:18,20,   259:4,20 260:1,      157:20 159:8
                            22 142:12,18        12,15 261:12
      Kid 287:8,10          144:8 145:18                            leading 39:10
                                                263:11,19 264:12
                            146:20 147:5                             266:6




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        Services
                                   Filed 03/17/22 Index:
                                                     * (615)595-0073
                                                   Page   Jacob..leadingi17
                                                        335 of 352 PageID #: 8977
                      www.EliteReportingServices.com
      learn 19:1 20:19     letter 226:20        listing 60:17 61:4
       33:8 37:21 274:6                                                        M
                           letting 311:13       lists 61:19 93:3
      leave 38:6,7 40:8                          106:25 247:22
                           level 18:13 23:22,                        M.D. 274:24
       67:13 69:12 72:22                         252:6
                            23 138:4 155:7
       80:4 117:23                                                   Mace 22:1
                            229:23 230:13,19    live 125:14
       205:4,6 224:25
                            312:20               137:18,20 142:1     made 90:13
       225:4
                                                 273:8,9              104:21 111:5
                           levels 81:1
      leaves 70:13                                                    128:3,7,16 152:25
                                                located 67:17,23
       73:19               Lewis 25:13                                153:23 154:10
                                                 68:3,8,12,14,16,
      leaving 274:9        LIC 114:24 160:4,     21                   164:14 196:19
                            8,9 162:9 165:14                          204:2 238:5
      ledger 188:21                             Location 189:22       268:24 269:4,18
                            166:12,21,24
       189:25 254:17,18                          199:17,25 200:17
                            171:7,8,11 172:7,                        mail 161:10
      left 43:2 67:14       11,17,18 184:12,    locks 162:10
       68:6,10 72:24        13,15 186:9,18       165:16 171:9        main 197:3
       73:22 106:23         187:3,5,6,9          172:19 191:20       maintain 93:4
       119:8 190:12         188:14,16,23                              96:19 123:9
                                                log 253:12 259:22
       258:18 259:8         189:22,23 190:19                          127:23
                                                 262:7 268:16,18
                            191:18 193:16
      left-hand 260:4                            269:10              maintained
                            214:3,14
      leg 70:11,14 71:13                        logs 251:24 252:5,    134:21
                           license 34:21
       241:24                                    6 262:16,17 269:6   maintenance
                            35:1,3,6,7,10
      legal 34:23,25                            long 13:10 23:5       68:20
                           licensing 155:17
       288:12,14                                 42:24 79:1 88:1,4   make 12:7 34:19
                            157:11 159:22
                                                 89:1 93:19 94:8      39:12 43:14 45:9
      legally 117:19
                           LICS 80:11 199:20     114:16 133:19,21     46:18 58:13 60:5
      legs 238:10,11        200:10 201:13        135:4 148:9          67:6 70:15,25
       240:14               202:16,23 205:18     161:12 189:2         71:23 77:9 80:10
                            207:18               194:5,8 202:7        96:13 105:10
      length 93:4,13,17,                         222:7 262:24
       21,22 94:2,6        lieutenant 27:4,6                          122:14 126:24,25
       96:17                68:19               long-winded           127:6,11,15
                                                 12:6                 129:23 150:5
      lethal 9:19,22       lifetime 9:23,24                           158:11,21 167:14
       10:1,14 21:22,24     10:3                longer 64:13,14       183:6 188:21
       53:22,25 54:10                            133:24               191:1 194:19
                           lighter 305:2
       55:20 57:3 67:19,                                              203:12 209:5,8
                                                looked 34:18
       24 68:1,21 72:23    lightly 32:12,13                           216:2 223:15
                                                 106:1
       73:1 74:16 75:7                                                246:21 262:17
                           limit 114:19
       78:13 79:17 85:3                         losing 140:15         263:12 269:7
                            133:20 190:22
       94:15 100:15,19                                                271:18 278:5
                                                lost 310:8
       112:24 125:25       lines 74:13 76:14                          302:1 303:11,13,
       126:18 130:19,23     78:7,9,11 97:22     lot 24:18 72:7        17,19 305:9,16
       131:3,10 139:2       126:17,25 127:11     128:19 129:10
       149:18 155:11        197:9 211:3          187:7 271:24        makes 105:11
       162:13 164:19        215:11 221:5         277:12               114:5 116:20
       185:21 186:2         246:22 310:11                             120:20 142:8
       193:14 195:21
                                                loud 238:17           150:12 203:25
       201:10 202:9,11,
                           liquefied 161:3                            209:23 210:3
                                                lower 43:1
       17,23 204:10,19                                                216:11 242:12
                           list 252:7,8,24
       207:3 214:21                             Lubarsky 274:24
                            253:2                                    making 11:16
       215:1 224:18                             lunch 148:17          30:6 122:21
       246:10,17 248:17    listed 77:20
                                                                      277:13,17
       252:4 263:24         107:12 247:25
       275:9                                                         man 69:11




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22   * Index:
                                                      (615)595-0073
                                                               learn..mani18
                                                       336 of 352 PageID #: 8978
                      www.EliteReportingServices.com
      manage 23:20        ME's 208:14           15,18 97:20           118:8 138:11
       24:3                                     104:5,7,11,18         141:7,10,13 142:4
                          meaning 48:6
                                                108:7,20,23,24        149:21 150:4,12,
      manager 25:16        50:7,8 53:10
                                                109:8 139:7,13,       17 151:1,9,16,21
       26:24 27:1          64:13 66:14 69:5
                                                15,16,17,18 160:8     153:7 154:3,13
                           84:19 114:16
      managing 24:13                            162:2 186:16          156:4 164:24
                           119:23 138:8
                                                197:6,22 198:3        165:5,19 166:1,9
      mandatory            141:10 177:19
                                                203:3,4 205:19,23     167:13 170:19,22
       43:20,24 166:12     227:7 230:24
                                                206:2 207:10          171:14 173:20
       185:2               261:5 266:3
                                                208:2,6,16 212:25     175:16,18 179:4
                           279:22
      manual 55:19                              213:7                 188:6,7 211:24
       57:5 79:4 90:20    means 10:19                                 227:16,23 228:10,
                                               member's 97:14
       91:2,18 99:14       50:10,11 57:10,13                          18 230:8 231:14
       130:20,23 131:7,    78:6 81:7,10,12     members 34:11,         244:22 245:8,19
       17 132:4,7,10       91:13 114:3,15       16 35:18 36:21        247:15 249:10,12,
       133:6 137:17        116:5 135:2          38:13,17,20 39:8      14,16,19,21
                           145:15 146:1,2,3     51:25 52:2,8,12       250:2,5,10 251:3
      manuals 131:1        152:16 174:1         54:16 61:11,20        254:12,15,23,25
      manufactured         206:25 253:6         64:4,6,7,8,11,12,     255:2,11,24
       155:12,20,23        279:6 299:16         17 83:11 91:25        256:22 257:14
       163:6 164:21        310:15               92:3,11,13 93:2,7     259:11 261:16
       176:9,22 177:1                           95:10,15 104:2        262:3 264:18,23
                          meant 49:21                                 265:6,12 266:2
       191:14,22 199:5                          106:5,9 107:3,4,5,
                           114:15
                                                7,17 108:8,15         267:8,12,18
      mark 135:13,15,     measures 20:20        122:12 130:16,19,     268:4,24 269:4,
       16                                       20 131:8 134:21       13,16,18 271:7
                          media 275:2,14        139:6 143:16          279:22 280:13
      marked 41:4          276:3,9,12
       105:15 144:6                             197:11 202:15,22      281:16 282:14,24
       147:3 170:9,12     median 147:19         205:12 216:19         296:20 297:25
       251:19 256:3        148:2                271:23 291:5,8        298:17 300:23
       261:10 263:16                                                  303:5,10,19 304:3
                          medical 22:14        memory 14:20,23        307:5 310:6
       266:14 268:11                            15:9 64:22 152:24
                           35:2,3,10 97:11
       274:17 276:17                                                 middle 7:8 8:19
                           102:11 103:7
       280:23 282:6                            mental 64:16           26:14 197:3
                           116:23 123:18
       283:13 284:16                            65:4,13
                           143:5,7 144:24                            Midway 242:22
       306:14 309:18
                           145:11,16,19        mention 45:9
      marking 187:8        146:9 198:6          70:25                military 22:22
                           205:15 210:17
      master's 18:14,                          mentioned 9:13        milligram 262:3
                           214:22 215:5
       21 19:1,6,17                             14:1 19:7 57:24
                           219:22 224:14,21,                         milligrams
      materials 131:9,     24 229:22 232:15,   message 149:4          227:16,22 256:22
       13,14               17
                                               met 13:18,19,21,      milliliter 256:22
      matter 7:6 300:7,   medication 11:2,      24                    261:17,20,23
       20 301:6 303:23     4,6                                        262:2,3,6,7
                                               method 53:25
      mature 96:21        meet 13:2,8 15:22     307:25 308:4,5       milliliters 268:23
                                                313:2
      mature-minded       meeting 13:11,12                           mind 87:1 93:21
       32:13               17:13               methods 9:1,2          171:1 272:22
                                                53:19,21 99:6         297:6 303:24
      maturity 93:5       meetings 13:10,
                           14,16 14:4          mic 233:3             minimum 93:1
      Mays 7:6,20,22                                                  188:18 202:15,21,
       8:3 43:14 90:11    member 33:13         Michael 25:14          22
       313:15              34:5,14 61:6
                                               midazolam             minute 8:14 17:12
                           62:23 63:2,23,24
      Mays' 147:11                              77:23,25 78:6,9,
                           64:2 92:16 93:12,                          38:7 48:18 106:4
                                                10,17 86:3 97:25




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        Services
                                   Filed 03/17/22 Index:
                                                     * (615)595-0073
                                                   Page   manage..minutei19
                                                        337 of 352 PageID #: 8979
                      www.EliteReportingServices.com
       186:7 194:12        month 134:18         56:2 66:15 80:17    normal 20:6,7
       201:1 204:18         135:6,23 189:1      124:10 139:4         81:20 85:14
       240:22,24 263:1      220:6,16 260:23     145:20 162:4
                                                                    note 8:6 31:4
       276:24 297:21                            184:8 195:5
                           monthly 131:19
                                                196:24 200:22       noted 134:7
      minutes 79:2,3,6,     132:18 147:18
                                                206:6 209:3          259:16,25
       8 89:2,3 90:3
                           months 34:7          220:9,13 243:1,
       114:24 115:2,5,8
                                                20,22 287:13,17,
                                                                    notes 50:2,6
                            253:19
       118:3 228:17,20,
                                                19,23 288:24        nothing's 246:23
       25 264:2 278:17     morning 7:16 8:3,    289:3,8,18,22
      mirror 76:19
                            4 13:22 17:18                           notice 31:3
                            148:25             naming 224:6          265:11,19 275:22
      misheard 147:25                           243:22
                           motion 87:14                             noticed 45:16,22,
      missed 59:23                             Nashville 7:10        25 46:3,6,10,13
                           mouth 237:8          18:16
       283:17                                                        86:22
                            238:6
      mission 293:15                           natural 155:24       notified 95:22
                           move 86:22
      mistakes 140:5        269:21 274:7       naturally 272:15,    notify 47:11
                            299:22 300:8        21                   117:19 120:1,10,
      MITCHELL 314:4,
                            302:8,10,15,22                           16,18 250:14
       16,19                                   nature 22:2,9
                           moved 64:12          123:10              number 32:19,23,
      mix 180:7 210:11
                            184:8 257:14                             24 41:5 105:16
       212:23 213:6,12,                        necessarily
                            275:19                                   124:17 144:7
       14                                       139:10 235:22
                                                                     147:4 170:10,13
                           movement 85:20       237:6,14 238:3,8,
      mixed 155:21                              14 265:25 312:11
                                                                     179:4,6,9 187:8
                            235:13 236:6
       206:14 246:25                                                 205:10 251:20
                            241:12 242:12
       247:3,4,15                              neck 83:5             256:4 261:11
                            265:19
                                                                     263:17 266:15
      mixes 204:23                             needed 46:16
                           movements                                 268:12 274:18
                                                55:21 95:9 115:18
      mixing 210:10         241:24 275:22
                                                128:4,7 159:18
                                                                     276:18 280:24
                            279:15                                   282:7 283:13
      moment 90:4                               280:3,5
                                                                     284:16 291:9
       148:13 225:9        moves 86:14
                                               nerve 83:6            306:15 309:19
       313:8                235:18 236:2
                            240:11             nerve-wise 81:21     nurse 35:5
      monitor 58:12
       60:4,7 79:21 80:3   moving 240:15       nerves 236:6,7
       99:23,24 100:2,4,    241:9 265:12        239:7 241:13                O
       9,18,25 126:25       275:13
                                               nervous 238:15
       162:19 168:20                                                Oakley 285:25
                           multiple 122:8
       216:19 217:15                           night 13:24 17:19
                            124:17 243:8                            oath 10:17
       219:5 221:20
                                               nodding 11:18
                           muscle 83:5                              object 12:14 18:7
      monitored
                                               Nods 10:15            25:6 37:6 40:12
       162:22 168:18       Myers 26:4,9
       184:12                                  noise 234:5           44:11,15,21 45:1,
                           Myers' 26:10                              18 46:21,22 47:21
                                                275:19
      monitoring 60:10                                               48:12 53:5 81:19
       76:9,11,13,14                           non-expired           82:8 85:23 87:10,
                                     N
       99:25 100:3                              269:7                21 93:16 94:4
       101:2,4,13 102:24                                             101:8 102:2 105:5
       103:2 124:2 185:5   naked 299:2         non-identified
                                                100:5                156:8 157:19
       216:17 217:7,25     name's 7:18                               173:10 238:2
       219:18,19 221:13                        nonresponsive         239:18 241:16
                           named 47:22 53:6     237:22               242:15 245:16
      monitors 60:8
       68:15 75:9 76:12    names 13:6 25:4,                          251:13 258:6
                                               norm 119:9,11
       243:15               9 53:14 54:20                            259:2 263:3
                                                120:6




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        Services
                                                Index:
                                   Filed 03/17/22   * (615)595-0073
                                                  Page  minutes..objecti20
                                                       338 of 352 PageID #: 8980
                      www.EliteReportingServices.com
       264:10 265:8,13       233:12,13,18,25     offenders 84:5         122:15,19,22
       267:14 281:20         234:11,16,23                               225:3 246:21
                                                 offer 64:16 65:9
       284:7 288:15          235:5,15,21                                288:17
       292:2,12,19,25        236:25 237:5,9      office 7:9 134:4
                                                                       ordered 57:3
       302:11,16,24          238:7,13,18 242:2    144:4 163:3
                                                                        264:13,16 267:9,
       303:15 311:8          244:2,7,10,17        208:14 214:22
                                                                        13 268:4 270:21,
                             250:11 267:25        215:5 224:15
      objection 12:16                                                   25
                             268:7,20 269:9
       25:7 47:3,13 52:6,                        officer 21:12
                             271:19 272:11                             orders 263:23
       15 64:20 65:6,18                           27:11,13,15
                             273:4,15,21                                292:7,11
       72:15 73:13                                62:18,19 84:3
                             274:12 276:4
       75:17,24 76:6
                             280:10,14 282:1
                                                  220:4,5,10,13        ordinary 128:17
       78:1 91:14 95:5                            222:3                 274:2
                             289:10,14 290:1,9
       96:8,15 97:15
                             294:1,10,15,24      officers 21:5,6       ourself 293:14
       98:17 99:12
                             295:6,23 296:10,     62:9,10,17 68:18
       112:6,11,21,25                                                  outdoor 294:3
                             15,22 297:8,17       101:22
       113:5,9,24 115:3,
                             298:23 299:23                             outdoors 298:12
       9,24 116:4,14,25                          official 275:2
                             300:22 301:10,18
       117:5,14 118:14,                                                outlined 90:19
                             303:25 304:5,18,    one-drug 54:24
       20 119:6,12                                                      91:1 134:17
                             23 305:4,11,18,24    55:1 307:25
       120:3,22 123:5,20
                             306:6 308:6,10       308:4,14,20          outlines 91:17
       125:8,18 126:6,22
                             309:13 311:2,16
       127:16 128:14,21                          open 74:1 117:24      outpatient 84:6
                             312:14,22
       129:2,7 130:6,11                           178:15 244:25
       131:24 133:7,13      objections 158:5,     245:2,7 293:19
                                                                       outstanding 97:3
       136:15 137:3,11       14,21                294:17,21 295:11     overnight 176:6
       138:5,12,18 140:8
                            observation          opened 190:9          oversee 21:16
       142:10,15 145:14
                             242:20,25            237:8                 58:9,11 59:6
       146:19 150:1
       151:5,11 152:4,      observe 32:14                               71:25 72:2 136:17
                                                 opening 122:18
       10,23 154:7           45:8 79:24 80:2                            142:25 180:11
                                                  129:20
       156:19,25 157:6,      81:24 83:8 120:6                           267:20
       12 158:4,21,22        239:23 264:8        openings 33:4
                                                                       overseeing 24:13
       159:7 161:1           271:13 278:8        opens 78:14            57:22 58:1 79:12
       167:17,20 168:14      279:15 293:20        178:1                 311:25
       171:21 173:25
       174:7 176:2
                            observed 83:24       operating 84:8        oversees 136:11
                             84:10 90:6 225:11                          168:5 183:5
       177:13 179:17,25                          operational
                             270:20 271:15,16                           301:15 310:25
       180:4,8,16 181:5,                          56:25 57:16,19
                             278:10 295:1,2
       23 183:1,13,19                             58:6                 oversight 284:1
                             313:10
       184:2,21 187:22
       190:5 191:6          observer 102:17,     operations 24:4
       192:1,4,14,23         18,20 103:13,14,     52:23                          P
       193:5,11 196:2,10     17,19               opining 297:15
       199:1,9 201:19,25                                               p.m. 135:13,15,16
       207:15,23 208:11,    observes 205:24      opinion 48:6,8         148:16,17,18,20
       21 210:19,23          207:10               229:18 234:8,12       225:10,11,12,14
       211:4,14 212:12      observing 83:23       276:2,5,6 296:4,8,    226:2,13 243:23
       213:2,16 217:4        122:14 293:21,22     11 297:22             257:8 277:1
       218:13,22 219:2,                          opportunity            284:3,6 309:23
       16 221:1,8,15,24     occurred 110:5                              313:9,10,11,13
                                                  196:13,14,16
       222:19,24 223:4      occurs 143:22                               314:9,20
       224:20 227:21                             opposed 117:12
       228:8,21 229:2,      October 285:4                              package 161:6
                             286:22              option 113:18,23
       13,19,25 230:15,                                                packet 41:8
       22 231:2,12,19       offender 84:8        order 34:19 35:6       313:25
       232:6,16,22                                37:7 53:6 121:5




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        Services
                                              Index:
                                   Filed 03/17/22   * objection..packeti21
                                                  Page(615)595-0073
                                                       339 of 352 PageID #: 8981
                      www.EliteReportingServices.com
      pages 56:21           302:6               pattern 186:13       performs 290:7
       259:7
                           parentheses          pause 25:22          period 20:10
      paid 36:18,22,23,     188:17               28:11 164:18         32:18 71:3,6
       24 37:3,11,14                             227:20,24 245:1      78:25 88:25 89:1
                           Parker 7:7,20
       39:3                                      270:2                99:15 228:11
                            8:18 148:22
                                                                      263:4,5,9 275:12
      pain 81:13,15                             pay 28:3,6
                           part 18:20 22:12                           308:22
       84:19 153:18
                            28:12,16,20,23      pays 37:8
       231:16,18,21,24                                               periodic 144:23
                            30:11,17,19,21,22
       233:11 300:20                            pending 8:18          145:10 146:3
                            31:3,5,9,11,16,24
       301:7,8 302:15,23
                            32:8,10,17,22       pentobarbital        periodically
       310:18 311:14
                            33:8 34:24 36:18,    307:13,17,19,25      145:15
       312:12,20
                            22 41:23 54:19       308:4,15,21
                                                                     permanent 35:19
      panel 55:22,25        64:15 106:3,20       309:2,9
       56:3,11,13           109:13 129:21                            perpetual 189:24
                            134:15 141:4
                                                people 16:2 24:23
      paper 198:15                               25:4 27:25 30:11,   person 34:22
                            223:22 265:23
                                                 17 31:10,15 32:9,    36:15 39:6 47:9
      papers 16:16          267:11 272:8
                                                 16 35:25 37:8        50:16 53:5 58:17
                            293:14 307:9,13
      paperwork             313:3
                                                 38:12 40:5 47:22     63:2,5,10 66:15
       281:21                                    48:7 51:17,22        71:19 73:5 80:18
                           participant           52:20,24 54:14       81:14 82:6 83:7
      paradoxical           147:20               61:25 62:18,20       95:4 96:4,21 97:1,
       151:17,19
                                                 72:8 94:18,21,22     4,6,17,21 98:24
                           participants
      paragraph 56:24       132:5 133:6,25
                                                 95:19,22 102:21      99:7,9 107:25
       57:4 60:14 62:10                          109:12 126:24        108:2,7 109:8,21
                            143:24
       90:24 91:11,12,15                         129:6 143:17         136:25 137:20
       92:24 138:22        participate 22:24     211:8 273:3          146:12 157:22
       146:4 155:10         37:8 96:24 99:10     298:24               168:5,8 174:15
       157:5 164:18         104:3 108:24                              185:17 186:22
                                                pepper 22:1
       166:21 171:2,4       134:22                                    187:19 195:23
       184:20 186:8                             percent 87:2          198:2,18 223:20
                           participates
       187:2 188:13                                                   229:23 231:17
                            147:17              perception 96:10      233:23,24 234:2,
       189:22 193:17
       197:1,4,14,18       participation        perform 36:23         9,15,20,22 235:4
       199:25 200:1,17      293:17               62:7 79:4 80:15,     240:20 246:5
       203:10 205:17                             19 113:19,25         264:5 273:9,11,12
                           particles 182:17                           287:23 301:15
       212:3,8 218:4                             114:2 118:21
                            183:18 184:1
       220:2 223:25                              122:6 123:1,3,6      302:20 310:21,24
       229:10 242:19,22    particulars           125:7,10 129:22      312:5
       275:2                14:24,25             130:1,2 215:16
                                                                     person's 63:7
                                                 290:4 295:15
      paralytic 151:25     parts 50:23,24                             105:9 159:10
                                                 298:12
       152:15,17 299:13,    265:25                                    215:2 224:7,13
       20 300:2,6,11,12,                        performance          personal 90:20
       18,24 301:6,8
                           party 53:6
                                                 90:20 91:19 96:25
                                                                      91:19 96:10 276:5
       302:4,21            pass 79:6,8
                                                performed 83:25      personnel 60:19
      paralyze 152:17      passed 42:17          90:20 91:18 93:19
                                                                      127:25
       297:4 300:12         108:23 234:21        202:8 237:16
                            235:7                239:21 274:4        persons 67:8,9
      paralyzed
                                                 277:24 278:12
       118:13,18 299:22    past 9:22 21:20                           ph 155:6
       300:21 302:7,10,     140:10 194:7,9      performing 57:2
                                                                     pharmaceutical
       14,18                256:13               79:10 111:12
                                                                      155:14 164:22
                                                 122:5 125:22
      paralyzes 150:14     patients 230:9,       129:17 243:10       pharmacist
       299:17 300:8         13,19
                                                                      166:1 168:3 172:2




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        Services
                                              Index:
                                   Filed 03/17/22   * pages..pharmacisti22
                                                  Page(615)595-0073
                                                       340 of 352 PageID #: 8982
                      www.EliteReportingServices.com
       173:7,15 177:5       23,25 110:2 120:8   portions 181:10,      71:23 164:22
       192:10,12 213:24     135:19 173:21        11,13                173:18 175:15
       258:12 268:19        181:17 184:4                              181:16 202:12
                                                position 28:4,7
       269:7                192:24 223:16                             211:21 213:21
                                                 34:9,15 42:3
                            266:10 283:5                              266:18 267:3
      pharmacist's                               85:14 95:9,20,23
                            292:18 295:13                             281:8 282:11
       173:6 261:22                              96:4 137:7
                           places 78:15                              preparations
      pharmacological                           positions 25:9
                            88:20 224:10,18                           155:13 159:25
       198:6                                     27:21 31:19,21
                                                                      163:17,21 164:7
                           plaintiff 8:17        33:5,7 92:20
      Pharmacopeia                                                    165:12,19 166:6,
       155:15              Plaintiff's 147:12   possession            7,8,10 167:3,6
                                                 186:3,14 191:8       173:2
      pharmacy 164:3,      plane 275:5,7
       5,9 211:22 258:8                         possibly 9:2         prepare 12:23
                           planes 117:4                               15:23 16:6 17:4,
                                                 62:12 293:20
      Philadelphia                                                    15 29:19,20,25
                           planned 57:1,17,
       8:16                                     postgraduate          222:5 267:17,21,
                            20
                                                 19:5
      phone 120:12                                                    24 282:24
                           planning 41:14
       174:22 248:3,5,6,                        potassium 98:6       prepared 155:13
       13                  play 129:10           149:22 150:14
                                                                      159:3,21 206:22
                            138:25 270:10        153:14 154:12
      phonetic 25:16                                                  214:21 215:1
                                                 156:4 164:25
                           plunger 218:7,8                            266:2 267:7,9,12
      physical 275:3                             165:7,8,19 166:1,
                                                                      268:4 279:22
                           point 69:5 72:1,25    9 167:13 170:19,
      physically 24:11                                                280:2,5 281:4,14,
                            73:8 74:3,15         23 171:14 179:10
       275:15,17                                                      16 282:14
                            75:19 76:5,25        180:24 181:16
      physician 38:25       78:19 79:25 80:4,    182:7,16 188:9      preparing 17:8
       74:3,4,6,8,21        5 83:10,15 89:13,    211:25 231:10        66:24 99:2 177:6
       75:21 83:14          18 118:12 120:1,     252:11 253:6,9       208:10
       89:14,17 110:12,     14 176:16 178:2,3    254:25 267:7
                                                                     prescribe 115:7
       16,19 111:3,10,23    184:20,22 203:22     281:3,13 282:19
                                                                      157:8
       112:4,18,23          204:12 205:2         296:19 297:5
       113:4,15,18 114:1    216:25 218:1,11      298:9 310:19        prescribed 30:9
       117:23 118:3         219:1 221:5                               53:25 90:19,23,25
                                                power 156:22
       122:20 124:11,12,    224:25 225:6                              168:3 172:1
                                                 244:9
       15,20,24 125:2,3,    226:21 227:4                              269:17
       6,16,21 139:1,22     228:7 235:8 238:1   Powerpoint
                                                                     prescribes 115:4
       215:15,19 216:8      239:9,12 241:5       307:11,14
       224:1 235:25         244:19 245:15,24                         prescribing
                                                powers 307:4,9
       236:4,12,15          246:2 249:22                              258:9
       244:1,5              250:19 254:15       practice 30:8
                                                                     prescription
                            255:25 259:16        54:24 62:11
      physician's                                                     164:13 187:17
                            264:11,13,14         108:18,20 132:14
       111:24 117:17                                                  192:9,12,16,21
                            271:10 277:9         135:24 136:2,3,4
                                                                      212:22
      pick-up 184:17        306:1 309:24         137:14,15,18
       193:20                                    139:11 141:16       presence 110:12,
                           pointing 100:16
                                                 197:20 221:13        18 111:3
      picked 197:5
                           points 66:18          266:6,9 288:2,19
       287:23                                                        present 13:25
                            76:12 239:13
                                                practiced 30:7        34:18 112:15
      piece 265:4
                           policies 20:19        142:14,20            145:22 183:9,15
      pinch 237:23                              practices 45:9       presented 41:4
                           policy 214:12
      pinching 235:10                            57:21,23 62:8        95:24 97:4 105:15
                           poorly 50:8           142:13               144:6 147:3
       304:14
                           portion 181:12                             170:9,12 210:7
      place 42:25 73:15,                        preparation
                                                                      251:19 256:3
                                                 16:11 66:21,23




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20    Index:
                                   Filed  Services
                                               pharmacist's..presentedi23
                                         03/17/22   * (615)595-0073
                                                  Page 341 of 352 PageID #: 8983
                      www.EliteReportingServices.com
       261:10 263:16       prisoner 117:12      Procurement          protected 275:8
       266:14 268:11        141:6 250:8          160:1
                                                                     protective 37:7
       274:17 276:17
                           prisoners 41:15      procurer 16:13        53:6
       280:23 282:6
                                                 36:13 44:24 46:3,
       306:14 307:14       prisons 119:1,18                          protocol 13:1
                                                 7,11 157:25
       309:18               127:21                                    14:5 16:15 17:10,
                                                 158:25 161:9,22
                                                                      21,25 18:4 30:2,9
      presents 209:22      privilege 12:17       162:5 164:11,12
                                                                      34:10 37:15,21,25
                                                 182:6,9 185:18
      preserves 158:4,     problem 244:15                             38:6,7,16,23
                                                 311:5,7,13
       20                   256:12                                    39:13,16,17,25
                                                procures 36:15        40:11,21,23 41:1,
      pressure 11:5        procedure 45:7                             18,21,22 42:24
       218:6                46:19 68:23 71:11   procuring 159:17
                                                                      43:5,6,8,11,17,20,
                            111:19 113:19
      pretend 137:20                            produced 186:15       21 44:2,5,8,14,20,
                            114:2,11,12,15
                                                 275:18               25 45:5,16,23
      pretended             117:25 119:20
                                                                      46:1,4,7,16,20
       137:23               134:17 149:19       profession 95:16      47:2,10,15,18,20
                            203:17 205:25        232:17
      pretty 49:22                                                    48:6,7,8,14,24
                            207:11,13,16,18,
       259:18                                   professional          49:3,13,20 50:3,5,
                            22 208:3,17
                                                 123:18 144:24        9,22,25 51:3,4,9,
      prevent 279:12        215:16 231:8
                                                                      13,14,18,23 52:4,
                                                 145:11,17,19
                            243:23 248:4
      preventing 87:3                            146:9 232:15         5,13 53:3,13,15
                            263:21 308:21
                                                                      54:1,5,10,12,17,
      previous 8:7 9:6,                         Professionalism       20,24 55:2,6,12,
                           procedures
       9,10 12:25 14:11,                         97:3                 16 56:5,10,12
                            20:19 41:14 55:20
       18 62:24 63:3                                                  57:5 58:7,13 59:1
                            90:19 91:3          Professionally
       282:22                                                         60:16,23 61:8,12,
                            111:12,14 122:5      230:1
      previously 16:3       220:3 229:22                              13 65:21 72:13
                                                professionals         74:8 77:20 79:5
       41:4 105:15 144:6
                           proceed 69:3,4,       143:5,8              84:14 85:6,19
       147:3,16 170:9,12
                            12,13,15 77:16,                           99:8 101:17
       251:19 256:3
                            19,25 80:11 85:8
                                                programs 22:24
       261:10 263:16                                                  103:18 115:4,7,11
                            86:1,13,21 87:19    progress 119:2        118:6 119:14,16,
       266:14 268:11
                            120:21 121:6                              22,23,24,25
       274:17 276:17
                            142:9 217:21        promise 11:23
       280:23 282:6                                                   120:5,18 125:4
                            226:5,19,21 227:6   promote 293:15        126:7,13 130:24
       306:14 309:18
                            239:10 240:7,12,                          131:2,10,12,23
      pride 293:14          16 241:7 245:5      prompted 27:16
                                                                      133:16 135:10
                            250:24 251:12,15    pronounce 83:4        141:2,4 149:25
      primary 90:18         263:24 264:14,17,    112:2                152:6,21 163:15,
       111:24 122:4         22 267:9,13 268:5
       126:1,16                                 pronounced            16 164:15 165:20,
                            270:21 273:1                              22 166:11,12
                            282:24               263:9
      prior 14:5 16:2,16                                              167:7,15 168:12
       18:4 28:3,7,10,17   proceeded            pronounces            171:19 172:6
       63:12,18,24 64:3     276:24               224:1,2              174:19 175:7,21
       67:3,6 98:12,15,                                               176:24 181:19
       20 111:10 113:14    proceedings          pronouncing
                                                 25:17                182:12 185:3
       173:21 174:3         314:20                                    189:7 192:12,18,
       181:18 182:8                             proper 155:6          22 194:1,21
                           proceeds 77:13
       187:6 202:14,21                           226:22               195:3,9 196:7,8
                            78:2,4 87:16
       306:25 307:21                                                  198:24 201:6,18,
                            141:3 187:4         properly 22:21
       313:21,24                                                      24 207:25 214:2,8
                           process 77:6,13,      57:1,17,20 126:17
      prison 35:11                                                    226:20 231:11
                            14 138:24 193:14     127:6,11 169:7,11
       52:23 98:9,15,16,                                              233:24 234:10
                            263:25 275:10        187:6,9 213:6,12,
       21 195:14,18                                                   241:18 243:19
                            313:3                14 222:11 223:9
                                                                      249:24 254:2




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        Services
                                             Index:
                                   Filed 03/17/22   *presents..protocoli24
                                                  Page(615)595-0073
                                                       342 of 352 PageID #: 8984
                      www.EliteReportingServices.com
       255:3,8 279:25      pushing 73:15          33:25 49:21 50:3,   read 9:3,10 12:25
       280:20 283:2         88:5 211:3 244:24     12 52:13 132:22      37:20 48:24 49:2,
       297:2,3,19,24,25     264:23                150:8 225:18         10,13 130:19
       298:3,8,19 299:13                          240:18 313:20        131:2 132:7,9
                           put 84:10 99:10
       303:3 305:23                               314:8                133:22 149:3,8
                            150:5 161:8 164:9
       308:5,15,20,24                                                  164:24 172:16
                            167:15 174:9         quick 12:9 233:5
       309:5,8,12 310:25                                               174:18 246:15
                            176:17 179:23         313:7
       312:18                                                          278:5 308:24
                            190:13 206:16
                                                 quickly 87:18,19      309:11 314:17
      protocol's            261:6,7 292:7,10
                                                  99:9 100:10
       196:20               299:6 304:4 305:2                         readily 291:25
                            313:20               quietly 299:7         292:4
      protocols 9:11
       38:3 55:5 307:22    putting 188:2         quotation 275:11     reading 14:10
                            192:17                                     15:3,4,7 17:10
      provide 291:15
                                                                       37:14,16 49:20
                                                           R
      provided 108:13,                                                 131:9,17 133:15
                                     Q
       19,21 181:1                                                     182:22 183:20
                                                 radio 89:10           197:12 277:10
      provision 185:2      qualifications         127:24               309:5
       192:13               96:13 97:14
                            101:25 209:25
                                                 raise 73:25          ready 223:23
      provisions 51:8
                            210:2 211:8          raised 73:9 77:1,8   real 141:17,18,20
      public 18:21 19:2,                                               233:5
       3,12 40:2 295:11,   qualified 112:9       range 291:17,18,
       16,17                130:9 136:13,22       19,21 293:19        reason 10:22,24
                            137:2,9 144:24        294:4,17,21          15:15,17 39:15,19
      Published 275:14      145:10,16,19          298:10               40:4 109:2 123:7
      pull 89:5,7           146:9 290:25                               129:5,9 254:10
                            291:3,6              rapid 87:14
                                                                       259:15 262:5
      pulled 71:14 77:2,                         rapport 272:19
       7 142:5             qualifies 133:12,                          reassess 153:5
                            17                   rate 142:13,20
      pulls 218:7                                 143:1,12 219:9,12   recall 11:7 31:17
                           quantity 250:2,4                            49:9,18 103:20
      punched 304:21                             Ray 269:22            266:24 278:21,23,
                           question 11:25
      punishment            12:4,7 25:8 46:10,    270:15 276:21        25
       112:16               23 48:1 50:8 53:7    re-entered           recalled 15:2,7
                            55:8 59:3 65:16       189:24
      purple 278:18                                                   receipt 187:3
                            86:5 98:15 99:18
      purpose 149:25        103:16 106:23        reach 193:18
                                                  194:22 196:22       receive 123:15
       227:20               116:12 121:18                              131:8 145:16
                            153:8 156:9          reached 185:22        146:16,25 161:5,
      purposes 22:8
                            165:11 167:5                               10,14,15 171:17
       29:23 45:7 56:7,8                         reaches 184:15
                            171:13 199:12                              176:12 203:24
       150:3 178:5
                            207:21 221:23        react 275:15,17       248:3 312:1
      push 88:1,5           227:5 236:13,15,
       142:13,19,22         20 240:2,17          reacted 239:20       received 54:3
       143:1,11 210:13      241:22 245:11,14,                          65:13 123:19,21,
                                                 reacting 234:17
       219:9,12 241:11      17,23,25 249:20                            22 124:3 146:22
                                                  236:7 237:18,24
       245:2,20 264:17      253:14,23 257:16                           147:17 160:8,16
       270:25               278:20 281:24        reaction 82:21        231:13,21 232:1,
                            292:1 295:18          83:1,7 234:4         3,10 251:2 261:16
      pushed 73:12                                235:11 237:19        310:21 311:6
                            297:20 298:6
       88:15 265:7,12                             238:15 240:20
                            300:4,13 308:9                            receives 144:23
       271:8                                      277:5
                            312:4                                      145:9 146:7,8,13
      pushes 70:1                                reactions 81:20       174:11 178:5
                           questions 8:2,21
                            11:22 12:6,15,20                           300:18 301:6




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        Services
                                           Index: Page
                                   Filed 03/17/22 protocol's..receivesi25
                                                    * (615)595-0073
                                                       343 of 352 PageID #: 8985
                      www.EliteReportingServices.com
      receiving 231:9,      4,9,14              regulations          reported 128:5
       18                                        155:17 157:11
                           records 262:16                            reporter 7:12
                                                 159:22
      recent 63:1                                                     11:16 277:8 290:2
                           red 203:13 204:23
       220:20                                   rehearsal 58:19,      313:25 314:12,15,
                            249:8,18,23 251:3
                                                 21 59:7 99:15        17
      recently 63:2         280:1,12,15,18
                                                 155:1 247:7
                            281:10                                   Reporting 7:13
      recess 90:6
                                                rehearsals 57:21
       148:17 225:11       redacted 144:18                           reports 26:8
                                                 133:2 135:23
       313:10               259:17,21
                                                 136:1               represent 7:15,
      recognize 105:23     reevaluate 93:9                            17,19 8:17
                                                rehearse 30:2
       268:16 275:4
                           refer 41:17 164:18                        represented
                                                rehearsed 246:19
      recognized 140:6      166:16 171:3                              11:10
                            288:6               relate 91:5
      recollection 14:9                                              reprieves 77:10
       42:9,12 64:22       reference 14:17      related 8:21
                                                                     request 30:19,24
       163:22 265:14        103:15,18
                                                relates 93:14         31:3,9,10,12,16
      recommend 95:3       referenced            131:9                32:1,3 134:6
       166:1                147:22                                    216:3 259:23
                                                relation 9:15 10:1
      recommendation       references 94:14                          requested 30:22
                                                relied 47:17
       34:16 97:6,17                                                  31:24 32:16,21
                           referred 42:1 97:6
       99:5                                     rely 241:14           99:4
                            288:1
      recommendation                            remaining 92:25      requests 31:18,
                           referring 9:23
      s 34:21 95:13                                                   21
                            106:12 232:8        remember 10:5
       96:25
                            263:10 281:12        14:13,14 15:1,4     require 33:10
      recommended                                18:17 25:20 49:6     162:24 194:21
                           refers 79:5
       34:22 94:15,19,                           50:24 51:6,8
                                                                     required 99:7
       21,25 97:1,17       refresh 14:8,20,      262:24 289:19
                                                                      194:1 290:14,16
       104:9 164:2          23 15:9 49:12
                                                remove 104:22         297:2 308:5
                            163:22
      reconstitute                               173:20 174:2,8
                                                                     requirement
       180:3 212:11,15,    refrigerator          175:17 181:16
                                                                      192:6 196:21
       19                   168:17,18,22,25      259:10
                                                                      199:7
                            169:4,6,9,12,17,
      reconstituted                             removed 69:16
                            20 173:21 174:9                          requirements
       154:5,6,9                                 70:14 71:13
                            175:17,22 181:17                          92:21
                                                 104:13 140:13,14
      reconstituting        188:3 189:25
                                                 300:2 301:21        requires 198:24
       212:7                190:11 194:15
                                                                      255:3 293:18
                            201:3 257:15,23     removes 224:10
      record 7:3 8:6        258:3,13,23 261:1                        requiring 33:19
       11:16 90:5,8                             Removing 182:7
       134:20 148:15,19    refrigerator/                             resist 234:5
                                                repeat 30:13 59:2
       158:7 225:10,13     freezer 172:3,4
                                                 75:11 84:24 118:6   resistance 218:6
       233:7 246:12
                           regain 85:20          214:24 230:16
       313:9,12,20                                                   resolve 51:15
                            229:17 234:9         255:5 273:5 291:1
       314:6,11
                                                 297:20              respect 272:13
                           regained 234:15
      recorded 170:6
                                                rephrase 12:4        respond 235:3
       187:8               regard 101:9
                                                 214:5 236:13,20      241:23 242:7,11,
      recorder 36:11       region 26:14          300:13 312:4         14
       68:12 102:13
                           regional 26:3,12     report 24:21,23      responded 298:4
       125:25 246:10,11,
                                                 25:5,25 26:2,5,7
       18 289:24           regular 314:14        52:24 275:14
                                                                     responds 242:3
      recorders 243:2,     regularly 30:7        276:10 283:5        response 147:12




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        Services
                                            Index:Page
                                   Filed 03/17/22  receiving..responsei26
                                                    * (615)595-0073
                                                       344 of 352 PageID #: 8986
                      www.EliteReportingServices.com
       196:1 225:17        revision 43:1         rose 260:22           scientific 20:5
       237:21 240:23        56:7,8,14
                                                 roster 132:8,10       Scott 7:18
      responsibilities     right-hand             134:2,6
                                                                       screen 7:4
       24:19 57:2 60:18     259:18
                                                 round 86:2,3
                                                                       seal 170:3,5
      responsibility       Riverbend 37:2
                                                 rounds 118:8           175:17 177:25
       52:20 129:15,17
                           RMSI 160:10                                  178:4 179:1
       193:7 223:15                              route 140:16
                            197:5
                                                                       secondary
      responsible 24:5                           row 276:21
                           Rob 11:14 158:12                             248:24
       26:15 39:7 96:23
                                                 rub 237:23
       129:12 144:1        role 23:25 24:2                             seconds 241:7
       167:25 181:21        26:17 28:23 29:7,    rubbing 233:3          277:14,15
       185:5 193:23         13 33:8 34:5,14
       199:20 200:9,18                           rules 9:12            secrecy 12:16
                            35:23 62:2 65:1,5
                                                                        158:22
       201:7 208:17         66:15 80:18 90:18    running 24:6
       211:12 212:2,6       101:16 103:18                              section 43:17
       223:8                104:16 110:24        rustling 198:15        48:8 134:18
                            111:24 122:4                                145:13 162:9
      rest 17:19 67:17
                            126:1,16 129:10,               S            171:8 172:16
      restrain 129:16       16,18 130:1                                 216:18 227:15
                            139:10 208:17        safe 15:8 134:4        228:16 229:5,6
      restraint 139:13,
                            210:10 211:13,15      144:4 293:15          246:9
       15
                            244:6 270:4,14,16
                                                 safety 20:20 22:7     sections 43:10
      restraints 70:11,     287:23
                                                  25:19                 49:4,6
       12,14 71:12,13
                           roles 34:2 62:7
       275:21
                            102:9 128:20,22      SAITH 314:21          secure 196:12
                                                                        293:15
      result 105:8          129:1,5,12,22,24
                                                 saline 139:1
                            138:25 270:10                              secured 70:16
      retirement 149:4                            147:19 154:15,20
                                                  203:11 206:15         167:6 189:25
                           roll 223:23,24
      retrieve 89:11                              211:24,25 227:16      190:11,13
       122:20 175:15       rolled 69:17           228:18               secures 187:5
      retrieving 129:19    rolls 69:24           sallyport 67:12,      security 20:20
      returned 189:24      room 67:9,13,16,       14 69:13              23:23 25:13 26:21
                            20,21,24 68:2,9,     sarcastic 24:3         31:13 33:20 62:14
      reused 190:14         10,15,16,22,23                              67:3,7 70:20
       191:5 313:23                              Satisfactory
                            71:15,16 72:8,23                            71:19 73:7,20,24
      revealing 46:25       73:1,2,19,22 74:4,    96:25                 79:14 84:9 89:4,8
       47:25                11,14,16,17,22                              122:3 162:10
                                                 Saturday 23:7
                            75:1,7,9,12,16,22                           165:15 171:9
      review 14:3,18        76:24 77:8 78:14,    scenario 135:8         172:19 186:25
       15:25 16:16 17:25    21 79:17 80:4                               191:20 220:14
       41:23 99:8                                scenarios 140:7
                            84:8,22 85:3
                            89:10,15 100:1,5,    schedule 220:18       sedate 230:9
      reviewed 15:15,
       17 17:22 48:22       9,12,13,16,20,23      225:22 226:1         sedated 117:12
       55:21 56:6,7,11,     101:5,7 112:24                              229:23
                                                 scheduled 37:18,
       13,14,15 66:8,9      114:14 121:19
                                                  25 39:10 134:20      sedation 81:1
       91:4,7 97:8 132:4    142:16 179:22
                                                  135:19 174:2          117:9
       246:17               202:17 203:6
                                                  199:13 220:23
                            204:2,7,10 205:1                           select 92:3,5,6,11
      reviewing 17:20                             222:2,6 241:6
                            217:9 218:15                                93:13 109:21
       99:14 106:10         219:5 221:21         schedules              284:5
       197:11 217:5         222:12 243:12,14      134:12
       248:2 259:17                                                    selected 92:6
                           rooms 65:23,24        school 19:22,25        94:11 104:5 109:9
                            66:16 77:2            20:1,3,5,6,7,10,11




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20 Index:  Services
                                             responsibilities..selectedi27
                                    Filed 03/17/22   * (615)595-0073
                                                   Page 345 of 352 PageID #: 8987
                      www.EliteReportingServices.com
      selecting 104:7      set 86:2 110:13       side 237:25           sites 99:24 100:1,
       111:10               147:12 182:17         255:16 258:18         2,6 101:3 102:25
                            203:13,14 247:12      259:8 260:4           103:3 217:25
      Selection 92:16
                            249:3,4,6,7,10,12,
                                                 sign 132:8,10         sitting 75:20 76:1
      selects 92:25         13,17,18 250:9
                                                  133:25 167:23
                            261:5 266:3                                situation 123:8
      self-explanatory      279:22 280:1,5,
                                                  283:23 314:18
       96:24 303:21                                                    situations 45:10
                            12,15,16,18,19       signal 77:16,18,
      semi-annual           281:8                 24 78:11 80:11       sixth 61:20
       188:16                                     85:8,17 86:1 87:6,
                           Set-up 202:12                               size 206:8
                                                  19 89:11 141:10
      send 31:2,8          sets 203:12 204:1,     217:21 226:5,19      skills 138:9,15
      sends 214:20,24,      24 249:16,23          227:6,17 234:14
                            251:2                 236:9,24 237:3,12    skip 186:12
       25
                                                  241:10 264:22        sleep 150:5,13
      sensate 81:10,12     setting 83:23,25
                            97:22 98:9,15,16,    signaling 86:13        265:5 271:4,6
       84:18 233:11
                            21 103:10                                   299:6,7 303:11,
      sense 43:14                                signals 141:2          14,17,20,21,23
       105:10,11           settings 151:3                               304:3,6,11 305:9,
                                                 signatures
                                                                        15
      sentence 172:17      share 216:5,9          188:22
       186:12 191:17
                           shared 216:3          signed 283:25         sleeping 231:1
       200:1,6 218:4                                                    233:16,19 234:1
       224:4,8             sheet 134:1           signs 99:21 112:2
                            266:18 267:4          114:23 228:5,9
                                                                       sleepy 150:12
      sentences 55:19       282:12                239:24 249:3,11      slept 231:4 232:2,
      Separate 131:7                              275:4,10              5
                           shift 27:2,3,4,5,7,
      September             8,9,10               Sims 7:9              slightly 275:19
       251:25 252:22
                           shipment 177:6,8      simulate 135:2        Smith 7:11
       253:3,11,17
                                                  140:22
       306:20 309:22       shirt 233:3                                 smoothly 46:18
       310:1                                     simulated 139:20
                           shoot 293:17                                snore 271:4
                                                  220:7,24
      sequentially 8:8      294:17 295:10
                                                 simulates 134:16      snoring 271:4,5
      sergeant 27:7,8      shooting 291:21                              276:25 277:17
                            294:20               simulating             278:1,10
      serve 109:9,22                              140:13,15,16
                           short 67:6 308:22                           society 19:3
      served 108:6                                221:3
                           shoulder 83:6                               solution 139:1
      serves 107:7                               simulation
                            237:23 277:4                                206:24 207:4
       152:24                                     134:25 138:23
                            304:14                                      214:4,15,18,19
                                                  142:23
      service 93:4,14,     show 38:7 163:16
                                                 simulations           someone's
       18,21,22 94:2,6
                            166:7 310:21                                103:18
       96:18 211:23                               135:11
                           showed 80:18                                song 265:3,4
      Services 7:13                              sing 265:1,6
                            125:9 311:7
                                                 singing 265:3,16      sort 12:16 21:23
      serving 96:6         showing 249:11                               32:15 71:1 85:20
       272:8
                                                 sir 149:6,10           101:14 129:10
                           shown 80:15
      session 64:23                               158:23 225:19         140:18 242:12
                            311:1
       144:16 220:5                                                     288:20 289:3,4
                                                 sister 42:17
       313:17              shows 100:2
                            125:6                site 45:6 72:12,20,   sound 264:3
      sessions 65:1                               22 99:22 103:22
                                                                        277:13,17 278:18
       108:18,20 125:12,   shut 168:22 169:2                            288:19
                                                  219:14 221:14
       13 137:14 147:18
                           sic 148:22 187:6                            sounded 275:18
       180:20 266:6,9




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        Services
                                             Index:
                                   Filed 03/17/22   *selecting..soundedi28
                                                  Page(615)595-0073
                                                       346 of 352 PageID #: 8988
                      www.EliteReportingServices.com
      sounds 152:17        17:2                 211:19               258:8
       155:21,23 238:5
                          squad 290:5,8        steel 162:10,17,     storing 22:8
       277:11,13
                           292:18,24 293:8,     20,21 163:3          168:6,8 177:5
      South 7:10           13 294:9 295:16,     165:15 166:13,24     187:19
                           22 296:5,9           167:7,9,12,19
      space 283:22                                                  straight 118:1
                           297:12,16,22         171:9 172:8,19
      speak 31:7,8 52:7    298:1,7 312:23       174:21 175:8,12     strain 275:20
       119:8 123:22                             191:19
                          squad/range                               strapped 70:3,4,
       293:11 299:9
                           295:2               STEM 20:5             6,7,11 71:4
      speaking 50:17                                                 238:12
                          squared 225:2        step 71:10,12 77:6
       122:8 158:5,13
                                                83:3 85:12,16       straps 70:9,15
       244:19 249:6,7     squeeze 83:4,6,8
                                                86:1,11 87:17,18,
       264:25 270:25                                                stressful 24:16
                          squeezed 239:5        25 88:16 241:10
      speaks 96:18                                                  strong 273:23
                          staff 20:19 57:1,    stepped 28:6
                                                                     274:3 310:7,14
      special 20:2,4       17 91:25 92:22       86:21
                           134:21 149:4
                                               stepping 87:15,      struggled 14:15
      specialized
                           271:23
       92:21                                    16                  stuck 304:16
                          stamp 25:2 43:16
      specific 14:9,10,                        steps 134:17         studied 30:2
       13 25:8 92:21      stand 85:13,14        138:23 212:3         66:11
       105:6 108:12                             214:13
                          standards 104:23                          subjects 310:17
       157:22 215:22
                           155:14 164:23       sterile 177:12
       222:8                                                        submitted 16:18
                          standing 35:8        sticks 78:18
      specifically                                                  Subsection
                           76:2 79:15
       166:17                                  stimuli 230:24,25     212:8
                           121:15,19
      specifications                           stomach 275:13       subsequent
                          start 66:22 67:2,
       137:17                                                        188:18 275:9
                           11 69:9 135:1,13,   stop 69:19 74:2
      specifics 102:3,8    15,16 240:15         87:7 120:6 193:2,   substance 18:5
                           252:10 284:3         7,9 244:16,20        273:24
      speculate 293:10
                                                245:4,15,24 297:5
                          starting 297:3                            substances
      speculating
                                               stopped 271:5         172:5
       212:17             starts 241:8
                                                288:25
                           264:25                                   substitute 122:5,
      Speculation
                                               stops 245:14          25
       228:3              state 7:15 18:16
                           53:3,17 155:24      storage 160:1,4      substituted
      spelled 61:8
                           215:2 223:11         166:4,21 171:7       139:1
       280:20
                           224:12               172:11,17 184:11
      spelling 133:16                           186:9,11 187:5,7    suffer 298:25
                          stated 17:17
                                                188:12 191:18       sufficient 203:12
      spells 68:1 126:7    124:11 209:4
                                                193:16
       241:18 249:24       228:22 243:11,12                         sufficiently
                           250:12 253:16       store 46:17           216:21
      spend 17:14 99:1     254:4 255:1          163:13 168:11
      spending 17:9        282:25 299:14,18     171:16 172:15       Sunday 23:8
                                                175:7,9 187:15      sung 265:3,4,5
      spent 17:8,13,17    states 155:15
                                                188:6
       99:5                164:23 290:4                             supervision
                           307:24              stored 163:18         24:25
      spike 217:22                              167:11,13 168:4
                          station 223:20                            supervisor 26:6,
      spoken 173:15                             169:8 170:23
                          statute 12:17         171:10 172:14        9 34:18 68:20
       213:20,24
                                                174:20 188:7         136:20
      spouse 16:24        stay 93:10 190:16     191:22 253:13




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        Services
                                             Index:
                                   Filed 03/17/22   *sounds..supervisori29
                                                  Page(615)595-0073
                                                       347 of 352 PageID #: 8989
                      www.EliteReportingServices.com
      supervisors          141:15,19 142:10,    276:4 280:10,14      286:2,12,19 287:1
       94:12               15 145:14 146:19     281:20 282:1
                                                                    talk 16:10 18:3,12
                           150:1 151:5,11       284:7 287:18
      Supplemental                                                   94:11,18 96:22
                           152:4,10,23 154:7    288:15 289:10,14
       147:12                                                        102:3 110:4
                           156:8,19,25          290:1,9 292:2,12,
                                                                     121:11 163:9
      supply 197:7,23      157:6,12,19          19,25 294:1,10,
                                                                     168:16 186:6
                           158:1,8,10,17,19,    15,24 295:6,18,23
      supposed 30:7,8      23 159:7 161:1       296:10,15,22        talked 84:11,16
       52:25 165:23
                           166:15 167:17,20     297:8,17 298:23      92:2 121:7 153:3
       246:23
                           168:14 171:3,21      299:23 300:22        166:11 210:5
      Supreme 91:7         173:10,25 174:7      301:10,12,18         215:18 250:7
                           176:2 177:13         302:11,16,24         306:4,9
      surgeries 83:23      179:17,25 180:4,     303:15,25 304:5,
                           8,16 181:5,23        18,23 305:4,11,
                                                                    talker 270:24
      surgery 84:6
       232:4               183:1,13,19          18,24 306:6,16      talking 35:4
                           184:2,21 187:22      308:6,10 309:13      38:14,19,21 41:18
      surgical 117:13      190:5 191:6          311:2,8,16           58:18,21 60:16
       275:5,8             192:1,4,14,23        312:14,22 314:1,2    73:15 141:16,18
      surrenderers         193:5,11 195:4                            167:2 172:20
                                               swelling 99:22
       186:15              196:2,10 197:17                           174:15 178:18
                                                103:22 216:20
                           199:1,9,22 200:2,                         191:14 214:18
      surrounding                               217:8,14,17
                           5 201:19,25                               218:17 236:12
       65:24 231:5                              218:5,12,21
                           203:18 207:5,15,                          247:6,8,15 249:16
                                                219:13 221:14
      surroundings         23 208:11,21                              263:5,6
       234:6 304:7         210:19,23 211:4,    swings 67:21,25
                           14 212:12 213:2,     68:11
                                                                    talks 166:5
      Sutherland 7:18,     16 214:5,7 215:2,                        tamper-proof
       19 13:6 18:7 25:6   21 217:4 218:13,
                                               switch 18:11
                                                                     184:14
       30:13 37:6 40:12,                        248:24 249:11
                           22 219:2,16
       15 44:11,15,21      221:1,8,15,24       sworn 7:24           tampered 190:7,
       45:1,18 46:21       222:19,24 223:4,                          10,20
       47:3,13,21 48:12    11 224:12,20        syringe 182:15
                                                184:1 206:9,12,16
                                                                    taped 279:9,18
       52:6,15 53:4        225:7 226:10,14,
       58:15 59:2 64:20    16 227:21 228:8,    syringes 203:13      tapping 241:8
       65:6,18 72:15,18    21 229:2,13,19,25    204:1 205:19        TDOC 21:3,5
       73:13 75:17,24      230:15,22 231:2,     206:22 207:19        35:14,19,23 36:1,
       76:6 78:1 81:19     12,19 232:6,16,22    208:10 214:20,24,    16 37:11 38:8,13
       82:8 85:23 87:10,   233:12,18,25         25 224:18            41:13 55:9 64:13,
       21 91:14 93:16      234:11,16,23                              14 93:22,25 94:1,
       94:4 95:5 96:8,15   235:5,15,21         system 89:9
                                                                     15 124:21 156:5
       97:15 98:17 99:12   236:11,16,19,25      169:10 228:4,23
                                                                     159:6 166:8
       101:8 102:2         237:5,9 238:2,7,    systems 222:11,       177:9,11 181:3
       105:5,12,19,21      13,18 239:11,15,     12                   186:2 212:21
       106:11,15 112:6,    18 241:16 242:2,                          290:15,18,22,24
       11,21,25 113:5,9,   15 243:1,20                               291:2,15,17,23,25
       24 115:3,9,24       244:2,7,10,17                T
                                                                     292:15,17,23
       116:4,14,25         245:11,16 247:6,                          293:12 295:21
       117:5,14 118:14,    10 250:11 251:13    takes 88:17           296:4 305:21
       20 119:6,12         256:10,17,19         122:23 133:22        306:9 307:16
       120:3,22 123:5,20   258:4 259:2,25       135:1,19 178:14
       125:8,18 126:6,22   260:10,14 263:3      179:3,6,9,13,16,    TDOC's 53:12
       127:16 128:14,21    264:10 265:8,13      18 201:2 204:22,     295:16
       129:2,7 130:6,11    267:14,25 268:7,     23                  teach 133:12
       131:24 133:7,13     20 269:9 271:19
       134:5,7 136:15                          taking 11:2,4,7      teaches 20:21
                           272:11 273:4,15,
       137:3,11 138:5,                          120:8 161:24
                           21 274:12,19                             team 28:13,17,20,
       12,18 140:8                              284:24 285:9,18




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        Services
                                              Index:
                                   Filed 03/17/22   * supervisors..teami30
                                                  Page(615)595-0073
                                                       348 of 352 PageID #: 8990
                      www.EliteReportingServices.com
       24 29:1,22 30:4,5,   team/emts            Terri 7:12           thoughts 83:11,
       12,18,19,21,22        215:24                                    14,18
                                                 terrible 13:6
       31:6,9,11,16,25
                            teams 106:19                              three-and-a-half
       32:8,17,22 33:5,8,                        Terry 7:6,17 8:18
                                                                       17:13,15
       9,13,20,23,25        tee 135:10
                                                 test 40:20,23
       34:1,4,5,8,11,14,                                              three-drug 55:6,
       16,23,25 35:18,22
                            telephone 127:24      118:21 133:10
                                                                       12 298:19 308:4
                             128:9,16             221:7,11 222:5
       36:6,8,19,22
       37:20 38:14,17,
                                                  237:16 277:24       Thumb 286:18
                            telephones
       20,21 39:7 40:14      222:13              tested 138:2,9,15    thumbed 49:9
       41:1,23 44:19                              220:7 222:9
       45:25 50:10 52:1,    telling 91:16                             Thursday 309:22
       2,3,8,12 54:9,11,     172:14 248:7        testified 7:24
                                                                      tied 9:19,22
       16,22,23 57:23        271:17               17:12
       58:2,10,12 59:6                                                tightened 70:9,10
                            tells 171:25         testify 10:22
       60:8,9,23 61:7,20     184:24               15:11,18            time 7:4 12:11,14
       62:12,16,20,23                                                  17:7,9,19 18:22,
       63:1,23,24 64:3,8,   temp 162:25          testimony 11:8
                                                                       24 23:16 25:17
       9,15,17 65:4          257:19 258:10        64:1 313:17
                                                                       28:6,8 31:17
       67:17,22 68:14,17    temperature          tests 41:1 240:11     32:18 37:24 38:23
       69:14 70:21           160:15 168:21                             39:2 42:7 43:3
       71:15,17,19,20,                           thaw 173:22
                             169:3,13,15,19                            48:21 49:16 51:2
       21,25 72:21 74:5,                          181:18
                             257:8,11,18                               55:4,9 58:23 66:7,
       17 75:15 83:11        258:2,13 259:1,5,   thawed 174:6,12       9 67:5 70:12,21
       91:25 92:3,10,11,     15,21 260:8,16,22                         73:25 84:5,21,24
       13,16,20,25 93:8,     261:3,6
                                                 thermometer           87:15 88:10 99:1,
       10,12,15,18                                168:19,24 261:4
                                                                       5 112:15 114:19
       94:16,22,25 95:3,    temperature-
                                                 thick 259:18          119:20 120:7
       10,11,15,17 96:7     wise 162:22                                133:20 134:9
       97:14,20 98:25                            thing 33:23 66:20     146:21,24 148:10
                            temperatures
       99:11 104:2,6,11,                          73:12 122:13         160:14 169:7
                             162:19 168:17
       14 106:3,5,8,13,                           130:23 158:11        170:2,5 176:23
                             259:22
       21 107:5,17                                219:11 227:12        177:12,16,18,22
       108:3,6,8,15,20,     ten 24:12 229:1       228:4 272:2,3        178:10 187:10
       23 109:10,14          277:15               294:3                188:25 190:22
       113:20,25 114:6,     Tennessee 7:8,       things 19:2 20:20     193:25 194:5,20
       20 122:13,20          10 8:19 18:16        21:22 22:2,9         195:12,13,15,18,
       126:14,20 128:25      20:17 21:2 23:4,5    32:14 46:17 48:14    21 204:13 209:8
       130:16,19,21          91:4 152:2,8         49:21 50:4 71:1      220:6 222:8
       131:8 132:21          156:1 276:21         73:14 81:23 82:5     223:16,24 226:23
       134:16 136:5          307:22               87:14 93:3 101:14    227:9,10 229:6
       139:6,8,9,14,15,                           140:18 154:15        239:21 240:19
       16,18 160:9 162:2    Tennessee's           234:18 235:9         242:7 243:9
       186:17 197:6,12,      308:19                                    246:17,19,25
                                                  237:18,20 239:21
       22 198:3 202:16,                           240:3,15 242:8       247:3 253:11
                            term 50:10 57:8
       22 203:3,4                                 271:1 288:16         254:8,24 263:4,6,
                             61:20 81:6,9
       205:12,19,24                               299:1                7,8,9 264:16,20
                             103:12,14,17
       207:10 208:2                                                    266:18 267:4,24
                             116:24 117:10
       212:25 213:7                              thinking 40:17        269:3 270:20,21
                             214:7 220:24
       216:19 217:3                               154:2,3,12           272:1 275:12
                             288:1,3,6 303:19
       220:1 221:6 222:4                         thought 17:17         277:22,24 281:8,
       223:21 263:23        terminology           90:12 148:23         17 282:12 284:4
       272:9 287:25          214:16,17                                 285:6 307:12
                                                  196:11 205:11
       289:18,21 291:6                            225:17 288:17        308:22 309:1
                            terms 51:23 52:4
      team's 220:4,10        53:13 103:22         313:16               310:2,3 314:9
                             148:24 267:21




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        ServicesPage
                                   Filed 03/17/22  Index:
                                                    * (615)595-0073
                                                       349 ofteam's..timei31
                                                              352 PageID #: 8991
                      www.EliteReportingServices.com
      times 9:14 13:8      touch 81:15           trains 287:25
       84:7 116:10          82:20,23                                           U
                                                 transcript 314:13
       124:15 135:8,25
                           touching 81:22
       143:23 169:11                             transcripts 15:25    Uh-huh 13:23
       247:1,2             tough 25:17                                 19:16 21:21 71:9
                                                 Transfer 189:21
      timing 241:6         track 258:25           199:17,25 200:17     86:7,17,23 95:25
                                                                       100:14,17 111:25
      title 23:11 24:1     Tracy 25:16           transferred 191:4     118:5,9 132:11
       26:11 58:16,24                                                  135:17 137:24
       59:10,11 101:10,
                           train 62:14 124:16    transportation
                            281:19,25 284:9       84:4                 140:21 160:2,5
       18 137:7 156:12                                                 165:13,17 200:25
      titled 122:3         trained 22:3          transported           212:9 218:19
                            37:24 80:14,15        176:1,5,9            240:4 242:6 243:5
       125:25 216:16
                            99:7 123:25                                245:3 248:18
       219:25                                    transporting
                            143:3,4,11 228:14                          252:25 270:9
                                                  84:4
      titles 26:20 54:21    248:1,9,13                                 285:15 286:8
      today 7:3,9 8:20                           trapezius 83:3,4      287:6 310:4
                           training 18:19
       10:23 11:8,11        20:2,13,15 22:5,     trash 195:14         ultimate 113:18,
       15:11,19 33:9        14,20,22 25:18                             23 216:2,11
       48:19 66:5 174:2     29:23 39:7,9 45:7
                                                 travels 161:12
       199:13               54:6 55:10 59:15                          ultimately 196:19
                                                 treatment 25:15
                            80:12 99:6 103:7                          unable 113:20,25
      told 9:1 81:12                             trick 263:13,14
                            105:1 106:2 109:3                          114:8 122:6
       98:24 106:4
                            123:12,16 124:4      true 24:20 123:2      123:1,3,6
       183:25 184:4
                            125:12,13 130:15,     173:3 276:10,14
       201:1 203:1                                                    unaware 103:5
                            18 131:9,13,19        277:15,22
       204:18 276:11                                                   176:21 229:14
                            132:8,10,18
       311:5                                     truth 10:20 15:14
                            134:2,19,20,22                            unbecoming
      Tom 286:18            135:18,21 139:23     truthfully 10:23      293:23,25 294:8
                            140:3 143:21,23,                           296:9,14,20
      tomorrow 33:10                             Tuesday 7:3
                            24 144:11,16                               297:7,16,19,23
      tone 82:6             145:25 146:7,13,     turn 41:7 42:23       298:2,11,13
                            17,22,25 147:17       56:17 65:21
      Tony 7:6,19,20,22     180:20 198:6                              unconscious
       82:9,15 147:11                             111:22 130:14
                            205:15 220:5,7,                            80:10,13,23 82:1,
                                                  149:13 180:22
      top 36:25 60:14       18,20,22 267:11                            4 83:9,12,15 84:9,
                                                  237:24 262:20
       61:16 90:17 92:24    273:1 282:12                               13 85:6,10,17,19
       107:3 108:10         284:11,25 285:9,     turned 278:18         86:9 87:25 116:7,
       126:14 127:20        19 286:3,13,20        305:3                17,18,24 229:12,
       130:15 147:11        287:2,4,11,17                              17 233:17,19,23
                                                 TVS 75:12             234:1,3,22 235:4,
       159:25 167:2         290:15,17,20,21
       173:1 175:17         291:15               two-and-a-half        11 238:25 239:1,
       191:14 199:4                               13:12 135:9          25 242:1,13
                           training/practice                           244:23 249:1,11
       202:11 215:9                              two-drug 297:3,
                            147:18                                     264:6
       220:1 226:1                                19,24 298:3,7
       252:12 256:9,23     trainings 20:9                             unconsciousnes
       261:14 266:17        37:12,18,22 38:1,    type 18:19,25
                                                                      s 86:19 88:16
       274:23 276:20        15,16 39:10,11        23:20 35:3 133:10
                                                                       242:9
                            42:5,8,11,20 54:4,    143:7 150:17
      topics 14:13          7,10 55:2,7 59:13,    153:13 295:3        unconstitutional
      torturous 275:9       18,21,25 124:21,                           91:9
                                                 types 154:16
                            22,25 136:11,17                           understand 8:20
      total 9:16 17:7,11    137:5 145:23         typically 151:2
       92:13 249:21                                                    10:16,19 11:19
                            209:11 220:15                              12:1,3,5,18 39:12
       264:2                273:7 283:4,17                             41:18 50:9,13,15,
                            284:2,6 288:7




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        Services
                                              Index:
                                   Filed 03/17/22   * times..understandi32
                                                  Page(615)595-0073
                                                       350 of 352 PageID #: 8992
                      www.EliteReportingServices.com
       19 58:25 69:6        utilizing 288:3       175:16 179:4,6,9     29:8,9,11,12,14,
       139:12 171:12         298:19               181:16 182:7         17,18 31:2,7,13,
       178:16 214:16                              208:10,12 252:14,    14,15,18,20 32:1,
       246:5 302:20,25                            18 253:6,8,10,15     20 34:3,6 37:1,7
                                      V
       303:2,3,10                                 254:12 255:12        42:1,4,7,10,20
                                                  259:10 261:17,20,    43:3,5,14 45:4,15
      understanding         varies 135:6          23 262:3,6,7         48:10 55:4,5,10
       8:23,25 40:11
                            vary 62:12                                 56:25 57:16 62:14
       50:19 51:3,4,9,13,                        victim's 279:14
                                                                       67:3,7 70:20
       14,16 52:23          vascular 127:6       victims 271:25        71:18 73:6,20,24
       108:14 133:6,15
                            vecuronium 98:3                            77:4 78:20 79:14
       143:10 149:24                             video 7:4,5 75:9      83:20 88:11 89:4,
       162:16 163:1          149:21 150:13        222:12 314:10
                             151:25 152:2,21                           8,14 90:11,17
       165:4 172:10
                             153:11 165:1        video/audio           92:25 93:8 99:20
       188:5,7 189:10
                             166:3 172:9,11,      243:14               108:6 110:6,9
       219:4,7 253:1
                             21,23 173:5 177:3                         117:19 121:8,24
       280:4,6                                   view 73:23 294:6
                             179:7 188:11                              122:3,4,6 123:12,
      understood             211:24 212:7,11,    viewing 217:15        25 124:6,7 126:2
       132:5                 16,19 213:22                              127:24 128:7,13
                                                 violent 230:24        130:4,10 132:3
      unethical 294:11,      231:9,14 245:9,20
                             267:6 275:15,17     visit 12:25           134:13 148:22
       14 295:10,13
                             281:4,13 282:17                           156:23 160:9
      unit 26:24 27:1                            vital 112:2 114:23    178:19,21 185:12
                             296:19 297:4
                             298:8,15,16         voice 82:10,11        186:13,15,24
      United 155:15                                                    187:4 188:15,20
       164:23               vein 113:20 114:8,   volunteer 22:24       193:6 196:6
      University 18:16       16,18 147:20         139:8,11             200:24 208:19
       19:10                 148:3 216:7,22                            211:11 217:20
                                                 volunteers
                             226:22                                    225:15 226:4
      unmovable 162:9                             138:24 139:5
                            veins 215:14                               227:18 228:17
       165:15 166:24                                                   229:6 251:7
       167:6 171:8           219:19 227:7,10,
                                                           W           262:21 263:23
       172:7,18 191:19       11
                                                                       265:1 269:22
      unmoveable            venous 111:12,       wait 11:21 78:25      270:1,4,12,16
       166:13                14,18 113:19         79:1 115:2 118:2     273:12 283:5,23
                                                  228:17,20,23         285:2,3,5 286:23
      unredacted            venture 159:12
                                                                       292:7 301:14
       259:24               verbal 64:1          waiting 78:25         305:21 308:3,18,
                                                  88:25 89:1 227:12
      unresponsive                                                     19,23 309:25
                            verbally 11:17        228:3,11 282:23
       81:4,7,15 84:18                                                 310:1,3 311:10
                             121:5
       232:21 233:11                             waits 88:1,4          312:21 313:15
       238:20               verifies 205:24
                                                 wake 230:25          warden's 118:24
                             207:11 208:3
      unused 214:21                                                    199:19 200:9,17
                            verify 188:15,22     walk 204:20           201:7
       215:1
                             213:1               wanted 15:10
      unwillingly                                                     wardens 26:15
                            verse 232:21          44:1 65:10 98:25
       140:14                                     158:10 311:12       warehouse 197:6
      usable 215:14         verses 264:25
                                                 warden 7:5,22        waste 184:16
      USP 157:3 159:4       versus 7:6 84:18      18:22,24 19:19,20    193:19 195:17
                             117:9                21:15 23:12,13,
      Utah 290:7                                                      watch 68:5,6,9,
                                                  17,19 24:2,19
                            vial 154:18,19,20                          17,18,22 69:14,22
      utilize 210:2                               25:2,13,15,25
                             175:18 264:18,23                          70:3,6,9,11 72:7,
                                                  26:18,19,20,23
      utilized 222:10                                                  9,10 96:21 134:17
                            vials 154:25          27:17,19 28:10,
                                                                       176:17 219:11
                             173:20 174:5         17,19,21,22,24,25
                                                                       237:19




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20        Services
                                           Index: Page
                                   Filed 03/17/22 understanding..watchi33
                                                    * (615)595-0073
                                                       351 of 352 PageID #: 8993
                      www.EliteReportingServices.com
      watching 72:3,4      works 21:13
       76:14 87:8,13        36:16 38:16 39:1
       124:2 210:10,13      62:6 94:12 299:9
       218:25 219:4,9,12
                           wound 22:21
       243:15
                           Wow 23:9
      water 154:14,16,
       17 206:15           wrap 22:21
      ways 122:8           write 43:10
                            115:10 262:9,10
      weapon 22:7,8
                            276:13 287:16
      weapons 21:22,
                           writing 289:8,22
       24
                            311:13
      week 24:7 135:25
                           written 87:1
       220:21 222:2
                            115:16 212:18
      weeks 134:19          213:15,17 283:8
       135:19,22,24
                           wrong 107:14
      whatever's 168:2      149:9 150:4
                            288:18
      when's 220:22
                           wrote 243:18
      wide 68:9
                            262:12,14
      Wild 284:20 285:9
      window 76:19                   X
       78:12,14 88:20
      withdraw 25:7        Xanax 150:24

      witnessed
       276:12                        Y

      witnesses 275:2      yards 76:15
       276:3
                           year 18:17 19:13,
      woke 279:6            19,21 20:9 49:19
      word 83:4 96:19       134:9 189:6 194:9
       238:17,22,23        years 10:8,12
       272:20 307:3         14:16 15:16 23:8,
      worded 50:8           9

      words 77:12,13,      yell 82:10
       15 227:4,13         yelled 235:9
       233:22 264:25
                           yelling 82:19
      work 21:2 31:1        277:3,20,21 278:2
       35:14,18 36:1
       52:23,24 64:13,14   yells 245:10,20
       84:4 93:25 94:1
                           yesterday 13:15,
       95:17 96:25 228:3
                            16,21 17:18 66:12
       298:20,21 306:2
                            174:3 189:3,4,5
       308:12,15 309:11
                            194:2 196:17
      worked 94:7          yesterday's
       111:4 309:2,3
                            199:14
      working 24:9
       169:7,11




            Elite-Brentwood
Case 3:18-cv-01234           Reporting
                   Document 184-20       Index:
                                          Services
                                   Filed 03/17/22 watching..yesterday'si34
                                                     * (615)595-0073
                                                   Page 352 of 352 PageID #: 8994
                      www.EliteReportingServices.com
